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                    UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION

 DR. THOMAS HUBBARD, PhD,

      Plaintiff,

 v.                                                   Case No. 1:20-cv-767

 SARAH ALLEN BLAKEMORE and JOHN
 DOES 1-10,

      Defendants.



                       DECLARATION OF JOSEPH SIBLEY
______________________________________________________________________________




      EXHIBIT A
      Pursuant to the provisions of 28 U.S.C. § 1746, I, JOSEPH SIBLEY,

voluntarily make the following Declaration based upon personal knowledge and

declare under penalty of perjury and the laws of the United States that the following

is true and correct:
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1. “My name is JOSEPH SIBLEY. I am over 18 years of age, suffer no legal

   disabilities, and am otherwise competent to make this declaration. I have

   personal knowledge of the facts stated herein and they are all true and correct.

2. “I am lead counsel for Plaintiff in the above-referenced cause.


3. “Attached as Exhibit A-1 is a true and correct copy of email correspondence

   involving myself and Blakemore’s counsel, with the last email being sent on

   September 6, 2020.

4. “Attached as Exhibit A-2 is a true and correct copy of the Flyer that forms the

   basis, in part, of Plaintiff’s suit against Defendant.

5. “Attached as Exhibit A-3 is a true and correct copy of the deposition (redacted

   for portions deemed confidential) of Sarah Allen Blakemore taken on May 28,

   2021.

6. “Attached as Exhibit A-4 is a true and correct copy of Dr. Hubbard’s position

   statement in his EEOC proceeding against UT.

7. “The first time I ever received notice of any claim for attorneys’ fees for

   Blakemore was on June 14, 2021, after Dr. Hubbard had agreed in principle

   to resolve his claims, which included dismissal of this action. I expected this

   to be “good news” to Blakemore after her poor deposition performance, but

   instead I was informed by Mr. Pringle that the Hoover Slovacek firm had

   billed “substantial” amounts of attorneys’ fees early in the case—presumably

                                        2
   Case 1:20-cv-00767-RP Document 37-1 Filed 08/20/21 Page 3 of 225




   in connection with the defective motion for summary judgment—that

   apparently the insurance carrier was not covering. I responded by asking what

   the basis for such fees were. Mr. Pringle responded by suggesting this Court

   could find his claims “frivolous, unreasonable, or groundless”. This was the

   first suggestion of such in the case. Attached as Exhibit A-5 is a true and

   correct copy of this email exchange.

8. “I found this particularly strange since just five months earlier, on January 25,

   2021, Blakemore offered to pay $25,000.00 cash to settle Dr. Hubbard’s

   claims and bear her own costs and fees. A true and correct copy of this email

   communication is attached as Exhibit A-6. It is my understanding that

   Blakemore made this offer despite having the documents in her possession

   that she now uses as her basis for arguing Dr. Hubbard filed this suit with an

   improper purpose.

9. “On July 28, 2021 I was served with a Motion for Sanctions under FRCP 11,

   which is attached as Exhibit A-7.

10. “The                               Dropbox                                 link

   https://www.dropbox.com/sh/aaxjhtobtxqa2q0/AAA8LhSSIJ09dLQdWwJw

   HjcUa?dl=0 contains true and correct copies of videos of the attack on Dr.

   Hubbard’s house, which shall be referred to as Exhibit A-8.




                                       3
      Case 1:20-cv-00767-RP Document 37-1 Filed 08/20/21 Page 4 of 225




  11. “Attached as Exhibit A-9 is a true and correct copy of an email I sent to

     Blakemore’s counsel in response to a query on whether we were going to add

     additional parties.

August 20, 2021



                             ________________                        _
                             Joseph Sibley




                                      4
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                   EXHIBIT

                             A-1
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Camara & Sibley Mail - Hubbard v. Blakemore                                                                                    8/19/21, 2:35 PM




                                                                                          Joe Sibley <sibley@camarasibley.com>



 Hubbard v. Blakemore
 Leonard J. Meyer <meyer@hooverslovacek.com>                                          Sun, Sep 6, 2020 at 7:57 PM
 To: Joe Sibley <sibley@camarasibley.com>
 Cc: Ross Pringle <rpringle@w-g.com>, "Colin L. Guy" <guy@hooverslovacek.com>, Susan Balagia <sbalagia@w-
 g.com>, Sasha Yamatina <ayamatina@w-g.com>, "Joseph O. Slovacek" <slovacek@hooverslovacek.com>, Tina Bartley
 <bartley@hooverslovacek.com>


    Counsel,


    I presume you didn’t realize that today is the Sabbath. I take that seriously and I suspect others in this
    thread do as well. And I’m sure you know tomorrow is a holiday, which I take seriously and some in this
    thread may also take seriously. For these reasons, with all due respect and without comment on the
    substance of your communication other than its unfortunate timing, your deadline will not be met and any
    assumption you may draw from that is your own assumption without basis.




    Leonard J. Meyer
    Equity Partner




                                              HooverSlovacek LLP
                                              Galleria Office Tower 2
                                              5051 Westheimer Rd., Suite 1200
                                              Houston, TX 77056
                                              Office: 713-977-8686
                                              Fax: 713-977-5395
                                              www.hooverslovacek.com




https://mail.google.com/mail/u/0?ik=c036a2e867&view=pt&search=…A1677134645480926850&dsqt=1&simpl=msg-f%3A1677134645480926850        Page 1 of 5
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Camara & Sibley Mail - Hubbard v. Blakemore                                                                                    8/19/21, 2:35 PM




    NOTICE OF CONFIDENTIALITY: This communication and any attachments to it are confidential and intended
    solely for the use of the person to whom it is addressed. The information contained in and transmitted with
    this email is subject to the attorney-client and attorney work product privilege. If you have received this email
    in error, please reply and notify the sender immediately. You are hereby notified that any disclosure,
    distribution, copying, or the taking of any action in reliance on the contents of this information is
    unauthorized and prohibited. Any email erroneously transmitted to you should be immediately destroyed.
    Nothing in this message may be construed as a digital or electronic signature of any employee of Hoover
    Slovacek LLP.


    From: Joe Sibley <sibley@camarasibley.com>
    Sent: Sunday, September 6, 2020 11:54 AM
    To: Leonard J. Meyer <meyer@hooverslovacek.com>
    Cc: Ross Pringle <rpringle@w-g.com>; Colin L. Guy <guy@hooverslovacek.com>; Susan Balagia <sbalagia@w-
    g.com>; Sasha Yamatina <ayamatina@w-g.com>
    Subject: Re: Hubbard v. Blakemore



    FRE 408 Settlement Communication



    As I discussed with Ross last week, we need to conduct (mainly) third-party discovery on the identities of the John
    Does. We are willing to defer any further substantive discovery on Ms. Blakemore for the time being and until we
    have completed this task, provided you all agree to not oppose the third-party discovery being conducted and to
    provide a list of persons that she communicated with (in the form of a sworn Interrogatory answer) regarding the
    subject matter of the flyer she distributed in the November/December 2019 time frame.



    In other words, we will agree to focus our efforts on John Does first and then, after learning what we need to know in
    that regard, we can revisit the case against Ms. Blakemore and potentially discuss resolving our dispute against her.
    Her/your cooperation in regard to discovering the identities of the John Does will go a long way toward softening my
    client's stance toward Ms. Blakemore and making it more likely that we can resolve our dispute without the need for
    protracted litigation.



    Let me know by close of business on Tuesday the 8th whether we can reach an agreement in this regard.



    Best regards,



    Joe



    On Mon, Aug 31, 2020 at 1:44 PM Leonard J. Meyer <meyer@hooverslovacek.com> wrote:

https://mail.google.com/mail/u/0?ik=c036a2e867&view=pt&search=…A1677134645480926850&dsqt=1&simpl=msg-f%3A1677134645480926850        Page 2 of 5
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Camara & Sibley Mail - Hubbard v. Blakemore                                                                                    8/19/21, 2:35 PM



       Gentlemen,


       We are extremely busy this week and next, and ask that we postpone this conference. As you know, the
       Court has yet to even issue a scheduling order setting a date for a scheduling conference and our
       deadline for such a conference between us is therefore likely quite a ways down the road.


       We may also wish to have the benefit of rulings on preliminary motions before we even consider what
       if any discovery is actually necessary.


       I will advise after issuance of a scheduling order available dates for conferring.


       And I know of no other matters requiring discussion at this time.




       Leonard J. Meyer
       Equity Partner




                                                  HooverSlovacek LLP
                                                  Galleria Office Tower 2
                                                  5051 Westheimer Rd., Suite 1200
                                                  Houston, TX 77056
                                                  Office: 713-977-8686
                                                  Fax: 713-977-5395
                                                  www.hooverslovacek.com




https://mail.google.com/mail/u/0?ik=c036a2e867&view=pt&search=…A1677134645480926850&dsqt=1&simpl=msg-f%3A1677134645480926850        Page 3 of 5
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Camara & Sibley Mail - Hubbard v. Blakemore                                                                                    8/19/21, 2:35 PM




       NOTICE OF CONFIDENTIALITY: This communication and any attachments to it are confidential and
       intended solely for the use of the person to whom it is addressed. The information contained in and
       transmitted with this email is subject to the attorney-client and attorney work product privilege. If you have
       received this email in error, please reply and notify the sender immediately. You are hereby notified that any
       disclosure, distribution, copying, or the taking of any action in reliance on the contents of this information
       is unauthorized and prohibited. Any email erroneously transmitted to you should be immediately
       destroyed. Nothing in this message may be construed as a digital or electronic signature of any employee
       of Hoover Slovacek LLP.


       From: Ross Pringle <rpringle@w-g.com>
       Sent: Monday, August 31, 2020 9:48 AM
       To: Joe Sibley <sibley@camarasibley.com>
       Cc: Leonard J. Meyer <meyer@hooverslovacek.com>; Colin L. Guy <guy@hooverslovacek.com>; Susan Balagia
       <sbalagia@w-g.com>; Sasha Yamatina <ayamatina@w-g.com>
       Subject: Re: Hubbard v. Blakemore



       I can do this after 3 pm today or any time tomorrow. Let me see when Leonard is available.



       Thx.



       B. Ross Pringle
       Wright & Greenhill, P.C | 900 Congress Avenue, Suite 500 | Austin, Texas 78701
       direct: 512-708-5265 | main: 512-476-4600 | fax: 512-476-5382
       rpringle@w-g.com | wrightgreenhill.com | Bio




       This message is privileged and confidential. If you are not the intended recipient, please delete the communication.



                On Aug 29, 2020, at 7:48 PM, Joe Sibley <sibley@camarasibley.com> wrote:



                Mr. Pringle,



                I received your message but I was busy last week and am just now getting back to you.

https://mail.google.com/mail/u/0?ik=c036a2e867&view=pt&search=…A1677134645480926850&dsqt=1&simpl=msg-f%3A1677134645480926850        Page 4 of 5
                        Case 1:20-cv-00767-RP Document 37-1 Filed 08/20/21 Page 10 of 225
Camara & Sibley Mail - Hubbard v. Blakemore                                                                                    8/19/21, 2:35 PM




                What day works this week for a call to discuss the case and, I suppose, go ahead and have our 26f
                conference?



                Look forward to working with you,



                Joe




https://mail.google.com/mail/u/0?ik=c036a2e867&view=pt&search=…A1677134645480926850&dsqt=1&simpl=msg-f%3A1677134645480926850        Page 5 of 5
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             EXHIBIT

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Students for Safety



 FOR IMMEDIATE RELEASE:                                               Contact: Sarah Blakemore
 Thursday, November 21, 2019                                                      713-851-4247

                         Rally for the Removal of Dr. Thomas Hubbard

AUSTIN, TX - Dr. Thomas K. Hubbard has been advocating for pederasty (pedophilia) for as long
as he has taught at the University of Texas. Since 2000, Dr. Hubbard has used his position to
further a community of individuals hoping to prey on underage boys. In his academic writing,
Hubbard describes physical relationships between men and young boys as "proper learning
experiences." Works like "Boys' Sexuality and Age of Consent" encourage these illicit acts. His
course "Mythology of Rape" was banned at UT after only one semester. Furthermore, Hubbard
is heavily associated with the North American Man/Boy Love Association (NAMbLA), formerly
the world's largest pedophile activist group. He is even on the list of associated individuals on
the NAMbLA Wikipedia page.

We are calling for Dr. Thomas K. Hubbard's immediate removal from his position as a professor
of the classics department at the University of Texas at Austin. An individual who advocates for
violent crime against teen boys had no business teaching the leaders of tomorrow. It is clear to
us that the University of Texas does not have its student's safety, health, and welfare in mind.
Hubbard's misconduct has been brought to administration before to no avail. We refuse to
stand by while this man uses his status to promote pedophilia.

It is our goal to make students aware of Hubbard's disgusting ideals even if the University of
Texas protects him. It should be a student's choice whether to learn from a man with Hubbard's
record.

                                              ###
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                    EXHIBIT

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                UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF TEXAS
                           AUSTIN DIVISION

DR. THOMAS HUBBARD, PhD,       )
                               )
          Plaintiff,           )
                               )
VS.                            )
                               ) CASE NO. 1:20-cv-767
SARAH ALLEN BLAKEMORE and      )
JOHN DOES 1-10,                )
                               )
          Defendants.          )
     -----------------------------------------------------------

           ORAL & VIDEO DEPOSITION OF SARAH ALLEN BLAKEMORE

                          May 28, 2021
    ---------------------------------------------------


          Oral & video deposition of SARAH ALLEN BLAKEMORE,

    produced as a witness at the instance of the plaintiff,

    and duly sworn, was taken in the above-styled and

    numbered cause on the 28th day of May, 2021, from

    10:08 a.m. to 6:38 p.m., before Patrick Stephens,

    Certified Court Reporter, reported by stenographic means,

    at the offices of Wright & Greenhill, P.C., 900 Congress

    Avenue, Suite 500, Austin, TX 78701.
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Sarah Blakemore                                                                                                                May 28, 2021

                                                            Page 2                                                                      Page 4
                         A P P E A R A N C E S                         1                         E X H I B I T S (Continued)
ON BEHALF OF THE PLAINTIFF:                                            2

            JOSEPH D. SIBLEY, ESQ.                                     3   NO.          DESCRIPTION                                       PAGE

            Camara & Sibley LLP                                        4   10           Text Messages                                     161
                                                                       5   11           Pinto E-mail                                       182
            1108 Lavaca St
                                                                       6   12           Patterson E-mail                                   188
            Suite 110263
                                                                       7   13           Blakemore 211                                     189
            Austin, Texas 78701
                                                                       8   14           Agenda                                             191
            Telephone:       (713) 966-6789
                                                                       9   15           Text Messages (Blakemore 191-A)                   197
            sibley@camarasibley.com
                                                                      10   16           Jim Davis Message                                 256
ON BEHALF OF THE DEFENDANT:                                           11   17           Signal Communications                             258
            B. ROSS PRINGLE, ESQ.                                     12   18           26(f) Report                                      274
            HANNAH GALE, ESQ.                                         13
            Wright & Greenhill, P.C.                                  14

            900 Congress Avenue                                       15

            Suite 500                                                 16
                                                                      17
            Austin, Texas 78701
                                                                      18
            Telephone:       (512) 961-4389
                                                                      19
            rpringle@w-g.com
                                                                      20
ALSO PRESENT:
                                                                      21
            Manuel Martin, Videographer
                                                                      22
            Kim Tindall & Associates
                                                                      23
            Telephone:       (512) 771-6964                           24
            mamartin73@gmail.com                                      25


                                                            Page 3                                                                      Page 5
 1                                I N D E X                           1                    PROCEEDINGS
 2   APPEARANCES ............................................... 02   2               VIDEOGRAPHER: Today's date is May 28th, 2021,
 3   SARAH ALLEN BLAKEMORE                                            3 and the time is 10:08 a.m. We are on the record. We are
 4             Cross-Examination by Mr. Sibley ................. 06   4 located at the offices of Wright & Greenhill in Austin, Texas,
 5   Reporter's Certificate ................................... 291   5 for the oral, video deposition of Sarah Allen Blakemore in the
 6                                                                    6 matter of Dr. Thomas Hubbard, PhD, versus Sarah Allen
 7                             E X H I B I T S                        7 Blakemore, et al., Case Number 120-CV-767.
 8                                                                    8               Would counsels please introduce themselves for
 9   NO.       DESCRIPTION                                     PAGE   9 the record and whom they represent?
10   1         E-mails                                           08   10               MR. SIBLEY: Joe Sibley for the plaintiff.
11   2         Fee Schedule                                      14   11               MR. PRINGLE: And I'm Ross Pringle. I represent
12   3         Discovery Documents                              101   12 Ms. Blakemore.
13   4         Production Requests                              112   13               COURT REPORTER: Ms. Blakemore, would you raise
14   5         Request for Admissions                           124   14 your right hand for me?
15   6         1st Interrogatories                              127   15               THE WITNESS: (Complies with request.)
16   7         2nd Interrogatories                              155   16               COURT REPORTER: Do you solemnly swear or affirm
17   8         Yarrow E-mail                                    158   17 the testimony you'll give will be the truth, the whole truth
18   9         Yarrow Letter                                    160   18 and nothing but the truth, so help you God?
19                                                                    19               THE WITNESS: I do.
20                                                                    20               COURT REPORTER: All right. Great. You may take
21                                                                    21 over.
22                                                                    22        (Whereupon,
23                                                                    23                      SARAH ALLEN BLAKEMORE
24                                                                    24         having been first duly sworn, testified as follows:)
25                                                                    25                     CROSS-EXAMINATION


Kim Tindall and Associates, LLC 16414 San Pedro, Suite 900                                                 San Antonio, Texas 78232
210-697-3400                                                                                                           210-697-3408
            Case 1:20-cv-00767-RP Document 37-1 Filed 08/20/21 Page 16 of 225
Sarah Blakemore                                                                                                                   May 28, 2021

                                                                  Page 6                                                                    Page 8
 1     Q     Good morning, Ms. Blakemore.                                  1     Q       Got it. So no substantive discussion about your
 2     A     Good morning.                                                 2 testimony, just the fact that you were going to be deposed;
 3             MR. PRINGLE: Could you -- before we start, can              3 right?
 4 you put it on the record?                                               4     A       Right, yeah.
 5             MR. SIBLEY: Yeah. We're -- Mr. Pringle and I                5     Q       Okay. All right. You mentioned that you reviewed the
 6 have agreed that, in accordance with how we proceeded in the            6 flyer --
 7 last deposition that counsel's objections will be limited to            7     A       Uh-huh.
 8 objection, form, or, objection as sufficient to sustain,                8     Q       -- and I'm going to go ahead and introduce this as
 9 preserve any issues, speaking objections, basically under the           9 Exhibit 1.
10 state -- Texas state rules.                                             10              MR. SIBLEY: (Provides exhibit.)
11              MR. PRINGLE: Agreed.                                       11              MR. PRINGLE: Thank you.
12 BY MR. SIBLEY (resuming):                                               12 BY MR. SIBLEY (resuming):
13      Q    Okay. Good morning, Ms. Blakemore.                            13        Q   And just take a look at that if you need to refresh
14      A    Good morning.                                                 14 your memory about kind of -- I mean, I know it's not super long,
15      Q    What did you -- I'm assuming this is the first time           15 but --
16 you've been deposed; right?                                             16        A   Right.
17      A    Yes, yes, it is.                                              17        Q   -- if you want to take a chance to look at it, let me
18      Q    Okay. What did you do to prepare for your deposition          18 know when you're -- after you've had a chance to look at it.
19 today?                                                                  19        A   Okay. (Reviewing.) Okay. I'm ready when you are,
20      A    I --                                                          20 sir.
21      Q    And -- and -- and you probably already know this, but         21        Q   Okay. Let me go ahead and also, while we're at it,
22 I don't want you to disclose any communications that may have 22 introduce Exhibit Number 2 --
23 transpired between your counsel and yourself. I just want to            23        A   Uh-huh.
24 know factually what took place, but not the substance of any            24        Q   -- and I think you'll recognize that as the
25 communications. Okay?                                                   25 plaintiff's complaint in this case.

                                                                  Page 7                                                                    Page 9
 1     A    Certainly, yeah. I have met with my attorneys, of              1      A Does -- does that mean that this is the original
 2 course, and I reviewed some of the productions that we have             2 filing that started this case?
 3 given in this case and I watched a video on depositions, just           3      Q Yes, ma'am, I'll --
 4 basic information about them called, The Perfect Witness.               4      A Okay. I'm sorry.
 5     Q     Okay. Other than the discovery documents, are there           5      Q -- I'll represent that to you. I think it says
 6 any other documents you recall reviewing in preparation for your        6 Document 1 at the top of the -- of the document.
 7 testimony?                                                              7    A Okay. Yeah.
 8     A    I've reviewed the flyer, that's one that I can call            8    Q And I'm assuming you had seen the lawsuit. You'd --
 9 off the top of my head, but I think that's included in the              9 you'd seen it at some point; right?
10 discovery documents.                                                    10    A Yes.
11     Q     Right.                                                        11    Q Okay. And if you would just turn in Exhibit 2 to
12     A     I don't think I've looked at anything else.                   12 Paragraph 17.
13     Q     Let me ask it this way: Are there any documents you           13    A Uh-huh. (Complies with request.) The -- it's the
14 reviewed in preparation for your deposition that were not               14 number at the beginning with the paragraph numbers?
15 produced either by Professor Hubbard in this case or by                 15    Q Those are the paragraphs, yes, ma'am.
16 yourself?                                                               16    A I'm going to take a second --
17     A     No, not that I believe so, sir.                               17    Q Sure.
18     Q     Okay. Did you -- other than your attorneys and other          18    A -- to look at this. (Reviewing.) Okay.
19 than the video that you mentioned, did you refer [sic] with             19    Q And by the way, ma'am, is that an accurate quote from
20 anyone else in connection with your testimony today, like a      20 the Austin American-Statesman in Paragraph 17 of Exhibit 2?
21 witness or some other third party?                               21    A I -- I couldn't say that I remember the conversation,
22      A I didn't speak to anybody about my testimony              22 but this seems accurate to me.
23   specifically. There are people that I have told that I'm being 23    Q How did you give the quote? Was it verbally or was it
24   deposed today, like my father and my mother, my sister and my 24 by E-mail?
25   romantic partner.                                              25    A It was -- it was verbally. I believe I was on the


Kim Tindall and Associates, LLC 16414 San Pedro, Suite 900                                                   San Antonio, Texas 78232
210-697-3400                                                                                                             210-697-3408
            Case 1:20-cv-00767-RP Document 37-1 Filed 08/20/21 Page 17 of 225
Sarah Blakemore                                                                                                                     May 28, 2021

                                                                    Page 10                                                                     Page 12
 1 phone with the -- with the reporter.                                       1 guess, yeah, clarify the statements to make sure that no one
 2     Q     Okay. Is there anything -- I mean, I guess, let me               2 could perceive them in a different way than the way you intended
 3 just ask it this way: Is that an accurate representation of                3 them?
 4 your views about Dr. Hubbard's writings or his teachings in --in           4     A    I don't believe so. I -- I know that some people did
 5 Paragraph 17 of Exhibit 2?                                                 5 take my statements and go a bit further, like claiming that
 6     A     Yes, sir, I believe it is.                                       6 Dr. Hubbard is -- I'm sorry -- a pedophile, and if I were to add
 7     Q     Okay. All right. Is it -- is it -- is it your                    7 anything today, I believe I would add that that is not my
 8 understanding that -- you understand you're being sued for                 8 opinion and I don't think that that's true. That's a
 9 libel.                                                                     9 representation of his beliefs or his scholarship. I do -- in
10      A    Yes, sir.                                                        10 hindsight, I do feel bad that that happened, but at the end of
11      Q     Okay. Is it your understanding that the statements              11 the day, this is a good representation of my opinions.
12 that you're being sued for are reflected in the flyer that is              12     Q   Okay. So one thing that you might have added for
13 Exhibit 1 and the quotation of your statements to the Austin               13 clarity in hindsight -- we're talking hindsight here; right?
14 American-Statesman in Exhibit 2, Paragraph 17?                             14     A   Yeah, certainly.
15      A    Yes, yeah.                                                       15     Q   Okay. One thing you might have added for clarity in
16      Q     Okay. Are there any other statements, oral or                   16 hindsight is that you don't believe that Dr. Hubbard is a
17 written, that you think that you're being sued for in this case?           17 pedophile.
18      A    I don't exactly remember who quoted me where in what. 18                A   Correct, yes.
19 I mean, there were a lot of news stories -- or at least I think            19     Q   Okay.
20 there were, but this -- this seems like the gist of it.                    20     A   Maybe. Knowing -- knowing that people -- that people
21      Q     Okay. Well, let me ask you this: In looking at the              21 represented my statements or took my statements to mean that, I
22 flyer and in the -- the statement that was quoted in the Austin            22 wish that that had not been the case.
23 American-Statesman in Exhibit 2, is there anything that, sitting           23     Q   Right. And by pedophile, that would mean actually
24 here today, you would say is inaccurate about the statements               24 either wanting to abuse or actually abusing children.
25 that you made? Like, is there anything factually false in those            25     A   Like, committing a crime, yeah. I don't believe that

                                                                    Page 11                                                                     Page 13
 1 statements?                                                                1 Dr. Hubbard has committed any crime.
 2    A     Not -- no, not that I know of, sir.                               2     Q    Understood. Was it -- was it your belief that he in
 3    Q     Okay. Well, let me ask it this way: Is there                      3 fact wanted to engage in inappropriate relations with underage
 4 anything, sitting here today, that -- with respect to those                4 boys?
 5 statements that you would change or perhaps supplement with some           5            MR. PRINGLE: Objection --
 6 additional language?                                                       6 BY THE WITNESS (resuming):
 7            MR. PRINGLE: Objection, form.                                   7     A    That would be speculation to me. I -- personally, I
 8 BY THE WITNESS (resuming):                                                 8 don't -- I did not think that. That wasn't really what I was
 9    A     What do you mean by supplement, maybe?                            9 trying to get at the root of this. It was more the -- the
10     Q     Well --                                                          10 scholarship that he was promoting and not any concern with
11     A    Yeah, if you could just -- I don't understand.                    11 Dr. Hubbard's actions.
12     Q     Sure. Well, let me just ask it -- I'll ask two ways.             12     Q    Okay. So at the time you made the statements, you
13     A    Okay.                                                             13 didn't have an opinion one way or the other about whether you
14     Q     Is there anything you would change about the                     14 believe that Dr. Hubbard was in fact a pedophile?
15 statements?                                                                15     A    Well, I -- I would say one way or the other to the
16     A    No, sir. I believe this is my -- this is my opinion,              16 negative. I didn't believe that Dr. Hubbard was that type of
17 yeah.                                                                      17 individual. Those people are usually caught by the law --
18     Q     Okay.                                                            18     Q    I'm --
19     A    No, I wouldn't change the -- the statements. They are             19     A    -- someone who has been through criminal proceedings,
20 -- they still represent my opinion.                                        20 and that's -- I know for a fact that that's not the case --
21     Q     Okay. They accurately represent your opinion;                    21     Q    Okay.
22 correct?                                                                   22     A    -- with Dr. Hubbard.
23     A    Yes, uh-huh.                                                      23     Q    Understood. And that was at the time you authored the
24     Q     Okay. Is there anything that you would add to the                24 flyer; correct?
25 statements to clarify or, you know, otherwise -- I mean, I                 25     A    Yes, sir.


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 1     Q     And -- and just to be clear, you were at least one of       1 killed a bystander, that's a statement of fact; would you agree?
 2 the persons involved in authoring the flyer that's Exhibit 1;         2     A Yes.
 3 correct?                                                              3     Q Because that's something we could objectively verify
 4     A     I was the sole author of the flyer --                       4 in time and space; agree?
 5     Q     Okay. Okay.                                                 5     A Yes.
 6     A     -- yes, if that's what you're asking.                       6     Q Okay. And you understand that there's an issue in
 7     Q     Has your opinion since the flyer was authored changed       7 this case as to whether there's statements in that flyer that
 8 with respect to your views about whether Dr. Hubbard is a             8 are fact or opinion.
 9 pedophile?                                                            9     A Uh-huh.
10      A    I did not believe at the time of the publication of         10    Q Do you understand that?
11 this flyer that Dr. Hubbard was a pedophile. I do not believe         11    A Yes, yes, I do.
12 that that is represented in this text, and that is currently          12    Q And I think I heard you use the phrase earlier that
13 still my opinion. I don't believe that Dr. Hubbard is a               13 the flyer accurately reflects your opinion; correct?
14 pedophile.                                                            14    A Yes, sir.
15      Q    Okay. Was there ever a point that you did believe he        15    Q Okay. Well, let me ask you this: Are there any
16 was a pedophile?                                                      16 statements in the flyer that you would characterize as factual
17      A    No, no, there -- there was not.                             17 and not opinion?
18      Q    All right. And I know you've -- and, look, I            18     A Okay.
19   understand that we're -- we're in litigation, and one of the -- 19     Q And take as much time as you need --
20   one of the legal issues, as I'm sure you've come to understand 20      A Yeah, let me take a moment. (Reviewing.) I believe I
21   -- you're a moot-court person as I understand it.               21 could accurately characterize the last two sentences of the
22       A Yes.                                                      22 first paragraph --
23       Q Do you want to be a lawyer?                               23     Q If I give you a highlighter, would you mind
24       A I do, yes.                                                24 highlighting the statements --
25       Q Okay.                                                     25     A Yeah, of course.

                                                               Page 15                                                                    Page 17
 1    A Uh-huh.                                                          1     Q    And -- and just to be clear --
 2          MR. PRINGLE: Don't change your mind.                         2     A    I'd be happy to read them out loud.
 3          THE WITNESS: This certainly -- this certainly                3     Q    Sure, you can do that. But just to be clear, I'm not
 4 could come close to it, but it hasn't shaken me yet.                  4 -- by highlighting these statements, I'm not suggesting that
5             MR. SIBLEY: Well, believe me, there's way more             5 you're claiming everything in that sentence is necessarily
6 boring and worse cases than this one.                                  6 factual --
7 BY MR. SIBLEY (resuming):                                              7     A    Uh-huh.
8      Q But so let -- let me ask you this: You understand               8     Q    -- but that the statement at least -- the sentence
 9 that there is a legal issue under the First Amendment for a           9 contains at least some facts.
10 defamation case; right?                                               10     A    Yeah.
11      A Yes, sir.                                                      11     Q    Is that fair?
12      Q And one of those issues is, in order to be actionable          12     A    Yeah.
13 for defamation, the statement complained of has to be a               13     Q    Okay.
14 statement of fact and not of opinion. Do you understand that?         14     A    That seems reasonable to me.
15      A The actionable meaning that it's, like, a -- it's a --         15     Q    All right. Now, you're looking at the last two
16 it's a statement of fact only. Sorry. Would you explain that          16 sentences of the first paragraph.
17 again?                                                                17     A    Yes, sir.
18     Q Well, let -- let me put it this way: You understand             18     Q    Okay.
19 that if I express my opinion that I don't like Dr. Hubbard and I      19     A    Uh-huh. (Reviewing.)
20 think he's a bad professor --                                         20     Q    Okay. Which portions of those sentences would you
21     A Uh-huh.                                                         21 consider factual?
22     Q -- that's not -- that's an opinion. Would you agree             22     A    So what I highlighted was, Furthermore, Hubbard is --
23 with that?                                                            23 I did not highlight heavily because that is more of my opinion
24     A Yes.                                                            24 -- associated with the North American Man/Boy Love Association.
25     Q Okay. If I say that Dr. Hubbard ran the red light and           25 I -- I can't exactly speak to whether or not it's still formally


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 1 the world's largest pedophile advocacy group. I believe that                1 of that.
 2 that is a statement of fact, though, and he is even on the list             2     A      (Nonverbal response.)
 3 of associated individuals on the NAMBLA Wikipedia page, I                   3               MR. PRINGLE: Everybody gets one free swing;
 4 believe, is a statement of fact.                                            4 right?
 5    Q        Okay.                                                           5               MR. SIBLEY: Right.
 6    A        At the time that this flyer was --                              6 BY MR. SIBLEY (resuming):
 7    Q        Right.                                                          7     Q      All right. Okay. You're an English major; right?
 8    A        -- published, of course.                                        8     A      This is true, yes, right.
 9    Q        Right. Understood. All right. Go on and -- and you              9     Q      And a part of English is reading comprehension. Is
10 can finish with the flyer and -- and tell me what else you think            10 that fair?
11 might contain factual statements.                                           11     A     Uh-huh.
12        A    (Reviewing.) I believe that's it.                               12     Q     Yes?
13        Q    Okay. So those are the only factual statements in the           13     A     Yes, sir. Oh, yes. I'm sorry.
14 whole flyer?                                                                14     Q     And part of reading comprehension is understanding the
15        A    The -- the ones that -- in my current review, yes,              15 main idea of a passage. Is that fair?
16 sir.                                                                        16     A     Certainly.
17        Q    Okay. So let me just ask you --                                 17     Q     And sometimes the main idea -- I mean, you've taken
18        A    Uh-huh.                                                         18 standardized tests, I'm assuming; right?
19        Q    -- the first sentence says, For as long as he has               19     A     Yes, not a long time, but yes.
20 taught at the University of Texas, and then it says, Since 2000. 20                Q     Okay. I mean, you got into UT. It's not easy to get
21 Do you see that at the beginning?                                           21 in; right?
22        A    (Reviewing.) That's two different sentences.                    22     A     Maybe, but --
23        Q    Sure, but --                                                    23     Q     Well, I mean, I'm an alumna, so I'm trying to get you
24        A    What are you -- sorry. I'm just trying to ask what              24 to help my pedigree here, but...
25 are you asking about that.                                                  25     A     Yeah, I understand. Yes.

                                                                     Page 19                                                   Page 21
 1    Q        Well, let me ask you this: Is it -- is it a factual   1     Q It's -- it's a good school.
2 statement that Dr. Hubbard has done something since the year       2     A Uh-huh.
3 2000?                                                              3     Q Yes? Okay. And generally -- I don't know what the
4     A I mean, to -- that was -- that was definitely a              4 rules are now, but generally, you've got to take an SAT or an
5 statement of my opinion that he's done something since 2000. I 5 ACT to get in; yes?
6 was trying to use 2000, of course, as a objective marker of        6     A Yes, sir.
7 time, but that was -- he could have been doing something before 7        Q Have you taken the SAT or the ACT?
8 then.                                                              8     A I took the S -- the ACT, the one with the math.
9     Q Okay.                                                        9     Q Ugh, okay.
10     A To me, that was just the time in which the scholarship     10     A It's -- it's -- there's a difference between the two
11 picked up --                                                     11 that the SAT is less heavy on math as the ACT, so...
12     Q Okay.                                                      12     Q Really?
13     A -- which it was recognizable to me.                        13     A Yes.
14     Q All right. So you used 2000 as a sort of placeholder       14     Q I didn't know that.
15 for when you believe that the, as you say, scholarship picked up 15     A That's what they say.
16 on the issues that you complain about here?                      16     Q Okay. Well, I'm sure you've taken those -- I don't
17     A Yes, sir.                                                  17 know if it was on that test or -- at some point, you've taken a
18     Q Is that fair?                                              18 test with a reading-comprehension set of questions; right?
19     A Uh-huh.                                                    19     A Yes.
20     Q And I know it's normal language, but you -- and it's       20     Q And one of the questions that's often asked is, What
21 natural, but if you can just say yes or no instead of uh-huh,    21 is the main idea; right?
22 that would be --                                                 22     A Yes.
23     A Oh, excuse me. Yes, sir.                                   23     Q And obviously the main idea is not written expressly
24     Q I'm going to have to complain to the people who            24 in the passage; correct?
25 published that deposition video and tell them to do a better job 25     A Uh-huh.


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 1    Q     Yes?                                                              1      Q     And -- and let me just ask --
 2    A     Yes, sir.                                                         2      A   -- I know what I'm --
 3    Q     Because otherwise it would be very easy to answer if              3      Q     Let me give you a preview. I'm going to ask you the
 4 the question is, Does the passage say, quote/unquote, X, Y and             4 way you read it --
 5 Z, unquote; right? That would be easy.                                     5      A   Uh-huh.
 6    A     That's correct, yes.                                              6      Q     -- and then I'm going to ask you what you intended to
 7    Q     So what the reading-comprehension tests are designed              7 convey.
 8 to gauge is how well you understand the point that a -- an                 8      A   Okay.
 9 author is trying to convey. Would you agree with me?                       9      Q     Okay?
10     A    I would, yes.                                                     10     A     That --
11     Q     Okay. And would you agree with me that there are                 11     Q      So just --
12 things that are conveyed by this flyer that are not necessarily            12     A     That makes sense.
13 expressly written out in the flyer? Would you agree with that?             13     Q      -- just so you know.
14     A    I -- I would have to be told specifically what you                14     A     Thank you. (Reviewing.) Okay. So would you ask me
15 think is -- is the, like, connotative meaning, but I'm sure that           15 the question again now?
16 someone -- this would be speculating -- I'm sure that someone              16     Q      Sure. What would you take away as a main idea or a
17 engaging in a -- a reader with this passage would find some                17 gist from the flyer about Dr. Hubbard? I mean, we know that it
18 other -- would maybe find some other things that are expressly             18 says --
19 written. Yeah, I could agree with that.                                    19     A     About -- specifically about Dr. Hubbard?
20     Q     Right, because -- yeah, every -- every piece of                  20     Q      Yes, ma'am --
21 writing, unless it's extremely basic, generally conveys ideas              21     A     Okay.
22 that are not expressly written in the passage. Would you agree 22                 Q      -- or his writings or his teachings.
23 with me?                                                                   23     A     Okay. Yeah. I believe that one of the -- one of the
24     A    I would, yes.                                                     24 if not the main idea that I was attempting to express with this
25     Q     All right. And -- and there's -- there's at least                25 flyer was that Dr. Hubbard, through his writings, has put

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 1 some attempt to objectify what a main idea is given the fact               1 pederasty in a good light so much so that -- I -- I -- I'm going
 2 that we have standardized tests; right?                                    2 to use the word again because this is -- I believe it sums it up
 3    A     (Nonverbal response.)                                             3 well, is that he's advocating for this -- this type of behavior
 4    Q     Whether or not we agree with whether that's a good                4 to be legal and to be considered to be moral and that there's
 5 gauge of it, we have standardized tests on how someone reads a             5 not as many downsides as one would think most of the time.
 6 passage and gets ideas; correct?                                           6     Q    Okay. All right. So --
 7    A     Right. In academia, there is -- certainly is a hope               7     A    Yeah, and that -- or at least that they have -- they
 8 to objectify some things just so it could be standardized for a            8 could have a proper place in society, if I may just use the
 9 test, yeah.                                                                9 standard definition of proper.
10     Q    Sure, but it's not just in academia. I mean, when                 10     Q     Of course. So one -- one gist from this is,
11 someone reads a news article or a magazine article or whatever             11 Dr. Hubbard has painted pederasty in a light that makes it
12 they read, part of language is conveying ideas without having to           12 appear legal. I believe that's one of the words you used.
13 expressly write out everything that you want the reader to see;            13     A   I -- I don't -- I -- I would disagree with that.
14 right?                                                                     14     Q     Okay.
15     A    I would definitely agree with that, yes.                          15     A   What -- the hesitation comes from making it legal. I
16     Q    Okay. So I'm asking you, Ms. Blakemore, what are some 16 don't think I was trying to -- I personally did not absorb from
17 main ideas or just -- if we could call it that -- that you would           17 Dr. Hubbard's writing that he was trying to say that this
18 take from the flyer as just an objective reader? As a                      18 behavior was legal, just that it -- because I don't think it
19 reasonable ordinary reader, what would you say are some things 19 says that it's legal. I mean, there is some stuff that he says
20 that you take away from that flyer that are not spelled out in             20 where he talks about the -- changing the age-consent laws, so of
21 some many words?                                                           21 course it's implied that that's not legal currently --
22     A    Okay. May I take a moment?                                        22     Q     Right.
23     Q    Sure. Of course.                                                  23     A   -- to me, yes.
24     A    (Reviewing.) This is a little bit difficult because I             24     Q     Okay. And if we can just switch over to the Statesman
25 am the one who wrote this, of course, so I think --                        25 quote --


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 1     A Uh-huh.                                                        1     A      -- and it could be a positive thing in our society.
 2     Q -- in that quote, you say, Advocating for breaking the         2     Q      Got it. Okay.
 3 law.                                                                 3     A      Uh-huh.
 4     A Uh-huh.                                                        4     Q      But you would agree -- would you agree with me that
 5     Q Yes?                                                           5 the ordinary listener or reader of that might conclude that
 6     A Yes.                                                           6 Dr. Hubbard has expressly encouraged people to go out and engage
 7     Q So --                                                          7 in illegal relationships?
8             MR. PRINGLE: That's -- it actually says                   8              MR. PRINGLE: Objection, form.
 9 promoting.                                                           9 BY THE WITNESS (resuming):
10 BY MR. SIBLEY (resuming):                                            10     A     I'm not sure I could speculate on what another person
11     Q Promoting breaking the law.                                    11 reading this would be, but I could tell you that my -- my
12     A Oh, sorry, yes.                                                12 comprehension of this -- of his writings were that it was saying
13             THE WITNESS: Thank you.                                  13 that this is a positive thing and that it has a -- it could have
14 BY MR. SIBLEY (resuming):                                            14 a place in our society, and it was a promotion of that activity
15     Q Okay. Would you say promoting and advocating are               15 to me.
16 synonyms?                                                            16     Q     And that's a separate question that I -- and I said I
17     A I -- I think for the purposes of this, yeah.                   17 was going to get to that about what you --
18     Q Okay. So if you didn't think that he was promoting             18     A     I'm sorry.
19 people breaking the law, violating current laws as opposed to        19     Q     -- intended to convey. It's okay. I understand
20 asking for reform for current laws, why did you say that to the      20 you're doing your best to answer the questions. What I'm asking
21 Statesman?                                                           21 you is: Can you understand how someone, not Sarah Blakemore
22     A I was -- I -- I -- I think I need to maybe correct my          22 who --
23 clarification to make this more -- okay. So this is currently        23     A     Uh-huh.
24 -- this behavior is currently illegal, the -- the -- some of the     24     Q     -- authored these statements, but someone might review
25 behavior that Dr. Hubbard ta ks about in his writings. So he         25 these statements and conclude that there must be some writing

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 1   speaks about it in a positive light, says that there are ways in   1 somewhere where Hubbard essentially tells people that it's a
 2   which that this could be okay and truly beneficial to both         2 good idea to go out and engage in illegal activity? Can you
 3   parties and currently, because this is illegal, it gives people    3 understand that?
 4   the idea that this positive thing that is illegal, which, to me,   4              MR. PRINGLE: Objection, form.
 5   is a promotion of breaking the law.                                5 BY THE WITNESS (resuming):
 6       Q I see. So by painting something that is illegal as           6     A      I -- I don't think I'm comfortable speculating. You
7 potentially having positive benefits, you construe that as            7 know, maybe I could understand that, but that would be purely
8 promoting, in fact, breaking the law?                                 8 speculation, and I'm not comfortable doing that.
9     A Yes, I would.                                                   9     Q      Okay. Well, let me ask you this: If someone said,
10    Q Even if the person has in the same writings called for          10 That's how I read it, would that be unreasonable?
11 an examination of the laws as to whether they may need to be         11     A     I -- you know, maybe. I haven't read all of
12 reformed.                                                            12 Dr. Hubbard's publications. If they did a different review than
13    A I -- I -- yes, I do believe so.                                 13 I did and that's what they concluded, I don't think that that
14    Q Okay.                                                           14 would be really correct, but, I mean, people can do anything.
15    A Uh-huh.                                                         15     Q     No, ma'am. I'm talking about after reading your
16    Q All right. Well --                                              16 statements.
17    A I think those are -- I think those are two separate             17     A     After reading just my statements --
18 matters. I know that he does speak with a lot of -- in some of       18     Q     Yes, ma'am.
19 his writings about reforming the laws, but that's -- it -- side      19     A     -- that they could -- that they could come away
20 by side, it's -- it's not -- it doesn't trump the fact that he       20 with --
21 is saying that this could be a positive thing, and that in -- in     21     Q     That whoever wrote this -- these statements,
22 places where it is legal --                                          22 Sarah Blakemore, must have read Dr. Hubbard's writings and found
23     Q Okay.                                                          23 something that actively calls for commission of a crime,
24     A -- it is a positive thing --                                   24 violating the law.
25     Q Got it.                                                        25     A     Uh-huh.


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 1    Q     Can you understand how someone might -- would you                1 relations with minor-aged persons.
 2 think that a conclusion along those lines would be unreasonable           2     Q     Okay.
 3 after reading your statements?                                            3     A     It would be included here. I don't think --
 4            MR. PRINGLE: Objection, form.                                  4     Q     All right.
 5 BY THE WITNESS (resuming):                                                5     A     -- that that would be a reasonable conclusion.
 6    A     Can you repeat the question?                                     6     Q     Don't you think it would have been, in order to convey
 7    Q     Sure. I read Sarah Blakemore's flyer and her                     7 -- to ensure -- because you want the truth to be conveyed;
 8 statements in the Statesman. Okay?                                        8 right?
 9    A     Uh-huh.                                                          9     A     Certainly.
10     Q    I'm a person off the street. Understand?                         10     Q     Okay. Don't you think it would have been better to
11     A    Yes.                                                             11 properly convey the truth, to expressly put in your flyer or in
12     Q    Okay. I reach the conclusion there must be something             12 your statements that Dr. Hubbard has not called for anyone to
13 expressly in Dr. Hubbard's writings that calls for or encourages          13 break the law, but his ideas might encourage someone to break
14 people to go out and engage in illegal activities between adults          14 the law just so no one got the wrong idea?
15 and underaged boys.                                                       15     A    I -- I halfway want to say that that's not really my
16     A    Uh-huh.                                                          16 obligation to do so. I -- I don't think I would have added
17     Q    Okay?                                                            17 anything. I mean, in hindsight, I -- I feel terrible that
18     A    (Nonverbal response.)                                            18 people took my statements even further, but that was not my
19     Q    Would you -- would you say that that's an unreasonable           19 intention. I didn't think that that was going to happen.
20 conclusion after reading your statements?                                 20     Q     Right. Well, you said he jeopardized people's safety;
21     A    (Reviewing.)                                                     21 right?
22     Q    If you're getting a reading-comprehension test and               22     A    Where? Where did I say that?
23 the question is, is this one of the ideas gleaned from                    23     Q     Well, I mean, let's look at the -- let's look at the
24 Ms. Blakemore's writings, do I fail the test or is that a                 24 flyer. Well, first of all, the -- the name of the group is
25 reasonable reading?                                                       25 Students For Safety; right?

                                                                   Page 31                                                                       Page 33
 1    A     (Reviewing.) I -- I do not believe a reading of these            1     A     Uh-huh.
 2 statements would say that Dr. Hubbard is specifically telling             2     Q     Yes?
 3 people in so many words that they should go out and do this.              3     A     Yes --
 4    Q     Okay. You would conclude what, then?                             4     Q     All right.
 5    A     What -- what do you mean? I would conclude from my               5     A     -- yes, it is. Sorry.
 6 own --                                                                    6     Q     And so, if I'm an ordinary reader, that's the first I
 7    Q     You are --                                                       7 look at is the first line on the page; right? Is that
 8    A     -- my own comprehension of this?                                 8 reasonable?
 9    Q     Not -- you've read all of the materials; right -- or             9     A     I -- I believe that's reasonable.
10 the materials -- you've read some of the materials; right?                10     Q     Who is this coming from, for example; right?
11     A    Yes --                                                           11     A    Uh-huh.
12     Q    Okay.                                                            12     Q     Yes?
13     A    -- that's true.                                                  13     A    Yes.
14     Q    But you understand the person listening to or reading            14     Q     Okay. And so don't you think the ordinary reader is
15 these statements has not read Dr. Hubbard's materials.                    15 stricken with, Hey, there may be a safety issue here, as soon as
16     A    That's correct.                                                  16 they look at this flyer?
17     Q    Okay. And so they're -- they might be led to a                   17     A    I -- I think that is -- would be a stretch from --
18 conclusion that whatever is in those materials expressly calls            18 coming from just Students For Safety.
19 for -- it says it's a good idea to go out and engage in illegal           19     Q     Well, why did you pick the name Students For Safety?
20 activities.                                                               20     A    I picked the name Students For Safety because we had
21     A    I -- I don't think that's correct. I believe that in             21 been having other demonstrations on campus of an unrelated
22 a -- well, I mean, I always look for what's not stated and                22 matter, and they were called the Sit-ins For Safety, and so I
23 what's expressly stated, of course, in writing, and I think               23 just kind of created this name that was somewhat similar called
24 showing that if it's -- if there were damning evidence, it would          24 Students For Safety.
25 be here to say that he said, You should go out and have sexual 25                Q     Did Students For Safety do anything else other than


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 1 with respect to Dr. Hubbard?                                              1      Q     Okay. Was that specifically with respect to
 2       A    No.                                                            2 Dr. Hubbard?
 3       Q    Okay. So this was a special-purpose name created for           3      A     I -- I believe that the fact that the university has
 4 the purpose of Dr. Hubbard; right?                                        4 -- knows about this kind of scholarship and -- and has it
 5       A    Yes.                                                           5 continue is an indication that, yeah, they don't have that much
 6       Q    Okay. All right.                                               6 care for the way we feel and how we get to engage with, like,
 7       A    That wasn't the intention behind it, if that's what            7 academic learning.
 8 you're asking --                                                          8      Q     Okay.
 9       Q    Okay.                                                          9      A     Uh-huh.
10       A    -- to say that there was a safety issue around this            10     Q      The sentence immediately preceding the sentence that
11 specific issue.                                                           11 -- that begins with, It is clear -- are you with me?
12       Q    Okay. Well --                                                  12     A     (Reviewing.) Hubbard's is where we're starting?
13       A    It was mostly just kind of a piggyback situation since         13     Q      No. You --
14 there had already been this kind of thing that I was involved             14     A     Hubbard's misconduct, immediately preceding?
15 in.                                                                       15     Q      Immediately preceding, like, before the sentence.
16       Q    All right. Well, let's look at the -- I guess it's             16     A     Oh, excuse me. Sorry.
17 the second paragraph, third sentence.                                     17     Q      It's okay.
18       A    (Reviewing.) It is clear to us that the University of          18     A     An individual who advocates.
19 Texas does not have its students' safety, health and welfare in 19               Q      Right.
20 mind.                                                                     20     A     Okay.
21       Q    Yes.                                                           21     Q      Just go ahead and read the sentence aloud.
22       A    Uh-huh.                                                        22     A     An individual who advocates for violent crime against
23       Q    It's -- and you wouldn't read this -- if you were --           23 teen boys has no business teaching the leaders of tomorrow.
24 you don't think it's a reasonable reading to read this and say,           24     Q      And then you have the sentence about safety; right?
25 People -- you know, Students' safety are at risk from potential           25     A     It is clear to us that the University of Texas does

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 1 violent crime?                                                            1 not have the students' safety, health and welfare in mind, yes.
 2     A No, I don't -- I don't think that that's what's                     2     Q    Okay. And then what's the next sentence?
 3 expressed here.                                                           3     A    Hubbard's misconduct has been brought to the
 4     Q Well, what did you mean when you said that the                      4 administration before to no avail.
 5 university doesn't have its students' safety, health and welfare          5     Q    Okay. So you don't read those three sentences -- or
 6 in mind?                                                                  6 you don't think it's reasonable to read those three sentences to
 7     A What I was meaning is that they don't -- I, of course,              7 conclude that Dr. Hubbard is posing a safety risk as to violent
 8 was having some qualms with the university here. I -- I don't             8 crime --
 9 think they really try to protect our -- our mental health,                9     A    To students in the classroom? Sorry.
10 protect our -- the way we are able to -- you know, yeah, to               10     Q     -- as to violent crime?
11 protect our mental health, really.                                        11             MR. PRINGLE: Objection, form.
12     Q Okay. What about safety?                                            12 BY THE WITNESS (resuming):
13     A Safety?                                                             13     A     Would you say that again? That is --
14     Q Yeah.                                                               14     Q     Yeah.
15     A I mean feeling safe. That's part of being -- that's                 15     A     -- that he's saying that we should be -- or what this
16 part of safety.                                                           16 could -- what you're trying to say to me is that this
17     Q Like, physically safe; right?                                       17 communicates that we should be afraid for our safety because --
18     A I -- I mean, I wouldn't say that physical safety is                 18 in the presence of Dr. Hubbard?
19 always involved in feeling safe. You can --                               19     Q     Well, when the sentence preceding the safety sentence
20     Q Well, what did you mean?                                            20 says, Advocates for violent crime, and the sentence after the
21     A (Reviewing.)                                                        21 safety sentence says, Dr. Hubbard has committed misconduct -- do
22     Q What kind of safety did you have in mind when you                   22 you see that?
23 wrote this?                                                               23     A     Yes.
24     A The feeling of safety and having our mental health be               24     Q     You don't think it's a reasonable reading to conclude
25 protected.                                                                25 that there -- there must be some physical safety risk, like,


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 1 from violent crime, based on Dr. Hubbard's misconduct --            1     A    I believe it was part of -- I knew it was one of the
 2     A   No.                                                         2 required credits that I had to get for my -- I guess they call
 3     Q    -- that's at issue here?                                   3 it core curriculum. It was in one of the categories. I don't
 4     A   I believe advocating makes it clear that there's no --      4 exactly remember which one. It might have been called like
 5 there's no physical safety risk.                                    5 C-Hat (ph) -- or VAPA.
 6     Q    Well, you -- you said misconduct, though, too; right?      6     Q    Okay. Did you do any research on Dr. Hubbard or his
 7     A   Yes.                                                        7 class before you enrolled in it?
 8     Q    All right. What kind of misconduct did we -- did you       8     A    I enrolled in -- I believe it was CC 303, but I had a
 9 have in mind?                                                       9 -- a TBD professor. I had not -- I didn't know who my professor
10     A    I was thinking about his -- the way he treats students     10 was going to be. I didn't do any research. Sorry. That's the
11 and the other people around him.                                    11 answer to the question.
12     Q    Well, what -- what's that? What do you mean by that?       12     Q    Okay.
13     A    I mean, to me, Dr. Hubbard does -- doesn't act with        13     A   I didn't know.
14 the -- the amount of compassion that I usually see from my other 14        Q    Well, tell me about your experience in Dr. Hubbard's
15 professors in empathy, and he has had problems in the               15 class when you -- for the time that you were in it.
16 administration with -- and with his colleagues. Like, we heard      16     A   Yeah. Honestly, on the first day that I came into
17 just on Tuesday that they don't consider his behavior to be what    17 Dr. Hubbard's class, I just -- I had a negative feeling about
18 a professor should be. That's what I was referring to.              18 Dr. Hubbard. I -- I raised my hand in the class for a while on
19     Q    And you knew about that at the time?                       19 the first day and my -- my question wasn't answered. He wasn't
20     A    No, no, I didn't.                                          20 taking very many questions, but the only -- to me, the only
21     Q    Well, so, then that wasn't what you were referring to      21 questions that he was taking were from male students. And so I
22 because you didn't find out about that until you did an             22 -- I had to wait until the end of my -- until the end of the
23 open-records request after the flyer; right?                        23 class period to ask the question. And it was -- I asked the
24     A    I had heard that Hubbard was not well liked in his         24 question, he answered it, but it made me very uncomfortable and
25 department.                                                         25 it -- and it made me think that -- I mean, coming from Texas

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 1    Q Okay. But when you just told me that you were                  1 A&M, which is experiences that I had already had in -- at the
 2 referring to things like what we heard in Dr. Hubbard's             2 university, I had -- I've had some sexist experiences with my
3 deposition --                                                        3 professors --
4      A Uh-huh.                                                       4     Q    Well, I was going to say --
5      Q -- that's not true; right?                                    5     A    -- and that was the same --
 6     A Right.                                                        6     Q    -- Texas A&M is notorious for being a feminist campus,
 7     Q Okay. So what you're referring to are things that you         7 so...
 8 had heard about Dr. Hubbard in the way he treated students;         8     A    Really?
 9 right?                                                              9     Q    I'm -- I'm being facetious.
10     A Including my experiences, yeah.                               10     A   Oh, okay. Yeah, I was about to say that's -- wasn't
11     Q Well, what -- tell me about -- and I may be getting           11 my experience. But, to me, Dr. Hubbard was displaying kind of
12 this incorrect, but weren't you a freshman in his class, or were    12 this maybe pompousness and it came off as -- as sexist to me.
13 you a sophomore?                                                    13     Q    How many people were in the class?
14     A I was -- that was my -- that was my first semester at         14     A   I don't exactly remember. It was a -- it was a fairly
15 the University of Texas, but I did transfer from Texas A&M, so      15 large lecture hall, and I would say it was covered with
16   that was my sophomore year.                                       16 students, so maybe there were 50 people in the class.
17       Q Oh, you started at Texas A&M.                               17     Q    Okay. So this is one of the largest sort of --
18       A Uh-huh, that would be my -- so it was my -- my third        18     A   This is -- this is one of my smaller classes that year
19   semester in the university.                                       19 because this is my freshman -- this is not my freshman year.
20       Q I see. Okay.                                                20 I'm still going through core classes.
21       A Uh-huh.                                                     21     Q    Gotcha. All right. Well, you understand it's
22       Q Gotcha. All right. So what was your -- go ahead and         22 difficult sometimes to take questions from students when there's
23   tell me about your experience with -- well -- well, let's just    23 so many people in a class; right?
24   back up, I guess. And what made you decide to take                24     A   Certainly, I do, yes.
25   Dr. Hubbard's class that semester?                                25     Q    All right. But you perceived very early on that you


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 1 felt like Dr. Hubbard had a bias toward male students.                   1     Q     Okay. I'm very sorry to hear that. And -- and you
 2     A    Yeah, uh-huh.                                                   2 understand that one of the issues that will be looked at in this
 3     Q    Okay. Did you know that Dr. Hubbard was gay at the              3 case is your state of mind at the time you made the statements,
 4 time?                                                                    4 and part of that, I think it's fair to you, is that as someone
 5     A    No, no, I did not.                                              5 who was a sexual-assault survivor, someone should be able to
 6     Q    Okay. When did you find out he was gay?                         6 kind of step into your shoes if -- to the extent that's possible
 7     A    Gosh, I don't -- I don't think I could specifically             7 and understand how some of these things that were in
 8 put a point on it. I -- I -- I don't know. I'm sorry.                    8 Dr. Hubbard's writings or teachings may have triggered some
 9     Q    That's okay. If you don't remember, you don't                   9 things for you. Okay? Is that fair?
10 remember. But today -- sitting here today, you know that;                10    A     Could you hand me a tissue?
11 right?                                                                   11    Q      Of course.
12     A    Yes, I do, yes.                                                 12    A     I'm going to need you to repeat that question.
13     Q    All right. All right. So it started with some --                13    Q      That's okay. Do -- do you need to take a break? You
14 some issues that you had with respect to feeling -- feeling like         14 can take a break --
15 he was pompous; right?                                                   15    A     That would be nice, yes.
16     A    (Nonverbal response.)                                           16    Q      Okay. Sure.
17     Q    Yes?                                                            17             VIDEOGRAPHER: We are off the record at 10:54.
18     A    Yes. Sorry.                                                     18             (A recess is taken.)
19     Q    And you perceived that as a sexist attribute; correct?          19             VIDEOGRAPHER: We are back on the record at
20     A    Uh-huh, yes, I did.                                             20 10:58.
21     Q    All right. Well, what happened next that, I guess,              21 BY MR. SIBLEY (resuming):
22 upset you or disturbed you about the class?                              22    Q      Okay. Ms. Blakemore, I'm just going to ask you some
23     A    Just that there weren't -- the subject of                       23 very high-level questions about these attacks, because I don't
24 Dr. Hubbard's class is mythology, which has a lot of stories             24 want to go into details that would be, you know, too disturbing
25 with sexual misconduct in them, sexual coercion all the way up 25 for you to answer --

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 1 to forcible sexual assault, and he -- there weren't many -- he           1     A     Uh-huh.
 2 mentioned at the beginning of class on the first day that there          2     Q     -- but I want to ask you the dates of the events. I
 3 would -- there would be content that could be triggering to some         3 think you told me the first attack happened in 2015.
 4 people, and -- but I didn't see a great amount of concern dealt          4     A     I -- I -- I think that is the case.
 5 with -- or given to this content, that it could be triggering to         5     Q     Okay.
 6 students. I -- I took the class again. This is past fact, but            6     A     I -- I mean, I could, like -- you could give me a
 7 I -- I took the class again and I -- and I had a very different          7 calendar and we could go back, but it was when I was 15 years
 8 experience with the way they -- they dealt with content with             8 old, so I'm -- I was born in '99, so...
 9 sexual assault in it.                                                    9     Q     Okay. So the 2015 timeframe.
10     Q    Who was the professor of the other class?                       10     A    Yes.
11     A    The next class, Anna Papile, I believe was her name.            11     Q     All right. And then how many -- how many times after
12     Q    Okay. All right. So what -- what concerned you was              12 that?
13 the discussions of sexual assault in mythology that you felt             13     A    I was sexually assaulted once more in 2017, and I do
14 like were done in a -- in an insensitive way. Is that fair?              14 know that that was actually 2017.
15     A    Yes --                                                          15     Q     All right. And any other times?
16     Q    All right.                                                      16     A    Huh-uh.
17     A    -- insensitive would be a good word.                            17     Q     Okay. Was it just two events or was it multiple
18     Q    All right. And I -- I'm pretty sure we can -- we can            18 events in a period of time in those years?
19 discuss it more later, but I'm pretty sure that I've seen in             19     A    What -- what do you mean?
20 either answers to discovery or correspondence that you are a             20     Q     Like, were there multiple attacks within --
21 sexual-assault survivor; is that correct?                                21     A    Oh, no, it was -- it was singular attacks.
22     A    This is true, yes.                                              22     Q     I see. And were those reported to the authorities?
23     Q    All right. When did that occur?                                 23     A    No, they were not.
24     A    I have -- I've been sexually assaulted multiple times,          24     Q     Okay. Okay. I was trying to think of where we were
25 and the first time was in 2015, I believe.                               25 before. Oh, we were talking about your experiences in


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 1 Dr. Hubbard's class --                                                1     A     That is correct.
 2    A    Uh-huh.                                                       2     Q     Okay. Because you understand that nowadays we have a
 3    Q     -- and that's how we got on this issue because one of        3 lot of -- a lot of reporting because oftentimes women are afraid
 4 the reasons you found is, I guess, a demeanor or the way that he      4 for various reasons to speak up about things and we sort of have
 5 described rape in mythology -- in classical mythology was             5 a -- a more open society about the fact that these things occur
 6 insensitive. Fair?                                                    6 and that people need to report them even if it's years after the
 7    A    Yes.                                                          7 fact; right?
 8    Q     All right. And because of your history, that was             8     A     Neither of the incidents has happened in the United
 9 particularly an issue for yourself.                                   9 States. I don't -- I don't know anything about the laws in
10     A    Yes. It caused me to -- to take a disability Q-drop          10 those countries and I didn't want to find out.
11 from the class, yeah.                                                 11     Q    Oh, okay. I see. Well, where did they occur?
12     Q    Okay. And I'm not sure if I remember this correctly          12     A    The first one was in Coasta Rica and the second was in
13 or not --                                                             13 Paris.
14     A    Uh-huh.                                                      14     Q    Were you there on school or something or was it a
15     Q    -- but I thought I saw something in some of the              15 family trip?
16 materials that you actually suffered from PTSD as a result of         16     A    I was in Costa Rica on a trip with friends and then I
17 the assaults --                                                       17 was working when I was in Paris.
18     A    Yes --                                                       18     Q    The '15 -- 2015 was Costa Rica?
19     Q    -- is that correct?                                          19     A    Yes, 2015 was Costa Rica; 2017 was Paris.
20     A    -- I do have a diagnosis of PTSD.                            20     Q    You got to go to Costa Rica by yourself as a
21     Q    Okay. And that was present at the time of                    21 15-year-old?
22 Dr. Hubbard's class?                                                  22     A    With my friends.
23     A    Yes.                                                         23     Q    Oh, well --
24     Q    Okay. Did you consider -- I mean, did you consider           24     A    With my friends and their parents.
25 that -- is that something you consider before you enroll in           25     Q    Oh, I see.

                                                               Page 47                                                                    Page 49
 1 classes as to whether the subject matter and content might be         1     A     Yes.
 2 inappropriate for you given the fact that things with PTSD tend       2     Q     Okay. I was going to say that's -- that's a --
 3 to trigger memories; right?                                           3     A     Yeah.
 4     A Right. I have not -- I have not previously thought              4     Q     -- spring break sure kicked in, because Costa Rica is
 5 about the subject of classes that -- that would be particularly       5 -- wow.
 6 triggering. It's -- it's more like I have smaller more                6     A     Yeah.
 7 incidental triggers, like -- like a man yelling or something          7     Q     And then the same thing with 2017? Was that a trip --
 8 like that.                                                            8 what -- what did you say about the trip?
 9     Q I see.                                                          9     A     I was working at the time. I was -- I was working in
10      A So it's -- it's broader than just subject matter.              10 Paris.
11      Q I see.                                                         11     Q    You were -- was it as a model?
12      A Uh-huh.                                                        12     A    Yes.
13      Q Well, did you -- did you talk to anyone about the fact         13     Q    Okay. All right. Did you think that maybe you should
14 that -- that you were having these issues in Dr. Hubbard's            14 talk to Dr. Hubbard about these issues?
15 class? Any friends, any other faculty or people at the                15     A    I -- I would have been uncomfortable to do so, no, I
16 university?                                                           16 didn't. I didn't think about that.
17      A I believe I spoke to my disability advisor when I --           17     Q    Why would you have been uncomfortable?
18 when I was asking and -- about and filing the paperwork to be         18     A    His -- his demeanor made me uncomfortable from the
19 able to take a disability Q-drop, yeah.                               19 first day we were in class.
20      Q Okay. And -- and just so I'm clear, I just want to             20     Q    Okay. Did you talk to any -- you talked to your
21 make sure I'm -- I've got this right --                               21 disability advisor. Is that what you said?
22      A Uh-huh.                                                        22     A    Yes.
23      Q -- but you not only -- you didn't report the incidents         23     Q    All right. Did you talk to any friends about, Hey,
24 of the attacks at the time they occurred, and to this day, you        24 you know, this guy -- has anyone else had problems with him, do
25 still have not reported those; right?                                 25 you know anyone else that has problems with him, anything like


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 1 that?                                                                        1 would be justified to the -- to the Grecian people why gods
 2     A     I -- actually, my roommate had taken the same course               2 sexually assaulted people, but I don't exactly remember.
 3 online, and so I said that I thought the content was -- was                  3     Q    All right. Well, you -- you understand that there's a
 4 triggering and she said -- and she agreed. She was just -- she               4 concept in Greek mythology that the gods are above good and
 5 wasn't taking it from Dr. Hubbard, we didn't speak about him,                5 evil?
 6 but we spoke about the content.                                              6     A    Yes, I -- I can imagine that.
 7     Q      Did she raise complains about the -- I mean,                      7     Q    Okay. Well, do you have any reason to believe that
 8 insensitivities along the lines that you had complaints?                     8 your grade in the class was not very good given what you've told
 9     A     No. She said that her -- that her professor was --                 9 me about Dr. Hubbard?
10 was very understanding and -- and was happy to give alternative 10                  A   Certainly. If I had continued the class without --
11 assignments, and that's what they had said at --                             11 without doing well in that midterm exam, it would have been hard
12       Q    How many --                                                       12 to pass it.
13       A    -- the beginning of the year.                                     13     Q   And I'm -- you don't strike me as a person who's in
14       Q    How many classes have you taken in the classics                   14 college to pass; you strike me as a person in college to do
15 department?                                                                  15 well. Is that fair?
16       A    I think that's the only one.                                      16     A   That's certainly true.
17       Q    Okay. Okay.                                                       17     Q   Okay. And I'm assuming your -- your grades in other
18      A     The CC-303, because I, of course, completed it later              18 classes and historically have been pretty good given that you've
19 on.                                                                          19 gotten into good schools. Is that fair?
20      Q     Did you take any at A&M?                                          20     A   Uh-huh.
21      A     No, no, I don't think I did.                                      21     Q   Yes?
22      Q     Okay. All right. So what happened next as far as,                 22     A   Yes, sir.
23 like, talking to people, reaching out to people about issues                 23     Q   Okay. Have you had any problems with -- with any
24 that you were having with Dr. Hubbard's class?                               24 other classes at either A&M or UT that you've had to drop for
25      A     Well, I just -- I just realized that, you know, maybe             25 any of those reasons?

                                                                      Page 51                                                                   Page 53
 1 the content was -- or maybe the way the content was taught was               1     A    What do you mean by, like, problems? Like, for the
 2 not the way that I wanted or that would have been most adhesive              2 same -- like, taking a disability Q-drop?
 3 with me, and I -- I observed from my roommate that I could just              3     Q    Yeah, maybe. So you're calling it a disability
 4 take the class again and I would have -- I could have a                      4 Q-drop?
 5 different professor and that professor would be different about              5     A    Yes. It doesn't -- there's -- within -- within SSD,
 6 teaching the content, so that's just what I decided to do.                   6 you have the -- you have the ability to -- if you have the
 7     Q      Okay.                                                             7 certain accommodation, which I do, that I'm allowed to, I guess,
 8     A     There was nothing else, just spoke to my disability                8 reduce my course load in the middle of the semester if things
 9 advisor and -- and dropped the class.                                        9 change. And so, because I -- I do have disability for having
10       Q    Your -- do you remember any of the grades that you got            10 PTSD, and so I'm -- I was allowed to take a Q-drop without
11 in the class?                                                                11 expending one of the Q-drops that's given to me by the school,
12       A    No, no, I don't think I ever completed any                        12 because it's for medical reasons instead of, like, personal
13 assignments.                                                                 13 reasons.
14       Q    You didn't take a midterm?                                        14     Q    I see. Okay. Was that done at the time or was that
15       A    I did take a midterm. I -- I didn't complete the                  15 something that happened after the fact?
16 test, I don't think.                                                         16     A    The disability Q?
17       Q    What -- why not?                                                  17     Q    Yes.
18       A    Because there was a question on the test that was                 18     A    That was done at the time.
19 particularly triggering to me, so I just -- I -- I think I left.             19     Q    Okay. So --
20       Q    What was the question? If you recall.                             20     A    That was done before I wrote this.
21       A    It was something along the lines of explaining why                21     Q    So you go to your disability advisor and you say --
22 sexual assault was justified to the Greeks, maybe.                           22 you explain the reasons that you've talked about with me and
23       Q    Sexual assault by gods or by other people?                        23 they give you a, what you say, disability Q-drop.
24       A    By -- I don't exactly remember. I think, from what I              24     A    Yes.
25 recall, it was maybe gods. It was explaining why it would -- it              25     Q    Okay. Have you had -- have you dropped any other


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 1 classes on Q-drops or any other drops since you've been in               1     Q    All right. All right. So I'm just trying to go
 2 college?                                                                 2 through the chronology here.
 3     A    I did have to -- the semester -- the semester that              3     A    Right, I understand.
 4 this actually happened, so fall of 2019, I had to medically              4     Q    We medic -- disability Q-dropped Dr. Hubbard's class;
 5 withdraw from the university entirely due to my disability               5 right?
 6 status. I -- for -- I -- I guess I'll just go into this. I               6     A    Uh-huh.
 7 have endometriosis.                                                      7     Q    Yes?
 8     Q    Okay.                                                           8     A    Yes. Sorry.
 9     A    It's a -- yeah, I don't need to explain.                        9     Q    Okay. I'm -- I'm -- I just want to make sure the
10      Q    I mean, I -- I generally know what it is, but go               10 record's clean.
11 ahead.                                                                   11     A   Right, I understand.
12      A    Okay. So I have endometriosis, I -- and I required             12     Q    Once you were out of the class, why -- I mean,
13 surgery for my condition and I was taking a -- a medication that         13 obviously something happened to where you wanted to pursue some
14 was supposed to deal -- help me deal with the endometriosis that 14 of the issues that you had with Dr. Hubbard's writings and
15 had been newly approved by the FDA and it -- it caused me to             15 teachings.
16 have significant memory loss, and so I got a medical withdrawal          16     A   Uh-huh.
17 from the university due to that memory loss.                             17     Q    I mean, that seems obvious now; right?
18      Q    So you didn't -- you weren't in school in the spring           18     A   Uh-huh, yes.
19 of 20 -- or -- yeah, spring 2020?                                        19     Q    What caused that to happen?
20      A    No, I was in school in the spring of 2020. I just did          20     A   I -- I was particularly disturbed when I saw his name
21 -- I medically dropped -- withdrew from school for this fall             21 on the NAMBLA Wikipedia page, and I -- I figured that that was
22 semester --                                                              22 -- it brought me back into it, so -- for sure.
23      Q    I see.                                                         23     Q    All right. But did you see his name on the NAMBLA
24      A    -- so none of my -- all of my courses were dropped. I          24 page before or after you dropped the class?
25 had -- I had already taken a disability Q because, I mean, I was         25     A   After.


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 1 experiencing memory loss. I didn't know what the cause was, but          1      Q    What caused you to even, like, look into it or Google
 2 I was still trying to power through my classes, and then once I          2 it or whatever?
 3 knew that I -- for the reason I was experiencing memory loss,            3      A   I -- for moot court, I -- we have to turn in our
 4 and I was still not doing so hot in my classes because I                 4 schedules to the university so we can -- so the dean can write
 5 couldn't remember things, and so I took the whole medical                5 us letters of excuse when we have tournaments, and another
 6 withdrawal. And also I reduced my course load in -- it would be          6 student in my organization had seen my schedule and said to me,
 7 the fall semester of 2020 because I was having significant               7 Oh, you have Professor Hubbard as a teacher, he is on this
 8 problems with chronic pain.                                              8 Wikipedia page, and that's when I saw it.
 9     Q     I see.                                                         9      Q    Who was it?
10      A    Uh-huh.                                                        10     A    Her name is Shelby Hobohm.
11      Q    So you Q-dropped Dr. Hubbard's class and then later,           11     Q    How do you spell her name?
12 in December, dropped for all of them; right?                             12     A    S-h-e-l-b-y H --
13      A    Right. The last -- the last day that you could                 13     Q    Wait, wait. S-h?
14 medically withdraw from the school is the day that I medically           14     A    Yes, Shelby.
15 withdrawed.                                                              15     Q    Oh, right. I -- I was thinking last name. All right.
16      Q    What day was that?                                             16 Shelby, and the last name is?
17      A    I -- if I had to guess off the top of my head, I think         17     A    Uh-huh, Hobohm, H-o-b-o-h-m. Like hobo and then hmm.
18 it's like December 3rd or something. It's --                             18     Q    Okay. Got it. So someone on your moot-court team,
19      Q    So --                                                          19 Hey, I saw you were in this guy's class. Did you know this
20      A    It's very late.                                                20 about him?
21      Q    So it was after the flyer was put out.                         21     A    Yes.
22      A    Yes, I think so.                                               22     Q    All right. And then tell me what happened next.
23      Q    All right. How long before the flyer was put out did           23     A    Well, I -- I saw -- I saw that Dr. Hubbard was written
24 you drop Dr. Hubbard's class? If you recall.                             24 on this list of associated individuals, and I was particularly
25      A    I don't exactly recall.                                        25 shaken. I -- I took a walk at that point before I was able to


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 1 even return to moot-court practice.                                           1 topic --
 2     Q      All right. And what happened next?                                 2     Q      Okay.
 3     A    I -- I couldn't say with certainty, but I -- I started               3     A      -- was Greek Love Reconsidered. That was the -- that
 4 reading his publications after that. I don't know if it was --                4 was directly the writing that the -- that the Wikipedia page was
 5 what order it was in or if I read other things first and/or                   5 referencing.
 6 checked out Greek Love Reconsidered from the library, but I                   6     Q      Okay. How'd you get a copy of that?
 7 did --                                                                        7     A      It was at the library at the University of Texas, the
 8     Q      Okay. Well --                                                      8 PCL.
 9     A    -- read and check out Greek Love Reconsidered from the               9     Q      All right. Okay. So you read it?
10 library.                                                                      10     A     Yes.
11     Q      And this would've been circa October 2019?                         11     Q     You read the whole thing?
12     A      I -- I think so, yes, or maybe more like November.                 12     A     No. There were other writings. I think it was a
13     Q      Well, about how long before the flyer came out did                 13 compilation, so I read -- I read the introduction that
14 this revelation concerning NAMBLA on the Wikipedia page happen? 14 Dr. Hubbard wrote, and I think there was something -- there was
15     A      I don't think I can really pinpoint it for you.                    15 a piece of poetry he maybe wrote about it, and there, too, I
16     Q      Well, I mean, I'm not asking you to give me an exact               16 didn't read that.
17 number of days --                                                             17     Q     Did you check it out or did you just, like, sit in one
18     A      Okay.                                                              18 of those little cubicles at the library and read it?
19     Q      -- but was it a month, was it a week? Can you -- can               19     A     I -- I -- I believe I took it home with me.
20 you estimate the time?                                                        20     Q     So you actually -- there's a record of you checking
21     A      Maybe -- I -- I really can't. I'm sorry.                           21 this out from PCL.
22     Q      All right. Was it more than a month?                               22     A     Either me or Ms. Kaya Epstein, yes, there's a record
23     A      No, I don't think so.                                              23 of one of us checking it out.
24     Q      All right. So it was less than a month, but it was                 24     Q     Why would Kaya Epstein have checked it out?
25 also not less than a week. Is that fair?                                      25     A     Because I -- I -- Kaya Epstein was reading it with me.

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1     A     Right, uh-huh.                                                       1     Q      Well, did you go to the library together to get the
2     Q     All right.                                                           2 book?
3     A     That's true.                                                         3     A      I think so, yes.
4     Q     I don't think you would have been able to read all of                4     Q      Okay.
5 these things in a week; right?                                                 5     A      Uh-huh.
6     A     Right.                                                               6     Q      And so you and Kaya Epstein both went to the PCL;
7     Q     Because you had other stuff going on like the school                 7 right?
8 and moot court; right?                                                         8     A      Yes.
9     A     Uh-huh.                                                              9     Q      And for jurors who may not know about the PCL, the PCL
10     Q      Yes?                                                               10 is a pretty big library; right?
11     A      Yes -- sorry -- I did have other things I had to do at             11     A     Yes, it's a huge library.
12 the time.                                                                     12     Q     It's like, I don't know, 10 floors or something;
13     Q      But you were still disturbed by finding out that                   13 right?
14 Dr. Hubbard was on the Wikipedia NAMBLA page that you decided to 14                  A     Yes, yes.
15 investigate his writings; is that right?                                      15     Q     Okay. And it's even -- I mean, I'm sure the
16     A      Yes.                                                               16 technology is updated now, but when I was there, it was
17     Q      All right. And do you -- do you remember the first                 17 difficult to even find out where books were.
18 writing that you reviewed?                                                    18     A     It is very difficult to find, yes.
19     A      I -- I -- if -- I believe it was Greek Love                        19     Q     All right. So how did you find out even where the
20 Reconsidered.                                                                 20 book was located in the library?
21     Q      All right. All right. Now, did you -- how did you                  21     A     I -- I think I did a -- you can search the library
22 find out about that writing? How'd you even find out it                       22 catalog online, and I -- I'm familiar with the Dewey decimal
23 existed, I guess?                                                             23 system, and that's the way the books are categorized in the
24     A      Well, Dr. Hubbard was listed on the Wikipedia page for             24 university library, I think. So I just found the code number
25 writing one of the NAMBLA topics, and that was the NAMBLA                     25 that it was, went to whatever stack it was and found it.


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 1     Q    All right. So you and Kaya Epstein would have -- was              1     A     Right, I understand.
 2 it just you two?                                                           2     Q     -- but I think we can agree -- do you know who
 3     A    Yes, it would have been just us.                                  3 Matt Gates is?
 4     Q    All right. So you told her about these issues once                4     A     No, sir, I do not.
 5 you found out from your -- from Ms. Hobohm; right?                         5     Q     He's the Florida congressman who's been accused of
 6     A    Yes.                                                              6 having relations with underaged girls. Have you heard about
 7     Q    And what did she say about it?                                    7 this? No?
 8     A    I don't exactly remember. I think I'm -- I think the              8     A     Oh, more recently?
 9 characterization would be that she was concerned and wanted to             9     Q     Yes.
10 learn more as well.                                                        10     A    Yes --
11      Q    All right. So y'all, with joint concern, went to the             11     Q     Okay.
12 PCL to retrieve this Greek Love Reconsidered book, which you-all 12               A    -- yes, I have heard this.
13 did, and either you or Ms. Epstein checked the book out;                   13     Q     Okay. And I don't know if you follow the news, but
14 correct?                                                                   14 apparently there's allegations that one of the girls that he had
15      A    Yes.                                                             15 a liaison with was, I think, 17, and maybe the age of consent
16      Q    Okay. And did you take turns reading it, or how --               16 for federal law is 18, something like that. Do you recall that?
17 how did that work?                                                         17     A    Not exactly. Not the details specifically, but --
18      A    I believe I took the book with me on a trip I went to            18     Q     Well, let -- let's just say the federal --
19 in New York and then I gave it to her after that.                          19     A    -- I -- I understand that the federal age of consent
20      Q    All right. And what did you take away from the                   20 is 18.
21 passages that you read in Greek Love Reconsidered?                         21     Q     Okay. Right. And so there could be some problem with
22             MR. PRINGLE: Objection, form.                                  22 transporting a girl across state lines who's 17 and not 18, even
23 BY THE WITNESS (resuming):                                                 23 if it might be legal in the state where the girl resides, for
24      A    I believe my -- my takeaway was what I printed here in           24 any kind of sexual activity; right?
25 the flyer, that I found that there was some positive discussion            25     A    Yes --

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 1   of pederasty and there was not many -- there was not negative            1     Q     You understand that.
 2   discussion that jumped out to me, and to me that was, I think,           2     A     -- I would understand that that would be a problem.
 3   advocacy.                                                                3     Q     Okay. I haven't seen -- maybe you have -- but I
 4       Q Okay. How do you define pederasty?                                 4 haven't seen anyone refer to Matt Gates as a pedophile or a
 5       A I would, I guess, define it as having a -- a                       5 pederast. I've seen the terms like underage girls used.
 6   relationship with a person who's not yet the age of consent.             6     A     Okay.
7    Q Okay. And to be --                                                     7     Q     Is that your -- is that your experience with reading
8    A Mostly for, like, the elevation of the other person,                   8 these stories?
9 kind of intellectual elevation, maybe.                                      9     A     I haven't read any stories about him, but I haven't
10    Q The elevation of the younger --                                       10 heard --
11    A The younger person, yes, uh-huh.                                      11     Q    Okay.
12    Q Okay. Is that within the context of ancient Greece?                   12     A    -- the word pederast or pedophilia used to --
13 You're referring to that elevation of --                                   13     Q    If somebody says --
14    A That -- yeah, that's the context that -- in which I                   14     A    -- refer to him.
15 most readily understand it --                                              15     Q    If somebody says, John Doe has had involvement with
16    Q Okay. But --                                                          16 underaged girls --
17    A -- since --                                                           17     A    Uh-huh.
18    Q -- to -- to be fair, you did also parenthetically put                 18     Q    Okay? -- what -- what kind of ages come to mind when
19 the word pedophilia in the flyer; right?                                   19 someone says underaged girls? Is it five-year-olds or is it,
20     A Yes, yes, I did put the -- that word in there.                       20 like, 16- or 17-year-old girls?
21     Q Okay. Do you think there's a difference between                      21     A    I guess it would be -- I wouldn't say 16- or
22 pederasty and pedophilia?                                                  22 17-year-olds, a little bit younger, but definitely not as young
23     A Yes, I do think there's a difference.                                23 as five is not usually what I consider.
24     Q Okay. And, I mean, I know this is not the most --                    24     Q    Right. And -- and you understand that there's a
25 this is not the most comfortable topics of conversation --                 25 difference between someone who is of adult age being attracted


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 1 to a young woman who may be a teenager and underaged and              1     A    I -- I don't know -- quite know what you mean by bad.
 2 sexually developed and being attracted to a toddler. Can you          2     Q    Well --
 3 understand there's a difference there?                                3     A    Like a moral --
 4    A    Yes, I can understand that.                                   4     Q    -- the --
 5    Q     Okay. I mean, we live in Texas. There's a lot of             5     A    -- or a legal --
 6 football games on Friday nights, aren't there?                        6     Q    -- the hypothetical I just gave you. I see someone on
 7    A    There are.                                                    7 the street, they look like a 21-year-old fully mature woman, I
 8    Q     And there's high school cheerleaders that perform at         8 think they're attractive. Okay? Are you with me?
 9 those games, aren't there?                                            9     A    Right.
10     A    Yes.                                                         10     Q    All right. It turns out she's 16.
11     Q    Okay. And those girls are generally under the legal          11     A    Uh-huh.
12 age of consent in Texas; would you agree?                             12     Q    Have I done something wrong? Is there something wrong
13     A    Yes.                                                         13 with me that I thought she was attractive?
14     Q    Okay. Do you think there's anything wrong with some          14     A    No, no, you -- I don't think you've done anything
15 of the men that are grown men in the stands finding the girls         15 wrong. I mean, it -- you should probably not think that again
16 that are cheerleaders that are -- have reached sexual maturity        16 if you see that person or at least --
17 and, you know, look like women, do you think there's anything         17     Q    Now that I know; right?
18 wrong with finding them attractive?                                   18     A    Cognizantly [sic] know that's a child, yeah.
19     A    I -- it does give me pause for sure.                         19     Q    Right, right. This is -- you know, maybe they're a --
20     Q    Okay.                                                        20 it's a good-looking young woman, but it's not someone that's
21     A    I -- I think that would be kind of disturbing.               21 appropriate to have a relationship with; right?
22     Q    Do you remember Brittany Spears when she was young? 22              A    Correct.
23     A    I was born in 1999 --                                        23     Q    Okay. Okay. So how would -- what -- you understand
24     Q    That's true.                                                 24 that there's different ages in different jurisdictions for what
25     A    -- so I -- I do remember Brittany Spears when I was          25 is considered illegal sexual activity with, quote/unquote,

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 1 young, not when she was young.                                        1 underaged people; right?
 2    Q     Okay. Well, and what -- what I'm getting at is               2     A    Yes.
 3 there's a difference between finding someone physically               3     Q    Okay. You understand that in Texas it's 17; right?
 4 attractive and actually seeking out the person and trying to          4     A    Yes.
 5 engage in a relationship with them. Would you agree with me on        5     Q     All right. There's some states in this country where
 6 that?                                                                 6 it's 16; right?
 7    A    The -- yeah, there is a difference.                           7     A    Uh-huh.
 8    Q     Okay. And so, oftentimes, if you see a girl on the           8     Q     Yes?
 9 street and you're a guy, or maybe you're a -- a girl on the           9     A    Yes.
10 street and you see a woman or a guy or whoever --                     10     Q    Okay. I believe, and we'd have to look at it, but I
11     A    Uh-huh.                                                      11 believe there was even a lower age of consent if someone wants
12     Q    -- and you find them attractive -- physically                12 to get married and their parents consent. Have you done any
13 attractive, you may not even know what their age is. Is that          13 research on that?
14 fair?                                                                 14     A    I did know that there's a -- there's a marital thing.
15     A    That is fair, yes.                                           15 I think you can get married at the age of 14 in the state of
16     Q    Okay. Because some 16-year-olds may look like                16 Texas.
17 21-year-olds. Is that fair?                                           17     Q    I wouldn't be surprised if that's -- if that's right.
18     A    That's true, yes.                                            18 And living in Texas, I'm sure you are familiar with Hispanic
19     Q    Okay. So you can't blame someone for -- if -- if             19 culture here; right?
20 someone has reached sexual maturity, like, they have the              20     A    Yes, like --
21 development of -- that women have generally when they reach           21     Q    It's kind of -- it's kind of hard to be a Texan and
22 sexual maturity, someone being attracted to that is not               22 not be familiar with Hispanic culture; right?
23 necessarily bad, is it?                                               23     A    Right.
24            MR. PRINGLE: Objection, form.                              24     Q    All right. And part of -- one of the traditions in
25 BY THE WITNESS (resuming):                                            25 Hispanic culture is something called a quinceanera.


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 1    A    Uh-huh.                                                          1 -- with a girl having sex below 21 is promoting pederasty?
 2    Q     Right?                                                          2     A No, yeah.
 3    A    Yes.                                                             3     Q It just means we have a difference of opinion about
 4    Q     That's when a girl turns 15.                                    4 what the age of consent should be; right?
 5    A    Yes.                                                   5    A Yes, I could say that.
 6    Q And, in Hispanic tradition, that's when a girl becomes    6    Q Okay. And so if some states in this country have an
 7 a woman --                                                     7 opinion that it should be 18 -- like California; right?
 8    A Yes.                                                      8    A Right.
 9    Q -- right?                                                 9    Q And some states like Texas have an opinion it should
10     A Uh-huh.                                                  10 be 17; right?
11     Q And I think even in Jewish traditions it's around the    11    A Yes.
12 same age that there's a bat mitzvah or bar mitzvah where --    12    Q And there's even some states that say 16; right?
13     A Yeah, that's 13.                                         13    A Yes.
14     Q Is it? It's even younger; right?                         14    Q Okay. Do you think it's fair for California to call
15     A Uh-huh.                                                  15 Texas a pedophile state?
16     Q And you're -- you understand that throughout history,    16    A Probably not.
17 beyond the last 40 or 50 years, it was very common for teenage 17    Q Okay. Or for Texas to call maybe Ohio or Georgia a
18 girls that were 14 years old, 15 years old to get married to   18 pedophile state because their age of consent is 16?
19 older men.                                                     19    A Right, that wouldn't make a lot of sense.
20     A    Yes.                                                            20    Q And you may have read it or you may have heard it in
21     Q    Okay. Would you consider that violent rape?                     21 Dr. Hubbard's deposition, but apparently in many countries in
22     A    Consider marriage?                                              22 what we would consider the developed world, like in Europe --
23     Q    Well, sure. Would you consider it rape for a, say,              23    A Uh-huh.
24 25-year-old man to have sex with a 14-year-old wife?                     24    Q -- the age of consent for boys is 14.
25     A    I -- I think -- I certainly would consider that rape,           25    A Okay.

                                                                  Page 71                                                                      Page 73
 1 yeah.                                                                    1     Q    Do you consider that too young?
 2    Q     Okay. So it's based on your -- well, what do you                2     A    Yes, I do.
 3 think the age of consent should be?                                      3     Q    Okay. Would you -- would you consider a country like
 4    A    (Nonverbal response.)                                            4 Germany that had -- well, you were in -- you were in France;
 5    Q     When is it -- when is it okay to have sex with whoever          5 right?
 6 you want, I guess?                                                       6     A    Yes.
 7    A    I -- I agree with the 18 age of consent.                         7     Q    Okay. Would you consider a country like France to be
 8    Q     Okay. So you think it's 18.                                     8 a nation that promotes pedophilia for having a -- an age of
 9    A    Yes.                                                             9 consent -- and just go with me on the hypothetical that it is 14
10     Q    Would you say that states that have a lower age of              10 for boys, would you consider that country promoting pedophilia
11 consent are promoting pedophilia or pederasty?                           11 for having an age of consent for boys that's only 14?
12     A    I don't -- they could. I don't believe that that                12     A   Maybe the culture, for sure, could promote kind of a
13 would be their expressed interest in having a lower age-consent 13 class or, you know, power-unequal relationships. Yeah, I would
14 law.                                                                     14 consider that.
15     Q    Well, whether something is pederasty is a question of           15     Q      Okay. So at what point --
16 when a -- an adolescent becomes able to consent; right?                  16     A   When we get down -- when we get down to 14, it -- it
17     A    I don't think I understand.                                     17 does become a bit iffy to me.
18     Q    Okay.                                                           18     Q      Okay. So that's what I'm trying to get at, is: At
19     A    It's...                                                         19 what point does it become just a difference of an opinion about
20     Q    If I'm someone who thinks that no one should be able            20 what the age of consent can be to where there's no -- there is
21 to consent until they're 21 --                                           21 no legitimate basis for disagreement that a person this young
22     A    Uh-huh.                                                         22 should not be having sex under any circumstances? At what age
23     Q    -- I don't think a girl is -- is fully able to make             23 is that?
24 decisions to consent to sexual activity until they're 21, am --          24     A   I don't think I could put a specific number on it, but
25 am I justified in thinking that everyone who -- who agrees for           25 I will say that, to me, 17 is -- is -- is too young and 14 is


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 1 also too young, but 14 seems a lot more problematic and could be         1 BY THE WITNESS (resuming):
 2 a lot more dangerous for that young person. You have -- like,            2     A I think that if you had statistics that I would be
 3 obviously it's a sliding scale of cognitive ability and autonomy         3 able to agree with -- I mean, with -- with sexual assault,
 4 for young people, but I think 14 for almost all people would be          4 there's problems with people not wanting to report, especially
 5 too young.                                                               5 boys. If -- if you had objective evidence to say that it's not
 6    Q      Okay. But 16, you can understand how a state in this           6 problematic, I wouldn't consider that to be promoting
 7 country might believe that that's an acceptable age of consent.          7 pedophilia.
 8    A      Not really. I think all of this is -- is -- it's               8     Q Okay. So it depends on the quality of the evidence;
 9 somewhat arbitrary. You can't really, like, tack (ph) --                 9 right?
10 especially when there's different ages -- when there's different         10    A I wouldn't -- I wouldn't say that it specifically
11 levels of intellectual capacity between men and women when               11 depends on the quality of the evidence, but in this particular
12 they're -- when our brains are developing. I think that, you             12 thought experiment --
13 know, the -- yeah, I think -- I think 15 is too young, I think           13    Q Sure.
14 17 is too young. I could say 18 is too young. I mean, from --            14    A -- I -- I -- that's what my mind mostly goes to, is --
15     Q      Some people might say 20's too young even.                    15    Q What about 14?
16     A     I think that -- I think that's where we start to cross         16    A -- what kind of evidence.
17 into the threshold of people who have -- at least have a concept         17    Q What if I have objective evidence that -- let's just
18 of far time and they can make better decisions for themselves.           18 even go lower. Let's say 12.
19     Q      Except drinking and gambling, I guess.                        19    A Okay.
20     A     Right, yeah, exactly.                                          20    Q Let's say I have objective evidence that 12-year-olds
21     Q      Okay.                                                         21 having sex with, you know, whoever they want, older, is not
22     A     But, I mean, when -- when you're -- if you have a              22 necessarily harmful. Are you okay with lowering the age of
23 guardian with you, like, say, in the state of Texas, you can             23 consent if I'm advocating for that based on evidence, is that
24 drink alcohol when you're 18 or -- yeah.                                 24 promoting pederasty?
25     Q      Well, that wouldn't be a law that promotes alcoholism,        25    A I -- I --

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 1 would it?                                                                1     Q     Or hebephilia, whatever --
 2     A     No, I don't believe so.                                        2     A     It could --
 3     Q     Okay. So if I'm someone that -- well, let's -- let's           3     Q     -- it's called.
 4 suppose I want to launch a political campaign in Texas --                4     A     It could act as promoting pederasty, for sure, and I
 5     A     Uh-huh.                                                        5 -- I would certainly question 12. I'm -- I mean, that makes me
 6     Q     -- and my campaign is based on, I want the age of              6 uncomfortable, so I just -- you know.
 7 consent in Texas to match that of other states in the country            7     Q     Right. There -- there's some age where, I don't care
 8 where the age of consent is 16.                                          8 what your evidence says, this is just wrong; right?
 9     A     Uh-huh.                                                        9     A     Yeah, I -- I agree.
10     Q      Okay? Are you with me?                                        10     Q     Okay. And there's some gray area where I'd have to
11     A      Yes.                                                          11 see the evidence to know whether you have a legitimate basis to
12     Q      All right. Am I promoting the violent rape of boys by         12 want to lower the age of consent or whether maybe you're just
13 advocating for that change in the law?                                   13 promoting pederasty --
14     A      I would certainly question the motives of coming out          14     A    Uh-huh.
15 -- of that being a platform of someone's campaign.                       15     Q     -- right?
16     Q      Well, what if I have some studies that show that              16     A    Right.
17 there's no evidence of harm for adolescents that are 16 years            17     Q     Okay. So if you don't think that the evidence is, as
18 old as compared to 17-year-olds and there's no real reason to            18 you say, objective, then you think it's a fair inference to say
19 have the law -- the age of consent at 17 instead of 16? Does             19 that the person advocating for a change in lowering the
20 that --                                                                  20 age-of-consent laws could be promoting pederasty.
21               MR. PRINGLE: Objection, form.                              21     A    They could be, yes.
22 BY MR. SIBLEY (resuming):                                                22     Q     Okay. And you think it's -- you think you can draw
23     Q      Does that mean I'm promoting -- promoting pederasty at 23 that inference just from the fact that they're pointing out the
24 that point?                                                              24 positives of it and limited downside, kind of like Dr. Hubbard;
25               MR. PRINGLE: Objection, form.                              25 right?


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 1     A    It would have to depend on the rhetoric of it all, but      1 sounded almost as though you agree at least in principle with
 2 I -- it certainly could be aimed at promoting pederasty.             2 Dr. Hubbard that there should be a different age of consent for
 3     Q    Uh-huh, right, and that would be violent crime against      3 boys and girls, or did I misunderstand that?
 4 boys or girls; right?                                                4     A    No, I didn't. I just said that there is a difference
 5     A    Yes.                                                        5 in -- I don't think that in a policy way it would make any sense
 6     Q    Okay. All right. Let's go back to the next phase in         6 to differentiate between the two.
 7 your sort of --                                                      7     Q    Okay. I thought you -- I thought you said something
 8     A    Before we move whole phases, may I use the restroom?        8 about the differences in cognitive --
 9     Q    Yeah, of course.                                            9     A    There -- there certainly are, yes.
10     A    Thank you.                                                  10     Q      Okay. All right. So the Boys' Sexuality publication,
11             VIDEOGRAPHER: We are off the record at 11:35.            11 you believe you may have gotten from a PDF through the PCL;
12             (A recess is taken.)                                     12 correct?
13             VIDEOGRAPHER: We are back on the record at               13     A      Yes.
14 11:42.                                                               14     Q      Do you review it -- you can review it on your
15 BY MR. SIBLEY (resuming):                                            15 computer?
16     Q    All right. We had talked about you and Ms. Epstein          16     A      Yes.
17 retrieving from the PCL and reading the Greek law -- or Greek        17     Q      All right. So you read that. How long after reading
18 Love Reconsidered publication; correct?                              18 Greek Love Reconsidered did you read that publication?
19     A    Yes.                                                        19     A      I -- I don't know. I'm sorry.
20     Q    All right. After that publication -- well, let me ask       20     Q      Was it fairly close in time?
21 you this: Was that publication sufficient to conform the views       21     A      Yes, that would be my assumption.
22 that you expressed in the flyer and to the Austin                    22     Q      All right. And did you read anything else?
23 American-Statesman that we talked about in Exhibits 1 and 2?         23     A      I believe I read other things. I don't -- I don't
24     A    To form them, but not fully to be confident about --        24 think it was numerous other things and I also don't remember the
25 it certainly got my mind moving.                                     25 names specifically.

                                                         Page 79                                                                          Page 81
1     Q All right. So what did you do to become, as you say,            1     Q       Were they Dr. Hubbard's publications?
2 confident after that?                                                 2     A    Yes.
3     A I -- I read other publications, one of those being              3     Q       But you don't remember the names.
4 Boys' Sexuality and Age of Consent and I -- I believe that's          4     A    No.
5 when I became confident in my opinion.                                5     Q       Okay. How many do you think you've read?
6     Q All right. So after -- where did you get that                   6     A    Definitely less than 10. It was probably maybe less
7 publication from?                                                     7 than five.
8     A I was -- I assumed that I'm getting these from the --           8     Q       Would you have gotten these from the library?
9 the library catalog. If there's an available PDF on the               9     A    All of them, yes, I would have gotten them from the
10 Internet, that might have been it, but I would have gotten it        10 library.
11 from the library catalog. They have -- you can -- they have          11     Q      Would these have been hard copy or PDF materials?
12 open-access PDFs.                                                    12     A      I think the only hardcopy material I got was the Greek
13     Q Gotcha. At the -- at the library?                              13 Love Reconsidered.
14     A The University of Texas --                                     14     Q      Okay.
15     Q So --                                                          15     A      So they would have been PDFs online.
16     A -- library online.                                             16     Q      Were you -- and were you discussing these with anyone
17     Q Oh, so you can go online. Why didn't -- why couldn't           17 else at the time you were reading these publications besides
18 you do that with Greek Love?                                         18 Ms. Epstein on the first one?
19     A Because it was a -- it was a printed book.                     19     A      I might have discussed them with Ms. Brittany
20     Q I see.                                                         20 Blackshear or -- but I don't believe I discussed them with
21     A Uh-huh.                                                        21 -- yeah, I -- I think that would be it.
22     Q So this -- the -- what was the other publication you           22     Q      Okay. Was Brittany Blackshear, was she one of the
23 mentioned? I'm sorry.                                                23 members of Students For Safety, or no?
24     A Boys' Sexuality and Age of Consent.                            24     A      Yes, senior members, yeah.
25     Q By the way, I don't know if I heard this right, but it         25     Q      All right. When you say members of Students For


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 1 Safety, it's not an official membership; right?                           1 groups, which is why we came up with Students For Safety so that
 2     A     Right, yeah, exactly.                                           2 no one would -- people could find some delineation between the
 3     Q     It's a -- it's just a name of a -- of an informal               3 movements.
 4 group. Is that fair to say?                                               4     Q    All right. But you would agree with me that around
 5     A     Yes.                                                            5 the time that you put out the flyer, there was somewhat of a
 6     Q     Okay.                                                           6 controversy at the university about the conduct of some of the
 7     A     Yeah.                                                           7 faculty, sexual misconduct with -- with students?
 8     Q     All right. So at what point did you decide that --              8     A    Certainly.
 9 and let's back up a little bit.                                           9     Q    Okay. And can you understand that given that you
10      A    Uh-huh.                                                         10 published the flyer at the same timeframe as that controversy
11      Q    There were some issues going on with some other                 11 was going on, by stating that Dr. Hubbard had engaged in
12 professors at the university that had, in fact, as I understand           12 misconduct, some people might take that to believe that he had
13 it, engaged in inappropriate sexual either conduct or                     13 in fact engaged in some kind of physical misconduct or something
14 inappropriate sexual advances with students at the university;            14 that the university had reprimanded him for like Professor
15 is that right?                                                            15 Sarkar or Hutchison.
16      A    Yes.                                                            16            MR. PRINGLE: Objection, form.
17      Q    One of those was, I think, Professor Sarkar.                    17 BY THE WITNESS (resuming):
18      A    Sahorta Sarkar, yes.                                            18     A   I see that they're -- are both at the same timeframe,
19      Q    Okay.                                                           19 but I don't believe a reasonable person would say that -- would
20      A    Uh-huh.                                                         20 think that Dr. Hubbard had committed misconduct when we were
21      Q    What did he do again?                                           21 saying that other people had committed misconduct.
22      A    I -- I couldn't say exactly there. I believe there              22     Q    Okay. So you think the -- despite the fact that at
23 were like six of them who are on, like, the double-secret                 23 the time that you put out the flyer, there were allegations of
24 probation when we were -- it might have been that -- this was             24 physical sexual harassment and otherwise at the university, that
25 either him or Coleman Hutchison that he was making -- he was 25 someone is going to read misconduct as you used it in the flyer

                                                                   Page 83                                                                    Page 85
 1 asking his graduate students for nude pictures, I believe.                1 to mean advocating for ideas that you find objectionable?
 2     Q    Okay. How did y'all find out about this, as you say,             2     A    I'm sorry. I -- I don't really understand the
 3 double-secret probation?                                                  3 question.
 4     A    I found out about it from Shelby Hobohm when I went to           4     Q    Okay. What -- how do you -- what do you think is the
 5 -- she invited me to the Sit In For Safety. I think I started             5 reasonable reading when you use misconduct in the flyer? How do
 6 going at Sit In For Safety 2, and that's where I found out about          6 you think the -- what do you think the right way to read that
 7 it, was at the Sit In For Safety.                                         7 is? What kind of misconduct?
 8     Q    Okay. All right. So how did -- how did you connect               8     A    I think misconduct is very broad, just doing things
 9 -- I mean, these were -- but these were professors that had               9 that are not quite savory. I don't think it would indicate that
10 actually done inappropriate misconduct with respect to students;          10 he's -- I don't think misconduct itself indicates that
11 right?                                                                    11 Dr. Hubbard has committed sexual misconduct against students.
12     A     Yes.                                                            12     Q   You don't think that would be an inference someone
13     Q     This -- these weren't just they had ideas that you              13 might draw from the context of the flyer?
14 found to be dangerous; right?                                             14     A   I would consider it to be an incorrect inference.
15     A     That's correct.                                                 15     Q   Can you see how someone might draw that inference,
16     Q     So --                                                           16 though?
17     A     They had actually been found to have done bad things            17            MR. PRINGLE: Objection, form.
18 to students.                                                              18 BY THE WITNESS (resuming):
19     Q      All right. And so would you agree with me it's not             19     A   No, I -- I don't think I could speculate on that.
20 fair to lump in Dr. Hubbard with those professors because, if             20     Q   Okay. You think it would be unreasonable to draw that
21 Dr. Hubbard has done anything wrong, it would be with respect to 21 inference.
22 his advocacy, as you say, of ideas and not any actual conduct.            22     A   Yes, I do think it would be unreasonable.
23 Is that fair?                                                             23     Q   Okay. Well, it says, Misconduct has been brought to
24     A     Right. That was -- that was a -- a concern of ours,             24 the -- to administration before to no avail.
25 was hoping that -- was trying to differentiate between the                25     A   Yes.


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 1    Q      Is that factually true?                                           1 though.
 2    A      I believed that Dr. Hubbard had -- that Dr. Hubbard's             2     Q      Do you know, sitting here today, whether that's true?
 3 scholarship and things like that had been addressed with the                3     A      That if -- that it's been brought to the -- the -- to
 4 university administration and they had not found any reason to              4 the university?
 5 terminate him.                                                              5     Q      Before you published the flyer that allegations of
 6    Q      What -- what information did you have available to you            6 misconduct with respect to the Mythologies of Rape course were
 7 at the time that you wrote that that led you to believe that                7 brought to the university's attention?
 8 what you considered to be misconduct had been brought to the                8     A      Yes, I think I do.
 9 administration?                                                             9     Q      Okay. What -- what's -- what happened? What is your
10     A     I believe it would have been from the Mythologies of              10 understanding of what happened that -- that make that statement
11 Rape course. There was some information about that on the                   11 true?
12 Internet from Rebecca Futo Kennedy.                                         12     A     I believe Mr. Davis told me -- Jim Davis told me that
13     Q     Okay.                                                             13 the university had heard about complaints and had fielded
14     A     -- that it had been brought -- that it had been a                 14 complaints about Dr. Hubbard and they did not act on them.
15 topic of discussion with the administration and nothing had                 15     Q      About the Mythologies of Rape course?
16 happened.                                                                   16     A     I -- it might have been that, but I think it was a
17     Q     Okay. So we hadn't got to that yet --                             17 more broad statement.
18     A     Right.                                                            18     Q      Okay. Like that stuff that we talked about with the
19     Q     -- but we were talking about all of the writings that             19 -- in Dr. Hubbard's deposition, which you were here for --
20 you reviewed of Dr. Hubbard. Let's talk about writings you                  20     A     Uh-huh.
21 reviewed that were not of Dr. Hubbard.                                      21     Q      -- there were some discussions about some
22     A     Okay.                                                             22 inter-faculty disputes; right?
23     Q     You had talked about the Wikipedia NAMBLA page; right? 23                A     Right, yes.
24     A     Yes, I did review that.                                           24     Q      But that had nothing to do with pederasty or
25     Q     And then we know about the Futo Kennedy paper; right?             25 Mythologies of Rape; right?

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 1     A     Yes.                                                              1     A      What had nothing to do -- oh, the discussions I had
 2     Q     What else from non -- other than writings from                    2 with Mr. Davis?
 3 Dr. Hubbard, what else had you reviewed from other parties?                 3     Q      No, ma'am. The discussion that Dr. Hubbard had in his
 4     A     I -- I believe I reviewed -- there was a -- like a --             4 deposition --
 5 it was called Boy Wiki and it had something -- I had looked up              5     A      Uh-huh.
 6 the -- the publisher, the -- the Wallace Hamilton Press, and it             6     Q      -- where we were looking at some correspondence from
 7 -- and it came up on this -- on this Boy Wiki. I did see that,              7 the 2009-2010 frame -- timeframe about Dr. Hubbard allegedly
 8 and I -- I did look at a court case that was on -- that was --              8 being disruptive in the department.
 9 that was mentioned on the NAMBLA Wikipedia page. I -- I think               9     A      Right.
10 we -- it was one of the ones that was mentioned in -- in the                10     Q     Do you recall that?
11 deposition on Tuesday.                                                      11     A     Yes, I do.
12     Q      Okay. But that had nothing to do with Dr. Hubbard,               12     Q     That had nothing to do with pederasty or pedophilia,
13 did it?                                                                     13 did it?
14     A     No, no.                                                           14     A     No, it did not.
15     Q      Okay. Anything else?                                             15     Q     Okay. And it had nothing to do with the course
16     A     I don't believe so, not that I can pull from my head.             16 Mythologies of Rape, did it?
17     Q      All right. So basically you relied on what Rebecca               17     A     No, it did not.
18 Futo Kennedy had said in her paper for the belief that                      18     Q     Because that course wasn't even offered until, I
19 misconduct by Dr. Hubbard had been brought to the university's 19 think, 2015 or 2016; right?
20 -- the administration at the university's attention before;                 20     A     Okay. Yes.
21 correct?                                                                    21     Q     Okay. So what I'm asking you is -- well, I guess you
22     A     That's probable, yes.                                             22 answered it. Your basis for the understanding that it's true
23     Q      Okay.                                                            23 that Dr. Hubbard's misconducts regarding the Mythologies of Rape
24     A     I'm -- I'm having a hard time putting my finger on                24 course had been brought to the administration's attention --
25 exactly what that was. I don't think I wrote it with no basis,              25     A     Uh-huh.


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 1     Q    -- was based on statements from Mr. Davis?                      1 that Ms. Hollie Green told me that she knew of a student who was
 2     A    No. That was -- that was -- I -- I had learned about            2 in Dr. Hubbard's Mythologies of Rape course who found it to be
 3 that after I published the flyer, but I believe that this would          3 very disturbing and made a complaint.
 4 have been fueled by Futo Kennedy's blog.                                 4     Q    Okay. And that was before you wrote the flyer?
 5     Q    I understand that. What I'm asking you is that -- I             5     A    Yes.
 6 know that that's why you believed it was true when you wrote it;         6     Q    Okay. Have you received any evidence of those
 7 right?                                                                   7 complaints from any open-records requests that you've lodged
 8     A    Yes.                                                            8 with -- with the university?
 9     Q    Okay. What I'm asking you is: Sitting here today,               9     A    Any evidence of the complaints of Mythologies of Rape?
10 based on what you've learned, what evidence do you have that             10     Q     Yeah, people making specific complaints about the
11 that is in fact true, that misconducts relating -- as                    11 course.
12 Futo Kennedy claimed, misconducts relating to the Mythologies of 12             A   No, I -- I didn’t -- I haven't seen any documents like
13 Rape course was brought to the university's attention to no              13 that in the open-records requests that we've made.
14 avail?                                                                   14     Q     Okay. All right. So back to kind of the timeline
15     A     What makes me believe that --                                  15 here. You've read the materials you discussed about
16     Q     That that's true.                                              16 Dr. Hubbard --
17     A     Well, we saw correspondence. We saw E-mail                     17     A   Yes.
18 correspondence between the -- the university, the chair of the           18     Q     -- what -- there was protests regarding other
19 classics to the head of the department.                                  19 professors at the university. What happens next?
20     Q     But, ma'am, we just talked about the fact that that            20     A   With respect to this flyer?
21 correspondence you're referring to had nothing to do with the            21     Q     Well, like, what prompted you to -- to create the
22 Mythologies of Rape course.                                              22 group, make the flyer? Like, just tell me what would have went
23     A     Right, that's correct.                                         23 into that.
24     Q     You said that the basis for making that statement was          24     A   I believe -- so I had not -- of course I was new to
25 some discussion in Ms. Futo Kennedy's paper --                           25 the university. I had not met Ms. Epstein or Ms. Blackshear or

                                                                  Page 91                                                                    Page 93
 1     A     Uh-huh.                                                        1 Ms. Green until -- I believe we met at a Students For Bernie
 2     Q     -- that there had been complaints lodged against               2 Sanders meeting, because this was the -- back before the 2020
 3 Dr. Hubbard --                                                           3 election, and we -- we had a meeting, I met with them, I told
 4     A     Oh, yes.                                                       4 them what I had seen on the Wikipedia page, we all expressed
 5     Q     -- with the university based on the Mythologies of             5 concern, and I said that I wanted to do a -- a -- a flyer
 6 Rape course; correct?                                                    6 really, let people know what was going on with -- with Hubbard's
 7     A     Yes, that's correct.                                           7 scholarship and what I thought of it, and I asked them if they
 8     Q     And that it was supposedly banned; right?                      8 would like to help me and they -- they said yes.
 9     A     Right. Dr. Hubbard said in the -- in the deposition            9     Q    Okay. Who -- who were these people again?
10 that the school -- that there were many complaints about the             10     A   This is --
11 class and the school was upset about it.                                 11     Q   Epstein?
12      Q    Okay. So that's your basis for the fact that -- for            12     A   Yes. So this -- this would be the people who we
13 the truth of this statement sitting here today --                        13 consider informal members of Students For Safety is
14      A    That --                                                        14 Ms. Kaya Epstein, Ms. Brittany Blackshear and Ms. Hollie Green.
15      Q    -- is that Dr. Hubbard said that in his deposition?            15     Q   Okay. What about Ms. Hobohm? She didn't get
16      A    I would believe the --                                         16 involved?
17              MR. PRINGLE: Objection, form.                               17     A   No, no. She was -- yeah, she was not involved.
18 BY THE WITNESS (resuming):                                               18     Q   All right. Did anyone help you write the flyer?
19      A    -- statement to be true over -- because of that, yes.          19     A   No, no, I wrote this by myself.
20      Q    Okay. Anything else?                                           20     Q   Okay. So what were the other -- what were the roles
21      A    This is specifically with respect to the Mythologies           21 of the others in the group?
22 of Rape course?                                                          22     A   I believe that they were helping me -- after this
23      Q    Right.                                                         23 flyer came out, I -- of course there was some press coverage.
24      A    I believe that this might have been -- this might have         24 They were helping me with that. Brittany Blackshear was helping
25 been cross-given information from Futo Kennedy, but I believe 25 me with social media, and I -- that would be the extent of it.


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 1   We were just trying to kind of organize together or helping me    1     A Yes, I believe so.
 2   organize. We were -- of course this does say rally for removal.   2     Q Did you tell them you were getting ready to go
 3   We were hoping to have a rally and then I -- I got too ill to     3 distribute it at Dr. Hubbard's class?
 4   continue activism, so I just bailed out.                          4     A Yes, I -- I did tell them that. In fact,
 5       Q Okay. How -- how did you -- well, did you create the        5 Ms. Blackshear joined me when I did that.
 6   flyer on, like, Microsoft Word?                                   6     Q Okay. Did Mr. Jim Davis know you were going to do
7       A Yes.                                                         7 this before you did it?
8       Q Do you still have the Microsoft Word file?                   8     A No, no. I -- I had -- I had sent him a message the
9       A I'm sure I do.                                               9 night before saying that I wanted to speak to him, but he didn't
10       Q Okay. Did you share it with anyone prior to                10 know what about.
11   ultimately distributing it?                                      11     Q Okay.
12       A Yes, I shared it with two people.                          12     A I already had a -- I already had a meeting set with
13       Q Who?                                                       13 him for that day.
14       A The first one was my father. I -- I authored the           14     Q A lunch meeting the next day, the day you distributed
15   flyer and then I asked my father if he would join me for         15 the flyer.
16   breakfast the day that I distributed it and -- well, I wanted to 16     A Yes, so I asked if I could -- if we could talk
17   let him know because I -- I had heard that Dr. Hubbard had       17 business for a moment, and business --
18   threatened litigation against other people in the past for       18     Q Okay.
19   speaking out about his scholarship, so I wanted my father to     19     A -- if we could talk business for a moment before we
20   know what I was up to. So I read him the flyer and I also read 20 went to lunch.
21   the flyer to my roommate at the time when it was printing off    21     Q Okay.
22   the computer because she was asking what I was doing.            22     A But I had already distributed the flyer at that point.
23       Q And I guess your dad said, Okay, he didn't find a          23 I did give him a copy.
24   problem with it?                                                 24     Q I see. Anyone else?
25       A Yeah.                                                      25     A No, not that I can recall.

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 1      Q    All right.                                                   1            MR. SIBLEY: All right. I think this is probably
 2      A    I -- I mean, it wasn't really -- I wasn't really             2 a good place for us to take a lunch break.
 3 asking his opinion. I just more wanted to let him know --              3            MR. PRINGLE: Sure.
 4      Q    Okay.                                                        4            MR. SIBLEY: So why don't we come back at about
 5      A    -- what I was doing.                                         5 1:35 --
 6      Q    Did he raise any flags for you?                              6            MR. PRINGLE: Okay.
 7      A    No, no, he didn't.                                           7            MR. SIBLEY: -- if that's okay.
 8      Q    Well, being a moot-court person, did you do any              8            MR. PRINGLE: Yeah, we'll -- that sounds good.
 9 research about the law of libel in connection with authoring           9            MR. SIBLEY: All right.
10 this --                                                                10            VIDEOGRAPHER: We are off the record at 12:03.
11      A    No, I did --                                                 11            (A recess is taken.)
12      Q     -- flyer?                                                   12            VIDEOGRAPHER: We are back on the record at 1:41.
13      A    -- not.                                                      13 BY MR. SIBLEY (resuming):
14      Q     Okay. All right. So your dad and your roommate were         14     Q    All right. Is it fair to say that pretty early on in
15 the only ones that you shared this with before publication.            15 the process of creating and distributing a flyer that you
16      A    Yes. I think my -- my best friend, Maren, I think she        16 understood there was some risk of getting sued over this?
17 made a grammatical...                                                  17     A    Yes.
18      Q     Okay.                                                       18     Q    And I -- I don't want to mischaracterize your
19      A    But I just -- I just texted it to her. Like, she             19 testimony, but I believe that was perhaps one of the reasons why
20 doesn't live in the state of Texas.                                    20 you consulted with your father before you distributed the flyer.
21      Q What about the other members of Students For Safety? 21 Is that fair?
22 I mean, they didn't want to see it before you put it out?   22     A You are correct, absolutely.
23    A No, no, they didn't see it. I -- I know that seems     23     Q Okay. Was that the only person you consulted with on
24 odd, but they didn't see it.                                           24 the sort of legality of the issues before you circulated the
25      Q     Did you tell them you were doing it?                        25 flyer?


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 1     A    Yes.                                                        1     Q    Did you find out from, like, news people or something?
 2     Q    Okay. And I think pretty quickly after you circulated       2     A    Yes. Well, the Austin American-Statesman told me.
3 the flyer, you had some apprehension that there might be a            3     Q    Okay. And so, you had told me before that you were
4 lawsuit. Is that fair?                                                4 having some issues in the fall semester of 2019 that caused you
5      A I was not expecting for there to be a lawsuit against          5 to withdraw from the university or -- or drop all of your
6 me, but I was expecting for there to be threats of one.               6 classes at that time at the university; correct?
7      Q Okay. So at least the prospect of litigation; right?           7     A    Yes, sir.
8      A Yes, sir.                                                      8     Q    All right. And apparently you were able to start
9      Q Okay. Why were you not expecting a lawsuit to be               9 classes in the spring of 2020; right?
10 filed against you, but yet understood that there was the             10     A   Yes, sir.
11 prospect of it?                                                      11     Q   Which I'm sure wasn't the greatest experience given
12     A Just lawsuits are, as I'm finding out, incredibly              12 what happened in March of 2020 in that semester; right?
13 expensive, a lot of work. I just didn't think that that would        13     A   Right.
14 be the follow-through.                                               14     Q   How was your -- your -- and is it okay if I call it a
15     Q Okay.                                                          15 disability, the -- the PTSD?
16       A Since I -- I also thought that Dr. Hubbard had not           16     A   Yes, yeah, absolutely.
17   followed through before on other threats of lawsuits.              17     Q   Okay.
18       Q What made you aware of other threats of lawsuits by          18     A   That's the word for it.
19   Dr. Hubbard?                                                       19     Q   How was the disability doing at the time that you
20       A I believe -- I believe another student told me --            20 found out about the suit?
21   another student at the university, I -- I couldn't remember who    21     A   I have been -- I have worked very hard to become
22   this person was, told me that maybe Hubbard had threatened         22 stable since about 2017, so I've learned a lot of skills to help
23   lawsuits against people before, and I didn't know if they'd        23 -- help me through hard emotional situations, so I was -- I was
24   gotten written notices or not, but I'd heard that there had been   24 feeling fine with my PTSD.
25   threats and I -- I looked it up in the, I guess, Travis County,    25     Q   Okay. Did the lawsuit -- finding out about the

                                                           Page 99                                                       Page 101
 1 like, court system to see if there was any cases and there were
                                                                1 lawsuit make it worse?
 2 none.                                                        2    A No.
 3    Q Was this before or after you distributed the flyer?     3    Q Okay. Well, you said --
 4    A I don't exactly remember. It could have been after.     4    A I certainly had anxiety -- different anxieties to deal
 5    Q Okay. Well, you understand that people's reputations    5 with, but it didn't trigger me.
 6 are important. Would you agree that?                         6    Q Okay. Okay.
 7    A Yes, I would.                                           7            MR. SIBLEY: What are we on now, 3?
 8    Q And no one wants to have the reputation of being        8            COURT REPORTER: 3.
 9 someone that advocates for the rape of children. Would you   9            THE WITNESS: Yes.
10 agree with me that that's not a good reputation?            10 BY MR. SIBLEY (resuming):
11     A Yes, I can agree that that's not a good reputation.   11     Q I'll mark this as Exhibit -- oh, sorry. I didn't -- I
12     Q Okay. How did you feel when you got sued -- when you 12 didn't write anything on it. Here, let me write 3 on it. There
13 found out about the lawsuit?                                13 you go.
14     A I was incredibly anxious, I was fearful, I -- yeah, I 14     A Thank you.
15 think that pretty much sums it up. It wasn't -- it wasn't   15     Q I'm going to mark this as Exhibit 3, and take a minute
16 positive.                                                   16 and tell me if you recognize that document.
17     Q Okay. Now, the lawsuit was filed, I believe, in July. 17     A This is one of the discovery documents that we
18 I can't even remember the -- the -- I think it was July.    18 submitted to you?
19     A I think I was served in August.                       19     Q That is correct. I just wanted to know if you have
20     Q Okay. How did you -- did you find out about the       20 seen the document or reviewed it before.
21 lawsuit before it was served on you or...                   21     A I'm sure I have. One second. Is -- are these just
22     A Yes.                                                  22 the -- yes, I've seen this.
23     Q Okay.                                                 23     Q Okay. And I just want to go through this quickly just
24     A Yes. It had been filed, but it hadn't been given to   24 to make sure we -- you know --
25 me.                                                         25     A Wait.


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 1     Q    Obviously there's a lot of --                                1     Q    The Austin Police Department. Do you see that?
 2     A    I'm -- I'm sorry. I don't think I've ever seen this.         2     A    Yes.
 3     Q    Okay.                                                        3     Q    What would -- what would the Austin Police Department
 4     A    Okay.                                                        4 have knowledge of related to this case?
 5     Q    That's okay. This isn't something you signed or              5     A    I would assume the attack on Dr. Hubbard's home.
 6 anything like that, so...                                             6     Q    Okay. Anything else?
 7     A    Okay.                                                        7     A    I don't know.
 8     Q    I just want to go through. If you look at the -- the         8     Q    Well, I'm just wondering -- I'm not trying to be
 9 first part, it says the name and if known address and phone           9 tricky here. I'm just wondering was there a -- was there a
10 number of an individual likely to have discoverable information       10 complaint filed by -- that you're aware of by anyone against
11 that the disclosing party, which would be you, may use to             11 maybe Dr. Hubbard or anything related to, you know --
12 support your claims or defenses.                                      12     A   Not that I'm aware of.
13     A    Uh-huh.                                                      13     Q   Okay. And, by the way, you're not aware, sitting here
14     Q    Do you see that?                                             14 today, of anyone who's been convicted of a crime involving
15     A    Yes.                                                         15 statutory rape or molestation where the person claimed to have
16     Q    All right. So we have Dr. Hubbard, we have yourself,         16 been inspired by Dr. Hubbard's writings, are you?
17 of course, we have NAMBLA --                                          17     A   No.
18     A    Uh-huh.                                                      18     Q   Okay.
19     Q    Yes?                                                         19     A   No, I'm not.
20     A    Yes, sir.                                                    20     Q   All right. And, by the way, I think you said at the
21     Q    Have you -- did you ever make any attempt to reach out 21 beginning of the deposition, and obviously I'm not exact quoting
22 to NAMBLA, by the way --                                              22 here, but I think you --
23     A    No.                                                          23     A   Uh-huh.
24     Q    -- in connection with any of this?                           24     Q   -- expressed some dismay over the attack on
25     A    No.                                                          25 Dr. Hubbard's house; correct?

                                                              Page 103                                             Page 105
 1    Q     Do you even know if it's an organization that's still1     A Yes.
 2 a going concern?                                              2     Q That's certainly not something you would endorse;
 3     A A -- a -- what's a going concern?                       3 right?
 4     Q Like, a going concern, like a actual -- actual          4     A Right. That would be very frightening.
 5 operating entity of sorts.                                    5     Q Okay. And -- and I just want to give you an
 6     A They have a working website. I did see that.            6 opportunity to talk about that.
 7     Q Okay. Did you look at the website before or after you   7     A Uh-huh.
 8 issued the flyer?                                             8     Q You don't endorse the use of violence or threats of
 9     A I believe before.                                       9 violence in any form of protest. Is that fair?
10      Q Okay. You've got the Percy Foundation, which we heard 10     A That is very correct, yes.
11 about in Dr. Hubbard's deposition. Did you do any research on 11    Q Okay. All right. David Armstrong?
12 the Percy Foundation?                                         12    A I don't know anything --
13      A No.                                                    13    Q Do you -- do you --
14      Q Okay. Did -- when did you first find out about the     14    A -- about --
15 Percy Foundation?                                             15    Q Do you know Professor Armstrong?
16      A It might have been in connection with this suit or it  16    A No, I do not.
17 could have been before.                                       17    Q Okay. Have you ever talked to anyone about
18      Q But you didn't know about it before the flyer, I take  18 Professor Armstrong?
19 it; right?                                                    19    A No.
20      A I don't remember.                                      20    Q How about Peter Green?
21      Q Okay. The Austin -- I'm sorry -- the University of     21    A I don't believe I know this person.
22 Texas --                                                      22    Q All right. Never spoken with them or E-mailed them
23      A Uh-huh.                                                23 that you're aware of?
24      Q -- I think there's obvious reasons for that; right?    24    A No, not that I can think of.
25      A Yes, sir.                                              25    Q Karl Galinski?


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 1    A I don't know this person either.                                       1     A    I believe -- I believe she already knew about
 2    Q Okay. Haven't communicated with him; right?                            2 Dr. Hubbard when I met her, and -- and we spoke about that, and
 3    A No.                                                                    3 that's how she became a part of the Students For Safety thing.
 4    Q Cynthia Shelmerdine?                                                   4     Q    Oh, I see. Okay. Well, what did she tell you about
 5    A I do not know this woman.                                              5 Dr. Hubbard? If you recall.
 6    Q Have you ever communicated with her?                                   6     A    I don't recall anything specific. I mean, I -- I
 7    A No.                                                                    7 mentioned before I thought, like, within the context of the
 8    Q All right. Hollie Green, we know that you -- you do                    8 flyer, I thought she had told me that she knew a student that --
 9 know and have communicated with; right?                                     9     Q    In the mythologies of --
10    A Yes.                                                                   10     A   -- that had, like, taken -- yeah, taken Mythologies of
11    Q All right. And when did you meet Ms. Green?                            11 Rape.
12    A It could have been at Sit In For Safety 2.                             12     Q    Got it. Okay. Anything else you recall around that
13    Q How many sit-ins for safety were there?                                13 time of November -- October and November of 2019 about your
14    A Maybe four.                                                            14 interactions with Ms. Green?
15    Q Really? Did they -- how many -- what -- what span of                   15     A   No.
16 time did it occur? Over like weeks, months?                                 16             MR. PRINGLE: Objection, form.
17    A I'm really not sure. I'm also not sure about what I                    17 BY THE WITNESS (resuming):
18 just said, Maybe four.                                                      18     A   I -- I went to -- I want to CAVA with her.
19    Q Okay. I get it.                                                        19     Q    The restaurant?
20    A Yeah.                                                                  20     A   Yes.
21    Q Well, how many -- did you go to all of the sit-ins for                 21     Q    Okay.
22 safety?                                                                     22     A   The one near university campus, and I -- I met her
23    A No, no, I didn't.                                                      23 partner. I don't -- I think -- yes, I think Kaya Epstein was
24    Q How many did you go to?                                                24 there, too. I don't remember what we talked about really.
25    A I went to 2 and 3.                                                     25     Q    Was there a timeframe of -- was it post-flyer or

                                                                    Page 107                                                                    Page 109
 1    Q    All right.                                                          1 pre-flyer?
 2    A    Uh-huh.                                                             2     A    I think it was post.
 3    Q    And you believe you may have met Ms. Green at one of                3     Q    Okay. Was she someone that after this -- the events
 4 those sit-ins.                                                              4 of the fall of 20 -- or -- yeah, the -- the fall of 2019, is she
 5    A    Yes.                                                                5 someone that you stayed in contact with?
 6    Q    Okay. How did -- what's your first memories of, like,               6     A    Yes.
 7 how you met and what you talked about, things like that?                    7     Q    For general purposes or specifically related to the
 8    A    I really don't have a -- a grasp on that.                           8 Students For Safety issues?
 9    Q    Okay.                                                               9     A    Just general purposes, I think. I -- she's a -- she's
10     A    I'm sorry.                                                         10 also a friend of a friend, so sometimes we connect through that
11     Q    And I'm not -- I'm not trying to pick here, but --                 11 way.
12     A    Right.                                                             12     Q   I see. What friend is she -- well, who's your mutual
13     Q    -- you did mention something earlier about you were                13 friend, I guess?
14 having some memory issues that occurred in the fall of 2019. Do             14     A   My moot-court partner, Juliana Steward, is friends
15 you recall that?                                                            15 with Hollie as well.
16     A    Yes.                                                               16     Q   Okay. Is she someone you consider a -- a good friend?
17     Q    And I'm not trying to be critical of you here, but is              17     A   Hollie?
18 it fair to say that your memory is not a hundred percent                    18     Q   Yes.
19 accurate during that period?                                                19     A   No.
20     A    Certainly.                                                         20     Q   Okay. All right.
21     Q    Okay.                                                              21     A   I do like her.
22     A    Yes.                                                               22     Q   How about Zoe Elise Thomas? She's someone that you --
23     Q    All right. Well, do you recall any of your original                23 that you know and have had communications with?
24 conversations with Ms. Green about Professor Hubbard, or what do 24                A   I -- I would say I'm acquainted with her and I have
25 you recall about those, if any?                                             25 had communications with her. I met her after the -- after the


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1 litigation notice letters were sent out.                                   1      A    No. We never spoke again after that.
2      Q Okay. So prior to that --                                           2      Q    Okay. All right. By the way, I didn't know this
3      A (Crosstalk.)                                                        3 until this case, but it's -- I didn't realize renter's insurance
4      Q -- you -- you hadn't had communications with her                    4 covered defamation cases.
5 before that?                                                               5      A    I could say I didn't know either.
6      A No.                                                                 6             MR. PRINGLE: Thank goodness.
7      Q Not even, like, E-mail or...                                        7             MR. SIBLEY: I guess so.
8      A I had never -- I didn't know that she existed, and                  8 BY MR. SIBLEY (resuming):
9 that's the only time I saw her.                                            9      Q    Okay. All right. Let's --
10     Q Okay.                                                               10     A    Are we done with this one?
11     A Or -- yes.                                                          11     Q     Yeah.
12     Q Okay. All right. How about Liv Yarrow?                              12     A    Okay.
13     A I was -- I was sent an E-mail by Ms. Yarrow. I was --               13     Q     All right. We'll mark this as Exhibit 4. Just take a
14 I need to ask about the response to this question because it              14 moment and tell me if you recognize the document, ma'am.
15 involves privileged communications, I think.                              15     A    (Reviewing.) Okay. Yes, I know this document.
16            MR. PRINGLE: With?                                             16     Q     Okay. I want to ask you about -- and -- and I think
17            THE WITNESS: With Zoe.                                         17 it's -- it appears maybe in more than one response here, but --
18            MR. PRINGLE: Okay. Well, you -- what was your                  18     A    Uh-huh.
19 question again? I'm sorry.                                                19     Q     -- I want to ask you about the objection and response
20            MR. SIBLEY: My question was, How did you meet                  20 to Request Number 1. There's a reference there to your father,
21 her. And let's -- let me just ask.                                        21 Allen Blakemore. Do you see that?
22 BY MR. SIBLEY (resuming):                                                 22     A    Yes.
23     Q How did you meet Ms. Yarrow?                                        23     Q     You're claiming, I guess, some kind of expert -- that
24     A Yeah.                                                               24 your father was some kind of expert for you in this case?
25            MR. PRINGLE: Through an E-mail?                                25             MR. PRINGLE: Objection, form.

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 1           THE WITNESS: Yeah.                                              1 BY THE WITNESS (resuming):
 2           MR. PRINGLE: You were -- she was introduced. Go                 2     A     What do you -- like, a -- my media consultant?
 3 -- tell -- you can tell him how you met her.                              3     Q     Well, what it says is, Further, this request seeks
 4           THE WITNESS: Oh, yeah.                                          4 information relating to an expert, slash, consultant only --
 5 BY THE WITNESS (resuming):                                                5 employed only for trial preparation as described in a federal
 6    A    I was -- I was introduced to Ms. Yarrow by Zoe.                   6 rule. Do you see that?
 7    Q    I see.                                                            7     A     Right.
 8    A    Yeah, yeah. Zoe said that someone wanted to speak to              8     Q     Okay. So it says, Accordingly you withhold from
 9 me --                                                                     9 production any communications between you and your father. Do
10     Q    Okay.                                                            10 you see that?
11     A   -- and I gave them -- I gave her my E-mail.                       11     A    Yes.
12     Q    All right. So Zoe Thomas had put y'all in touch, and             12     Q    Okay. When did you retain or engage your father as a
13 when did that happen? If you remember.                                    13 trial expert? At what point did that happen?
14     A   It was in the fall of 2020. I don't remember exactly              14     A    Well, I -- I asked for his advice and his help when I
15 when.                                                                     15 first published this flyer.
16     Q    So after the lawsuit; right?                                     16     Q    Okay. But there was no case pending at that time;
17     A   Yes, yeah.                                                        17 right?
18     Q    Okay. And, tell me, what was the nature of the                   18     A    Right.
19 communications that you had with Ms. Yarrow?                              19     Q    Okay. So was there a time after the case was filed or
20     A   Ms. Yarrow was upset that she had gotten this                     20 after at least when you got the notice of retraction -- remember
21 correspondence from Hubbard and she wanted to send it to me, and 21 you received the letter --
22 I think my -- and I sent it to my lawyers, yes. I think -- I              22     A    Yes.
23 know I sent it to my lawyers.                                             23     Q    -- that we sent. Was there a time after you got that
24     Q    Okay. Anything else other than that? Have -- do you              24 letter asking you to retract or clarify or whatever the magic
25 have an ongoing relationship or a communication with her?                 25 words were in the letter on -- on the statements, was there a


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 1 time after that you had a specific agreement with your dad that,       1     Q Well, you dropped the class, though, midsemester,
 2 Dad, I want you to be an expert for me at trial?                       2 didn't you?
 3            MR. PRINGLE: Objection, form. You can answer,               3     A Right.
 4 if you know.                                                           4     Q But you didn't recycle it until the end of the
 5 BY THE WITNESS (resuming):                                             5 semester.
 6    A     No, I -- I don't -- I don't know. I didn't -- yeah, I         6     A I -- I only recycle once a semester. I just recycle
 7 didn't make an agreement with him.                                     7 everything together.
 8    Q     Okay.                                                         8     Q Really? So you, like, collect all of your papers that
 9    A     I just asked for his help when this all began.                9 you got from all of your classes and have, l ke, a recycling
10     Q     All right. And, outside of that, have you asked for          10 event where you --
11 his help in other ways with this case?                                 11     A I -- I, like, stack them up on the -- because I have
12     A    Well, he's helped me with statements to the media             12 moot court and it takes up a lot of print paper and -- and I
13 since I've been sued.                                                  13 have to keep large amounts of paper, so, yeah, I just stack it.
14     Q     Okay.                                                        14     Q What about notes from the class?
15     A    I have made a statement, yeah, if you saw that.               15     A That's the -- I -- I -- I have -- I use legal pads --
16     Q     All right. Other than media relations -- that's what         16     Q Uh-huh.
17 he does, isn't it -- or part of what he does?                          17     A -- like -- just like this and I recycle the whole
18     A    Yeah, that is part of what he does.                           18 thing.
19     Q     I mean, he's like a public-relations political               19     Q Okay.
20 consulting firm. Am I correct about that?                              20     A I rip out all of the pages that have been used --
21     A    It's -- it's political consulting and lobbying, but           21     Q And follow --
22 mostly campaign consulting, not --                                     22     A -- and recycle them.
23     Q     Right.                                                       23     Q And following 2019, you said that you believe you
24     A    -- specifically media.                                        24 Q-dropped on the disability thing in December; right?
25     Q     Well -- well, part of getting elected is --                  25     A I -- I believe it was before then.

                                                               Page 115                                                                   Page 117
 1     A Yes, yes, yes.                                                   1     Q    Not Dr. Hubbard's class, but all of the rest of your
 2     Q -- having a good image with the media. Is that fair?             2 classes.
 3     A Yes.                                                             3     A    Oh, a -- a medical withdrawal.
 4     Q Okay. So that's something he's -- presumably has                 4     Q    Medical withdrawal.
 5 pretty good expertise in given he's been doing that for quite          5     A    Yes.
 6 some time; right?                                                      6     Q    My -- my apologies.
 7     A Yes.                                                             7     A    Sorry.
 8     Q All right. Outside of that, have you -- has your dad             8     Q    That happened in December of 2019.
 9 -- have you asked your dad for help in any other ways with the         9     A    Yes.
10 case?                                                                  10     Q   Okay. And so, after that, you would have engaged in
11     A With this case?                                                  11 the recycling; right?
12     Q Yes.                                                             12     A   Yes.
13     A No. I mean, I -- he is paying for this.                          13     Q   All right. Okay.
14     Q Okay. What about the renter's insurance?                         14     A   Sorry. I'm chuckling, the recycling.
15     A Well, that's paying, too.                                        15     Q   Okay. All right. So -- well, I'll -- there are some
16     Q Okay. All right. Look at Request Number 2, if you                16 documents that we asked for, which were the documents that you
17 don't mind. It's on the next page.                                     17 considered, reviewed, relied on in -- in drafting the flyer.
18     A (Reviewing.) Okay.                                               18 That's Exhibit 8 of the complaint; right?
19     Q You don't -- you didn't retain any of the documents              19     A   That would've been recycled.
20 from Dr. Hubbard's class?                                              20     Q   Okay.
21     A We were given a syllabi on the first day of school               21     A   Sorry.
22 that was in print --                                                   22     Q   So you wouldn't have -- you wouldn't have kept those
23     Q Yeah.                                                            23 specific materials, but you -- you know -- you remembered which
24     A -- and, that, I recycled at the end of the semester.             24 ones they were; right?
25 I recycle everything at the end of the semester.                       25     A   The -- the public -- like, the publications that I


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 1 looked at --                                                              1 know.
 2    Q     Yeah.                                                            2     A    More like just made a little bit uncomfortable.
 3    A     -- when I was drafting the flyer?                                3     Q    Okay. But did it activate your PTSD?
 4    Q     Yeah.                                                            4     A    Yes, to some degree, but it wasn't anything that would
 5    A     That's why I said I don't -- I didn't -- I told you              5 have caused me, like, significant issues.
 6 before I didn't exactly remember all of the publications --               6     Q    Well, you did get a --
 7    Q     Okay.                                                            7     A    It was more of --
 8    A     -- but they would have been recycled along with that.            8     Q    -- disability drop for the class; right?
 9    Q     I gotcha. So when we identify, like, What did you                9     A    Yes. I -- I wanted to -- I wanted to avoid further
10 look at, that's from memory; correct?                                     10 suffering, yeah.
11     A    Yeah.                                                            11     Q   Did you see any therapists or anything like that in
12     Q     Okay. Let me ask you this: After the flyer was                  12 connection with the -- what your -- your experience is with
13 published and after -- yeah, I mean after the flyer was                   13 Dr. Hubbard's class?
14 published, did you undertake to do any additional research on             14     A   I was seeing a therapist at the time, and I don't
15 Dr. Hubbard's writings?                                                   15 recall if I talked to them about Dr. Hubbard's class.
16     A    I -- I think I had to look more at the -- at the same            16     Q   At any time during that fall -- and when I say fall,
17 documents that I had. I was trying to formulate a response to             17 I'm talking into December of 2019 --
18 Hubbard -- Dr. Hubbard's response to this that never got                  18     A   Uh-huh.
19 published because I just got too sick. But I -- I -- there was            19     Q   -- did you have to go to increased sessions because of
20 some -- it was like a point-by-point reputation that Dr. Hubbard 20 any elevations in the PTSD or put on medication or anything like
21 had provided.                                                    21 that?
22     Q     I think we'll look at that --                                   22     A   No.
23     A    All right.                                                       23     Q   Okay. And the reason I'm -- well, when you say yes --
24     Q     -- later.                                                       24     A   I --
25     A    Okay.                                                            25     Q   Sorry. Go ahead.

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 1    Q     I know what you're talking about. Okay.                          1     A    Sorry. I'm trying to think. You said any medications
 2    A     Okay. Yeah.                                                      2 and I'm trying to think.
 3    Q     Okay. But any -- how about -- how about after that?              3     Q    Well, not ones that you were already taking, but any
 4    A     Huh-uh.                                                          4 new ones that you may have had to take.
 5    Q     Like, after you got the letter demanding retraction or           5     A    Right, right, right. I was just trying to --
 6 after the lawsuit was filed, did you go back and look at any of           6     Q    Yeah.
 7 his publications again?                                                   7     A    It was a while ago.
 8    A     No.                                                              8     Q    Okay.
 9    Q     Okay. Except maybe in preparation for the deposition;            9     A    I don't -- I don't think so, yeah.
10 right? Or, well, did you? I don't know.                                   10     Q    All right. Well, when you say you got sick, like,
11     A    I -- I didn't. I didn't, no.                                     11 what -- what does that mean? Like, how -- how were you sick?
12     Q    Okay.                                                            12 Like, physically? Like, what happened?
13     A    Yeah, I didn't look at his publications for -- to                13     A   So I told you that I had been taking a medication that
14 prepare for this.                                                         14 was freshly approved by the FDA for the treatment of my
15     Q    Okay. Now, around December is when you got too sick 15 endometriosis. I -- I found out that it was -- it was causing
16 to complete it and also complete the semester at the university; 16 me memory loss, and so I immediately stopped taking the drug,
17 right?                                                                    17 and the drug had been -- it had been blocking all of the
18     A    Yes, sir.                                                        18 estrogen in my body and basically making it so I had no pain
19     Q    Okay. Before that, you said that you had been sort of            19 whatsoever, and I have -- I had -- I have chronic pain. I have
20 activated by some of the things that happened in Dr. Hubbard's 20 pain every single day from when I wake up to when I go to bed,
21 class with respect to discussions of sexual assault. Do you               21 so that pain came back and it's particularly hard to have pain
22 recall that?                                                              22 all the time, so that's what I mean when I became sick. And I
23     A    Sure. I -- I don't think activated, maybe, is the                23 was having a lot of nausea because of fluctuating hormones.
24 right word.                                                               24     Q    Okay. So endometriosis, which is a -- which is a
25     Q    What word would you use, then? Disturbed? I don't                25 feminine health issue -- is that fair?


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 1   A Yes, yeah, it only happens to people with uteruses.                     1    Q Okay. So this all happened really quick.
 2   Q And that caused you to take medication, which induced                   2    A Uh-huh.
 3 memory loss; correct?                                                       3    Q Yes?
 4   A Uh-huh.                                                                 4    A Yes.
5     Q Yes?                                                                   5    Q Okay.
6     A Yes, sir.                                                              6    A Yes, the medication and the flyer, it happened close
7     Q When did the endometriosis start again? Do you                         7 to each other.
8 remember the specific time in the fall of that year?                         8    Q Okay. All right. Let's move on.
9     A That --                                                               9            MR. SIBLEY: What are we on, 4?
10    Q Or when you started taking medication for it, I guess.                10           MR. PRINGLE: 5.
11    A That was my third surgery. It started a long time                     11           MR. SIBLEY: That's 5.
12 before.                                                                    12 BY THE WITNESS (resuming):
13    Q Oh, okay. I -- I misunderstood then. I thought it                     13     A Okay. (Reviewing.)
14 started in the fall of that year.                                          14     Q All right, ma'am, just let me know if you have seen
15    A No, no, it started when I started menstruating.                       15 this very brief document.
16    Q I see. Okay. So this is an ongoing thing you have to                  16     A Is this the yes or no questions only?
17 deal with.                                                                 17     Q The request for admission. That's more or less a yes
18   A Yes, sir.                                                              18 or no question; right?
19   Q Is that the cause of the pain that you mentioned? It                   19     A Okay. Then, yes, I have seen this, yes.
20 was, like, you always have pain every day.                                 20     Q Although people do find creative ways to avoid
21   A Yes.                                                                   21 answering these yes or no --
22   Q Okay. And it seems to me that stress probably would                    22     A Okay.
23 make that worse; right?                                                    23     Q -- believe it or not. Now, you say that -- I mean,
24   A I wouldn't say so.                                                     24 the question was, Admit that you had a failing grade in the --
25   Q No? Okay. So does stress make it better?                               25 in Dr. Hubbard's course --

                                                                   Page 123                                                                     Page 125
 1     A   No, certainly not, but I --                                        1      A   Uh-huh.
 2     Q    Okay.                                                             2      Q   -- at the time you dropped the course; right?
 3     A   -- I don't think it changes the level of pain I'm in.              3      A   Yes.
 4     Q    All right. All right. Well, you'll have to forgive                4      Q   Okay. And you claimed here that you just didn't know
 5 me asking, but it seems to me that if someone's dealing with               5 one way or the other whether that was true; right?
 6 these kind of health issues, probably engaging in a -- you know,           6      A   Right.
 7 a protest where there's potential for confrontation and all of             7      Q   Okay. Well, if you didn't complete the midterm, I
 8 the kind of hoopla that surrounded what happened with the flyer            8 mean, isn't that a fair inference that you probably didn't pass
 9 with Dr. Hubbard might not be the best prescription to deal with           9 the midterm?
10 those issues. Can you understand why someone might think that? 10                 A    I -- I think it is a fair inference that I probably
11               MR. PRINGLE: Objection, form.                                11 did not pass the midterm.
12 BY THE WITNESS (resuming):                                                 12     Q    Okay. And, prior to that, were there any grades that
13     A    I -- I don't agree, simply because I was living a                 13 you had in the class, like quizzes or anything like that?
14 pain-free life when I engaged in all of this because I was still           14     A    Oh, I did have a quiz. I don't remember what I got.
15 on that medication, the one that I had to stop taking.                     15 I don't think I, like, did particularly bad. I don't -- I don't
16     Q    Okay.                                                             16 remember anything particular about that quiz.
17     A    So I was -- I -- I wasn't -- I had 10 months of my                17     Q    Okay. What do you -- do you -- I mean, we talked
18 life where I didn't experience the symptoms that I've had all my           18 about it kind of in -- generally earlier, like, about the --
19 life, so...                                                                19 some of the disturbing imagery of the mythological, you know,
20     Q    So the flyer was put out on November 21st; right?                 20 rape -- the myths of rape and things like that --
21     A    (Nonverbal response.)                                             21     A    Uh-huh.
22     Q    The classes -- you basically had the medical                      22     Q    -- that were the classic myths, but is there anything
23 withdrawal in December; right?                                             23 -- do you have any specific memories of the class even? Like,
24     A    Yes. I -- I stopped taking the medication probably in             24 anything you can think of, like, sitting here today of, like a
25 the last week of November.                                                 25 specific memory of something that happened in the class?


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 1          MR. PRINGLE: Objection, form, but you can answer          1 knowledge of relevant facts. Okay? Do you see that?
 2 if you want.                                                       2     A     Yes.
 3 BY THE WITNESS (resuming):                                         3     Q     All right. And it looks like we are pretty much in
 4     A No, I don't.                                                 4 line with the prior document we looked at, the disclosures, up
 5    Q You just have a general perception of -- or impression        5 until we get past Ms. Yarrow. Do you see that?
 6 of how you felt about the class, I guess.                          6     A     Yes.
 7    A Yes.                                                          7     Q     All right. And then we see your dad appears as a
 8    Q Okay.                                                         8 person with knowledge. Do you see that?
 9    A I remember the chairs. That's odd, but I do.                  9     A     Uh-huh.
10     Q Did you -- did you have any friends in the class?            10     Q    Yes?
11     A No.                                                          11     A    Yes.
12     Q Is there anyone that you can name that was actually in       12     Q    All right. Other than what you've told me about
13 the class with you?                                                13 talking to your dad before the flyer went out and in connection
14     A I knew people -- I -- I met people later on who were         14 with media statements, what other knowledge would you say that
15 in the same class, but I didn't know that they were in that        15 your dad has of the facts relevant to this case?
16 class when I knew them.                                            16            MR. PRINGLE: Objection, form.
17     Q I see. What was your attendance like at the class?           17            THE WITNESS: What am I --
18 Did you regularly attend, sometimes attend?                        18            MR. PRINGLE: Just what -- what does he know
19    A Sometimes.                                                    19 about -- he's asking what he knows.
20    Q How many times --                                             20            THE WITNESS: So there's nothing, like,
21    A It was once, maybe.                                           21 confidential about this?
22    Q Was it once or twice a week?                                  22            MR. PRINGLE: I don't think so.
23    A Twice a week.                                                 23 BY THE WITNESS (resuming):
24    Q So like a --                                                  24     A    Okay. I've -- I think I've talked to my dad a lot
25    A It was a Tuesday, Thursday, I think.                          25 because this has caused me some, of course, higher stress. He

                                                           Page 127                                                                    Page 129
 1     Q Okay. I was going to say. Tuesday, Thursday. So              1 comforts me sometimes, and I think he just tells me that, you
 2 about how often would you go to class?                             2 know, his friends have heard about what's happening and they
 3     A I don't really remember. Maybe not that much. I -- I         3 also feel for me and are proud of me, too.
 4 didn't -- I didn't like Hubbard's class, so it kind of gave me     4     Q     Okay. How about -- it looks like your mom is next.
 5 an excuse.                                                         5     A     Uh-huh.
 6     Q Okay. All right.                                             6     Q     What -- what knowledge would -- I haven't heard about
 7             MR. SIBLEY: We're on 6 now; right?                     7 your mom yet since we've been talking about this. What
 8             COURT REPORTER: Yes.                                   8 knowledge would she have of anything relevant to the case?
 9 BY MR. SIBLEY (resuming):                                          9             MR. PRINGLE: Same objection.
10     Q We'll mark this as Exhibit 6.                                10 BY THE WITNESS (resuming):
11     A (Reviewing.)                                                 11     A    Just of my emotional state. My mom and I haven't
12     Q Just take a look at that. You don't have to read             12 talked about, like, specific details or, like, my specific
13 through the whole thing right now --                               13 contentions against Hubbard.
14     A Okay.                                                        14     Q    Just your mental state, like, based on what -- what --
15     Q -- but just tell me generally whether you recognize          15 what do you mean by that? Before the flyer went out or after,
16 the document.                                                      16 or what do you mean?
17     A Is this the seven questions?                                 17     A    Well, I mean both. She's my mom. I tell her
18     Q I believe there are seven questions on that.                 18 everything --
19     A Okay. Then, yes, I remember seeing this.                     19     Q    Okay.
20     Q Okay.                                                        20     A    -- for all of my life.
21     A This is the...                                               21     Q    Okay. And I guess your sister. That's your sister;
22     Q Okay. All right. Let's look at -- let's look at the          22 right?
23 first interrogatory again.                                         23     A    Yes.
24     A Okay.                                                        24     Q    All right. What -- what's -- what knowledge would
25     Q This is asking for persons that you believe may have         25 your sister have? The same as your mom, just someone that you


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 1 confide things?                                                          1 Fenves?
 2    A    Yeah, uh-huh.                                                    2     A    No.
 3    Q    Does your sister live here in Austin?                            3     Q    Is that someone your dad knew?
 4    A    She does.                                                        4     A    No -- or at least I don't think so.
 5    Q    Okay. She's older than you; right?                               5     Q    Okay. All right. So tell me about what would have
 6    A    She is.                                                          6 been your other interactions with Mr. Davis. You -- you made
 7    Q    All right. Anything else your sister might have                  7 contact with him because of the moot court and then --
 8 knowledge of that we haven't talked about?                               8     A    Uh-huh.
 9    A    I can't think of --                                              9     Q    -- what about after that?
10            MR. PRINGLE: Objection, form.                                 10     A   Well, I, of course, spoke to him about this flyer and
11 BY THE WITNESS (resuming):                                               11 -- but I was supposed to meet him that day because his -- his
12     A    -- anything specific.                                           12 friend had a daughter who was coming of age to go to a
13     Q    Okay. All right. Jim Davis -- or James Davis.                   13 university and she was touring at the University of Texas and
14     A    Yes.                                                            14 Jim thought I was a nice girl who went to UT and wanted me to go
15     Q    All right. How did you ever get to meet Jim Davis?              15 along with their tour on campus, so I did that. But, yes, I --
16     A    I was introduced to Jim Davis by a man named                    16 I gave him the flyer.
17 Jeff Norwood. He -- I had told him about moot court and he said          17     Q   Okay. Why did you want to talk to Mr. Davis about the
18 that he knew a good lawyer who was with the University of Texas, 18 flyer? Because I think what you said is you tried to contact
19 which was Jim Davis, and he connected us and I asked him some 19 him before the flyer went out and then just discuss it the next
20 questions about moot court. That's how I met him, and his                20 day at lunch.
21 deputy counsel, too.                                                     21     A   Uh-huh.
22     Q    Isn't he the head counsel of the -- of UT?                      22     Q   Right?
23     A    Uh-huh.                                                         23     A   I -- before lunch is what I said, but yes. Sorry.
24     Q    Yes?                                                            24     Q   Okay. So why did you want to talk to him about it?
25     A    Yes.                                                            25     A   I think I wanted to talk to him about what the

                                                                 Page 131                                                                  Page 133
 1    Q     Okay. Who's Mr. Norwood?                                        1 administration's position was on this matter.
 2    A    He is just a friend of my father's. I met him in                 2     Q    Which matter was that?
 3 connection with my father. I don't know what he does.                    3     A    The -- on the -- to me, problematic scholarship of
 4    Q     Okay. So he just happened to find out that you were             4 Dr. Hubbard.
 5 interested in moot court and decided to make the intro to                5     Q    Don't you think it would have been advisable to have
 6 Mr. Davis given that you were going to UT, I guess.                      6 that conversation before you published the flyer?
 7    A    I -- I was trying to register -- I was trying to do              7     A    I don't know what you mean by advisable. I don't --
 8 something about the registration of the moot-court team and I            8     Q    Well, you made comments about what the administration
 9 needed someone from the administration to help me, and so they           9 -- that the administration had been made aware and hadn't done
10 connected me with Jim Davis.                                             10 anything -- remember? -- on the flyer.
11     Q    Did you ever meet former President Fenves?                      11     A    Right.
12     A    Yes, I did.                                                     12     Q    So don't you think it would have been perhaps useful
13     Q    When did -- when was the first time you got a chance            13 to have a conversation with Mr. Davis before you put the flyer
14 to meet him?                                                             14 out to verify what exactly the administration knew and what
15     A    I got to meet Dr. Fenves at -- on election night, like          15 exactly the complaints were, if any, and kind of vet that
16 the March 3rd election night at the Bob Bullock Museum. It was, 16 allegation?
17 I think, the Texas Independence Day dinner. It's, like, a gala           17     A    I believed that what I was putting out was both my
18 for the museum, and a law firm that I work with because of moot          18 opinion and truthful. I didn't think about meeting with
19 court, they -- they help us practice, like do -- they run                19 Mr. Davis beforehand --
20 practice rounds with us. They invited me and I was able to sit           20     Q    All right.
21 at their table.                                                          21     A    -- but he did confirm what I said about the
22     Q    This was March of what year?                                    22 administration.
23     A    This was, like, right before the pandemic. It was in            23     Q    That the administration what?
24 2020.                                                                    24     A    Had had issues with Hubbard before.
25     Q    Okay. Prior to that, you had not met President                  25     Q    Over the Mythologies of Rape class?


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 1     A   No, not with that specifically.                                 1     A    Right.
 2     Q   Okay.                                                           2            MR. PRINGLE: Objection, form.
 3     A   I don't specifically remember.                                  3 BY MR. SIBLEY (resuming):
 4     Q   Okay. All right. Did he tell you that Mister -- or              4     Q    Okay.
 5 Dr. Hubbard had committed any misconduct?                               5     A    No -- no other knowledge.
 6     A   No.                                                             6     Q    Okay. All right. What's Austin Culture?
 7     Q   Okay. All right. So you had lunch with him the day              7     A    That's like a -- that's like a publication.
 8 you put -- was it the day you put the flyer out or the day              8     Q    Okay.
 9 afterwards?                                                             9     A    It's like a -- it's -- I had never seen it, but it was
10     A    No, it was the day I put the flyer out.                        10 a -- it was a publication that contacted me.
11     Q    Okay. And you scheduled that lunch with him how --             11     Q    All right.
12 when -- when had you scheduled that lunch with him?                     12     A   And I -- yeah.
13     A    He scheduled that lunch with me the week prior. That           13     Q    What does Abby Raffle know about these issues?
14 was the -- we were taking this -- this girl to lunch at the UT          14     A   Abby Raffle is just my very good friend. She knows
15 Club and her father was coming and then we were going on a tour 15 about my, like, mental state. This has caused me whatever
16 around the campus.                                                      16 stress. She knew when I got served. She became my friend after
17     Q    Okay. So that was -- you were helping, like, recruit           17 the publication of this flyer.
18 someone, I guess.                                                       18     Q    Okay. Oh, she became your friend after the flyer.
19     A    Uh-huh, just being a representative of the                     19     A   Like, yeah, we didn't -- we hadn't met before the
20 university --                                                           20 flyer was --
21     Q    Okay.                                                          21     Q    I see. You met as a result of the flyer.
22     A    -- like a -- another kid.                                      22     A   No, no, we just met after --
23     Q    I see. So another person showed up at this lunch with          23     Q    Okay.
24 Jim Davis on the day the flyer was put out?                             24     A   -- that time.
25     A    Oh, it wasn't just us, yes. We -- there was his                25     Q    Okay. How about Annerose Metaxas?

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 1 deputy counsel -- I can't exactly remember her name -- I think          1    A I don't recall specifically what she knows. I'm sure
 2 it's Danae (ph). The -- the man, the -- the father of the girl          2 she's on this list because I had some text messages with her.
 3 and then the girl. Her name is Samantha.                                 3    Q Okay.
 4     Q    Okay. So you talked about this -- the issues with               4    A But I don't think she knows any -- she doesn’t know
 5 Dr. Hubbard with Mr. Davis before lunch?                                 5 anything specific about the case or my contention.
 6     A   Yes, and we didn't talk about it anymore after that.             6    Q Just someone that you may have communicated with
 7     Q    Okay. How about after -- after that lunch? Did you              7 regarding the subject matter; right?
 8 have any more discussions with Mr. Davis about Dr. Hubbard?              8    A Yeah --
 9     A   No.                                                              9    Q All right.
10     Q    Okay. All right. Who's Lara Korte?                             10    A -- whatever subject matter in the broadest terms.
11     A    I believe she's a reporter for the Statesmen.                  11    Q Okay. Autumn, unknown. Is that someone that texted
12     Q    And that's someone you're -- and the same thing with           12 you or called you? You had a number on the flyer; right?
13 Katie Hall?                                                             13    A Yes.
14     A    Yes --                                                         14    Q Okay. And you got some responses, I guess, via text.
15     Q    Okay.                                                          15    A Uh-huh.
16     A    -- just the people I've talked about -- talked to when    16    Q Yes?
17 they were trying to quote me or something.                         17    A I did, yes.
18       Q Okay. All right. I know you've got -- I'm just going       18    Q How about calling? Did people call you?
19   to -- I want to try to get through this quick. So the people     19    A No one called me.
20   that you have media entries under, like Daily Beast, Daily Texan 20    Q But no one does that anymore; right?
21   -- do you see that?                                              21    A Yeah, I would not have answered.
22       A Uh-huh.                                                    22    Q Okay. All right. So Autumn is someone that texted in
23       Q They don't have any other knowledge or involvement         23 response to the flyer; right?
24   other than the fact that they were working with a media source; 24     A Well, I don't believe so.
25   right?                                                           25    Q Oh.


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 1    A   I think that maybe this Autumn refers to a friend of     1 little bit to my workload. I was -- because I had to make all
 2 Kaya Epstein's, who is a part of Bernie -- Students For Bernie  2 of this stuff.
 3 Sanders.                                                        3      Q Where did you work?
 4      Q Okay. And this -- she would have knowledge -- I mean,    4      A I was -- I was doing an internship at Johns Hopkins.
 5 I -- I --                                                       5      Q Like, medical stuff?
 6      A (Crosstalk.)                                             6      A Like medical -- like, university-policy and
 7      Q -- I want to get through this quick. I don't want to     7 medical-policy research.
 8 waste our time here --                                          8      Q Okay.
 9      A I understand.                                            9      A Sorry. We did a report on the hospitals in Texas
10       Q -- so what I'm going to ask you is, like, other than   10 suing patients, like predatory billing.
11 someone that you spoke to about some of the stuff we've talked 11       Q I -- I understand. Okay. All right. Emi Fukumura?
12 about, is there anything else they know?                       12       A She is just a sorority sister of mine. She doesn't
13       A No.                                                    13 know anything specific.
14            MR. PRINGLE: Objection, form.                       14       Q Ethan Glass?
15 BY MR. SIBLEY (resuming):                                      15       A He's just a friend of mine, doesn't -- nothing
16       Q That you know -- that you're aware of anyway.          16 specific.
17       A Yes.                                                   17       Q Farah Hashim.
18       Q Okay. Ava Floyd?                                       18       A Farah is -- was also a coworker with me with Christie,
19       A She doesn't know anything.                             19 but she doesn't know anything specific either.
20       Q Okay. You're -- you're a sorority -- you're in a       20       Q Ilana Vines?
21 sorority, I guess.                                             21       A She is my sorority sister, doesn't know anything
22       A Yes.                                                   22 specific.
23       Q Which sorority are you in?                             23       Q Isabell Paine?
24       A Delta Gamma.                                           24       A She is my friend, and I don't think she knows anything
25       Q Brandon?                                               25 specific.

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1    A I -- I don't even remember who this person is. They           1        Q   Jack Linder?
2 don't know anything --                                             2        A   He is my friend, and I don't think he knows anything
3    Q Okay.                                                         3 specific.
4    A -- I don't think.                                             4        Q   Jan Schuler?
5    Q Brittany Blackshear, that's one of the founding               5        A   He is my friend, and he doesn't know anything
6 members of Students For Safety; right?                             6 specific.
7    A Sure. Founding, I -- yeah, she's one of the --                7        Q   Jin, unknown?
8    Q Okay.                                                         8        A   If -- if this -- I don't recognize this person. It's
9    A -- just the members.                                          9 probably one of the people who just texted me in connection with
10    Q All right. Brooklyn Rodgers?                                 10 the flyer.
11    A She's just a moot-court friend. She doesn't know             11       Q    Okay. Josh Durham?
12 specifically anything.                                            12       A   This is just my friend. He just -- I had just told
13    Q All right. Chelsea Colmer?                                   13 him I was distributing the flyer. He didn't know anything about
14    A She's just a friend. She doesn't know anything               14 it.
15 specific, I don't think.                                          15       Q    Okay. Joao Mitchell?
16    Q Christopher, unknown?                                        16       A   This is just my very good friend. He just knows my
17    A Same thing with this kid.                                    17 mental state --
18    Q Who was the one that actually helped you distribute          18       Q    Okay.
19 the flyer in Dr. Hubbard's class on the day of the event?         19       A   -- this whole thing.
20    A Ms. Blackshear.                                              20       Q    Juliana Steward?
21    Q Ms. Blackshear. Okay.                                        21       A   This is -- I have already mentioned Ms. Steward.
22    A Uh-huh.                                                      22 She's my friend who is friends with Hollie as well, but she
23    Q All right. Christi Walsh?                                    23 doesn't -- I don't talk about her --
24    A Oh, this was a coworker of mine. I just let her know         24       Q    Got it.
25 that I was being sued, and that it -- it -- I mean, it added a    25       A   I don't talk to her about this.


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 1    Q    All right. We know about Kaya Epstein.                1    Q Yep.
 2     A Yes.                                                    2    A That was the -- that was this meeting.
 3     Q Kevin O'Connor?                                         3    Q Okay. Marshall Theis?
 4     A Just a friend in LA.                                    4    A Right. Marshall Theis is the one who was in the -- in
 5     Q Leslie, unknown?                                        5 the room when we had the meeting.
 6     A This might have been one of the -- I -- I don't         6    Q Oh. What about Mark Schuster?
 7 recognize this person, that they don't -- they don't know     7    A That's the person I don't think I know.
 8 anything from me, but this might have been one of the people  8    Q Okay. Matt Terrell?
 9 that contacted me on Facebook, maybe.                         9    A This person just doesn't know really much stuff
10     Q All right. Lauren Tran?                                 10 specific besides when I was distributing the flyer.
11     A I don't -- I don't specifically know who this person    11    Q Mei --
12 is.                                                           12    A He's a friend of mine.
13     Q Lorna Barrall?                                          13    Q -- Robson?
14     A This is just a friend from high school. She doesn't     14    A I don't know who this person is. It's probably one of
15 know anything specific.                                       15 the people who just randomly texted me.
16     Q Lynn, unknown?                                          16    Q Michael, unknown?
17     A Oh, this woman is -- was part of CASM and she was -- 17       A I -- given -- yeah, I think this is one of the people
18 she was in a meeting with me once where we talked about       18 who randomly texted me.
19 Dr. Hubbard, but she doesn't know anything specific about the 19    Q Morgan Thompson?
20 contentions I have in this case. The concerns were that       20    A This is one of my neighbors, and she doesn't know
21 Dr. Hubbard was going to start suing people, and that's what  21 anything specific about this.
22 they were saying to me.                                       22    Q Muho Choi?
23     Q Okay. Maha Ikram?                                       23    A This is a classmate, and he doesn't really know
24     A I don't know who this person is, so I -- I assume it's  24 anything specific.
25 just one of the random people who texted me.                  25    Q Nathaniel Lawson?

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 1    Q    Manya Shah?                                             1      A This is a friend who I was actually with when I found
 2    A    She's the roommate who asked about the flyer when it    2 out I was being sued, but he doesn’t know anything specific.
3 was printing off our printer, as I said before.                  3      Q Okay. Noah Trapolino?
4     Q Your roommate; right?                                      4      A This is my friend, and he doesn't really know anything
5     A Yes.                                                       5 specific.
6     Q Yeah, all right. Maren Altman?                             6      Q Nuvea?
 7    A Maren is my friend who I said made a grammatical fix.      7      A I don't think I know who this person is, so I assume
 8 This is my -- this is my best friend. She doesn't know anything 8 it's one of the people who texted me.
 9 specific about this besides my emotional state.                 9      Q Pallavi?
10     Q All right. Mark Schuster?                                 10     A I also think I don't know this person, so I --
11     A I don't really know who this person is, so they don't     11     Q Okay.
12 really know anything specific from me.                          12     A -- I'm going to say the same thing.
13     Q Marshall Theis?                                           13     Q Patricia, unknown?
14     A This is an old friend of mine. He doesn't really know     14     A This is the person who was a -- a part of Popular
15 anything specific.                                              15 Women's Movement, I believe.
16     Q Matt Terrill?                                             16     Q Okay. How did you meet Patricia?
17     A Oh, wait, wait, wait. He was in that meeting with --      17     A Sit Ins for Safety 2, maybe.
18 with Lynn. He was -- he was just with me that day and he        18     Q Okay. So how did they -- how did you know that she
19 happened to sit in the meeting in the back of the library.      19 was with the Popular -- poplar (ph) or Popular, whatever,
20     Q This was the one where they said, Hubbard sues            20 Women's Movement?
21 people --                                                       21     A I think she gave me a publication. They print, l ke,
22     A Yes.                                                      22 flyers and stuff that was Popular Women's Movement on it.
23     Q -- or threatens to sue people; right?                     23     Q What did they -- did you keep the flyer?
24     A Yeah. I believe there was, like, an agenda that was       24     A No, no, I didn't.
25 produced to you along with my text messages.                    25     Q Would that have been recycled?


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                                                                     Page 146                                                                     Page 148
 1     A    I don't know when it was.                                           1 certainly no secret that your dad is -- I mean, I guess it's
 2     Q    Would it have been recycled or it would have been                   2 theoretically possible he could be a Democrat or a liberal and
 3 something that you didn't even take with you?                                3 assist Republicans to hold office, but chances are -- I mean,
 4     A    I -- I think it -- I don't remember even having it for              4 it's not -- it's not an unfounded assumption to believe your dad
 5 long, so I -- I think it would have been discarded before.                   5 is a pretty red Republican. Is that fair?
 6     Q    How'd -- how'd you get her number?                                  6     A    Yes, he is a pretty red Republican.
 7     A    She gave it to me. I -- I think I told her that -- I                7     Q    All right. Where -- where did we leave off? Oh,
 8 don't exactly remember when I got her number, but I told her                 8 Patricia. She's the Popular Women's Movement person; right?
 9 that I was going to -- that I had found some stuff that                      9     A    Yes.
10 concerned me about Dr. Hubbard's publications and that I was                 10     Q   All right. Is there anyone else -- any other names
11 going to distribute a flyer, and she knew I was going to                     11 you remember with this Popular Women's group?
12 distribute the flyer. She didn't read it beforehand, but she                 12     A   No, I didn't really -- I -- I never met with them in
13 volunteered to have someone come help me pass them out, but they 13 person. I know that there was another person who was taller
14 never showed up.                                                             14 than Patricia, and I think she was Asian American. That's the
15     Q     Okay. What did you know about the organization at                  15 only thing I remember --
16 that time?                                                                   16     Q   Okay.
17     A    Not really much besides I thought they were just very               17     A   -- about the group at all.
18 far to the left.                                                             18     Q   Okay. Well, do you have any knowledge of whether or
19     Q     Okay. Did you know whether they identified as a                    19 not that group or movement or whatever they call themselves had
20 Marxist group?                                                               20 any role in attacking Dr. Hubbard's house?
21     A    I know now that they identify as a Marxist group                    21     A   I do not know that. I -- I didn't know that at the
22 because I -- like, somebody was passing out, like, Marxist                   22 time and, yeah, they have -- they have a post on their Instagram
23 newspapers at a coffee shop I was at, and I -- I just like                   23 that actually has them at Dr. Hubbard's house, but it doesn't --
24 rhetoric and I wanted to read it so I got it, and I -- I asked               24 I don't know who was involved.
25 them if they were in connection with Popular Women's Movement                25     Q   Okay. Have you heard from anyone that that group or

                                                                     Page 147                                                                     Page 149
 1 and they said yes, so I did know now that they're a Marxist                  1 that movement was involved in vandalizing Dr. Hubbard's house?
 2 group.                                                                       2     A    Have I heard from anyone that -- what?
 3     Q     When did that happen, the coffee-shop thing?                       3     Q    That that group, Popular Women's Movement, was
 4     A     Like, maybe in March.                                              4 involved in vandalizing Dr. Hubbard's house.
 5     Q     Okay. Okay. You just knew they were, like, pretty                  5     A    Did anyone tell me? No one told me --
 6 far to the left, as you say; right?                                          6     Q    Okay.
 7     A     Uh-huh.                                                            7     A    -- that they did that.
 8     Q     Would you consider yourself -- would you consider                  8     Q    Okay. Have you heard that there's been a suggestion
 9 yourself a Marxist?                                                          9 or allegation since then that that group was responsible?
10      A    No, no, I wouldn't.                                                10     A   I -- I saw that in, I think, maybe the -- the document
11      Q     Okay. I believe I saw something that says you would               11 against Zoe Thomas.
12 consider yourself a Democrat, I guess; right?                                12     Q    Okay.
13      A    I -- I vote in Democrat primaries.                                 13     A   That was, like, a part of your case.
14      Q     Okay. Was there --                                                14     Q    Okay. When was the last time you had any
15      A    I don't use that word for myself.                                  15 communication or contact with that group or anyone from that
16      Q     All right. Was there a time that you identified, I                16 group that you know of?
17 guess, as, like, a Republican or someone to the right?                       17     A   Oh, gosh. Before -- maybe even before I withdrew from
18      A    No. I have actually never done that until more                     18 the university. I did not speak to them. I was not
19 recently as I've been learning more about monetary policy. I've 19 particularly fond.
20 been feeling a little bit more conservative.                                 20     Q    Okay. All right. Priscilla Mach?
21      Q     Okay. Well, there's certainly no --                               21     A   That is just my friend. I -- she doesn't know
22      A    But I've never voted in the Republican primary.                    22 anything specific.
23      Q     Okay.                                                             23     Q    Ricky Aguirre?
24      A    Yeah.                                                              24     A   Same thing.
25      Q     Okay. Gotcha. Well, there's certainly no --                       25     Q    Riley Steward?


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 1     A    Same thing, too.                                                 1 specific.
 2     Q    All right. Sam Ross --                                           2     Q    All right. Will, unknown?
 3     A    Uh-huh.                                                          3     A    I don't know who this person is, probably one of the
 4     Q    -- we know who that is, but what is your relationship            4 random people who texted me.
 5 history with Sam Ross?                                                    5     Q    All right. And then there's, like, someone unknown
 6     A    Identical to that with Ms. Thomas: I met him only                6 person that contacted you, Point you in -- point them in -- to
 7 once when we got the litigation notices, and it was at the same           7 any information about Dr. Hubbard. Do you see that?
 8 coffee shop where they passed out the Marxist newspaper                   8     A    Oh, yes. This is one of the random people who texted
 9 actually, Cherrywood, but I met them, like, in February when it           9 me, but they -- they said to me that they wanted to get out of
10 came out, but I haven't seen them since.                                  10 Hubbard's class and I think I just told them that they needed to
11     Q     Okay. So you -- you -- you had a meeting with them              11 contact student emergency services, because that's who had
12 after the -- after the notices went out --                                12 contacted me when this whole thing began.
13     A     Yes.                                                            13     Q    All right. So this is someone that was in his class,
14     Q     -- y'all had a meeting.                                         14 like, in the fall of 2019?
15     A     Uh-huh.                                                         15     A   Maybe, yeah.
16     Q     And that's when -- the only time you’ve met them?               16     Q    Okay. Yeah, I think this person -- yes, that is the
17     A     Yes.                                                            17 case. Sorry.
18     Q     Okay.                                                           18     Q    All right. Look at the Interrogatory Number 3 --
19     A     We -- we had a -- we had a group message -- I think we 19              A   (Reviewing.) Uh-huh.
20 produced some of that to you --                                           20     Q    -- and we ask: Identify all of the materials or
21     Q     Right.                                                          21 sources that you --
22     A     -- yeah, but I -- I didn't outside of that group                22     A   Uh-huh.
23 message and that interaction.                                             23     Q    -- read, reviewed, relied on in authoring the flyer.
24     Q     So that was the same day they passed out the Marxist            24 Do you see that?
25 newspaper at the --                                                       25     A   Yes.

                                                                  Page 151                                                                  Page 153
 1     A    No, no, it was not the same day.                                 1     Q    All right. Is there anything -- is there anything
 2     Q    Okay. Okay. Sam Somogye?                                         2 else that's on this -- that should be on this list that's not on
 3     A    Just a friend, doesn't really know anything.                     3 this particular document that you can think of sitting here
 4     Q    Samantha Saenz?                                                  4 today?
 5     A    Just -- I actually think this is the girl who was                5     A    No, sir, I cannot think of anything.
 6 touring the University of Texas that day, but she -- we                   6     Q    Okay. So basically the only publications that it
 7 definitely didn't tell her. That's why I wanted to talk                   7 looks like you’ve reviewed of Dr. Hubbard's are the Greek Love
 8 business beforehand, because I didn't want to ruin this girl's            8 Reconsidered, the Sexual Consent of the Adolescent Male and
 9 trip to the University of Texas.                                          9 Boys' Sexuality and the Age of Consent. Do you see that?
10     Q    Well, it looks like she did contact you, though,                 10     A   Those are the ones that I remember, yes.
11 afterwards and said, Hey, what's going on with this Hubbard guy. 11              Q   Okay.
12     A    I don't remember that --                                         12            THE WITNESS: Can we come to a stopping point
13     Q    Okay.                                                            13 soon? I want to use the restroom and stretch my legs.
14     A    -- but, I mean, if it's here, then that's the case.              14            MR. SIBLEY: Yeah. Let's just finish this
15     Q    All right. Sherron Watkins?                                      15 document --
16     A    This is just my friend's mother, and she just told me            16            THE WITNESS: Okay.
17 she was proud of me about this case.                                      17            MR. SIBLEY: -- we're almost done, and then we
18     Q    All right. Shelby Hobohm. We talked about her;                   18 can go. Okay?
19 right?                                                                    19            THE WITNESS: Okay. Thank you.
20     A    Yes.                                                             20 BY MR. SIBLEY (resuming):
21     Q    All right. Simone Harry?                                         21     Q   Let's see. I'm really not trying to be ugly here, but
22     A    She is a friend of Lynn's and was in this CASM thing             22 you have a Instagram handle that says Blake whore?
23 and was also in that meeting.                                             23     A   Yes, sir, I do.
24     Q    All right. Sloan Soler?                                          24     Q   Okay. I mean, what's -- is that -- is that like a
25     A    This is my neighbor, and she doesn't know anything               25 joke or what is that?


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 1     A    When I was in middle school, like, little mean middle               1     A    Which was the rally.
 2 school boys made fun of my last name and said that, and so it's              2     Q    The rally that was going to call for the removal of
 3 kind of funny. It's like a little -- my friends know it if they              3 Dr. Hubbard?
 4 grew up with me.                                                             4     A    Yes.
 5     Q    Okay. Okay. That's not something you use, I guess,                  5     Q    When was that supposed to take place?
 6 even -- you don't -- do you use it anymore or...                             6     A    We never got a date for it, I don't believe.
 7     A    It's a -- it's a private profile. Yeah, I do use it.                7     Q    Okay. Wasn't there some rally that was planned and
 8     Q    Okay. Did you -- did you search all of these -- if                  8 like -- I mean, there was nothing, no kind of rally about
 9 you look at Interrogatory Number 5, did you search all of these              9 Dr. Hubbard that anyone went to or held?
10 for communications that were requested in this suit?                         10     A    Not that I organized.
11      A    Did I search all of these social-media accounts?                   11     Q    Maybe I'm mixing --
12      Q    Yes.                                                               12     A    I don't think that I made a rally.
13      A    I -- yes, I did, but I don't use social media to                   13     Q    All right. So y'all were planning a rally, but never
14 message people. I don't like the format, and I don't let social              14 actually held one.
15 media send me notifications --                                               15     A    Yeah, I think they -- I -- they went to Sit In For
16      Q    Okay.                                                              16 Safety. That's maybe what you're thinking of.
17      A    -- so it's hard.                                                   17     Q    Okay. Did any of the other people that were -- you
18      Q    All right. So -- so you -- but did anyone message you              18 identified as being involved with Students For Safety, what --
19 on those social-media accounts?                                              19 what did they do? Like, what was -- what did they do with
20      A    Someone messaged me on Facebook, but I didn't speak to 20 respect to Dr. Hubbard?
21 them about this case. They were just saying that they were,                  21     A    Brittany helped me make the social media. She, like,
22 like, praying for me. It was odd.                                            22 made the Twitter account for me, and I think Kaya just helped --
23      Q    Got it, got it. Okay. All right. I think the next                  23 because we were going to do, like, a -- oh. We were going to do
24 thing is just a repeat of everything we had before, so...                    24 a letter to the -- to the parents, like a letter to the student
25      A    Okay.                                                              25 -- I wrote a letter to the student body. Did you see that?

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 1     Q     And then --                                        1    Q I believe so.
 2           MR. SIBLEY: All right. I think we're done with     2    A Okay. I wrote a letter to the student body and we
 3 this document, so we can take a break -- restroom break.     3 were going to write a letter for, like, parents to be able to
 4           THE WITNESS: Okay. Thank you.                      4 sign to the university, like, make a template. I know Kaya
 5           VIDEOGRAPHER: We are off the record at 2:45.       5 worked on something like that, and Hollie -- Hollie didn't
 6           (A recess is taken.)                               6 really do very much either.
 7           VIDEOGRAPHER: We are back on the record at 3:01. 7      Q Okay.
 8 BY MR. SIBLEY (resuming):                                    8    A We had -- we all had the same idea, we just didn't do
 9     Q All right. We're on Exhibit 7 now, and I just want to  9 much.
10 look at the very first interrogatory on that one.           10     Q I understand. Okay. All right. Let's move on.
11     A (Reviewing.)                                          11 Exhibit 8.
12     Q Do you see there it's asking about Students For       12     A (Reviewing.) Uh-huh.
13 Safety?                                                     13     Q Just take a look at that and tell me if you recognize
14     A Uh-huh.                                               14 the document.
15     Q And you say in the interrogatory --                   15     A This, if I'm correct, is when Ms. Yarrow sent me the
16     A I'm sorry. Yes.                                       16 correspondence that Hubbard sent her.
17     Q I'm sorry?                                            17     Q This is -- oh, hang on a second. I'm on the wrong
18     A Yes. I said uh-huh. Sorry. I was trying to correct    18 page. This is the document Bates Label 215; right?
19 myself.                                                     19     A Blakemore 215, yes.
20     Q It's okay. You were saying that Students For Safety   20     Q Yes, that's right. Okay. So this was the -- the
21 is basically no longer active.                              21 E-mail introduction to Ms. Yarrow; right?
22     A Yes, I am.                                            22     A Uh-huh.
23     Q Okay. So what exactly did they do?                    23     Q Okay. All right. Did you ever have any phone call
24     A Not much. We had bigger plans, but I had to bow out.  24 with Ms. Yarrow?
25     Q What were the plans?                                  25     A No.


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1                                          1




                                           6     Q   Okay. All right. All right. Let's look at
                                           7 Exhibit 9. (Provides exhibit.)
                                           8




                                                                                                 .)
                                           21 BY MR. SIBLEY (resuming):
                                           22    Q    That's the letter that Ms. Yarrow sent; right?
                                           23    A    Yes, the one that Dr. Hubbard wrote to her.
                                           24    Q    And did you -- I mean, did you review this letter or
                                           25 is this just something you passed on to your attorney?

                                                                                                         Page 161
                                           1     A   I believe I remember reading some of this.
                                           2     Q   Okay. But this wouldn't have been until around the
                                           3 time of this E-mail, I guess, in --
                                           4     A   Right, of course. I would not have read this until
                                           5 like -- until Ms. Yarrow contacted me, but you have those
                                           6 E-mails. I don't know what the date was --
                                           7     Q   Got it.
                                           8     A   -- on that.
                                           9     Q   Got it. Okay. All right. Let's look at Exhibit
                                           10 Number 10.
                                           11    A    (Reviewing.)
                                           12    Q    Refresh me on the Bates label on that, if you don't
                                           13 mind, Ms. Blakemore.
                                           14    A    On the -- what -- what -- is that --
                                           15    Q    The -- the number that's on the bottom of it.
                                           16    A    It's cut off.
                                           17    Q    Oh, is it? All right. Well, these are the -- oh,
                                           18 these are the -- these are documents -- or text messages we
                                           19 received. I can't remember if -- it may not have been from you.
                                           20 It may have been from Mr. Davis.
                                           21           MR. PRINGLE: Ross, did y'all get the production
                                           22 from Davis and UT?
                                           23           MR. PRINGLE: I think so, but I'm not sure.
                                           24           MR. SIBLEY: I think these messages are in other
                                       . 25 documents you produced, more or less.
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                                                           Page 162                                                                    Page 164
 1           THE WITNESS: Well --                                     1 between these two -- or Ms. Blakemore and Mr. Davis.
 2           MR. SIBLEY: Sorry. Go ahead.                             2             THE WITNESS: Uh-huh.
 3           THE WITNESS: I'm sorry. The blue side is --              3             MR. SIBLEY: I think -- like I say, we have
 4 would be me talking. The blue side would be the person talking,    4 communication, text messages, that's produced in a different
 5 and it's Sarah, this is Jim Davis, so it's them.                   5 form. It's not the screenshots, but I think we have essentially
 6           MR. SIBLEY: Okay. So it's -- it's from him.              6 the same thing in another document, but I'm -- let me -- can I
 7 Okay.                                                              7 just ask her whether this, to her recollection, is an accurate
 8           THE WITNESS: Yes.                                        8 representation of those communications? It's just an easier way
 9           MR. SIBLKEY: Well, I think you guys had                  9 to talk about them rather than the other document that has them
10 produced these communications more or less in some other           10 kind of, like, on a -- it's just a different format, but...
11 documents that we -- that we had, so why don't we -- let's just    11             THE WITNESS: Is that a yes, Ross?
12 leave that as it is and I'm not going to ask questions on it       12             MR. PRINGLE: No, you -- I think he's asking you
13 because I want to make sure that -- I mean, is that a document     13 to look at them and ask [sic] him if it's a accurate
14 that you've seen before? Ross, have you seen this document         14 representation of your --
15 before?                                                            15             THE WITNESS: Yeah, this --
16            MR. PRINGLE: Let me look at it. (Reviewing)             16             MR. PRINGLE: -- text communications with Davis.
17            THE WITNESS: I, of course, know it.                     17             THE WITNESS: This seems like it's it --
18            MR. SIBLEY: Well, I mean, if she can say that           18             MR. PRINGLE: Okay.
19 this looks like an accurate representation of the                  19             THE WITNESS: -- from a cursory glance (ph).
20 communications, I'm -- I'm assuming we'd be okay with it, but...   20 BY MR. SIBLEY (resuming):
21            MR. PRINGLE: I don't remember seeing these. Do          21     Q    All right. So it looks like y'all first got put in
22 you?                                                               22 contact around August of 2019.
23            MS. MARSOLAN: No. Do you -- do you know what            23     A    Yes, Jeff Norwood here, like I mentioned before.
24 the Bates numbers are for that production?                         24     Q    Right.
25            MR. SIBLEY: Yeah, that's -- that's -- it's              25     A    Sorry.

                                                           Page 163                                                                    Page 165
 1 called Davis -- what's the Bates number -- Davis 000018.           1      Q    Right. Okay. All right. And it looks like most of
 2           MR. PRINGLE: That's right?                               2 the discussion in August and September really relates to moot
 3           MR. SIBLEY: Yes, that's right. That's the Bates          3 court; correct?
 4 number.                                                            4      A   Yes.
 5           MR. PRINGLE: Weren't they produced in this kind          5      Q    Okay. And let's go to -- I'm trying to find the date.
 6 of multiple-page format?                                           6 These aren't the most -- it's not the most --
 7           MR. SIBLEY: Yes.                                         7      A   Yeah.
 8           MR. PRINGLE: Okay.                                       8      Q    -- legible document here, but it looks like on -- it's
 9           MR. SIBLEY: Somehow it got cut off. It's --              9 on the second page. On -- it's Davis 19 for those of us who can
10 it's -- the Bates label is at the very, very bottom.               10 see Bates numbers, but it says: I'm planning a lunch on
11            MR. PRINGLE: I see, yeah.                               11 Thursday the 21st. Do you see that?
12            MR. SIBLEY: And it's -- it's also got a FERPA           12     A    Yes.
13 designation on it, so we should probably designate these as        13     Q    And that's the Meredith --
14 confidential under the protective order, so...                     14     A    Oh, Meredith came, too.
15            MR. PRINGLE: I haven't --                               15     Q    That's Mr. Norwood's daughter, I guess.
16            MR. SIBLEY: I'm not really -                            16     A    Yes.
17            MR. PRINGLE: -- really seen the Davis documents         17     Q    Is she a student at UT?
18 yet. Have I? Do I have them yet?                                   18     A    Yes, she is.
19            MR. SIBLEY: I -- I thought they sent them to all        19     Q    By the way, these Popular Women's group people, are
20 of us, but maybe not, so...                                        20 they students at UT?
21            MR. PRINGLE: Okay.                                      21     A    I saw them at UT. I have no idea.
22            MS. MARSOLAN: Yeah.                                     22     Q    Well, I mean, when I was there, there was all sorts of
23            MR. PRINGLE: Okay. We do have them. Yeah, we 23 people I saw that roamed around the campus. I don't know that
24 have them.                                              24 they were necessarily students, but...
25            MR. SIBLEY: Okay. Well, this is a communication         25     A    Right. I don't know if they were students.


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 1       Q    Okay. Okay. Do you know anyone that knows them?                   1       A   Is this -- what day is this?
 2 Like, anyone -- any friends of yours that are mutual friends.                2       Q   The 19th is what the -- is what it shows to me.
 3       A   I think maybe Hollie knew them. I don't know.                      3       A   I really don't know.
 4       Q    Okay. All right. So it looks like on November 6th,                4       Q   Well, the next -- if you look at the next frame over,
 5 Mister -- Mr. Davis tells you he's planning a lunch. Do you see              5 it says, Mr. Davis, would you mind terribly if I came by your
 6 that?                                                                        6 office at 11 a.m. I wanted to talk to you about something
 7       A   Uh-huh.                                                            7 before we have lunch.
 8       Q    He's going to invite Ms. Norwood. Do you see that?                8       A   Well, then, I -- yeah, that was -- that had to do with
 9       A   Yes, sir.                                                          9 the flyer.
10       Q    And he's wanting Samantha, which is the young lady you 10                 Q   Okay. So certainly by November 20th at 9:50-whatever
11 referenced earlier, to -- to join in the lunch; right?                       11 p.m., you knew that; right?
12       A    Yes.                                                              12      A   Yes, sir.
13       Q    Did you plan the distribution of the flyer to coincide            13      Q   All right. Tell me about the actual distribution of
14 with that lunch day?                                                         14 the flyer. And, you know, we have it a little bit easier here
15       A    No, I did not. This just --                                       15 because you were present for Dr. Hubbard's deposition, and did
16       Q    Why --                                                            16 you hear -- did you hear him give the account of his
17       A    -- happened.                                                      17 interactions with you on that day?
18       Q    Why -- why -- I mean, why did you pick that day?                  18      A   Yes, I do remember that.
19       A    I think it just worked with my schedule. I don't                  19      Q   All right. Is there anything about those interactions
20 think there was anything particular about it.                                20 that you disagree with or have a different recollection of?
21       Q    Okay. Okay.                                                       21             MR. PRINGLE: Objection, form.
22       A    I don't remember anything specifically special about              22 BY THE WITNESS (resuming):
23 it.                                                                          23      A   I know that I did not have balloons.
24       Q    All right. It looks like on the next -- no, it's the              24      Q   There were no balloons.
25 same page. It's on the bottom of that page. There was some --                25      A   Right.

                                                                     Page 167                                                                 Page 169
 1 a text message on November 19th. Do you see that?                            1       Q   Okay.
 2       A   The last frame?                                                    2       A   But that seemed about accurate to me.
 3       Q   Yes?                                                               3       Q   All right.
 4       A   Yes.                                                               4       A   He -- I handed him the flyer, he told me it was
 5       Q   And it looks like Mr. Davis says: Still good for                   5 libelous, I said he could call my attorney or sue me or -- I
 6 lunch at the UT Club?                                                        6 don't remember the specific detail, and then he asked me if I
 7       A   Yes.                                                               7 had a bad grade in his class and insinuated that I would have a
 8       Q   Okay. Had you mentioned anything to Mr. Davis -- had               8 bad grade in his class because I was unintelligent. That was
 9 you even met Mr. Davis yet?                                                  9 it.
10       A    Yes, I met him once at -- at the UT Club as well. I               10      Q    Well, he didn't say that you were unintelligent,
11 had lunch with him and Danae when I met them about moot court. 11 though, did he?
12       Q    Okay. Is this the only way you communicated with them             12      A   No. I don't think he used the word unintelligent. I
13 is by text message or did you -- yeah, I think you had E-mails,              13 think he -- I mean, I came away from the conversation thinking
14 too, didn't you?                                                             14 that he called me stupid, so I -- I don't know specifically.
15       A    I -- I might have, yes.                                           15      Q    All right. But he said -- so he asked what your grade
16       Q    Okay. All right. So that was on the 19th, and then                16 in the class was.
17 it looks like you -- you confirm that you will be there at 11:30             17      A   Yes.
18 on the -- on the 21st. Do you see that?                                      18      Q    That -- that was true.
19       A    (Reviewing.)                                                      19      A   Yes, that is true.
20       Q    It's on the third page.                                           20      Q    And your response was what?
21       A    I'll be at your office at 11:30 -- yes, sir, I do.                21      A   I dropped your class.
22       Q    It sounds like a lovely time; right?                              22      Q    Okay. And what else -- what did he say after that?
23       A    Yes.                                                              23      A   I don't really have a good recollection of it. If --
24       Q    All right. And did you know that at that point you                24 have I said that he said it was libelous?
25 were going to distribute the flyer on the 21st?                              25      Q    Okay. Where all did you hand out the flyer? Was it


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 1 just outside of his class?                                                1     A    -- that were, like, made in, like, the 1800s or
 2    A    Just right in front of the doors.                                 2 something.
 3    Q    Anywhere else?                                                    3     Q    Do you think Dr. Hubbard's speech should be protected,
 4    A    No.                                                               4 his writings?
 5    Q    How did the media get ahold of this -- of the fact                5            MR. PRINGLE: Objection, form.
 6 that you had distributed a flyer?                                         6 BY THE WITNESS (resuming):
 7    A    I sent it to them.                                                7     A    That depends on what writings you say, but I -- I
 8    Q    How did you have a contact at the Statesman?                      8 generally think that scholarships should be protected.
 9    A    I just sent it to the Austin -- like, Info Austin                 9     Q    Well, any of Dr. Hubbard's writings that you've read,
10 American-Statesman.                                                       10 do you think they should be illegal or something?
11     Q    Did your --                                                      11     A   I think that it would be quite crazy to start banning
12     A    I just got the -- their E-mails off their websites,              12 people's publications. I don't think they should be illegal.
13 like, you know, the very general contact E-mail.                          13     Q    Okay. But you think that based on -- I mean, if I'm
14     Q    Who else did you send it to besides the Statesman?               14 reading the flyer correctly -- maybe I'm not -- but based on the
15     A    I sent it to the Houston Chronicle, the Austin                   15 flyer, it appeared as though you wanted Dr. Hubbard to be
16 American-Statesman, the San Antonio Express Times, the Dallas 16 removed from the university based on his scholarship; correct?
17 Morning News and the Texas Tribune.                                       17     A   Yes. Based on his attitude about it, yeah.
18     Q    Did anyone give you contacts at those media outlets              18     Q    Well, what do you mean his attitude about it?
19 for you to use?                                                           19     A   Just that -- I mean, there's a -- just that he
20     A    Maybe my father tried to give me media contacts, but I           20 promotes it. That's his attitude to me, and not just talks
21 didn't use them, I don't think. I think I just used the general           21 about pederasty. No one should be kicked out of anything for
22 E-mails.                                                                  22 just exploring a concept.
23     Q    Okay. Did you -- did you identify yourself as -- I               23     Q    Okay. So it's a combination of you reading his
24 mean, how did you identify yourself, I guess, when you sent the           24 writings and your experience in his class. Is that fair?
25 E-mails?                                                                  25     A   Yes.

                                                                  Page 171                                                                 Page 173
 1     A   I have an E-mail signature that just has my name and              1     Q    All right. Okay. So it looks like you sent him some
 2 my pronouns and says University of Texas.                                 2 -- well, there was a rally. I guess you --
 3     Q    Okay. All right. When was the first you heard from               3     A    It was just -- well, I just call it a rally.
 4 any media outlet after you distributed the flyer?                         4     Q    But you mean the handing out of the flyer?
 5     A   I don't really have a clear recollection of that.                 5     A    Yes, it's about our rhetoric.
 6     Q    Okay. All right. So the morning of the flyer                     6     Q    Okay. And it looks like on -- later on November 21st,
 7 distribution, before y'all had lunch --                                   7 I think I'm on Page 4 now, maybe 5 --
 8     A   Uh-huh.                                                           8     A    Okay. Would you give me a date?
 9     Q    -- you had a meeting with Mr. Davis about, I guess,              9     Q    Yeah, it's November 21st at 5-something p.m.
10 your complaints about Dr. Hubbard; right?                                 10     A   Yes.
11     A    Yes.                                                             11     Q    It looks like he says, Thanks, the Provost mentioned
12     Q    All right. Is that the first time you talked to him              12 to me that the protest was well organized and respectful. Your
13 about Dr. Hubbard at all?                                                 13 rules of engagement are clearly helpful in getting your voices
14     A    Yes, I think so.                                                 14 heard. Do you see that?
15     Q    Okay. What did he tell you about Dr. Hubbard besides             15     A   Yes, sir.
16 what you told me earlier about there had been some issues with 16                Q    Is he just talking about handing out the flyer?
17 him with the faculty or -- or the department or something like            17     A   I believe he was talking about one of the sit-ins for
18 that?                                                                     18 safety and not about the flyer, but I couldn't tell you for
19     A    We didn't talk about Dr. Hubbard after that. He just             19 sure.
20 explained to me -- or he tried to explain to me the law of --             20     Q    Did you organize the sit-in for safety?
21 the regent's rules.                                                       21     A   No, I did not.
22     Q    Which were what?                                                 22     Q    Okay. Then why is he talking about that with respect
23     A    That protect a professor's speech at the University of           23 to you, I guess?
24 Texas. There's special rules --                                           24            MR. PRINGLE: Objection, form.
25     Q    Okay.                                                            25 BY THE WITNESS (resuming):


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 1    A     I just think he knew I was there and that I was       1    Q Okay. Did you ever express yours concerns directly to
 2 involved. I -- yeah.                                           2 Dr. Fenves?
 3     Q Okay.                                                    3    A No, I did not.
 4     A I don't really remember a lot about this.                4    Q And it looks like -- well, it looks like there was
 5     Q Okay. And it looks like on the lower portion of the      5 also a lunch at the Austin Club in December.
 6 -- of the screenshots on November 28th --                      6    A I don't think we ever had that lunch. I don't
 7     A Uh-huh.                                                  7 remember ever seeing Mr. Davis again after that.
 8     Q -- Thanksgiving; right?                                  8    Q Have you seen him since then?
 9     A Yes.                                                     9    A No, I have not.
10      Q All right. And you were offered to pop by the          10     Q Okay. You didn't --
11 president's box at the football game.                         11     A I haven't seen him since the day of the flyer.
12      A Yes, I was.                                            12     Q Really? You have not had any -- he wasn't at the
13      Q Was that TCU that we played on that day?               13 event you saw President Fenves?
14      A I think it would have been Texas Tech.                 14     A I didn't go to the president's box that day.
15      Q Oh.                                                    15     Q No, I'm talking about in March around the -- right
16      A I was there with my parents because my dad went to     16 around the time the pandemic hit. You said you had met
17 Tech.                                                         17 President --
18      Q Okay. Well, I mean, why is it that -- and I'm just     18     A I saw Fenves, Mr. Davis was not there.
19 wondering. I'm not trying to be, you know, condescending, but 19     Q Okay. What is the Austin Club?
20 you seem to have access to people at the university that most 20     A It's a -- it's a club. It's on the street over there.
21 people don't have access to. Is that fair?                    21     Q I don't know. I'm not a member. I just didn't know
22            MR. PRINGLE: Objection, form.                      22 what kind of club it was.
23 BY THE WITNESS (resuming):                                    23     A Oh. It is a membership club.
24      A I don't really -- access, what does that mean?         24     Q Okay. You have to -- it's a members-only club?
25      Q Do you have -- do most people have Jim Davis' cell     25     A Yes.

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 1 phone they text him on?                                             1     Q     What do you have to do to be a member?
 2    A    Certainly not. That's true.                                 2     A     I guess have a membership.
 3    Q     Okay. Do most people get to pop by the president's         3     Q     But, like, if I want to get a membership, can I just,
 4 box at the game?                                                    4 like, go online and sign up, or how do I get a membership?
 5    A    I guess not.                                                5     A     I have no idea.
 6    Q     Okay. Do you have that access because of your --           6     Q     Well, how did you get your membership?
 7 because of your family's connections, or is there some other        7     A     I have it through my country club in Houston, I think.
 8 reason you have that access?                                        8     Q     Okay.
 9    A    I'm sure that my family's connections is a foundation       9     A     My parents have a membership at a country club in
10 of it, but I believe that Mr. Davis invited me to the               10 Houston and I think it transfers.
11 president's box because I run the moot-court team and I'm -- do 11   Q Got it. Okay. All right. And then the last
12 a good job of representing the university.                      12 communication we see is from November 3rd on the last page;
13     Q    Okay. We're going to look at some communications in        13 right?
14 -- in a little bit that appear to suggest that you were not         14     A    Yes.
15 happy with President Fenves' leadership at the university. Is       15     Q    Okay.
16 that fair?                                                          16             MR. PRINGLE: You said November, but you mean
17     A    Yes.                                                       17 December --
18     Q    Okay. When did you begin to have problems with             18 BY THE WITNESS (resuming):
19 President Fenves' leadership?                                       19     A    Not November, December 3rd.
20     A    Just with the issues around sexual misconduct with         20     Q    December 3rd -- my bad -- 2019; right?
21 professors, them not being removed.                                 21     A    Yes.
22     Q    Okay. Well, weren't there -- didn't they make some         22     Q    Okay. Do you know whether you had communications with
23 changes to the -- to the rules at the university about that         23 him over text since that date?
24 after -- in the -- in the wake of those events?                     24     A    We haven't texted, huh-uh.
25     A    They did. I didn't find them to be very satisfactory.      25     Q    Okay. Now, there was some E-mail correspondence --


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 1     A   I --                                                          1     Q       Yeah.
 2     Q   -- that -- sorry. Go ahead.                                   2     A       No. I'm not associated with them.
 3     A   Yes, the E-mails. I -- I E-mailed him with respect to         3     Q       Well, that you were -- I mean, there were
 4 the student-conduct board application process, and he didn't          4 communications that you had, and I'm assuming you -- you became
 5 (ph) help me. We didn't talk about this case, though.                 5 uncomfortable when you found out about some of the things they
 6     Q   Well, wasn't there also some discussion about a               6 were planning on doing at President Fenves' lunch; right?
 7 ambushing of President Fenves' lunch by the Marxist Popular           7               MR. PRINGLE: Objection, form.
 8 Women's Movement?                                                     8 BY THE WITNESS (resuming):
 9     A   This is true.                                                 9     A       What -- what -- yeah, can you break that down? Sorry.
10     Q    Okay. How did you even come to find out about that?          10        Q   Well --
11     A    Someone texted me, and it might have been Hollie or it       11        A   I didn't understand.
12 might have been Kaya saying that they were thinking about doing 12              Q   -- you found out they were going to show up at
13 something that I would consider sketchy at President Fenves'          13 President Fenves' lunch; right?
14 lunch, and I didn't think that was appropriate, and so I told         14        A   Yes, I did.
15 Mr. Davis.                                                            15        Q   You weren't comfortable with that, were you; right?
16     Q    What -- I mean, what was your understanding of what          16        A   Right. I was not
17 they were going to do?                                                17        Q   Okay. I'm just wondering if you ever talked to your
18     A    My understanding was that they were going to do one of       18 dad about, Hey, I've -- you know, I'm talking to people in this
19 their -- I had seen their demonstrations before, a video.             19 group. Y'all had a group chat, didn't you?
20 There's -- I think there's one on YouTube of them going into          20        A   The -- there was a group chat, I believe. I don't
21 Sarkar's class, and they're yelling and being incredibly              21 actually know. I wasn't in it. Somebody just told me that
22 disruptive, and I think they were going to do something similar       22 that's what they were saying in the group chat.
23 to that or more at the lunch with Fenves.                             23        Q   Okay. Did they ask you to participate in it?
24     Q    Like what? What more would they do besides going and         24        A   The what?
25 just yell and disrupt things?                                         25        Q   The -- President Fenves' lunch --

                                                              Page 179                                                                     Page 181
 1     A    I have no idea.                                              1     A       No, no, they didn't.
 2     Q    Okay. All right. So you tipped off Mr. Davis.                2     Q        -- protest or whatever?
3     A Tipped off, yeah, sure.                                          3     A       Yeah. And I didn't -- I didn't talk to my father. I
4     Q Okay. Did -- did anyone from that group find out that            4 know that was one of the questions.
5 you had done that?                                                     5     Q        All right. And that doesn't sound like something he
6     A I don't believe so. I -- I know that Patricia texted             6 would likely approve of.
7 me saying that she knew that someone had done that, but she            7     A       I don't think he -- I don't ask for his approval.
8 didn't think it was me.                                                8     Q        That's fair enough. I'm just -- I'm just wondering
9     Q How did -- how did they -- did they, like, show up and           9 if --
10 try to do something and there was, like, security there? I            10        A    I -- I -- I --
11 mean, what happened?                                                  11        Q    -- since you -- since you checked with him --
12     A I -- I have no idea.                                            12        A    I didn't ask for it, so I don't know what his approval
13     Q Okay. But somehow she knew that -- that the                     13 would be.
14 university knew that they were planning it.                           14        Q    Okay. Well, I mean, since you checked with him about
15      A I think that someone -- I think that Hollie told her           15 the flyer, I didn't know if you had talked to him about, Hey,
16   after I told Hollie that I was going to tell Jim Davis what was     16 there's this group and -- and planning these kind of activities,
17   happening, or Hollie told the group.                                17 what do you think, Dad. I mean something like that.
18       Q Well, then, she would know it was you; right? You             18        A    No, sir, I did not.
19   said Patricia didn't think it was you that told, but...             19        Q    Okay. All right. Let's look at Exhibit 11.
20       A There is a possibility that Hollie told them and kept         20        A    (Reviewing.) Uh-huh.
21   my name out of it. I don’t know how she did that, but Patricia      21        Q    Just let me know when you --
22   didn't seem to know. I can't really speculate what she knows.       22        A    When I recognize it?
23       Q Did you ever talk to your dad about being involved            23        Q    Yeah.
24   with this group or associated with them?                            24        A    I recognize it.
25       A Popular Women's Movement?                                     25        Q    Okay. And what's that document?


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 1    A     This is an E-mail I sent to my old English teacher and              1     A     I don't. I mean, I -- I don't know what's weird and
 2 her response.                                                                2 what's not weird to Popular Women's Movement. I certainly
 3    Q     Okay. And what was the -- I mean, what was the --                   3 didn't know that they were going to do that and would not have
 4 what was the reason for that? It's Ms. Pinto?                                4 helped them do it.
 5    A     Yes, Ms. Pinto.                                                     5     Q     Okay. When you -- when did -- when did you find out
 6    Q     Okay.                                                               6 about the attack on Dr. Hubbard's home?
 7    A     I was asking her about the American Literatures CLEP.               7     A     I think that someone texted me a YouTube video of it
 8 She's an American Literature teacher. I just wanted to know how              8 and asked if it was -- I had -- they knew that I had spoken out
 9 to -- know how to study for the CLEP, and I mentioned that I was             9 against Dr. Hubbard. They sent me a text message with the
10 being sued by Hubbard.                                                       10 YouTube video of this happening to Dr. Hubbard's house, and they
11     Q    Okay. And then you kind of closed that with -- you                  11 -- I -- I realized then that something had happened to his
12 say -- it's on the second page of that E-mail. On Bates Number               12 house, and they asked me had I done this and I said no.
13 213, you say, When we live for justice, nothing unjust can                   13     Q     Did you talk to anyone about maybe disclosing to the
14 befall us; right?                                                            14 police or anyone else that someone from the Popular Women's
15     A    Yes.                                                                15 Movement may have been involved in this attack?
16     Q    All right. Well, let me ask you this: Do you think                  16     A    I certainly did not think about disclosing anything to
17 what happened to Dr. Hubbard was just?                                       17 the police. I didn't have any personal knowledge of the whole
18     A    It depends --                                                       18 thing.
19            MR. PRINGLE: Objection, form.                                     19     Q     Well, sure, but you knew the Popular Women's Movement
20 BY THE WITNESS (resuming):                                                   20 was there; right?
21     A    -- on what you're saying, what happened to him.                     21     A    How would I know that?
22     Q    Well, do you think anything unjust happened to him?                 22     Q     Well --
23 Let me ask you that.                                                         23     A    I mean, I found out much later on when they posted it
24     A    I certainly think it's unjust that people called him a              24 on their Instagram, but I didn't know before then.
25 pedophile and showed up at his house and made him feel unsafe in 25                 Q     Well, after you found out about them posting on the

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 1 his home and vandalized his home, vandalized the surrounding                 1 Instagram, did you put two and two together and say, I talked to
 2 area.                                                                        2 them about Dr. Hubbard, I know they were planning on engaging in
 3    Q     Do you think that -- or is it -- do you find it unjust              3 something that could be along the lines of violence at President
 4 that some people -- and I know you think it's not a reasonable               4 Fenves' lunch; maybe I should give this information to the
 5 reading, but some people have read your flyer and your                       5 authority so they can investigate this group as potential -- you
 6 communications to reach the conclusion that Dr. Hubbard was a                6 know, someone who might have been potentially involved?
 7 pedophile.                                                                   7             MR. PRINGLE: Objection, form.
 8            MR. PRINGLE: Objection, form.                                     8 BY THE WITNESS (resuming):
 9 BY THE WITNESS (resuming):                                                   9     A     At this point in time, you -- you-all had submitted a
10     A    I'm not really sure what that has to do with justice,               10 document to sue, I think, Zoe Thomas and it said that Popular
11 people just reading something wrong, but it's certainly                      11 Women's Movement was involved. That was --
12 unfortunate.                                                                 12     Q    That's the first time you found out about it?
13     Q     Right, but, I mean, that's not the intention you                   13     A    No. That was just about the time in which I saw the
14 wanted to convey -- or the impression you wanted to convey;                  14 Instagram video.
15 right?                                                                       15     Q    So you had no knowledge that Popular Women's Movement
16     A    No, I wanted -- I did not want to convey that                       16 was involved in any attack on Dr. Hubbard's house or any
17 Dr. Hubbard was a pedophile or that he was a physical threat to              17 protest, whatever we want to call it, prior to the lawsuit being
18 anyone.                                                                      18 field?
19     Q     Okay. Why do you think the Popular Women's Movement                19     A    I did not -- no, no. I had seen that YouTube video,
20 -- I mean, don't you find it strange that you had communications             20 but I did not know that it was Popular Women's movement.
21 with these people, you told them about Dr. Hubbard and they were 21                 Q    When did you find out that Popular Women's Movement
22 later involved with, at minimum, a quote/unquote, Protest at his             22 had anything to do with any protest at Dr. Hubbard's house?
23 home?                                                                        23     A    When I saw it on their Instagram.
24             MR. PRINGLE: Objection, form.                                    24     Q    And when was that?
25 BY THE WITNESS (resuming):                                                   25     A    Maybe like March or April. I don't really know the


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 1 timeframe.                                                                  1              MR. PRINGLE: Do you need a break?
 2     Q     So not until months after the event did you realize               2              THE WITNESS: Yeah. Let's do that.
 3 it. Is that what you're telling me?                                         3              MR. SIBLEY: A break time?
 4     A    Yes.                                                               4              THE WITNESS: Can we take a break?
 5     Q     Okay.                                                             5              MR. SIBLEY: Yeah.
 6     A    Yeah, I -- I definitely didn't have any personal                   6              THE WITNESS: Is it okay?
 7 knowledge of Popular Women's Movement doing that, or even if                7              MR. SIBLEY: Yeah.
 8 they did.                                                                   8              VIDEOGRAPHER: We are off the record at 3:43.
 9     Q     Okay. Do you think any of the people -- well, let me              9              (A recess is taken.)
10 -- let me just put it this way: If someone were to tell you                 10              VIDEOGRAPHER: We are back on the record at 3:51.
11 that they were inspired by your flyer to perform that attack on             11 BY MR. SIBLEY (resuming):
12 Dr. Hubbard's house, how would that make you feel?                          12     Q      All right. We're on Exhibit 12; right?
13      A    I would be really horrified and I would try to correct            13     A      Yes.
14 their misjudgment of my facts.                                              14     Q      Okay. Who's -- whose Clark Patterson?
15      Q    Do you think your flyer and your statements to the                15     A      He is a fashion photographer, and he lives here in
16 press after the flyer had anything to do with the attack on                 16 Austin.
17 Dr. Hubbard's house?                                                        17     Q      Okay. Did you know -- is that a -- is that a male or
18              MR. PRINGLE: Objection, form.                                  18 a female?
19 BY THE WITNESS (resuming):                                                  19     A      Well, that is a male.
20      A    I mean, I can't speculate. I certainly understand                 20     Q      Okay. Did you know him before -- before he sent the
21 that there were -- that I played a role in popularizing                     21 message?
22 criticism against Dr. Hubbard, but I definitely don't think that            22     A      This -- this E-mail?
23 I caused it.                                                                23     Q      Yes.
24      Q    Okay.                                                             24     A      Yes, I did.
25      A    I didn't -- I didn't talk to them about Dr. Hubbard               25     Q      Okay. And I guess he's sort of -- I mean, is he just

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 1 and I also didn't, like, encourage them on their path.                      1 kind of generally giving his legal advice to you here? What is
 2     Q    Wait. I thought you told me earlier you had talked to              2 this?
 3 Patricia about Dr. Hubbard when you met her.                                3     A    I -- he was at the Sit In 2. That's where I met him,
 4     A    I did, yes, but I didn't -- once I wrote the flyer, I              4 and he got my contact information that way, and I -- I had seen
 5 didn't talk to them about any of my contingents.                            5 him on the street and he said he saw me being sued. This --
 6     Q    But I thought you told them you were planning on                   6 this man kind of talks too much to me. I have to get away from
 7 writing a flyer and distributing it.                                        7 him. He just catches me while I'm on runs in west campus and I
 8     A    Yes, I did say that.                                               8 don't want to talk to anybody.
 9     Q    And they would have found out about that -- I mean,                9     Q    Okay.
10 you're telling me you didn't talk to them about it after the                10     A      And I, of course, have no reason to talk about this.
11 fact -- after November 21st?                                                11 He did send me this E-mail. I don't think I responded. I
12     A     No, I don't think I did. I think -- maybe Patricia                12 didn't really read it.
13 had texted me later on. I think she invited me to some meeting              13     Q      Well, maybe he'll file an amicus brief in the case at
14 they were going to have, but I didn't want to attend so I did               14 some point.
15 not --                                                                      15     A      Maybe he will.
16     Q     Okay.                                                             16     Q      Okay. All right. Let's look at Exhibit 13. What's
17     A     -- and I didn't speak to her after that. They did ask             17 the Bates number on that document again?
18 me -- someone from Popular Women's Movement asked me if they 18                    A      It says Blakemore 211.
19 want -- if they could make me a GoFundMe and I refused.                     19     Q      All right. Yeah, that's right. Okay. What -- what
20     Q     For, like, legal fees?                                            20 is this?
21     A     Yes.                                                              21     A      This is a -- I requested a scan of Dr. Hubbard's book,
22     Q     Okay. All right. Let's look at Exhibit 2 -- or sorry              22 and it was during the pandemic, because I wanted to see it and
23 -- 12.                                                                      23 they sent it to me in scanned form.
24             THE WITNESS: What's the time?                                   24     Q      That was July 31st, 2020?
25             MR. SIBLEY: 3:43.                                               25     A      Yes.


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 1     Q     So that was right after the suit was filed; right?               1 action. They asked me not to use the name CASM under anything
 2     A    I guess, yes.                                                     2 that had to do with Dr. Hubbard because, of course, they did not
 3     Q     Okay. Okay. So you did -- you did seek to read some              3 want to be sued. That was the whole point of them mentioning
 4 of Dr. Hubbard's materials after getting sued; right?                      4 that.
 5     A    I didn't actually seek this document out to read it.              5     Q    Okay. Are any of the people listed under the
 6 I sought it out to get it to my attorneys.                                 6 names/housekeeping, are those members or people affiliated with
 7     Q     All right. Well, did you read it once you got it?                7 the Popular Women's Movement?
 8     A    Well, I didn't read it again this time.                           8     A    I don't know who's affiliated with the Popular Women's
 9     Q     Okay. So this was just to collect information for                9 Movement besides Patricia, and Patricia wasn't here.
10 your attorneys; right?                                                     10     Q    Okay. If you look down a little bit below, it says,
11     A     Yes.                                                             11 Secure communication. Do you see that?
12     Q     All right. Do you have any document like this showing            12     A   Yes.
13 a request for the document back in the October-November 2019 13                   Q    It says Signal; right?
14 timeframe?                                                                 14     A   Uh-huh.
15     A     They -- no, I do not. They would not have sent                   15     Q    ProtonMail; yes?
16 something like this. The -- the Get A Scan service came around 16                 A   Yes. Where is this? I'm sorry. Where is this?
17 -- or at least I had never used it until the pandemic happened.            17     Q    It's under Student Allies and Secure Communications.
18 They were trying to -- because you couldn't go to the library to           18     A   Oh, oh, it's right there, yes.
19 get books.                                                                 19     Q    So it talks about using Signal and ProtonMail; right?
20     Q     Okay. But was it a service that was available at the             20     A   Yes.
21 time in October-November of 2019?                                          21     Q    Why is -- why does it want to -- or why is there
22     A     The flyer -- the time around the flyer?                          22 discussion about that?
23     Q     Yeah.                                                            23     A   I believe we were using Signal, which you saw that we
24     A     No. I -- I didn't -- I didn't know it existed then --            24 were using Signal, just because it's encrypted communications
25     Q     Okay.                                                            25 and they can't be -- there's no stored communications, so they

                                                                   Page 191                                                                   Page 193
 1    A     -- if it did.                                                     1 couldn't be taken in a -- like, a criminal proceeding --
 2    Q     Okay.                                                             2     Q    Right, because --
 3    A     I don't think it did. I think it was only a pandemic              3     A    -- and without a warrant.
 4 thing.                                                                     4     Q    Were you-all contemplating the commission of crimes?
 5    Q     All right. All right. Let's look at Exhibit 14.                   5     A    No, we were not.
 6    A     Okay.                                                             6     Q    Then why the concern about the security-encrypted
 7    Q     All right. I think you've mentioned this before.                  7 messages?
 8 This is an agenda; right?                                                  8     A    This -- this may seem odd, but we had a moot-court
 9    A     Yes, I did.                                                       9 case about the third-party doctrine and it made me wise to
10     Q     The people -- the names/housekeeping. Do you see                 10 Internet security, and now I use Signal myself and I try to use
11 that?                                                                      11 Signal with everything, and we were having group communications
12     A     Yes.                                                             12 and we wanted to use Signal.
13     Q     I take it that doesn't mean like actual housecleaning;           13     Q   What's the third-party doctrine?
14 right?                                                                     14     A   The third-party doctrine is anything you give to a
15     A     You're correct.                                                  15 third party can be taken from you without a warrant from the
16     Q     Okay. This is just, like, who's involved with this               16 government. Like, if you were to give your DNA to 23andMe, the
17 agenda; right?                                                             17 government could ask 23andMe or some sort of police force could
18     A     Yes.                                                             18 ask 23andMe to give up your DNA information.
19     Q     All right. What was the purpose of this again?                   19     Q   And they couldn't -- they can't do that on Signal?
20     A     This was a CASM meeting. This was about -- I -- there            20     A   There's no stored communications on Signal --
21 was going to be a -- a meeting with -- a meeting of the                    21     Q   Okay.
22 university -- like a university townhall. There we go. That's              22     A   -- so the Signal company doesn't have anything. It's
23 what they called it. There was going to be a townhall with CASM            23 only stored on the device.
24 and Fenves was going to be there when we came back to school in 24                Q   You mean if a third party has sort of a reservoir of
25 January. And we did speak about Hubbard threatening legal                  25 communications, they can be subpoenaed by the government or by


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 1 some third party; right?                                          1     Q Okay.
 2     A Yes.                                                        2     A Yes, because it had the -- the open-records request on
 3     Q Okay.                                                       3 it.
 4     A And the same with the ProtonMail. I know that some          4     Q All right. And so, Release all records of misconduct
 5 people had been, like, reaching out to Hollie on her DMs and we 5 against Hutchison, Sarkar, Hubbard and Elise; right?
 6 wanted to make sure there was a secure way for people to reach 6        A Yes.
 7 out if they wanted to because, at this point, Dr. Hubbard had, I  7     Q Did you find -- you find evidence of misconduct
 8 think, said something on Wikipedia. I -- I don't remember         8 against Hutchinson?
 9 reading it, but I think somebody told me he was saying that he    9     A I didn't get them on -- I didn't fill this request.
10 might docs someone.                                              10 It was too much money requested from me.
11     Q Okay. It says, Hubbard threatening action, lawyered        11     Q To file the information request?
12 up.                                                              12     A I filed the request and they sent me back --
13     A Uh-huh.                                                    13     Q A bill for the documents?
14     Q Yes?                                                       14     A -- that they said -- yes. The -- like, you know how
15     A Yes, sir, it does --                                       15 they approve --
16     Q Why --                                                     16     Q Right.
17     A -- say that.                                               17     A -- before -- they want you to approve the price before
18     Q Why did you think he had lawyered up?                      18 they print all of this stuff, and it was like $1200 or
19     A I don't think it was -- I don't really remember why        19 something.
20 that was the case.                                               20     Q I got it.
21     Q Okay.                                                      21     A I didn't fill it. It was later on filled by -- with
22     A I didn't type this.                                        22 my counsel.
23     Q Who -- who typed this?                                     23     Q I gotcha. Okay.
24     A Someone else at the meeting. I don't know who it was.      24     A Not this whole thing, just for Hubbard's personnel
25     Q Was it E-mailed to you?                                    25 file.

                                                       Page 195                                                            Page 197
 1    A It certainly wasn't Kaya or Brittany or Hollie.              1     Q Understood. That was 13; right?
 2    Q Was this E-mailed to you?                                    2             COURT REPORTER: 14.
 3    A I think it was maybe somebody texted it to me.               3 BY THE WITNESS (resuming):
 4    Q Okay. But it was in, like, a Word form; right?               4     A 14.
 5    A Like, a -- it was in, l ke, a Google Doc.                    5     Q Oh, that was 14. Okay. All righty. Let me show you
 6    Q Okay.                                                        6 what we're going to mark as Exhibit 15.
 7    A Anyone could have written on it.                             7     A Whew.
 8    Q Gotcha. Well, you have something in here -- I don't          8     Q Yes, I'm sorry. It's a lengthy document, and it
 9 know if -- I don't know if this is supposed to be part of the     9 begins with Bates number Blakemore -- let's see.
10 same document, but if you look at the very end, it looks like a   10     A 191-A is what I have.
11 response to Hubbard, or is it not in there?                       11     Q That is correct, 191-A. Okay. And I guess this is
12     A The Hubbard's message?                                      12 like a -- a printout that you did from your phone or something
13     Q Right. You -- you typed up the response to it; right        13 that has, like, text messages; right?
14 -- or drafted a response to it, I guess?                          14     A Yes, sir.
15     A Where does it --                                            15     Q Okay. And so we have a text from Leslie here. This
16     Q You know what? I don't think it's in that document.         16 is one of the people that just responded to you in response to
17     A Oh, no, no, no. There's more pages. I'm sorry.              17 the flyer, I guess.
18 (Reviewing.)                                                      18     A Yes.
19     Q Okay. Maybe it is in the document.                          19     Q The very first one. Okay. All right. I'm going to
20     A This -- this overwhelming-support thing?                    20 go to some select passages here.
21     Q Yeah, yeah.                                                 21     A Okay.
22     A Uh-huh.                                                     22     Q All right. Let's look at -- yeah, you should probably
23     Q All right. That's -- you wrote that?                        23 take the clip off so you can --
24     A I think this was the letter to the student body that I      24     A Okay. Okay.
25 released on the day that I released the flyer.                    25     Q Yeah, it'll be easier.


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                                                      Page 198                                                                 Page 200
 1    A   (Complies with request.)                                  1     A In Houston.
 2    Q Let's look at Page 193-A, Bates number we're talking        2     Q Oh, okay. Did she run as a Republican?
 3 here.                                                            3     A I assume that that was the case, yeah.
 4    A Okay. I'm here.                                             4     Q Okay. I was going to say she wouldn't be getting
 5    Q All right. So Sarah -- this is Nuvea, you see at the        5 elected here if she were on that ticket.
 6 top?                                                             6     A I don't think I was old enough to vote when she ran.
 7    A Yes.                                                        7     Q Okay. Okay. All right. You say, on November 20th,
 8    Q I'm a current student in Thomas Hubbard's classical-        8 2019, Before the flyer was put out -- right?
 9 mythology course. I am a social-work major, and I would love to  9     A Yes.
10 work with you and help you not only get Hubbard removed, but     10     Q -- my professor is a legit member of NAMBLA.
11 also have the names of the other pedophiles released to the      11     A Yes, I did say that.
12 public. Do you see that?                                         12     Q Okay. Was that true?
13     A Yes.                                                       13     A Well, I didn't -- this is not true. I did not think
14     Q Okay. Would you agree with me that Ms. Nuvea has           14 it was true at the time --
15 interpreted your flyer to mean that Dr. Hubbard is a pedophile?  15     Q Then why --
16     A I don't think it expressly says that. I don't --           16     A I didn't know it was true at the time.
17     Q Okay.                                                      17     Q Then why'd you say he's a legit member of NAMBLA?
18     A I don't know.                                              18     A Because legit is -- I know this sounds
19     Q It says other; right?                                      19 counterintuitive, but it's a signal of maybe hyperbole to the
20     A Pedophiles. It does, yes, but I don't know this            20 young people.
21 woman, though.                                                   21     Q Really?
22     Q Okay. But given what you told me earlier about how it      22     A Yeah, if that makes sense.
23 wasn't your intent to create the impression that Dr. Hubbard was 23     Q Is that what they're teaching in English now over at
24 a pedophile --                                                   24 UT, that legit means --
25     A Uh-huh.                                                    25     A No, it's a slang.

                                                      Page 199                                                                 Page 201
1    Q -- did you do anything to respond to say, Let me be         1     Q    Okay. But I thought legit means like for real.
2 clear, I'm not accusing him of being a pedophile, or anything    2     A    Yes, something like that, but I can also mean
3 along those lines?                                               3 hyperbolic.
4    A Clearly I did not respond then, but I don't think I         4     Q    Okay.
5 read this whole text. I was getting a lot of texts on that       5     A    To me. I mean, that statement's not correct. We
6 day --                                                           6 found out later on that it is [sic].
7    Q Right. You were excited about them.                         7     Q    Okay. But you also said, and -- and I -- I think this
8    A -- from random people.                                      8 is kind of where I'm going with this: You also said in the
9    Q You were excited about them; right?                         9 flyer that -- and you can look back at it if you want. It's
10    A (Reading) I'm so excited by -- by the responses. Yes.      10 Exhibit 1. You might want to -- yeah, it might not be a bad
11    Q Okay. All right. Let's look at Page 208-A.                 11 idea for you just to have that off to the side, because...
12    A (Complies with request.) Got it.                           12     A   This -- this whole stack?
13    Q All right. It says -- who is the Honorable -- does         13     Q   Keep the stack where it is. I'm just saying the --
14 that say Honorable Charlotte Blakemore?                         14 yes, the first exhibit, the one probably at the very bottom.
15    A Yes, it does.                                              15     A   Okay.
16    Q Is that like a -- does she actually hold an office?        16     Q   You can just put it off to the side, that way you can
17    A My sister did hold an office, yes.                         17 have it handy.
18    Q What -- what was she?                                      18     A   (Complies with request.)
19    A I believe she was a -- like an election judge or a         19     Q   You said it was -- you said NAMBLA was a -- the
20 precinct chairman.                                              20 world's largest pedophile activist group; right?
21    Q Okay. Is that l ke an elected position?                    21     A   Yes.
22    A It is an elected position.                                 22     Q   So if he's a member of NAMBLA, wouldn't that make him
23    Q And --                                                     23 a pedophile?
24    A She ran.                                                   24     A   I couldn't say. I don't think that that would
25    Q -- in Austin?                                              25 specifically make you a pedophile.


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                                                              Page 202                                                                      Page 204
 1    Q    So if I'm a member of the world's largest pedophile           1 Allen Blakemore?
 2 activist group, that doesn't necessarily make me a pedophile.         2     A    No, no --
 3    A    Well, no, I don't think that necessarily makes you a          3     Q    Okay.
 4 pedophile.                                                            4     A    -- no one asked that.
 5    Q    Okay.                                                         5     Q    All right. All right. Let's look at Page 210-A.
 6    A    You could be in a Black Lives Matter group and not be         6     A    I am here.
 7 African-American.                                                     7     Q    All right. Look at the -- looks like there's someone
 8    Q    Okay. But that would also mean that you're most               8 named Jan Schuler that you're corresponding with at the bottom
 9 likely advocating for the things that Black Lives Matter              9 of that page.
10 advocates for; right?                                                 10     A   Yes.
11     A    Yes.                                                         11     Q    And it looks like this is after you received the
12     Q    Otherwise why are you in the group.                          12 retraction letter; right?
13     A    Right.                                                       13     A   I suspect so.
14     Q    So you said NAMBLA is advocating for pedophilia;             14     Q    Okay. And, by the way, did you -- did you ever
15 correct?                                                              15 consider retracting or clarifying or anything the statements
16     A    Yes.                                                         16 that were complained of?
17     Q    Do you know anyone other than pedophiles that advocate 17           A   No, I did not.
18 for pedophilia?                                                       18     Q    Okay. And here at 1:15 p.m. on February 20th --
19     A    Well, my assumption is that Dr. Hubbard is not a             19     A   Uh-huh.
20 pedophile and he advocates for pederasty.                             20     Q    -- you say, He should really be suing all of the
21     Q    Okay. Well, you've put pederasty and pedophilia kind         21 people who showed up at his house; right?
22 of in the same sentence here, though; right?                          22     A   (Nonverbal response.)
23     A    I -- I have put them in the same sentence.                   23     Q    Yes?
24     Q    Okay. Because they're -- they're basically the same          24     A   Yes.
25 thing to you; right?                                                  25     Q    Okay. We did not do that shit. I literally made all

                                                              Page 203                                                                      Page 205
 1    A Not quite. I believe that pedophilia is a good                   1 of my people promise, Do not call him a pedophile on the record.
 2 describing term of pederasty to a normal person.                      2     A    Yeah, we did speak about that. We did say that no one
 3    Q Why would someone be a part of an organization that              3 should call Dr. Hubbard a pedophile. That would be defamation.
 4 advocates for pedophilia if they're not a pedophile?                  4     Q    On the record; right?
 5    A I do not know.                                                   5     A    Oh, that was not the kind of -- that wasn't the
 6    Q Okay. I mean, that just seems, like, implausible to              6 punchline of it, on the record.
 7 me.                                                                   7     Q    Well, I mean, if it's not on the record, it can't
 8    A I do not know why Dr. Hubbard is --                              8 really be defamatory; right? If I talk in my sleep and call
 9    Q I don't do this stuff, but I am definitely in favor of           9 Dr. Hubbard a pedophile, it's not really defamatory because I
10 other people doing it. Everyone go out there and rape kids.           10 haven't published it to anyone else.
11     A Well, I -- people have their choices.                           11     A   I don't think that's true. I think if I -- if -- if I
12     Q Okay.                                                           12 called Dr. Hubbard a pedophile to you-all in this room, it could
13     A I don't know why.                                               13 be defamation.
14     Q All right. Okay. And then you go on to say -- let's             14     Q    Technically, it'd be slander, but I understand --
15 look back at 208-A.                                                   15     A   Okay. I'm sorry.
16     A Uh-huh.                                                         16     Q    -- what you're saying.
17     Q Hell yeah, the press is totally helping me the fuck             17     A   Yes
18 out.                                                                  18     Q    I'm just saying that if I don't communicate it to
19     A Yes.                                                            19 someone else, if I just keep it amongst my -- amongst myself, it
20     Q Okay. So you feel like the press was on your side for           20 may not be -- I guess what you're saying is --
21 this one.                                                             21     A   I was --
22     A I think by helping me out, I meant they were giving me          22     Q    -- privately communicating with one another, you don't
23 time to speak on their airwaves.                                      23 even want to call him a pedophile, then; right?
24     Q Did anyone with any news -- news organization ask,              24     A   No. It wasn't that, We don't want to call him a
25 Hey, are you the daughter of the famous political consultant          25 pedophile and have someone overhear it, we didn't want to call


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                                                               Page 206                                                                      Page 208
 1 him a pedophile at all.                                                1     Q   Who's Ricky Aguirre?
 2    Q     Because you didn't believe he was a pedophile.                2     A   This is a friend of mine from high school.
 3    A     That is true.                                                 3     Q   Okay. So he's just checking in with you. I see
 4    Q     All right. Who are the people that you -- who are,            4 you're putting a pedophile on the hot seat; yes?
 5 quote/unquote, your people -- or it says, My people, that you          5     A   Yes, he does say that.
 6 made promise not to call him a pedophile on the record?                6     Q   Okay. I'm assuming he would have seen that from the
 7    A     That would be Ms. Epstein, Ms. Blackshear and                 7 news story that had been published in one of the publications
 8 Ms. Green.                                                             8 that you mentioned, the Austin American-Statesman or someone --
 9    Q     So those are the Students For Safety people.                  9     A   That's false, though.
10     A    Yes.                                                          10    Q   -- else that covered --
11     Q    Did anyone ever call Dr. Hubbard a pedophile in your          11    A   I didn’t tell him.
12 presence or in messages and you correct them and say, I don't 12                   MR. PRINGLE: Objection, form.
13 believe he's a pedophile, or, I don't think that's justified?          13 BY MR. SIBLEY (resuming):
14 Any -- anything like that?                                             14    Q   Well, if she saw it, it would have been in -- is there
15     A    I have -- I recall correcting people. I couldn't              15 any other way he would have saw it outside of the news that
16 bring up specific circumstances.                                       16 you're aware of?
17     Q    Okay. But that would be like orally; right? That              17          MR. PRINGLE: Objection, form.
18 wouldn't be in communications at least that --                         18 BY THE WITNESS (resuming):
19     A    Yes, I've -- I've corrected people who I'm speaking           19    A   No, not that I'm aware of.
20 to --                                                                  20    Q   Okay. Did you respond to him and say, No, he's not a
21     Q    Okay.                                                         21 pedophile. That's not what I intended by my flyer?
22     A    -- who have said that.                                        22    A   No, I didn't respond to him at all. I actually don't
23     Q    All right. And let's see. 221-A, let's go to that             23 speak to this person anymore because they make me uncomfortable.
24 one.                                                                   24    Q   Okay. All right. Let's look at page 230-A.
25     A    Yes.                                                          25    A   Yes.


                                                               Page 207                                                                      Page 209
 1    Q     Manya Shah?                                                   1   Q Look at the very top of the page, I guess. You don't
 2    A     Yes, this is my roommate.                                     2 want anyone to think you're Republican.
 3    Q     And it looks like it's -- I mean, I don’t know. It's          3     A Yes.
 4 -- begins strangely. She says, Oh, no, and then you say, There         4     Q Okay. And then you go on to say -- oh, I guess you're
 5 is, though, my friend called him a pedophile.                          5 talking about getting sued eventually; right? 7/22/20. You see
 6    A     For defamation... (reviewing.) You're right. This             6 that?
 7 doesn't really make a lot of sense. I don't know what's going          7     A Yes.
 8 on here.                                                               8     Q Okay. And then you go on to say -- this
 9    Q     Well, what friend are you referring to that called            9 Riley Steward, who's that?
10 Dr. Hubbard a pedophile?                                               10     A That is my friend who goes to UT.
11     A    I don't -- I can't recall somebody -- yeah, I don't           11     Q Okay. I says, Oh, shit, this is Baltimore. What does
12 know what this is in reference to.                                     12 that mean?
13     Q     Okay. You don't know of any of your friends, sitting         13     A It's the article that was written about me by Avi Idra
14 here today, that have called Dr. Hubbard a pedophile.                  14 (ph), the Baltimore OUTloud --
15     A    If they have, it was only in spoken conversation and          15     Q Oh, okay.
16 they were corrected.                                                   16     A -- was the publication. That was it.
17     Q     Okay. All right. And then you refer to him as one.           17     Q Okay. And then he says, It is a mark of strength to
18     A    Yes.                                                          18 be sued by a pedophile; right?
19     Q     Okay. All right. Let's go to Page 229-A. Let me              19     A Where does he say that?
20 know when you're there.                                                20     Q 12:53 p.m. on 7/22.
21     A    (Reviewing.) Got it.                                          21     A Yes, he does.
22     Q     Okay. Ricky Aguirre.                                         22     Q Uh-huh. And he says, Wear that shit with pride;
23     A    Yes.                                                          23 right?
24     Q     How is everything going in school? You see that?             24     A Yes, he does.
25     A    Uh-huh.                                                       25     Q Okay. And then you say, I fucking hope this turns out


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 1 with me beating a pedophile, otherwise my rep is fucked; right?          1              MR. SIBLEY: All of these are the A. This is
 2     A    Yes.                                                            2 like the re-bated thing.
 3     Q    Okay. So contrary to what you've been telling me for            3 BY THE WITNESS (resuming):
 4 pretty much all deposition, you didn't respond to him with, He's         4     A      Got it.
 5 not a pedophile, that's not what I said. Instead you say you             5     Q      Okay. All right. Let's look at -- hang on one
 6 hope it turns out with you beating a pedophile; right?                   6 second. Let's look at the exchanges that began at -- on
 7     A    Yes, I did say that.                                            7 November -- I'm sorry -- December 18th, 2019.
 8     Q    Okay. Well, how do you explain that given your prior            8     A      With who?
 9 testimony?                                                               9     Q      Are there multiple ones on there?
10     A     Well, I have -- I didn't specifically remember this.           10       A   On 200-A?
11 It has been my intention to always correct people when I am not 11                Q    Yeah.
12 -- when I have my wits about me. I don't believe I really had            12       A   Yes, there are.
13 my wits about me in this scenario, probably was not the most             13       Q    Okay. Charlotte, Elizabeth and Allen.
14 good thing to say, but I was very heated that I got sued that            14       A   Perfect. I'm there.
15 day. I'm sorry.                                                          15       Q    That looks like a family group text chain, I guess.
16     Q     Okay. And so you were okay with calling Dr. Hubbard a          16       A   Yes.
17 pedophile on that day; right?                                            17       Q    All right. And it looks like Charlotte sends a text
18     A     I'm certainly not okay with calling Dr. Hubbard a              18 about -- it says, UT students -- although, as you've mentioned,
19 pedophile on that day or any one, which is why I --                      19 we don't necessarily know whether they were students or not, but
20     Q     All right.                                                     20 it says they -- Protest professor's house over his writings. Do
21     A     -- think this is not appropriate.                              21 you see that?
22     Q     Well, would you like to apologize to Dr. Hubbard for           22       A   Yes.
23 calling him a pedophile on this day?                                     23       Q    All right. Would you really call the -- the violence
24     A     Would I like to right now?                                     24 that occurred at Dr. Hubbard's house a protest? Do you think
25     Q     Yes.                                                           25 that's a fair characterization?

                                                                 Page 211                                                                     Page 213
 1    A     Sure. I'm sorry that I called you a pedophile on the            1              MR. PRINGLE: Objection, form.
 2 22nd.                                                                    2 BY THE WITNESS (resuming):
 3    Q     Okay. Okay. Let's see. All right. Did you -- did                3        A   There -- there is debate on this term in general in
 4 you keep your family members, I guess, kind of apprised as to            4 the pop culture between protest and riots. I'm sure there were
 5 what's going on? It sounded like earlier, you told me you kind           5 some people there to protest, but some people definitely
 6 of shared everything with them; right?                                   6 committed violence against Dr. Hubbard's home.
 7    A     Yes. Yeah, I -- I think they're generally apprised              7        Q   Okay. Why did your mom respond, Great?
 8 about most things in my life.                                            8        A   I don't know.
 9    Q     Okay. And so you kept them abreast of, like, what was           9              MR. PRINGLE: Objection, form.
10 happening with the whole -- and there were a lot of things going         10 BY MR. SIBLEY (resuming):
11 on in November-December of 2019. One was the flyer coming out, 11                 Q    I mean, that just seems like a strange reaction when a
12 there were the other protests at UT, there was you -- your               12 disclosure of an attack on someone's house has been revealed.
13 health issues that were going on; right?                                 13       A    It could have been in reference to something above,
14     A    Yes.                                                            14 but it could have been in reference to that, too.
15     Q    All of those things. And also, then -- then, of                 15       Q    I mean, I -- I just -- I mean, I find it strange that
16 course, there was the attack on Dr. Hubbard's house on -- I              16 -- well, have you talked to your parents about what happened at
17 believe it was December 9th.                                             17 Dr. Hubbard's house at all?
18     A    Yes.                                                            18       A    They do know.
19     Q    Do you recall -- you recall us talking about that;              19       Q    What was their reaction, or what did they say about
20 right?                                                                   20 it?
21     A    Yes, I do.                                                      21       A    I don't recall.
22     Q    All right. All right. Let's look at Page 200-A.                 22       Q    I mean, they just don't strike me as the kind of
23             MR. PRINGLE: 200 what?                                       23 people that would be applauding violence, I guess.
24             MR. SIBLEY: 200-A.                                           24       A    I would say that about my parents, too.
25             MR. PRINGLE: 200-A.                                          25       Q    And so I'm just puzzled by why -- what -- you know,


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                                                                    Page 214                                                                 Page 216
 1 why someone would respond with a -- I mean, that sounds like she            1      Q    I mean, yeah. Well, you still have the images; right?
 2 thought it was good.                                                        2 Whatever those images are.
 3     A     I don't know what she thought. I don't know why she               3      A    I -- I may.
 4 said that or if that was even about that text specifically. I               4      Q    Okay.
 5 don't know.                                                                 5      A    I haven't destroyed anything.
 6     Q    Okay. And then you go on to say -- there's some -- it              6      Q    What did you -- what did you use -- what kind of
 7 looks like there's some pictures that were sent.                            7 program did you use to get these texts off?
 8     A    Uh-huh.                                                            8      A    There was an employee at my father's office that just
 9     Q    Do you know what those were?                                       9 downloaded all of my text messages for me. I don't know how he
10     A     No.                                                               10 did this.
11     Q     Okay. And you say, I really gave the woman many                   11     Q     I gotcha. Okay. Fair enough.
12 better taglines like, You can't separate the man from the                   12             MR. SIBLEY: All right. All right. Ross, can we
13 morals; right?                                                              13 take about a 10-minute break?
14     A     Right.                                                            14             MR. PRINGLE: Sure.
15     Q     Actually, that looks like a -- I mean, it looks like              15             MR. SIBLEY: I just want to use the restroom and
16 it's on December 5th, but I'm not really sure why they're                   16 stuff.
17 jumbled together, but...                                                    17             VIDEOGRAPHER: We are off the record at 4:24.
18     A     Right. Yes, that is on December 5th. I believe that               18             (A recess is taken.)
19 was in reference to some quote that was made of me with respect             19             VIDEOGRAPHER: We are back on the record at 4:50.
20 to this matter, probably by the Statesman or one of the other               20 BY MR. SIBLEY (resuming):
21 publications.                                                               21     Q     All right. Ms. Blakemore, let's look at Page 215-A of
22     Q     Gotcha. Was this -- where was this -- was this a                  22 -- what's the exhibit number again? Is it --
23 text-chain communication or what was this?                                  23     A    It starts at 191-A.
24     A     I -- yes, I think this is a text chain.                           24     Q     No, the exhibit number, or the yellow sticker.
25     Q     But is it on, like, iMessages or is it --                         25     A    Oh, I'm sorry. 15.

                                                                    Page 215                                                                 Page 217
 1     A     It was on -- it should be on iMessage, yes.                       1      Q    Yeah, all right. Exhibit 15, Page 215-A.
 2     Q     So y'all weren't -- you didn't use Signal with your --            2      A    Okay. (Reviewing.) Yes, I am here.
 3     A     Family.                                                           3      Q    Okay. It says you're having a meeting with the woman
 4     Q     -- family; right?                                                 4 who wrote the -- the very top line -- A meeting with the woman
 5     A     I tried to get them to use it and they did not want --            5 who wrote the blog about Hubbard --
 6     Q     They're just not quite --                                         6      A    Yes.
 7     A     It's --                                                           7      Q    -- on November 23rd, 2019. Do you see that?
 8     Q     -- up to speed on Signal; right?                                  8      A    Yes, it does.
 9     A     Yeah.                                                             9      Q    Who are you referring to?
10      Q     I gotcha. Okay. And you know what? I just noticed                10     A    I am pretty sure I'm referring to Hollie, because I
11 something. I just want to be fair here. The way this appears,               11 had a meeting with Hollie at CAVA and the blog is Futo Kennedy.
12 it looks like the 12/18/19 article was -- was sent -- I mean, it            12 I never met Futo Kennedy. I think I just misspoke in this and
13 looks like the, Great, message was not in response to the -- to             13 it's Hollie.
14 the article being sent because it's dated 12/10/19 and the other 14                Q    I see. Okay.
15 one is dated 12/18/19.                                           15                A    Because I -- I had the -- I saw Hollie and her partner
16      A    Ah, this is true.                                                 16 at CAVA --
17      Q     So I -- I --                                                     17     Q    Gotcha.
18      A    It was not in reference --                                        18     A    -- talked about earlier, yeah.
19      Q     I wasn't paying attention to the dates. I thought                19     Q    Okay. All right. Let's look at the prior page.
20 this was sequential in time and it appears, though, it's not, so            20     A    14?
21 it's not clear exactly what's -- it's not exact -- clear exactly            21     Q    214, correct.
22 what the response is to, so...                                              22     A    Yeah.
23      A    Right. It's just not about --                                     23     Q    All right. It's from Juliana Steward.
24      Q     So --                                                            24     A    Yes.
25      A    -- that article.                                                  25     Q    Who -- who is that again?


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                                                         Page 218                                                                            Page 220
 1    A That is my moot-court partner, one of my friends.                  1     Q    Okay. I just don't want there to be some issue that
 2    Q Okay. What is -- what is the discussion about? You                 2 comes up later with me may mean someone else if we decide to use
 3 say, My statements were outside of the statute of limitations.          3 this -- other pages of this document that I don't explicitly
 4 Do you see that?                                                        4 discuss with you, so...
 5    A Would you give me a timestamp? Oh, sorry.                          5     A    Okay.
 6    Q 10:14 p.m.                                                         6     Q    It says, President Fenves texted my press release to
 7    A 10:14?                                                             7 the General Counsel, Jim Davis, of the university while I was at
 8    Q Right.                                                             8 lunch with him. Do you see that?
 9    A Ah, yes. I had been advised by counsel that we were                9     A    Yes.
10 outside of the statute of limitations -- not this counsel.              10     Q   Fenves is currently in Singapore.
11             MR. PRINGLE: Don't talk about your discussions              11     A   Yes.
12 with your lawyers --                                                    12     Q   All right. What's that about?
13             THE WITNESS: Oh, right. Okay. Sorry.                        13     A   I -- I did not remember this when I testified to the
14             MR. PRINGLE: -- even anybody.                               14 lunch. At -- at one point Jim -- Mr. Davis' phone was -- was
15 BY THE WITNESS (resuming):                                              15 vibrating a lot when we were at lunch and he leaned to me and he
16     A I -- somebody told me that, and that it was false --              16 said that Fenves -- I noticed that his phone was vibrating, he
17     Q Okay.                                                             17 noticed that I noticed. He leaned over to me and he said that
18     A -- that you guys -- well, obviously it's false because            18 Fenves had seen my -- my press release and he was currently
19 I'm still being sued.                                                   19 visiting Singapore.
20     Q Right. Well, it's a year, just since you're a                     20     Q   How would have Fenves have seen it at 2:36 on the day
21 moot-court person. It's almost always a year in every                   21 you put it out?
22 jurisdiction for defamation, but...                                     22     A   Because it had already been -- I -- I think people
23     A Thank you.                                                        23 reposted on maybe Reddit. I think that's what somebody told me
24     Q Okay. Yeah, I just didn't know -- I wasn't sure what              24 that randomly texted me.
25 you were referring to here, but okay. If you look right above           25     Q   Fenves monitors Reddit?

                                                                Page 219                                                                     Page 221
 1 that --                                                                 1    A Well, I don't know how he had seen it, but that's what
 2     A     Uh-huh.                                                       2 was told to me.
 3     Q     -- it says, I'm about to sex myself up and go sit in          3    Q Okay. Well, tell me the timeline of, like, how you
 4 for the professor who assaulted students. What does that mean?          4 put -- you handed it out about what time on --
 5     A     (Reading) I'm about to sit in for the professor who           5    A I --
 6 assaulted students. This is me talking to -- who? -- Joelle.            6    Q Sorry.
 7 (Reviewing.) I don't know what that means.                              7    A Oh, sorry. I -- I handed it out at the beginning of
 8     Q     Well, did you sex yourself up and go sit in with              8 Dr. Hubbard's class, which I think was at, like, 9:30.
 9 professors?                                                             9    Q Was that the same class that you had dropped?
10     A     I don't think I did that.                                     10    A Yes.
11     Q     Okay. All right.                                              11    Q Okay.
12     A     I can't -- I can't recall.                                    12    A Uh-huh.
13     Q     All right. Who's the -- do you know what professor            13    Q So you handed it out at the beginning of the class
14 you're referring to that assaulted students?                            14 around 9:30.
15     A     No, no, I have no idea.                                       15    A Yes, and -- but I had -- I had handed president -- I
16     Q     All right.                                                    16 mean I had handed Jim Davis the -- the flyer personally at this
17     A     I didn't go to any classes that weren't mine.                 17 point.
18     Q     Gotcha. All right. Let's look at 226-A.                       18    Q At 9:30 a.m.
19     A     (Complies with request.) Arrived.                             19    A No, no, no, no --
20     Q     All right. Very top line, you say, President -- and,     20     Q Oh.
21 by the way, obviously I'm not going to spend -- you know, we're    21     A -- before the lunch when we talked business --
22   not going to go through this entire document, there may be other 22     Q Right.
23   things that come up later. I just want to make sure that         23     A -- and then we went to lunch and he said just said
24   anywhere this says, Me, in this document, that’s you; right?     24 this to me at lunch.
25       A I think that's -- yes, that should be the case.            25     Q Okay. So you had given it to him, but you gave it to


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                                                                 Page 222                                                                   Page 224
 1 him in paper form; right?                                                1     A    Got it.
 2    A    Yes, I did.                                                      2     Q    Now, first of all, this is a text chain with Patricia;
 3    Q     Okay. Do you know if he took a picture of it or                 3 right?
 4 anything like that?                                                      4     A    Yes.
 5    A    I couldn't tell you. I'm sorry.                                  5     Q    Okay. That's Patricia of Popular Women's Movement;
 6    Q     Okay. So you don't know how -- well, did you -- had             6 right?
 7 you made contact with media outlets yet?                                 7     A    Yes.
 8    A    Yes, I had.                                                      8     Q    All right. So you're telling her -- I mean, look.
 9    Q     Do you know whether this -- any story had been                  9 You can look at the preceding page and look at the text chain,
10 published in any news outlets as of 2:36 p.m. on November 21st, 10 but would you agree with me that you had put her on notice at
11 2019?                                                                    11 least that you had planned a protest of Dr. Hubbard and were
12     A    I do not know.                                                  12 planning on distributing a flyer? Take as much time as you need
13     Q    Okay. So I guess at that point it would have had --             13 to look at that just so I don't have to go through each
14 President Fenves would have either had to got -- had to have             14 individual statement with you.
15 gotten it from -- let's just assume there's no news story with           15     A   Right. I did tell her that and she said that there
16 it out about it yet. Okay? We can verify that by --                      16 would be -- that people might help me pass out the flyers, but
17     A    Okay.                                                           17 they never showed up.
18     Q    -- looking at the news stories. But assuming there's            18     Q    I gotcha. Okay.
19 no news story, you would have either had to have gotten it from,         19     A   Right.
20 A, Jim Davis because you gave him a copy; right?                         20     Q    You also say at 7:06 p.m. that you have a meeting on
21     A    I -- I -- I did give Jim Davis a copy, yes.                     21 Thursday -- which I'm assuming is the 21st; right? --
22     Q    So it's possible Jim Davis took a picture and sent it           22     A   Uh-huh.
23 to Fenves; right?                                                        23     Q    -- with -- with -- it's Jim Davis. That's who you're
24     A    I wouldn't speculate as to that, but that -- yeah,              24 talking about; right?
25 that is fully possible.                                                  25     A   Would you give me a timestamp?

                                                        Page 223                                                                            Page 225
 1     Q Well, that’s what possibility means. It's a -- you                  1    Q 7:06 p.m.
 2 can't speculate about things that are impossible. I mean, I               2    A On what, 28th or on 27? Sorry.
 3 guess you can.                                                            3    Q The --
 4     A Yeah.                                                               4    A We were looking at both.
 5     Q Some people, you know...                                            5    Q The 18th.
 6     A (Inaudible.)                                                        6           MR. PRINGLE: It's Page 228-A.
 7     Q That’s true. But, yeah, I mean a possibility is that                7           THE WITNESS: Okay.
 8 he got it from Jim Davis; right? It's possible.                           8 BY THE WITNESS (resuming):
 9     A Yes, sir, that is possible.                                         9    A (Reading.) I have a meeting with the general counsel
10      Q It's also possible that he got it from, I guess,                  10 for the university. Yes, that is Mr. Davis.
11 Reddit.                                                                  11     Q All right. And you have a meeting with someone from
12      A Yes, that is possible.                                            12 the Texas Tribune on Wednesday. Do you see that?
13      Q Was it on any other social media at that point?                   13     A Yes.
14      A I did not personally see it on Reddit, so I don't know            14     Q Did that meeting happen?
15 if it was truly on Reddit or any other social media. That is             15     A I don't recall. It could have been a phone meeting.
16 just what people had told me when they texted me, I think.               16 I don't really remember.
17      Q Okay.                                                             17     Q All right. Look at that preceding sentence where
18      A I don't know where I really got Reddit. Maybe, Kaya               18 Patricia says that their first action is to disrupt one of the
19 had told me that it ended up on Reddit.                                  19 professor's classes Thursday around 11 a.m.
20      Q Okay. All right. And you say -- you conclude this                 20     A I'm sorry. I'm now lost again.
21 statement to Noah with, You better be at the protest; right?             21     Q It's -- it's the one right above, 6:48 p.m. from
22      A Yes.                                                              22 Patricia.
23      Q What protest are you talking about again?                         23     A Okay. Yes. Our first action is to disrupt one of the
24      A I don't know what protest I'm talking about.                      24 professor's classes. Yes.
25      Q Okay. All right. Let's look at 228-A.                             25     Q Did that happen?


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                                                                   Page 226                                                                    Page 228
 1     A      That did.                                                       1      Q All right. And you have access to Dan Patrick, do you
 2     Q      Was that Sarkar's class?                                        2 not?
 3     A      I think that was -- yes, that was the YouTube video             3      A Sure.
 4 that I said I saw.                                                         4      Q Do you -- do you text with him?
 5     Q      And you weren't involved in that; right?                        5      A No, I do not.
 6     A      No, no, I was not.                                               6     Q Okay. But if you wanted to contact him, you could;
 7     Q      Okay.                                                            7 right?
 8     A      Just I saw them beforehand because I -- Patricia had             8     A I would have to ask for his contact information, but I
 9 told me they were going to be at the mall, but I had just walked            9 think I could.
10 out of Hubbard's class --                                                  10     Q Okay. Well, if your father wanted to contact him, he
11       Q     Right.                                                         11 would know how to do that; right?
12       A    -- so I did see them, but I didn't participate.                 12     A My -- if my father knew how to contact Dan -- my
13       Q     Well, they were actually doing their -- their                  13 father -- you're asking if my father knows how to contact
14 disruption at the same time you did your protest of               14            Dan Patrick?
15 Dr. Hubbard's class; right, Thursday at 11 a.m. -- or shortly     15               Q I'm assuming he does; right?
16   after your protest of Dr. Hubbard's class; right?               16               A Yes, yes.
17       A Yes, I was at 9:30 and they were at 11 a.m.               17               Q All right. So why is it that you thought you had a
18       Q Now, had you not had that lunch meeting with              18            chance to use Dan Patrick to get Fenves removed?
19   Jim Davis, would you have participated in the protest of Doctor 19               A I don't really know what I was specifically talking
20   -- or Professor Sarkar?                                         20            about here, but I assume that it was that the legislator has not
21       A No, no, not with Popular Women's Movement.                21            been happy with the University of Texas recently, I think.
22       Q Okay. I think they had a rehearsal for this on            22               Q Okay. All right. Let's look at Page 200-A.
23   Wednesday at 6 p.m.                                             23               A Oh, gosh. I think I mixed this all up.
24       A Where does it say that?                                   24               Q Perfect.
25       Q Right above the 11/18/19, 7:06.                           25               A Okay. Here we go.

                                                                   Page 227                                                                    Page 229
 1     A     (Reading.) We have a rehearsal on Wednesday. So                  1      Q    That's why I'm trying to refer to the page numbers.
 2 what's the -- what -- what day is the 18th? Is this, like, a --            2 It's just in case that happens.
 3 is this the Wednesday of the week, so the day before the flyer             3      A    Yeah, it's perfect. Okay.
 4 or is this later on? I mean, they say that. Yes, this is true.             4      Q    Okay. Are you at 200-A?
 5     Q     Well, you -- you said --                                         5      A    Yes, I'm at 200-A.
 6     A     Sorry. I'm just not sure what it's about.                        6      Q    All right. Brooklyn Rodger. Do you see that entry?
 7     Q     I think Thursday's the 21st because that's the date              7      A    Yes, I do.
 8 you had the meeting with -- or lunch meeting with Jim Davis.               8      Q    All right. Girl, that is wild. Didn't know you were
 9     A     Yes, but what day is the 18th?                                   9 getting sued and I can't believe Fenves knew who you were.
10     Q      Well, that would be the Monday of that week.                    10      A   Yes.
11     A      Perfect. Thank you. Then I guess they had a                     11      Q   All right. Is this that election, I guess, primary
12 rehearsal. I -- I don't know. I wasn't there.                              12 event that you had where you met Fenves?
13     Q      All right. You go on to talk about -- let's -- I'm              13      A   Yes, it was.
14 looking at the 11/18/19, 7:06 --                                           14      Q   All right. And you had told him apparently about the
15     A      I could have been -- sorry. I could have been making            15 retraction letter you received from us regarding Dr. Hubbard;
16 something about the Texas Tribune thing on Wednesday because I 16 right?
17 didn't want to --                                                          17      A   What -- I had told Fenves?
18     Q      I see.                                                          18      Q   Well, you -- if you look at the next line, it says:
19     A      -- talk to Patricia.                                            19 He was, like, Jim Davis has told me so many good things. He
20     Q      I see. I believe our best chance at removing Fenves             20 proceeded to tell me I shouldn't worry about Hubbard suing me.
21 is by making the Lieutenant Governor very aware of what's going            21      A   He already knew.
22 on.                                                                        22      Q   How -- how did he know that?
23     A      Uh-huh.                                                         23      A   I have no idea.
24     Q      That's Dan Patrick; right?                                      24      Q   Okay.
25     A      Yes.                                                            25      A   He knew when I spoke to him. That's why it says


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 1 before -- like, I was surprised about -- that he knows. I can't           1 see a day and then on that day it's in chronological order --
 2 believe he knows.                                                         2             MR. SIBLEY: Okay.
 3    Q     Okay. Okay. Let's see. All right. On that document               3             MR. PRINGLE: -- but the days are in reverse
 4 that we're looking at, does that refer to -- when you say, He             4 chronological order.
 5 knows, are you referring to Jim Davis or Fenves?                          5             MR. SIBLEY: I gotcha. The days are reverse
 6    A     When I say I can't believe he knows?                             6 order --
 7    Q     Yeah.                                                            7             MR. PRINGLE: Yeah.
 8    A     I am talking about Fenves.                                       8             MR. SIBLEY: -- the -- the day of is in
 9    Q     Okay. It sounds like he'd had a conversation with                9 chronological order. Okay.
10 Jim Davis about you potentially getting sued.                             10             MR. PRINGLE: That's what it looks like to me.
11     A    I don't -- I don't know if that's the case. I think              11             MR. SIBLEY: You're probably right.
12 he had definitely had a conversation with Jim Davis about me and 12 BY MR. SIBLEY (resuming):
13 that I'm good. I don't think it has to necessarily be that they           13     Q     All right. It looks like you're having a conversation
14 had a conversation about this matter.                                     14 with Ms. Hollie Green about -- I'm assuming that y'all had both
15     Q    Okay. All right. All right. Let's look at Page 20                15 gotten letters asking you to retract your statements about
16 -- actually, let's look at 213-A.                                         16 Dr. Hubbard. Is that fair? Take a minute and read it if you
17     A    (Reviewing.) Okay.                                               17 need to.
18     Q    Okay. 2/25/20 at 9:12 p.m.                                       18     A     That's my assumption.
19     A    With Joao Mitchell?                                              19     Q     Well --
20     Q    Yes.                                                             20     A     Oh, I talked to legal aid. Yes, yeah.
21     A    Yes.                                                             21     Q     Yeah. If you look at 2/18/20, at 6:29 p.m., it says,
22     Q    It says, Sounds good, and then you say, I just met               22 I've already -- Hollie says, I've already started a draft to the
23 with all of the other students being sued by Hubbard. He loves            23 retraction.
24 the shit out of me. Do you see that?                                      24     A     (Reading) We can finish it together... Yes.
25     A    I just meant -- yes.                                             25     Q     Okay. And then you say, Then we can actually do edits

                                                                  Page 231                                                               Page 233
 1     Q    And that would have been Green, Thomas and Ross;                 1 and shit with the attorney; right?
 2 right?                                                                    2    A Yes --
 3     A    (Nonverbal response.)                                    3           MR. PRINGLE: Objection, form.
 4     Q    The meet -- students you met with, I'm assuming.         4 BY THE WITNESS (resuming):
 5     A Oh, yes.                                                    5     A -- I do say that.
 6     Q All right.                                                  6     Q So I had asked you earlier if you had actually
 7     A Yeah, that seems about the timeframe.                       7 considered a retraction, a correction or clarification and I
 8     Q Okay. And it says your dad hired -- a few lines down,       8 think you told me no.
 9 your dad hired a researcher for the case.                         9     A Right, I think she may be talking about the response
10     A Yes.                                                       10 that we were going to make to the retraction because I did not
11     Q Is that, like, a lawyer, I guess?                          11 think about retracting and I also told Hollie not to think about
12     A No, someone who is not a lawyer.                           12 retracting.
13     Q What kind of research do they do?                          13     Q Okay. Well, I mean, she says, I've started a draft of
14     A They went through, like, Hubbard's personnel file and      14 the retraction, and --
15 his publications and wrote a summary. They just didn't want me 15       A Right. I understand that. I just -- I did not ever
16 to have to read Dr. Hubbard's publications.                      16 think I was going to retract and I don't remember her thinking
17     Q Gotcha. Okay. All right. Let's look at 207-A.              17 that either.
18     A I'm here.                                                  18     Q All right. So your understanding is this was just
19     Q Okay. If you look at -- it's -- it's kind of strange,      19 discussing generically a response to the letter.
20 honestly, because these texts, like Hollie Green it looks like   20     A That could be the case. I don't exactly know. I
21 -- that's Hollie Green; right, where it says Hollie?             21 don't think we wrote a retraction. I certainly don't remember
22     A Yes.                                                       22 seeing one that she wrote.
23     Q Okay. It has, like, 3/29/20 and then it has 2/27/20,       23     Q Okay. Look at line -- where it says 11:09 a.m. with
24 and it looks like reverse chronology, I guess, sometimes; right? 24 Hollie.
25            MR. PRINGLE: I think we can see -- because you        25     A You are my queen?


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                                                                Page 234                                                                  Page 236
 1     Q     After that?                                                   1 there might -- that at least she might have to actually make a
 2     A     Okay. (Reviewing.)                                            2 retraction.
 3     Q     I'm just want -- I'm just wanting to know if I have to        3             MR. PRINGLE: Objection, form.
 4 take -- if I have to just take down the tweets/doc or if he is          4 BY THE WITNESS (resuming):
 5 also asking me to publicly recant what I said.                          5     A    I don't really remember that, but, yeah, that's what
 6     A     Right.                                                        6 it -- it does look like that.
 7     Q     Okay. So it looks like she's at least considering             7     Q     Okay. All right. Let's look at -- let's look at
 8 taking it down; right?                                                  8 222-A, if we could.
 9     A     Yes, that's what it looks like.                               9     A    (Complies with request.) Got it.
10      Q     All right. And you say you're reading and then she           10     Q    All right. So you talk about the -- on 7/22/20 at
11 says, I had to make a new account, but hopefully it got to you.         11 11:12 a.m.
12 I'd love to hear what you think about that.                             12     A    7/22? Is this with Maren Allman?
13              MR. PRINGLE: You're reading those in the wrong             13     Q    I'm sorry?
14 order, though. Those are reverse chronological order. Look at 14               A    Is this with Maren Allman?
15 the time.                                                               15     Q    Yes.
16              THE WITNESS: Yeah.                                         16     A    Okay. Yes, I'm here.
17              MR. SIBLEY: Oh, you're right.                              17     Q    All right. 11:12 a.m. on 07/22, you say, Me and John
18 BY MR. SIBLEY (resuming):                                               18 Does. Do you see that?
19      Q     All right. Well, anyway. What is she talking about           19     A    Yes.
20 when she says make a new account? Do you know?                          20     Q    And then you say, They know I'm the only one that can
21      A    No, I don't remember. I don't -- yeah, I don't                21 pay the over 75,000 they are suing for; right?
22 remember anything about an account or social -- I'm assuming            22     A    Yes.
23 it's talking about a social-media account. I don't remember             23     Q    All right. So did you know who -- I mean, who did you
24 anything like that with Hollie.                                         24 think the John Does were when you got sued?
25      Q     Gotcha. All right. Let's look at the next page.              25     A    I -- it was my -- it was my thought that you -- that

                                                                Page 235                                                                  Page 237
 1 It's 208-A. Yes.                                                        1 you-all believed that I was in some sort of conspiracy with
 2             MR. PRINGLE: 208-A.                                         2 Popular Women's Movement and that by suing me you could expose
 3 BY THE WITNESS (resuming):                                              3 them. That was my --
 4     A     Yes, I see this.                                              4     Q    Okay.
 5     Q     Let's see. Yeah, 11:09 -- all right. I'm sorry.               5     A    -- assumption was that the John Does were the people
 6 Wait. It's -- it's 11-0 -- I'm sorry -- 207.                            6 -- the people of Popular Women's Movement who made the assault
 7     A     Back to this page we were just on?                            7 on Dr. Hubbard's house.
 8     Q     Yeah, sorry. It's hard because the -- the                     8     Q    All right. Well, you knew at least who one of those
 9 chronology's a little bit -- all right. At 11:09 a.m. on 2/17?          9 persons was, didn't you --
10      A    Yes.                                                          10    A    Patricia.
11      Q    Okay. You say, You will have to make a statement              11    Q    -- Patricia?
12 unfortunately if we can't argue these points.                           12    A    Yes.
13      A    11:09?                                                        13    Q    Okay.
14      Q    Yeah.                                                         14    A    But I don't know that they made the assault on
15      A    (Reading) You will have to make a statement                   15 Hubbard's house. I know that Patricia is in Popular Women's
16 unfortunately if we can't... Okay.                                      16 Movement.
17      Q    And that's in response to, I guess -- or, no, she             17    Q    Right. Okay. So you thought the John Does were the
18 says, Action has to be taken by March 12th; right?                      18 people who attacked the house?
19      A    (Reviewing.)                                                  19    A    Yes, that's what I thought.
20      Q    Before you made that statement.                               20    Q    Not people who were involved in publishing the
21      A    Yeah, this is all jumping around. Goodness. I don't           21 statements with you, like the -- the Students For Safety people.
22 really know, because it -- there's 11:09 down here and up here, 22            A    Right. I didn't -- I didn't think that because nobody
23 too. I don't really know what I'm saying that in reference to,          23 worked on the flyer with me.
24 but I assume it's about the retraction.                                 24    Q    Okay. Well, let's look on Page 225-A.
25      Q    All right. So, I mean, it looks like you thought              25    A    Okay. (Reviewing.)


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 1    Q     7/22/20 at 11:03 a.m. with Nathaniel Lawson.                1             MR. PRINGLE: 202-A.
 2    A     Okay.                                                       2 BY MR. SIBLEY (resuming):
 3    Q     I bet that feels shitty. Do you see that?                   3     Q     7/22/20 at 6:01.
 4    A     (Reading) I bet that feels shitty. What are John            4     A     7/22/20, 6:01. Okay. Let me ask. One of the John
 5 Does 1 through 10 --                                                 5 Does may want to speak with you.
 6    Q     Right.                                                      6     Q     Okay. Who are you talking about?
 7    A     -- question mark?                                           7     A     This is Hollie. This is when I'm thinking that this
 8    Q     Right. And then how do you respond?                         8 is all going to be -- like, they're going to be in this suit.
 9    A     I say my friends who helped me. He knows who they           9 You're going to get me in discovery --
10 are, but is not suing them directly because they don't have          10     Q    Right.
11 money to pay out.                                                    11     A    -- to reveal all these people.
12     Q    Okay. So that's not consistent with what you just           12     Q    So you thought Hollie was a John Doe at that point?
13 told me, is it?                                                      13     A    Yes, this is what I believed. It was Hollie.
14     A    Right, that is correct. I -- I -- I definitely              14     Q    Okay. All right. So you may not have known who all
15 thought at one point that it was also the -- the Students For        15 of the John Does were because they were -- it said 1 through 10;
16 Safety group is what you are trying to say was John Doe 1            16 right?
17 through 10 as well.                                                  17     A    Well, I -- I just thought that was like a placeholder
18     Q    Okay. In fact, you thought that as soon as you got          18 number.
19 served with the suit on 7/22/20; right?                              19     Q    That's probably right, but, I mean, there weren't --
20     A    Yes.                                                        20 there weren't even 10 people in Students For Safety, where
21     Q    So that was your initial thought, was that John Does        21 there?
22 are the people that helped you, which was Students For Safety; 22           A    Right, yeah.
23 right?                                                               23     Q    Okay. So you thought it might be the people who were
24     A    Helped me, they didn't help me publish the flyer, but       24 in Students For Safety and, if they were different people, the
25 were in the same group as me, yes.                                   25 people who might have been involved in the attack on the house.

                                                      Page 239                                                                            Page 241
 1     Q Well, they helped with, like, social media you said;           1 Is that fair?
 2 right?                                                               2     A     Separate theories, because there's no one -- I -- I
 3     A Right, yes.                                                    3 think I know enough about the Students For Safety people to say
 4     Q Okay. All right. In fact, 232-A, if you'll look at             4 that I don't think they're in PWM. I never saw them with PWM,
 5 that.                                                                5 so two separate things. I -- it was either to me the Students
 6     A (Complies with request.)                                       6 For Safety women or it was PWM.
 7     Q The very --                                                    7     Q     Okay. Well, the only -- the only cause of action was
 8     A Got it.                                                        8 for defamation, though; right?
 9     Q The very last line.                                            9     A     Yes.
10     A (Reviewing.) The -- me contacting the ACLU, I'm                10     Q     So the -- the violent people didn't commit defamation
11 talking to Shelby Hobohm.                                            11 when they attacked Dr. Hubbard's house, did they?
12     Q That's what it looks like.                                     12     A    Didn't they have a poster that said that Dr. Hubbard
13     A Okay.                                                          13 was a pedophile? I believe that's defamation.
14     Q And you say you're going to contact them, ask if               14     Q     So you think the complaint about the house was
15 they'll defend yourself and the John Does; right?                    15 painting something on his house and the speech, not the actual
16     A Yes.                                                           16 violent attack.
17     Q Okay. And that's -- you're thinking Students For               17             MR. PRINGLE: Objection, form.
18 Safety; right?                                                       18 BY THE WITNESS (resuming):
19     A Yes, I guess that's what's happening.                          19     A    I'm sorry. Can you say that again?
20     Q Okay.                                                          20     Q     So you think what was -- Dr. Hubbard's problem with
21     A At this time, I don't -- I didn't understand                   21 the people that came to his house was the truth of something
22 defamation law --                                                    22 they painted on a wall and not the actual attack on the house.
23     Q Okay.                                                          23     A    I don't think I ever -- I -- I really don't
24     A -- that it was just me if I wrote it.                          24 understand.
25     Q All right. And then let's look at 202-A.                       25     Q     Okay. But you knew at least that -- you knew it could


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1 be one or both; right? Like, the Students For Safety or the         1 that -- because at that point, we didn't know who they were;
2 people who were involved in the attack on the house. Is that        2 right?
3 fair?                                                               3     A    Not speak to the -- the Daily Texan, yes.
4     A It wouldn't be --                                             4     Q    Right.
5             MR. PRINGLE: Objection, form.                           5     A    Not stay quiet. I --
6 BY THE WITNESS (resuming):                                          6     Q    Okay.
7     A It wouldn't be both. It would be one or the other --          7     A    -- just not speak to the Daily Texan. That's what I
8     Q Well, what if --                                              8 was referring to.
9     A -- because there's no overlap.                                9     Q    Don't call up the newspaper and say, Hey, I'm John Doe
10     Q Well, how -- you don't know that, though, do you?            10 3; right?
11     A Well, I was confident when I was making the                  11     A   Yes.
12 speculations.                                                      12     Q   Okay. Because then they might actually be named in
13     Q Right. You don't know with epistemic certainty               13 the suit; right?
14 that --                                                            14     A   Well, I found out later that they couldn't be named in
15     A This is true. I do not.                                      15 the suit because they weren't the ones -- I was the only one who
16     Q -- a member of the --                                        16 wrote this.
17     A I do not.                                                    17     Q   Oh, okay. Well, there's some discussion about a
18     Q -- Students For Safety was not also involved in the          18 conspiracy and an agreement to do some things, isn't there, in
19 attack on the house.                                               19 the lawsuit?
20     A But I believe -- yeah, I never -- you're right. I            20     A   Conspiracy -- oh, in my lawsuit
21 just feel that I don't -- that they weren't involved. That's       21     Q   The lawsuit against you, right.
22 only a feeling, yes.                                               22     A   Yes. Yeah -- yes, there is some contentions about
23     Q And you said Hollie was potentially in contact with          23 conspiracy, which are untrue. It was just --
24 them; right?                                                       24     Q   Okay.
25     A Yes. I think Hollie was the one who told me that they        25     A   It was just me.

                                                           Page 243                                                           Page 245
 1 were saying weird stuff in their group chat, and that's what      1     Q Oh, but they helped you, though, didn't they?
 2 caused me to talk to Mr. Davis. I think that was Hollie who       2            MR. PRINGLE: Objection, form.
3 told me that.                                                      3 BY THE WITNESS (resuming):
4      Q Okay. All right. 203-A.                                     4     A They -- I mean, they were my friends. They -- we had
5      A (Reviewing.) Yes.                                           5 both -- they helped me with social media, they didn't write
6      Q All right. 7/23/20, 3:16 p.m.                               6 this, and I think Brittany Blackshear helped me distribute it --
7      A 7/23/20, 6:20 -- 30 p.m.?                                   7     Q Right. Okay. So someone --
8      Q Now, it's 3:16 p.m.                                         8     A -- but nobody --
9      A 3:16 p.m.? Perfect. I got that.                             9     Q -- at least helped you physically hand it out; right?
10     Q All right. This is the day after the lawsuit is            10     A Yes.
11 filed, and you're talking to Chloe Roman; right?                 11     Q Okay. All right. All right. Sorry. Just give me
12     A Yes.                                                       12 one second. All right. Let's look at -- I'm sorry. There's
13     Q All right. And you say, I have also advised the John       13 just -- there's a lot here. We aren't trying to -- I don't want
14 Does not to speak to Hubbard's lawyer, indicated he does not yet 14 to go through everything with you, but I'm -- I'm almost done
15 know their identities; right?                                    15 with the document. I think this may be our last question --
16     A (Reviewing.) Yes.                                          16     A Okay.
17     Q All right. So it's fair to say at this point you had       17     Q -- on this document. 197-A, there's some exchanges
18 formed a belief about who you believed the John Does were and 18 with Brandon.
19 told them not to speak since Hubbard's lawyer, which I guess     19     A (Reviewing.) This is the -- the person who sent me
20 would be me --                                                   20 the video that I told you earlier about.
21     A Yes.                                                       21     Q Okay. It's a image. It says image, I guess. Does
22     Q -- did not know their identity; right?                     22 that -- is that what it says?
23     A This would be the -- the Students For Safety girls,        23     A I -- it's my -- this is my assumption, but, yes, I
24 yes.                                                             24 think that's the video.
25     Q Right. So you advised them to stay quiet about it so       25     Q All right. Of the -- of the attack on Dr. Hubbard's


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 1 house?                                                                 1 information about this incident, and so I made a speculation.
 2    A    Yeah.                                                          2     Q     And but you saw the Instagram account the next summer;
 3    Q     And he says it's PWM; right?                                  3 right?
 4    A    Who does?                                                      4     A     Yes.
 5    Q     Or you say it's PWM. My bad.                                  5     Q     And you knew -- then you knew that it probably was
 6    A    Yes, I do.                                                     6 them; right?
 7    Q     So you knew in December of 2019 that it was PWM that          7     A     Well, at that point, they posted it on their own
 8 was responsible for the attack.                                        8 Instagram.
 9    A    No. That was purely speculation.                               9     Q     Right. So in the summer of 2020 after you were sued,
10     Q    Well, you didn't say, I think it's PWM; you said, It          10 you knew the John Does had to be either Students For Safety or
11 is PWM; right?                                                         11 PWM; right?
12     A    That's correct, and I was speculating.                        12     A    Well, at that point, I knew that there were no --
13     Q    Okay. But you told me before that the first                   13 there shouldn't be any John Does because it was just me on the
14 indication you had that they had anything to do with it was not        14 flyer.
15 until we filed the suit in the summer of 2020.                         15             MR. SIBLEY: Objection, nonresponsive.
16     A    Well, I didn't have any personal knowledge of any             16 BY MR. SIBLEY (resuming):
17 indication that they had done that until I saw a video on their        17     Q    That’s not what I asked you.
18 Instagram.                                                             18     A    Okay.
19     Q    Well, why did you think it was them here? Why was             19     Q    You knew whoever the John Does were alleged to be,
20 that the first thing that came out of your text mouth in this          20 whether or not they should be in the case, were either Students
21 exchange is, It's PWM?                                                 21 For Safety or PWM; right?
22     A    It seemed like something they could -- would do.              22             MR. PRINGLE: Objection, form.
23     Q    All right. So you heard your attorney cross-examining         23 BY THE WITNESS (resuming):
24 Dr. Hubbard yesterday and asking him that he wasn't really sure        24     A    I -- I speculated that those were the two options that
25 that it was PWM, but you certainly thought it was PWM as soon as 25 I had --

                                                               Page 247                                                                   Page 249
 1 you saw the attack; right?                                             1     Q     Okay. What do you mean when you say speculate?
 2     A   That was my --                                                 2 Because you keep using that word now.
 3            MR. PRINGLE: Objection, form.                               3     A     A guess.
 4 BY THE WITNESS (resuming):                                             4     Q     What does that mean?
 5     A   -- speculation, yes.                                           5     A     Guess.
 6     Q    Okay. And it was a well-informed -- I mean, you say           6     Q     Okay. What -- what is -- what's the difference
 7 speculation, but it was an inference that you drew based on the        7 between a guess and knowing something?
 8 -- the fact that they're capable of that kind of conduct; right?       8     A     Well, not -- I wouldn't say much. Maybe some sort of,
 9     A   I don't know what they're capable of. I had never              9 like, verification. That could be subjective or objective, to
10 seen them in action. I just --                                         10 make it knowledge.
11     Q    What do you mean you've never seen them in action?            11     Q    Okay. Well, you had firsthand knowledge that certain
12 You just told me that you saw a video of what they did in              12 people in Students For Safety helped you with the flyer; right?
13 Professor Sarkar's class.                                              13 That's personal knowledge, isn't it?
14     A    This is correct. I have never seen them with my own           14             MR. PRINGLE: Objection, form.
15 eyes in -- in action, and if -- I'm sorry. I'm getting                 15 BY THE WITNESS (resuming):
16 distracted. Will you tell me the question again?                       16     A    No one helped me with the flyer. They helped me pass
17     Q    Yes. I mean, you clearly knew that they were capable          17 it out. I wrote it myself.
18 of this. That's why -- you just told me that's why you said you        18     Q    Okay. They helped you distribute the flyer, didn't
19 thought it was them at that time.                                      19 they?
20     A    I did not clearly know that they were capable of this.        20     A    One of them did, yes.
21 I -- that was my speculation. It -- I had formed a negative            21     Q    One of them helped you on social media, didn't they?
22 judgment of them, which is why I told the university that I            22     A    Yes, same one.
23 thought they were going to do something bad at lunch for Fenves, 23           Q    Okay. You also knew, based on review of video
24 and so, you know, they -- they were previously, to my knowledge,       24 evidence and interactions with the Popular Women's Movement,
25 going to do something bad. It wasn't wHollie -- I had no               25 that they were capable of violent conduct, didn't you?


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 1    A     I did not know that. That was my guess.                      1     Q      You said that you -- you met them at -- or met
 2    Q     Why was it a guess? You just told me you saw the             2 Patricia at one of the sit-ins; right?
 3 video.                                                                3     A      Yes, I think so.
 4    A     I did, yeah. I don't know what anyone can do at any          4     Q      Did they chant, Abusive creeps deserve to die?
 5 particular time. I don't know if they were occupied on the day        5     A      Oh, my goodness. I do not believe so.
 6 that this happened. It --                                             6     Q      Okay. You don't remember hearing that at any of the
 7    Q     But you had some --                                          7 sit-ins?
 8    A     -- doesn't say I can objectively know that they would        8     A      I cannot say I ever heard that.
 9 have done this.                                                       9     Q      Okay.
10     Q    Okay. But you had some reason to believe in December,        10     A     Can we take a break?
11 the day after the attack, that it was that group; right?              11     Q     Let me -- let me finish this line and then we will.
12     A    Yeah, just based off my subjective experience with           12     A     Okay.
13 them.                                                                 13     Q     Just -- just a few minutes. All right. So if it were
14     Q    Isn't everything based on subjective experience?             14 reported in the Daily Texan that the PWM chanted, Abusive creeps
15 Isn't that how we know everything?                                    15 deserve to die, would you have any reason to dispute that having
16     A    Not quite.                                                   16 been someone that was at some of these sit-ins?
17     Q    Really? How do we know anything else, then?                  17              MR. PRINGLE: Objection, form.
18     A    I -- is this relevant? How do --                             18 BY THE WITNESS (resuming):
19     Q    Well, it is --                                               19     A     Well, I didn't see it, so I think I could have every
20     A    -- you know things?                                          20 reason to dispute it. I don't know.
21     Q    -- because you keep saying you're speculating. I want        21     Q     Okay. Well, you -- you were having some memory issues
22 to know what that means. How -- how is that different than            22 at that time, so maybe you forgot; right?
23 anything else? You're speculating man's been to the moon              23     A     I don't think I forgot.
24 because you've seen video evidence, but you weren't there and it 24          Q     Well, if we forget things, we generally don't --
25 could be fake; right? That's the whole conspiracy theory about        25     A     Well, this is true.

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 1 the moon landing; right?                                              1     Q      -- know we forget them; right?
 2    A     Yes, but I wouldn't call that speculation --                 2     A      Yes. I don't think I forgot. I think that would have
 3    Q     Oh.                                                          3 been very shocking to me to say that people would die. That
 4    A     -- because, to me, there's more verifiable evidence --       4 could possibly even be triggering. That's something I would
 5    Q     Okay.                                                        5 remember.
 6    A     -- than there is -- I mean, there is no evidence to          6     Q      All right. Well, last question before we take a
 7 show me that PW -- that was what PWM did.                             7 break. When -- what was it that caused you to form the belief
 8    Q     There was enough evidence for you to say that it was         8 that the Popular Women's Movement was capable of violent
 9 them, wasn't it?                                                      9 conduct? At what point did that happen where you wanted to
10     A    There was a -- there was a guess in my mind, that I          10 distance yourself from them?
11 saw that image --                                                     11     A     When did I believe that they were capable of violent
12     Q     Okay.                                                       12 conduct?
13     A    -- and that was the first thing that came to my mind.        13     Q      Yeah.
14     Q     Turns out you were right, though; right?                    14     A     I don't know exactly which one was first, but when
15     A    Well, I -- if that is what you're asserting and that's       15 they disrupted Sarkar's class, I didn't like the way they did
16 what you found proof of, then --                                      16 it. They were disruptive, they were yelling things, and that
17     Q     You just told me you saw their vide on Instagram.           17 would've been personally triggering to me if somebody came into
18     A    I did see their video on Instagram.                          18 my classroom, like, yelling all of this crazy stuff about sexual
19     Q     Well, it turns out you were right.                          19 misconduct, and that would have been traumatic, so I didn't like
20     A    I don't know who, you know, did what. I know that PWM 20 that they did that. To me, that was disruptive and that was
21 was at Hubbard's house at some point.                                 21 enough for me not to want to associate with them with this
22     Q     Okay. All right.                                            22 endeavor.
23     A    I don't know who -- there was -- I think there was,          23     Q      What about the attempt to invade the lunch of
24 like, a brick thrown, I don't know who did that; I don't know         24 President Fenves?
25 who did the spray painting. I don't know anything.                    25     A     I think that was after. I don't know which one was


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 1 first. Sorry I started with that. I didn't get to the -- yes,    1     Q So if I just showed up and was like, Hey, I want to
 2 invading the lunch with Fenves would have been a trigger to me   2 get in and, you know, sit at -- on somebody's lap on the table
 3 if it had been first.                                            3 of the lunch people, I can't -- I can't do that; right?
 4      Q That's certainly evidence that they are capable and --    4     A No, I don't think you could.
 5 and willing to engage in, at -- at best, highly confrontational  5     Q All right. All right. Let's look at Exhibit 16. It
 6 conduct. Would you agree with me?                                6 looks like an E-mail between you and Jim Davis; right?
 7      A Well, maybe the -- maybe the class storming, but not      7     A Yes.
 8 -- they never did anything at Fenves' lunch, so I couldn't say   8     Q Is that the E-mail where you more or less tipped off
 9 that that would be evidence of them --                           9 the -- what's about to happen with the --
10       Q Well, there was --                                      10     A Yes.
11       A -- being capable of something.                          11     Q -- President Fenves lunch, or your understanding of
12       Q There was an informant that tipped off the              12 what's going to happen; right?
13 administration that it was going to happen, though, wasn't      13     A Right.
14 there?                                                          14     Q All right. It says they're going to sneak in; right?
15       A Yes, that was me.                                       15      A Sneak into/sabotage, so both of those things being on
16       Q Okay. So we don't know what might have happened had 16 the same, I guess, or basis.
17 you not tipped off the administration that this was planned;    17      Q All right. But it would be trespassing to go into the
18 right?                                                          18 lunch, as you described it, when only select people were
19       A That's correct. That's why I don't know that they       19 invited; right?
20 would've been capable of this kind of stuff.                    20      A Sorry. I don't really know the definition of
21             MR. SIBLEY: Okay. All right. Let's take a           21 trespassing. It seems vague to me.
22 break.                                                          22      Q Really?
23             VIDEOGRAPHER: We are off the record at 5:36.        23      A Well, I don't know a legal definition of trespassing,
24             (A recess is taken.)                                24 no, I don't.
25             VIDEOGRAPHER: We are back on the record at 4:49 25          Q Well, I can't just show up at you and your folks'

                                                                    Page 255                                                                Page 257
 1 -- 5:49.                                                                    1 house and said, I'm going to come in for dinner, can I?
 2             MR. SIBLEY: Yeah. I think there's -- how much                   2     A    Right.
 3 is left on the -- how much are we -- time are we down?                      3     Q    Unless you invite me in.
 4             VIDEOGRAPHER: 4 hours and 46 minutes.                           4     A    Right.
 5             MR. SIBLEY: I'm not going to be too much longer,                5     Q    Okay. So you at least had an understanding that they
 6 but -- unless you've got questions, Ross. I don't know, but we              6 were willing to -- although it's trespassing, I don't know what
 7 shouldn't be here too much longer.                                          7 level misdemeanor that might be, you understood that they were
 8 BY MR. SIBLEY (resuming):                                                   8 willing to potentially break the law to engage in their protest;
 9    Q       Okay. So the lunch that President Fenves was going to            9 right?
10 have that the Popular Women's Movement was going to protest, was 10                A   Well, I didn't know exactly what they were planning on
11 that a lunch that you wound up going to?                                    11 doing. I assumed that it was not okay. I didn't think that it
12     A      No, I did not attend. I think it was -- they have,               12 would be a trespassing if they were students on campus, but --
13 like, a monthly president's lunch with students. It's part of               13     Q   But I thought you said you --
14 the president being able to interact with people.                           14     A   -- I guess that's --
15     Q      Is that something open to the general public? Like,              15     Q   -- didn't know if they were students.
16 if I wanted to show up and have lunch with President Fenves,                16     A   Well, I said if they were students on campus.
17 could I do it?                                                              17     Q   But you didn't know that; right?
18     A      You -- you submit an application. It's, like, on --              18     A   Right, yeah, I didn't know. I never had a class with
19 whatever UT qualtrics (ph).                                                 19 anybody or saw anybody like that.
20     Q      Okay.                                                            20     Q   And even if they were students, they had to get
21     A      Yeah, you have to apply to go say why you would want             21 special permission to go to the lunch; right?
22 to speak to Fenves or why --                                                22     A   Yes.
23         Q     All right. So --                                              23     Q   Otherwise it's just a free-for-all; right?
24         A     -- you would want to meet him and then it's                   24     A   That would be correct.
25 selected from there.                                                        25     Q   All right. All right. Let's look at -- and I promise


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                                                           Page 258                                                                     Page 260
 1 you we're not going to go through that many pages in this          1 professor basically describing Hubbard's philosophy -- do you
 2 document, but I'm just going to introduce it.                      2 see that?
 3    A (Nonverbal response.)                                         3     A     Yes.
 4          MR. PRINGLE: Yikes.                                       4     Q     Okay. -- talks he's given and his historical defense
 5          MR. SIBLEY: I don't have a clip for this, Ross,           5 of rape. It's critical and it's written from a perspective of
 6 so --                                                              6 an academic disgusted by someone in her field. Do you see that?
 7          MR. PRINGLE: Okay. I can get you one.                     7     A     Yes.
 8          MR. SIBLEY: -- I'm just going to have it like             8     Q     And you said, Oh, yeah, send me that link.
 9 that. And that's -- that's your copy, but I'm going to give --     9     A     And then I sent her a link.
10 I'm going to give her the one with the company.                    10     Q    Okay. And that's -- what's the link that you sent?
11           MR. PRINGLE: Okay.                                       11     A    That's the -- the link to the blog from Rebecca
12           THE WITNESS: Oh, thank you.                              12 Futo Kennedy, I think. It says RFK Classics.
13 BY MR. SIBLEY (resuming):                                          13     Q    Okay. But isn't Kaya Epstein talking about
14     Q So this will be Exhibit 17. That's --                        14 Futo Kennedy?
15     A Yes, you got the clip. Okay.                                 15     A    I would assume she's talking about Futo Kennedy.
16    Q That's the production we received, which I believe is         16     Q    Okay. And then she says, I screenshotted it and I'll
17 your Signal communications that you produced in this case; is      17 finish reading it tonight; right?
18 that right?                                                        18     A    Right.
19    A Yes, it is.                                                   19     Q    And then you say, Is it this guy?
20    Q All right. And can you just read off the beginning            20     A    I think it has -- so these are all sent in the same
21 and ending Bates numbers so we have that?                          21 minute. I think I was trying to say -- she had said that she
22    A This is Blakemore 067, and it's Exhibit Number 17.            22 found this blog and it was my assumption that that was the blog
23    Q And it ends at what page?                                     23 she was talking about, was Rebecca Futo Kennedy.
24    A It ends at Blakemore 204.                                     24     Q    But that's not a guy, is it?
25    Q Okay. And the -- the other document, just so -- just          25     A    No. I'm just using, you know, guys, you guys, is it

                                                        Page 259                                                                        Page 261
 1 so the record's clear was beginning at Blakemore -- this is        1 this guy.
 2 Exhibit 15 I'm talking about -- was beginning at Blakemore         2      Q    So you're referring to Professor Kennedy as a guy.
 3 191-A --                                                           3      A    Yeah.
 4    A Yes.                                                          4      Q    Okay. Well, then she says --
 5    Q -- and concluding at Blakemore 235-A; correct?                5      A    Or maybe. I -- I -- I don't know why --
 6 Exhibit 15.                                                        6      Q    Well, let's look at the next page.
 7    A I do have 235-A as my end.                                    7      A    Okay.
 8    Q Okay. Perfect. Let's look at Page Blakemore 092 of            8             MR. PRINGLE: Hang on. Were you done? Were you
 9 that Exhibit 17 I just gave you.                                   9 done with your answer?
10     A (Reviewing.) Got it.                                         10             THE WITNESS: Oh, I -- yes, I am done with my
11     Q Actually, I've gone a little too far, and if you would       11 answer. I think that's -- I'm talking about Rebecca.
12 go with me to 087. It's a few pages prior. Just let me know        12 BY MR. SIBLEY (resuming):
13 when you're there.                                                 13     Q     Well, you say Rebecca -- or she says -- Kaya says,
14     A Okay.                                                        14 Rebecca something, on the next page; right?
15     Q All right.                                                   15     A     Yeah.
16     A Okay.                                                        16     Q     And then you say, I haven't read it yet; right?
17     Q This is from Kaya Epstein?                                   17     A     Right.
18     A Yes.                                                         18     Q     So as of November 26, 2019, at 5:40 p.m., you had not
19     Q Right? It looks like it's on November 26, 2019;              19 actually read Futo Kennedy's paper.
20 right?                                                             20     A     This statement doesn't reflect the truth on here. I
21     A Yes.                                                         21 -- I had read Kennedy's blog. I don't know why I said that, I
22     Q All right. And that's five days after the flyer was          22 don't know why I said guy, but I had read the blog at that
23 distributed; correct?                                              23 point.
24     A If it was distributed on the 21st, then yes.                 24     Q     Uh-huh. So it -- I mean, it looks like to me, if I'm
25     Q All right. And she says, I just found a blog by a            25 reconstructing this based on people telling the truth based on


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 1 what they're saying in the moment is you did a Google search        1     A    I didn't feel the need to. I didn't consider it.
 2 after you got the text on November 26, 2019, and then you sent      2     Q    Okay. Well, let's keep moving on in this Signal
 3 the link and said, Is it this guy.                                  3 communications.
 4            MR. PRINGLE: Objection, form.                            4     A    Okay.
 5 BY THE WITNESS (resuming):                                          5     Q    She says, Yeah, that's my plan for tonight, meaning
 6     A    I don't think that's correct.                              6 pull quotes. At a glance, I can see some good stuff. And then
 7     Q    Okay. So you're lying to yourself when you say you         7 we start getting some screenshots with highlighting.
 8 haven't read it yet on November 26th.                               8     A    (Reviewing.) Okay. So this is the next day?
 9     A    I'm lying to myself on November 26th or I'm lying to       9     Q    Yeah.
10 myself now?                                                         10     A   Okay. Yes, I see these.
11     Q    Well, it says you haven't read it yet on November          11     Q    Okay. And what are these things that you're getting?
12 26th.                                                               12     A   (Reviewing.)
13     A    Right. That's untrue. I would -- I don't think --          13     Q    What are these screenshots?
14 think I'm lying to myself.                                          14     A   Abstract -- I don't exactly know what this is, yeah,
15     Q    Well, you told -- you've -- it's been your position        15 and -- but if I had to speculate, I would say that it's
16 that you relied on Futo Kennedy's paper in connection with the      16 something -- one of the flyers that Popular Women's Movement
17 flyer; correct?                                                     17 handed out. The one that I said that I would have thrown away.
18     A    Yes, that is my contention.                                18     Q    Okay. But this is talking about Hubbard.
19     Q    So if you hadn't read it yet, you couldn't have relied     19     A   Yeah.
20 on it in connection with the flyer; right?                          20     Q    Popular Women's Movement handed out flyers about
21     A    Right, but I did read it. I -- I was -- just               21 Hubbard?
22 misspoke. I wouldn't call that lying to myself. That was the        22     A   If -- if I'm correct that this is a flyer by them,
23 thing that I was -- distinction that I was making.                  23 then, yes, they did.
24     Q    Well, you -- you sent the link and it looked like you      24     Q    Okay. All right. You go on to say at Page 92, Wow,
25 had clicked on it.                                                  25 that article was a sobering end to the night.

                                                            Page 263                                                            Page 265
 1     A I had seen the blog at this point, yes, because I -- I        1     A Uh-huh.
 2 used it to write some of my flyer.                                  2     Q That's what you say; right?
 3     Q But you said you hadn't read it. Why would you say            3     A Uh-huh.
 4 you hadn't read it yet if you used it in the flyer?                 4     Q Are you talking about Futo Kennedy or are you talking
 5            MR. PRINGLE: Objection, form.                            5 about this other stuff that you got screenshots of here?
 6 BY THE WITNESS (resuming):                                          6     A I -- I don't know.
 7     A I don't know why I would have said I hadn’t read it           7     Q Okay.
 8 yet. I had.                                                          8    A I mean -- yeah, I don't know. Sorry.
 9     Q Why wouldn't you say, Oh, yeah, that's part of what I          9    Q All right. And then later on on Page 92, I guess this
10 relied on when I came up with the flyer --                          10 is Kaya. It says, Let's veto talking about pedos for the
11     A Well, it's --                                                 11 holiday; right?
12     Q -- Student for Safety member?                                 12     A Yes.
13     A It's possible that I didn't read the whole blog or,           13     Q And it's -- that's referring to Dr. Hubbard; right?
14 you know, what was going on that -- when I looked at the link       14     A I --
15 that I sent to this one, I didn't recognize it, but I had read      15            MR. PRINGLE: Objection, form.
16 it previously. That's --                                            16 BY THE WITNESS (resuming):
17     Q Okay.                                                         17     A -- don't think so. I don't know.
18     A I can only speculate, and I would say maybe I didn't          18     Q Okay.
19 recognize it or maybe I just plainly misspoke, but I had read it    19     A It may have been.
20 at the -- that point.                                               20     Q All right. Well, let's go to Page 109.
21     Q Okay. Why didn't you actually refer to it in the              21     A (Reviewing.) Here we go.
22 flyer?                                                              22     Q Okay. You say -- or Hollie says, Childhood SA, like,
23     A Because --                                                    23 ruined my life, and to be able to hopefully ruin the life of at
24     Q Why didn't you refer to, Esteemed scholar                     24 least one pedophile means so much; right?
25 Rebecca Futo Kennedy agrees with my conclusions?                    25     A She does say that.


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                                                         Page 266                                                                Page 268
 1   Q    Okay. And that's not referring to Dr. Hubbard --       1 something like that.
 2           MR. PRINGLE: Objection, form.                       2     Q Okay. And then let's go back to that page we were on
 3 BY MR. SIBLEY (resuming):                                     3 before, 112.
 4    Q -- on November 23rd?                                     4     A We are back on 112.
 5           MR. PRINGLE: Objection, form.                       5     Q Okay. You say, While we like a pedophile, we really
 6 BY THE WITNESS (resuming):                                    6 love one who thinks he can beat us in court; right?
 7    A (Reviewing.) It could be referring to him. I don't       7     A Yes.
 8 know what --                                                  8     Q That idiot is going down; right?
 9    Q Okay.                                                    9     A Yes.
10     A -- it would be.                                         10    Q That's Dr. Hubbard; right?
11     Q Have you tried to ruin any other pedophile's life at    11    A I am referring to Dr. Hubbard right there.
12 this time --                                                  12    Q Okay. So this is another instance we have of you
13     A Personally --                                           13 referring to him as a pedophile, isn't it?
14     Q -- than Dr. Hubbard?                                    14    A Yes --
15     A -- I've never tried to ruin a pedophile's life.         15    Q And this is --
16     Q Okay. Well, anyone else that could be accused of        16    A -- this is another incidence.
17 being a pedophile at that time.                               17    Q -- about five days after the flyer.
18     A Have I tried to ruin someone's life?                    18    A Yes.
19     Q Well, have you protested anyone else on November 23rd 19      Q All right. So we can't really blame this on, You got
20 of 2019? Is there anyone else that you specifically protested 20 served with a lawsuit and you were a little, you know,
21 that has been accused of being a pedophile?                   21 emotional; right?
22     A There is no one else that I protested.                  22    A I -- I certainly couldn't blame it on being emotional.
23     Q Okay. So this can only really be referring to           23 I mean, I certainly couldn't blame it on being sued because I
24 Dr. Hubbard; right?                                           24 wasn't sued yet.
25     A Well --                                                 25    Q Right.

                                                         Page 267                                                                Page 269
 1            MR. PRINGLE: Objection, form.                         1     A   I'm sure I was emotional. It -- it was inappropriate
 2 BY THE WITNESS (resuming):                                       2 to say that.
 3     A -- if -- no, I don't think it could only be referring      3     Q   Okay. All right. Give me a second. I need to go
 4 to Dr. Hubbard. I -- I am the only one -- Dr. Hubbard is the     4 into some of this document.
 5 only one that I have protested against. I don't know what        5     A   Okay.
 6 Hollie is doing. It would be speculating. And, you know, it      6     Q   By the way, do you believe -- forget about whether --
 7 could be Dr. Hubbard, but that's -- I don't know.                7 I know we have a legal dispute about whether your statements
 8     Q All right. Well, let's go to Page 112. It's also on        8 were defamatory; right?
 9 November 26th, so it's a few days later.                         9     A   Uh-huh.
10      A Uh-huh.                                                   10    Q    And you contend they're not defamatory; correct?
11      Q Hollie says, Also, starting tonight at 5, I'm free        11    A    Forgetting about what? Sorry.
12 from school. Do you see that?                                    12    Q    Your statements. It's your contention they're not
13      A Yes, So I can be more helpful, eyes.                      13 defamatory; right?
14      Q Right. Okay. And if you go -- actually, if you go to      14           MR. PRINGLE: Objection, form.
15 the preceding page, you're talking about a FOIA request -- or    15 BY THE WITNESS (resuming):
16 Hollie's talking about a FOIA request on Page 111.               16    A    It's my contention that the -- the statements I made
17      A (Reading) Send me the FOIA request, or are those          17 in the flyer are not defamatory?
18 accessible somewhere?                                            18    Q    Right. You're not -- I mean, surely you're not
19      Q And then you say, I can look into any civil cases         19 admitting that they're defamatory; right?
20 filed in his name; right?                                        20    A    That is correct --
21      A That's correct.                                           21    Q    All right.
22      Q Is that when you refer to -- you did a search, like,      22    A    -- I am not admitting that they are defamatory.
23 on Travis County to see if Dr. Hubbard had been involved in      23    Q    All right. Well, putting that aside, would you agree
24 litigation?                                                      24 with me that the statements have been damaging to Dr. Hubbard's
25      A Yes, I think I did Travis County or we searched Texas,    25 reputation?


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                                                              Page 270                                                                   Page 272
 1    A     I mean, I'm not sure. I -- there had already been            1 flyer, do you?
 2 criticism of him on the Internet that I had previously found,         2     A    Right, just like I don't know that he had the text
 3 like Dr. Futo Kennedy.                                                3 from my flyer. Jim Davis just told me that.
 4    Q     Okay. But no one had come to his house and vandalized        4     Q    All right. So that's just speculating; right?
 5 it after Dr. Futo Kennedy's -- whatever she -- publication;           5     A    (Nonverbal response.)
 6 right?                                                                6     Q    Jim Davis could just be lying to you.
 7            MR. PRINGLE: Objection, form.                              7     A    That is very possible, yes.
 8 BY THE WITNESS (resuming):                                            8     Q    Okay. All right. Let's look at 113. I think that
 9    A     Not that I know of.                                          9 was the --
10     Q    Okay. There were no major news outlets that picked up        10     A   It's the immediate next page.
11 Futo Kennedy's paper, were there?                                     11     Q    Yeah. All right. What -- what is Hollie talking
12     A    I don't know that.                                           12 about on, Update on year? They don't know the year, but they
13     Q    Well, do you know whether there were?                        13 said they're actively trying to find out for us. Classics grad
14     A    I didn't see any.                                            14 student and we are welcome to drop [sic] the grad-student lounge
15     Q    Okay.                                                        15 if we need coffee to meet in person, whatever.
16     A    That doesn't mean that there were not.                       16     A   I'm sorry. What are you asking about it?
17     Q    Okay. There were no statements released by the               17     Q    Well, do you know what she's talking about?
18 university about Dr. Hubbard in response to something                 18     A   The -- the -- I don't. Yeah, I don't.
19 Futo Kennedy authored, were there?                                    19     Q    Well, you say earlier, When you get that year, let me
20     A    I don't know if there were. I don't think so. I              20 know.
21 didn't see any.                                                       21     A   Right, I don't -- I don't remember what year this is
22     Q    Okay. But there were after your flyer; right?                22 talking about.
23     A    That is correct. I mean, in the same time span, so,          23     Q    Okay. It's not talking about maybe the year that
24 yes, after my flyer or maybe after --                                 24 someone had complaints about supposedly like Dr. Hubbard's
25     Q    Well --                                                      25 Mythologies of Rape class?

                                                              Page 271                                                                   Page 273
 1    A     -- the news stories.                                         1      A   I don't know. Wasn't there -- there was a DM
 2    Q     -- immediately after the flyer; right?                       2 previously.
 3    A     I -- I don't know when the university came out with a        3      Q   Right. Who --
 4 statement.                                                            4      A   Yeah, I -- I don't know what that's really referring
 5    Q     Well, there were news stories about your flyer pretty        5 to. It -- it could be referring to that. I don't know.
 6 quickly afterwards; right?                                            6      Q   Okay. Did you ever meet with anyone that was in the
 7    A     That's a fair -- yeah.                                       7 class -- supposedly in Dr. Hubbard's Mythologies of Rape class?
 8    Q     Okay. Within less -- less than a month, Dr. Hubbard's        8             MR. PRINGLE: Objection, form.
 9 house is vandalized; right?                                           9 BY THE WITNESS (resuming):
10     A    Less than a month from?                                      10     A    Did I ever meet with someone face to face?
11     Q    After the flyer.                                             11     Q    The -- yeah, the person that's being talked about in
12     A    After the flyer?                                             12 the -- in the Signal chain.
13     Q    Yep.                                                         13     A    The grad student that they're talking about?
14     A    That's correct.                                              14     Q    Yeah.
15     Q    Okay. And President Fenves issued a statement about          15     A    No, no, I never met anyone like that.
16 Dr. Hubbard within about a month after your flyer; right?             16     Q    You don't remember, sitting here today, who it was?
17     A    I don't remember that, but if you say that he did,           17     A    I never went to Wag 13. I met Zoe eventually, but
18 then I would agree.                                                   18 that's -- I don't think that's the grad student of this -- this
19     Q    Okay.                                                        19 one. That's the only grad student in the classics department I
20     A    I -- I know that he released some statement I think          20 think I know.
21 with a newspaper maybe --                                             21     Q    Okay. All right. Just a few more and we're almost
22     Q    All right. Well --                                           22 done.
23     A    -- or wrote a letter to the editor.                          23             MR. SIBLEY: All right. What number are we on
24     Q    You don't know anything about President Fenves getting 24 now? I forget.
25 -- or having a text with Futo Kennedy's paper on it like your         25             THE WITNESS: Are we done with this?


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                                                                  Page 274                                                                       Page 276
 1            MR. SIBLEY: Yeah. All right. Exhibit 18.                       1     Q       No. Plaintiff intends to conduct initial discovery.
 2            MR. PRINGLE: Thanks.                                           2     A       Okay. You guys. Yes, you-all are doing --
 3            THE WITNESS: Thank you.                                        3     Q       Okay.
 4 BY MR. SIBLEY (resuming):                                                 4     A       -- initial discovery.
 5    Q All right. Have you seen this document before?                       5     Q       And then it says, Defendant denies any association
 6    A Joint Discovery Case -- I -- no, I don't think I've                  6 with these individuals and will aver that she does not even know
 7 seen this.                                                                7 the identity of these John Does. Do you see that?
 8    Q Well, you were -- weren't you on a call when we had                  8     A       Yes, I do see that.
 9 the first 26(f) conference with your dad?                                 9     Q       That wasn't true, was it?
10     A Is that the -- the scheduling conference?                           10        A   I don't --
11     Q Sort of, yeah.                                                      11               MR. PRINGLE: Objection, form.
12     A Okay. Yeah, I was on that call, yes.                                12 BY THE WITNESS (resuming):
13     Q Okay. Look at Page 2, Item 6.                                       13        A   When was this? I don't think that that's not true.
14       A (Reading) List anticipated additional parties that                14 I --
15   should be included. Okay. So I see Item 6.                              15        Q    Well, you can look at the top of the page --
16       Q Yeah. So it says, List anticipated additional parties             16        A   -- probably knew at this point that --
17   that should be included. Do you see that?                               17               MR. PRINGLE: Let her finish.
18       A Yes.                                                              18 BY THE WITNESS (resuming):
19       Q Okay. And it says, Plaintiff has named 10 John Does               19        A   I probably knew at this point that there couldn't be
20   in addition to defendant who are accused of acting in concert           20 anybody else named in the lawsuit besides me because I was the
21   with plaintiff; right?                                                  21 only one who did the flyer.
22       A Plaintiff has named 10 John Does in addition to the               22        Q    Okay. So your position was because you thought no one
23   defendant (reading unintelligibly) -- who are accused of acting         23 else could be liable, you didn't have to tell anyone who the
24   in concert with Dr. Hubbard?                                            24 John Does were; right?
25       Q Well, Dr. Hubbard's the plaintiff, isn't he?                      25        A   Well, I didn't know who the John Does were. I just

                                                                  Page 275                                                                       Page 277
 1     A     Right. Who would act in concert with Dr. Hubbard.               1 thought they were people who were -- there was some alleged plot
 2     Q     Oh, that's -- yeah, totally. That's a misprint,                 2 of me being in a conspiracy and there was no one in a conspiracy
 3 misstate. Plaintiff intends to conduct initial discovery and              3 with me. I just wrote the flyer on my own, and at that point I
 4 determine whether the John Does can be identified and properly            4 understood that this lawsuit was about the flyer.
 5 joined.                                                                   5     Q       Okay. So what you're saying here is that even though
 6     A     What? Oh, you want --                                           6 you said in the summer you knew who the John Does were, which
 7     Q     Can you read?                                                   7 were the Students For Safety; right?
 8     A     -- me to keep reading?                                          8     A       Right. My speculation of I knew that -- me
 9     Q     Yeah, or can you -- you're reading that; right?                 9 speculating I knew who the John Does were.
10      A    The -- I -- I don't -- sorry. I don't see properly              10        Q   You can use the word speculation, but that's not the
11 joined.                                                                   11 word you used in your statements, which we already have; right?
12      Q    All right. Well, you understand that --                         12 You said you knew who they were and you'd been in contact with
13      A    Oh, properly joined. I see this, yes.                           13 them; right?
14      Q    All right. You understand there was a complaint filed           14        A   I think you'd have to refer me back.
15 against you and John Does for committing in concert -- conduct 15                   Q   Okay. Well, it says what it says.
16 that was in concert with one another; right?                              16        A   Okay.
17      A    Right, what I call a conspiracy.                                17        Q   You also said earlier that you knew it was either
18      Q    Something like that.                                            18 Students for Safety or, which you discovered later, certainly by
19      A    Uh-huh.                                                         19 the summer of 2020, the Popular Women's Movement; right?
20      Q    Okay. All right. And it says, As you knew in the                20        A   Those were my speculations, yes.
21 summer of 2020 that plaintiff does not know who they are, but             21        Q   Oh, okay. Well, you said it had to be one or the
22 wants to conduct discovery to find out who they are, basically            22 other, though. It had to be either the people who helped you
23 is what that says; right?                                                 23 with the flyer, which was at least someone who helped you pass
24      A    What -- what -- what are you saying basically that              24 it out; right?
25 that says? Where it starts with, Defendant denies?                        25        A   It could have been the people who -- who -- I was


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 1 thinking that it was -- yeah, I've explained this before. I was        1     A     I said that where? Here?
 2 thinking that it was either Popular Women's Movement or Students       2     Q     It's right here. You said you do not even know the
 3 For Safety, but no one helped me in Students For Safety besides        3 identity of these John Does. You didn't say there are no other
 4 just passing it out.                                                   4 John Does; you said you don't know who they are.
 5     Q   Okay. So, like, distributing defamatory material,              5     A     Well, I didn't know who you were seeking.
 6 that's got nothing to do with spreading defamation according to        6     Q     You just told me earlier you knew it had to be the
 7 you; right?                                                            7 people who helped you with the flyer or the people who attacked
 8     A   I mean, I don't remember the specific contentions of           8 the house, did you not?
 9 the thing. I just thought --                                           9     A     Those were my two --
10     Q    Why didn't --                                                 10             MR. PRINGLE: Objection, form.
11     A    -- that there was no other John Does because I had no         11 BY THE WITNESS (resuming):
12 -- I had not --                                                        12     A    Those were my two speculations.
13     Q    Why didn't you say that then?                                 13     Q     Okay.
14            MR. PRINGLE: (Crosstalk.)                                   14     A    I'm sure it could be something more.
15 BY MR. SIBLEY (resuming):                                              15     Q     Who else could it be? What else -- what other person
16     Q    Why didn't you say there's no other --                        16 could possibly be someone acting in concert with you?
17            MR. PRINGLE: Let her finish --                              17     A    I don't know because no one did. Maybe --
18 BY MR. SIBLEY (resuming):                                              18     Q     What conduct was complained of in the complaint?
19     Q    -- John Does?                                                 19     A    I don't remember specifics. Clearly the flyer.
20            MR. PRINGLE: Let her finish her answer.                     20     Q     Okay. Isn't it true you just wanted to make sure you
21 BY THE WITNESS (resuming):                                             21 covered for your friends so that they didn't get sued?
22     A    I had not worked on this flyer with anyone but myself.        22     A    No, no, cover for my friends?
23 I had just done it myself. Someone had helped me pass out a            23     Q     Yeah.
24 finished product, but it was my product.                               24     A    I couldn't cover for anyone. This suit is about the
25     Q    Okay. Then why didn't you say, There are no other             25 flyer and I wrote the flyer myself.

                                                               Page 279                                                                Page 281
 1 John Does because I did everything by myself. Even though you          1     Q     Right, but you wanted to make sure that none of the
 2 said you weren't sure if we were complaining about the house           2 John Does who you then, in the summer of 2020, claimed to know
 3 attack, someone else did that; right? That wasn't you, was it?         3 who they were, you wanted to make sure they didn't speak to the
 4            MR. PRINGLE: Objection, form.                               4 press because you didn't want us to find out who they were;
 5 BY THE WITNESS (resuming):                                             5 right?
 6     A   Are you -- are you just asking me if I did the attack          6             MR. PRINGLE: Objection, form.
 7 on Dr. Hubbard's house?                                                7 BY THE WITNESS (resuming):
 8     Q    You told me earlier that you thought perhaps                  8     A     Could you ask that again?
 9 Dr. Hubbard was complaining about the attack on his house and          9     Q     You knew in the summer of 2020 -- or you believed that
10 whoever spray-painted the word, remember?                              10 we might be after the people who helped you distribute the
11     A    My original assumption before I read the whole thing          11 flyer; correct?
12 was, yes, that maybe it could be referring to the people who           12     A    Yes, I did -- I did believe that maybe that was one of
13 vandalized Hubbard's home.                                             13 the options of the John Does, was the people --
14     Q    And that wasn't you, was it?                                  14     Q    You didn't want us to know who they were; right?
15     A    The people who vandalized Hubbard's home?                     15     A    No. I would've freely admitted, as I did in
16     Q    Right.                                                        16 discovery. You asked who I was -- who was with me on that
17     A    No, I was not --                                              17 day --
18     Q    Of course.                                                    18     Q    All right.
19     A    -- a part of that and I was not a party to that.              19     A    -- and I said yes.
20     Q    Okay. So you didn't say, I don't think anyone else            20     Q    After limitations had ran; right? Which you already
21 can be liable and I'm not going to tell you who you think is           21 knew about limitations.
22 liable. You just said, You don't know who they are; right?             22     A    Limitations?
23 That's what you said.                                                  23     Q    Yeah, the statute of limitations, the thing we talked
24            MR. PRINGLE: Objection, form.                               24 about earlier, and you thought you knew earlier in the year had
25 BY THE WITNESS (resuming):                                             25 ran.


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                                                        Page 282                                                                  Page 284
 1     A (Reviewing.) Additional parties. I don't -- I don't          1 BY THE WITNESS (resuming):
 2 see how this indicates -- if we're talking about Ms. Blackshear,   2     A      No. The day I got served, I speculated on who I
 3 I don't see how this question indicates Ms. Blackshear. I don't    3 thought it would be and then after getting advice of counsel, I
 4 know who you were seeking.                                         4 realized that this suit was only against me because I didn't act
 5     Q Okay.                                                        5 in concert with anyone else.
 6     A There was no one else who helped me with the flyer.          6     Q      Oh, okay. Except passing it out; right?
 7     Q Okay. Except pass it out.                                    7     A      Yes.
 8    A Except pass it out, yes.                                      8     Q      Okay. And social-media posts; right?
 9    Q Right. And you --                                             9     A      She helped make the accounts, yes.
10     A And -- and my friend made that grammatical fix.              10       Q   She being?
11     Q Right. And you made the decision, Sarah Blakemore,           11       A   Brittany Blackshear. Excuse me.
12 that someone helping pass out a flyer has nothing to do with       12             MR. SIBLEY: Okay. All right. Why don't you
13 defamation; right? And so, therefore, I don't have to tell them    13 give us about five minutes or so and I think I'm about wrapped
14 who that is.                                                       14 up.
15            MR. PRINGLE: Objection, form.                           15             MR. PRINGLE: Okay.
16 BY THE WITNESS (resuming):                                         16             VIDEOGRAPHER: We are off the record at 6:22.
17     A I don't think I made that decision. I think that may         17             (A recess is taken.)
18 have been told to me by counsel. I don't know.                     18             VIDEOGRAPHER: We are back on the record at 6:32.
19     Q Okay.                                                        19 BY MR. SIBLEY (resuming):
20     A That they were not part of it.                               20    Q      Okay. Just a few more questions, Ms. Blakemore. When
21     Q Well --                                                      21 you authored the flyer, had you done any research into
22     A That Brittany would not be part of it.                       22 age-of-consent laws?
23     Q Okay.                                                        23    A      I -- I think I might have looked it up, yes.
24     A I didn't attempt to hide the truth.                          24    Q      Do you have a recollection of what your impressions
25     Q Well, you certainly didn't volunteer it either, did          25 were about that research?

                                                        Page 283                                                            Page 285
 1 you?                                                              1     A Not specifically. I don't remember anything.
2     A Well, I wasn't asked to volunteer anything specific.         2     Q Okay. All right. Who told you about Sportula as a
3 It says additional parties.                                        3 place to post a flyer?
4     Q Well, but you --                                             4     A Sportula?
5     A I didn't know who you were seeking.                          5     Q Yeah.
6     Q Well, you took the position --                               6     A Is that the -- the only time I had ever heard that was
7             MR. PRINGLE: Let her finish. Let her finish her        7 at the -- Dr. Hubbard's deposition.
8 answer.                                                            8     Q Okay. You're not familiar with Sportula?
9 BY THE WITNESS (resuming):                                         9     A No, I didn't post the flyer on it. And I'm not
10     A You didn't write in the lawsuit who the John Does          10 familiar with it and I did not post the flyer on it.
11 would've been.                                                   11     Q Do you know who did?
12     Q That's why they're John Does.                              12     A No, I do not.
13     A I know, but you could have said that they were people      13     Q Okay. All right. We're going to look at Exhibit 15
14 who helped me write the flyer, then, in which case, I would have 14 just for a couple more things real quick, if you can just pull
15 said that there was no one --                                    15 it out. And look at page --
16     Q Oh --                                                      16     A Which one is that? Sorry.
17     A -- who helped me write the flyer.                          17     Q It's the one with all of the text messages.
18     Q -- okay. So we needed to be more descriptive about         18     A Oh, okay.
19 the John Does; right?                                            19     Q But not the big fat one with the pictures on Signal.
20     A Well, I didn't -- I was only speculating about who I       20     A Right.
21 believed the John Does to be.                                    21     Q It's just the normal --
22     Q Right. The day you got served, you knew who they were 22          A Sorry.
23 but then you forgot when you did your 26(f) report a few months 23      Q -- text message -- text messages.
24 later; right?                                                    24     A I had 16 on top of it. Okay. I have it.
25            MR. PRINGLE: Objection, form.                         25     Q All right. So let's look at Page 210-A quickly.


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 1    A    Okay.                                                        1     Q    Just let me know when you're there.
 2    Q     All right. Go to 7/30/20, 10:53 a.m.                        2     A    Okay. Now I'm here.
 3    A    Is this with Isabelle Paine?                                 3     Q    All right. There was a conversation with
 4    Q     Yes.                                                        4 Mark Schuster --
 5    A    Okay.                                                        5     A    Uh-huh.
 6    Q     It says, The school wants me to win so fucking bad          6     Q    -- and he says, This guy sounds like a monster. Do
 7 because then they can fire him.                                      7 you see that?
 8    A    Uh-huh.                                                      8     A    I was about to say that, LOL. Uh-huh.
 9    Q     Yes?                                                        9     Q    Yeah. Okay. Go a little bit further down, and you
10     A    Yes, I see that.                                            10 say, I have been talking to the press all day. Do you see that
11     Q    Well, what -- what made you make that statement? What 11 at 4:55 p.m.?
12 did you know about the school wanting you to win or firing           12     A    Yes.
13 Dr. Hubbard?                                                         13     Q    All right. I got a call saying the president read my
14     A    I didn't know anything about the school. That was           14 press release.
15 just my speculation.                                                 15     A    Uh-huh.
16     Q    Okay. So no one had told you anything about the             16     Q    Yes?
17 school wanting you to win or --                                      17     A    Yes.
18     A    No. No one at the university has talked to me about         18     Q    Who called you?
19 this case since it's been filed.                                     19     A    I don't think I remember anyone calling me on the
20     Q    Okay. Did anyone else --                                    20 21st. This might have been referring to me -- to what Jim Davis
21     A    I think Fenves said something to me, but...                 21 told me, that President Fenves read my press release.
22     Q    Right. Did anyone else tell you anything about the          22     Q    Okay. But why didn't you just say, you know, Someone
23 case that was not with the university about the university           23 told me that he read the press release. Why would you say you
24 wanting you to win or fire Dr. Hubbard?                              24 got a call?
25     A    No, no, no one told me that.                                25     A    I don't know, I don't know. I don't know what call

                                                             Page 287                                                                Page 289
 1    Q     All right. So this was just speculation.                    1 I'm talking about. I don't think I got a call.
 2    A     Yes, it was --                                              2     Q    Well, you said the man is in Singapore. It's 4 a.m.
 3    Q     All right.                                                  3 there; right?
 4    A     -- just speculation.                                        4     A    Yes, I did say that.
 5    Q     Okay. So you just assumed that this was true.               5     Q    But it's -- it wasn't 4 a.m. when you found out that
 6    A     Yes.                                                        6 he had read it at the lunch with Jim Davis; right?
 7    Q     Why did you assume it was true?                             7     A    I believe it would have been in the morning. I don't
 8    A     Well, I think -- I think maybe based on the thing that      8 know.
 9 Dr. Fenves wrote that I understood that the school did not           9     Q    Okay. But Singapore is about 12 hours -- it's pretty
10 really want to have Dr. Hubbard reflecting on their record the       10 much opposite of our time, isn't it?
11 way he was.                                                          11     A   Okay.
12     Q     Which publication is this? Or which -- what are you        12     Q   It's basically on the exact other side of the world.
13 talking about?                                                       13     A   Okay.
14     A    Didn't President Fenves write a letter to the editor        14     Q   So, I mean, you seem to have known that when you made
15 of some publication --                                               15 the statement; right?
16     Q     Ah.                                                        16     A   Uh-huh.
17     A    -- about this?                                              17     Q   Yes?
18     Q     You -- we mentioned it earlier, but I didn't think you     18     A   I seemed to have known that it was 12 hours in
19 had recollection of what that was, but sorry. Go ahead.              19 Singapore?
20     A    Yes. I -- I do recall that. I don't recall anything         20     Q   Well, you said it's 4 a.m. there, so I'm assuming you
21 specific about it, but I'm -- it's my understanding that from        21 had some familiarity with the sort of Greenwich Mean Time table?
22 that, the school did -- wasn't happy with what Dr. Hubbard was 22    A I don't really know what I was talking about. I could
23 doing.                                                         23 have been --
24     Q     Okay. 223-A.                                               24     Q   Okay.
25     A    (Reviewing.)                                                25     A   -- misusing the time zone.


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1     Q It's almost as though you're trying to make it sound          Mr. Joseph D. Sibley (5hr 53m)

2 like President Fenves thought your flyer was so important that           Attorney for Plaintiff
3 he sent out a message at 4 a.m. in Singapore.
                                                                      Mr. B. Ross Pringle (0m)
4     A I -- I don't know what I was trying to say.
5           MR. SIBLEY: Okay. All right. I pass the                        Attorney for Defendant
6 witness.
                                                                      I further certify that I am neither counsel for, related
7           MR. PRINGLE: We will reserve our questions --
 8          MR. SIBLEY: All right.                               to, nor employed by any of the parties in the action in which

 9          MR. PRINGLE: -- until the time of trial.             this proceeding was taken, and further that I am not financially
10           MR. SIBLEY: All right.
                                                                 or otherwise interested in the outcome of this action.
11           VIDEOGRAPHER: We are off the record at 6:38.
12                                                                    Certified to by me on this 29th day of June, 2021.
13                                                                                        *
14
                                                                                          *
15
16                                                                                        *
17
                                                                                          *
18
19                                                                                        *

20                                                                                        *
21
                                                                                                    PATRICK A. STEPHENS, CCR, CVR
22
23                                                                                                GA CERT. NO. 4672-1141-4562-4064
24
                                                                                                                     NVRA NO. 5462
25       (Whereupon, the proceedings were concluded.)

                                                             Page 291
                UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF TEXAS
                             AUSTIN DIVISION
DR. THOMAS HUBBARD, PhD,          )
                                  )
           Plaintiff,             )
                                  )
VS.                               )
                                  )   CASE NO. 1:20-cv-767
SARAH ALLEN BLAKEMORE and         )
JOHN DOES 1-10,                   )
                                  )
           Defendants.            )
                        REPORTER'S CERTIFICATE
        ORAL & VIDEO DEPOSITION OF SARAH ALLEN BLAKEMORE
                            MAY 28, 2021
      I, Patrick A. Stephens, Certified National Court Reporter,
hereby certify to the following:
      That the witness, SARAH ALLEN BLAKEMORE, was duly sworn and
that the transcript of the deposition is a true record of the
testimony given by the witness;
      That pursuant to FCRP Rule 30(f)(1), request to review the
transcript was not made by either deponent or party before the
deposition was completed.
      That pursuant to information given to the deposition
officer at the time said testimony was taken, the following
includes all parties of record and the amount of time used by
each party at the time of the deposition:



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                    EXHIBIT

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                                                                                             Sherrard (Butch) Hayes
                                                                                                     shayes@wshllp.com
                                                                                                      direct 512.652.5783


                                                  December 10, 2020


   VIA EMAIL & PORTAL : roy.roscoe@eeoc.gov
   Roy Roscoe
   Equal Employment Opportunity Commission (“EEOC”)
   San Antonio Field Office
   5410 Fredericksburg Rd, Ste 200
   San Antonio, TX 78229


           Re:      Charge No. 451-2020-03555; Response by Charging Party, Dr. Thomas K.
                    Hubbard, to Respondent, The University of Texas at Austin’s Position
                    Statement.


   Dear Mr. Roscoe:

          On behalf of our client, Dr. Thomas K. Hubbard, we wish to address the questions and
   comments raised in your November 9, 2020 letter, respond to The University of Texas’s Position
   Statement, and provide additional evidence. Dr. Hubbard offers this response with the
   understanding that it is submitted as part of the process designed to resolve disputes and, as such,
   should remain confidential and inadmissible.

             To address the elephant in the living room: An employer may be responsible under Title VII
   for harassment of its employee by third parties. This is an unassailable conclusion. “Claims of sexual
   harassment typically involve the behavior of fellow employees. But not always.” Gardner v. CLC of Pascagoula LLC,
   915 F. 3d 320 (5th Cir. 2019). Where the harasser is not a supervisor, the claimant needs to show that
   the employer knew of the harassment and allowed it to persist. Id. That is exactly what happened to
   Dr. Hubbard. “An employer may . . . be responsible for the acts of non-employees, with respect to sexual harassment
   of employees in the workplace, where the employer (or its agents or supervisory employees) knows or should have known
   of the conduct and fails to take immediate and appropriate corrective action.” See 29 C.F.R. § 1604.11(e). The law
   is very clear that employers can be held responsible under this theory for actions of customers and
   even patients/residents of nursing homes. See Gardiner 915 F.3d at 322, 327. For UT to argue that it
   cannot be held responsible for the actions of its “customers,” its students, ignores a long history of
   jurisprudence to the contrary.

           Here Dr. Hubbard alleges that the harassment he experienced has come from multiple sources,
   including students over whom UT has some degree of control, and whom it may hold responsible. It
   has also come from employees of the University, as described below. UT not only failed to take
   reasonable measures to stop the harassment (by enforcing its own standards of conduct, investigating
   the crimes against Dr. Hubbard, and making some reasonable attempt to hold students responsible
   for their actions), but publicly encouraged it.




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          Consider this scenario: A female employee of a restaurant makes good faith complaints about matters
related to how the restaurant treats one gender. The manager responsible for the conditions about which the female
employee complains sits quietly and waits for a subtle opportunity to get rid of her. She is considered a “problem.” A
customer who frequents a restaurant five days a week harasses the female employee. The employer knows about it but
does nothing to stop the conduct. The customer goes to the female employee’s home and stands on her front porch lobbing
threats of harm or salacious sex-based allegations at her. The manager knows all about it. All of the customers know
all about it. The manager, instead of stopping the conduct, posts a message on the restaurant door stating that he
“understands” the customer’s feelings about the female employee and shares the feelings of the customer. The manager
does nothing to investigate or restrict the customer’s conduct but expects the female employee to return to the restaurant
anyway with no restriction on the customer. At any moment the customer could come into the restaurant and continue
the conduct. During this episode, and for months thereafter, the community learns of the harassment and the female
starts to receive daily threats of harm from anonymous sources via email or social media. The restaurant continues to
force the female employee to return to work when everyone knows the likelihood of repeated harassment.

         If Dr. Hubbard were a female, or straight, or both would UT allow its students to falsely
slander him about inherently and criminally sexual matters? Would it encourage slander in the way
that UT’s administration has? If fraternity boys showed up at the classroom and home of a women’s
studies professor who is critical of fraternity culture and violently and falsely accused her of deviant
and criminal sexual behaviors would UT ignore the conduct? Should students be given a pass? Isn’t
publicly but falsely deriding a person as promoting pedophilia or being a pedophile sexual harassment
of a sexual nature? Why should the former UT President’s public support of those students be
ignored? Why should UT be allowed to ignore its own standards of student conduct (specifically
Institutional Rules on Student Services and Activities, Chapter 11-404, #1, 3, 11, 18, as well as the
general University Code of Conduct) and refuse to properly address what began as salacious sexual
allegations that have caused extreme distress, even hospitalization, and bloomed into outright death
threats? For UT to wash its hands of any responsibility because its “employees” are not involved is
both factually and legally flawed.

        Dr. Hubbard brought the above-referenced Charge of Discrimination for employment
discrimination/harassment and retaliation based on his sex (male, sexual orientation). 1 The attached
exhibits show that Dr. Hubbard was subjected to a hostile work environment because he is male
and/or gay. The University also discriminated against Dr. Hubbard in retaliation for his 2017 letters
complaining about the CLASE Report’s discriminatory effects as well as Dr. Hubbard’s 2012
discrimination claims.

         Rather than respond to Dr. Hubbard’s legitimate claims of employment discrimination and
retaliation in violation of Title VII, UT has attempted to shift blame to Dr. Hubbard. In doing so, it

1 Dr. Hubbard’s Charge was timely filed. The University’s Position Statement incorrectly alleges that Dr. Hubbard’s

Charge was not timely filed based on an incorrect reading of Fifth Circuit law. Although Section 2000e-5(e)(1) provides
that the 300 day deadline applies where “the person aggrieved has initially instituted proceedings with a State or local
agency with authority to grant or seek relief from such practice,” under Fifth Circuit law “whether the complaint was
timely filed with the [THRC] has no effect on the 300-day filing period for the EEOC charge.” Melgar v. T.B. Butler Publ’g
Co., 931 F.3d 375, 380 n.4 (5th Cir. 2019) (citing Griffin v. City of Dallas, 26 F.3d 610 (5th Cir. 1994)); 42 USCS § 2000e-5.
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ignores UT’s duties to Dr. Hubbard as his employer and the fundamental protection afforded to him
against sex discrimination on the basis of his gender and sexual orientation. In its position statement,
the University summarizes the “crux” of the discrimination claims against it as a complaint that “the
[U]niversity did not do more to shield [Dr. Hubbard] from the repercussions of his controversial and
provocative area of research, specifically pederasty, which involves the attraction of adult males to
adolescent males, and lowering age-of consent laws for sexual activity.” This is inaccurate and
provides a preview to the inconsistencies throughout the position statement: 1) UT did not just “fail
to shield” Dr. Hubbard, it actively fueled and supported the discrimination through its public
statements and actions taken against Dr. Hubbard; 2) the statement implies that employers are not
required to take steps to prevent and address discrimination and overt harassment, including threats
of physical harm; and 3) UT knowingly or recklessly made false statements – attributing falsely to Dr.
Hubbard advocacy for pedophilia or even pederasty. UT attempts to dismiss the specifics of the
writing at issue: a decade-old paper that simply raised the question of whether U.S. age of consent
laws should differentiate between male and female adolescents, as they did prior to the late 1970s, and
citing historical and criminal justice context for doing so. UT, its administration, and the radical
students who have gone unpunished have refused to understand this message. Had it been from a
female, or heterosexual male, Dr. Hubbard believes UT and its community would have treated him
much differently.


OIE’s conflicting interests

       The University of Texas has tasked its Office for Inclusion and Equality (“OIE”) with
opposing Dr. Hubbard’s charge of discrimination. OIE drafted and submitted UT’s position
statement to the EEOC. UT’s position statement includes—in addition to mischaracterizations of
Dr. Hubbard’s contentions and unquestionably settled law—one glaring omission that cannot be
coincidental. Noticeably absent from UT’s position statement is any acknowledgement that, in the
weeks after Dr. Hubbard submitted his charge, OIE, the department responding to his EEOC charge,
confronted Dr. Hubbard with a request to informally resolve multiple baseless allegations of sexual
misconduct including one allegation supposedly brought by a UT staff member on behalf of a student
whom Dr. Hubbard does not even know. All such charges against Dr. Hubbard have been dismissed
out of hand because they have been meritless. The campaign against Dr. Hubbard continues, and
OIE is being used as a tool in that campaign.


Discrepancies and inaccuracies in the University’s position statement

        The University’s position statement is filled with factual and legal inaccuracies. In one such
example, the University inaccurately paraphrases the violent and defamatory events of the last year,
glossing over the University’s own discriminatory and sexually harassing actions and downplaying the
attacks against Dr. Hubbard.
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   For example, two women disrupting and
   completely halting Dr. Hubbard’s class
   to distribute defamatory flyers (which
   were later posted on the internet) that
   promoted a rally to demand that UT
   terminate Dr. Hubbard based on
   completely unfounded and libelous
   accusations        that      he     promotes
   “pedophilia and advocate[s] for violent
   crime against teen boys” is characterized
   by UT in the position statement as “two
   individuals posted flyers outside Complainant’s
   classroom and spoke with local media about
   Complainant’s research topics.”


        Truly, the first paragraph of UT’s section “a. Hostile Work Environment” is replete with
incorrect portrayals of the events at issue and intentionally and blatantly ignores the relevant facts.
Rather than rely on UT’s unconvincing synopses, we ask that the EEOC carefully review the
underlying sworn statements of Dr. Hubbard.

UT’s mischaracterization: “after a local news story was published on Dec. 4, 2019, Complainant received
allegedly obscene phone messages and emails on his publicly-available university email and phone extension (paragraph
9)”

What actually happened: Immediately following UT spokeswoman Shilpa Bakre’s statements
“condemn[ing] ideas or world views that exploit or harm individuals” published in an Austin American
Statesman article condemning Dr. Hubbard, he received obscene and abusive calls and emails, which
included death threats like those attached as Exhibit H.

UT’s mischaracterization: “on the evening of Dec. 5, 2019, someone went to Complainant’s house and knocked
on his front door repeatedly (paragraph 9)”

What actually happened: Fearing for his safety, Dr. Hubbard was forced to call the police when an
unidentified man continuously and loudly banged on Dr. Hubbard’s front door the night immediately
following UT’s statements were published in the Austin American Statesman.

UT’s mischaracterization: “on Dec. 8, 2019, Complainant’s house was vandalized (paragraph 10)”
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What actually happened: UT student protestors threw a cinderblock through Dr. Hubbard’s
window, spray painted “CHILD RAPIST” across the entire front wall of his home, spray painted a
communist hammer and sickle on his driveway and window. The protestors spread defamatory and
threatening graffiti throughout the neighborhood.




UT’s mischaracterization: “on Dec. 9, 2019, protestors rallied around Complainant’s house (paragraph 11)”

What actually happened: Masked individuals associated with Fire the Abusers (“FTA”), a group
describing itself as a “student-led, student-powered movement,” 2 violently rioted outside of Dr.
Hubbard’s home. Austin Police had to escort Dr. Hubbard to safety.

2   See Ex. D, Fire the Abusers Twitter posts.
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The masked students passed “NEIGHBORHOOD PERVERT ALERT!”s around Dr. Hubbard’s
neighborhood. FTA is a “student-led” organization and the rioters are UT students. The UT students
posted a video of the riot to the FTA Twitter account, which has since been suspended by Twitter
after FTA was found to be in violation of Twitter’s rules. 3 A transcript of the video is attached as part
of Exhibit D, and partial video is available here and here.

UT’s mischaracterization: “on Dec. 18, 2019, the Dallas Morning News published an editorial about
Complainant that was subsequently corrected (paragraph 14).”

What actually happened: The Dallas Morning News published a defamatory article about Dr.
Hubbard, which was later corrected, and, more importantly, the President of the University, Dr.
Fenves, submitted a letter to the editor for publication praising the defamatory article. In his response
praising the incorrect DMN article, 4 the University’s President publicly stated, “Students, UT Austin


3   https://twitter.com/FireTheAbusers/status/1221956213174341632.
4   The DMN noted the following correction to Dr. Fenves’s incendiary letter to the editor:
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community members and others are disturbed by Hubbard’s writings about sexual relations between
teenagers and adults,” that he understood the concerns about Dr. Hubbard’s ideas, and that he found
Dr. Hubbard’s ideas outrageous.


The University is liable for discrimination/harassment against Dr. Hubbard by its students.

        The University erroneously claims that it could not have violated Title VII because the
“majority of the actions cited by [Dr. Hubbard] … were taken by individuals who were not agents of
the [U]niversity.” But it is well-established law that no agency relationship is necessary for an employer
to be responsible for remedying unlawful harassment of its employee where the conduct is perpetrated
by third parties. Employers are liable in circumstances such as those presented. Additionally, the
discrimination and harassment that Dr. Hubbard has been (and continues to be) subjected to is not
limited to actions of “non-University agents” but also includes UT’s defamatory statements and
actions taken against Dr. Hubbard

        The University’s contentions regarding “non-university agents” are both factually and legally
incorrect. The University is factually incorrect in dividing the harm into two sources: unidentified
students and the Dallas Morning News. The subject of Dr. Hubbard’s EEOC claim is the University’s
discrimination/retaliation. The University is the source of harm. Dr. Hubbard has addressed his
claims against specific students and the Dallas Morning News in separate actions. UT’s choice to
describe the students as “unidentified” is curious given that it has not taken reasonable measures to
“identify” them as part of its own policies.

         Citing authority that does not support its position, the University claims that it can only be
held “liable for the actions of its agents and, in very narrow circumstances, the actions of certain third parties
to which an employer repeatedly subjects an employee.” See Position Statement at n.5 (citing 42 U.S.C.
§ 2000e(b)). 5 The University then contends that student rioters and the Dallas Morning News are not
agents of the University, as if this contention, if true, would dispose of Dr. Hubbard’s hostile-work


         Correction published in the print edition May 2, 2020: In an editorial originally published online on
         Dec. 18, 2019 regarding scholarship by Dr. Thomas Hubbard, a professor at the University of Texas at
         Austin, we referred to student protests and said his scholarship would lead to an unraveling of age-of-
         consent laws. Hubbard was not the cause of any substantial campus protest over his views. His research
         covers sexual relationships between men and males who have undergone puberty but are under the
         current age of consent. He does not advocate for pedophilia but researches pederasty, the attraction of
         adult males to adolescent boys. Hubbard has called for changing age-of-consent laws but not repealing
         them.
5 The University claims that Title VII’s definition of “employer” limits “employer liability to actions of the employer itself
as well as its agents.” It does not. Employer is defined as “a person engaged in an industry affecting commerce who has
fifteen or more employees for each working day in each of twenty or more calendar weeks in the current or preceding
calendar year, and any agent of such a person…” 42 U.S.C. § 2000e(b). The University immediately contradicts its
purported agency requirement with its citation to Gardner v. CLC of Pascagoula, LLC, 915 F.3d 320 (5th Cir. 2019) as “giving
an overview of when third parties may create liability for an employer under Title VII.”
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environment claims. 6 Even under its own incorrect statement of the law, UT fails to address the actual
issue it cites about whether the University can be liable where actions of third parties create a hostile-
work environment that the University failed to take appropriate corrective action to remediate.

        Employers may be held liable under Title VII for the acts of non-employees, including
students, with respect to sexual harassment “where the employer (or its agents or supervisory
employees) knows or should have known of the conduct and fails to take immediate and appropriate
corrective action.” 29 CFR 1604.11(e).

        Multiple Circuits have recognized that a student’s sexual harassment of a teacher or other
educational employee may impose liability on the employer. See Campbell v. State Dep't of Educ., 892
F.3d 1005, 1017-19 (9th Cir. 2018); Plaza-Torres v. Rey, 376 F. Supp. 2d 171, 183 (D.P.R. 2005) (“it is
clear that the term ‘non-employee,’ as defined in the EEOC Guidelines, does not exclude students,
especially if the Court finds that a school has control and legal responsibility over student
misconduct”); Folkerson v. Circus Circus Enters., Inc., 107 F.3d 754, 755-56 (9th Cir. 1997); Mongelli v. Red
Clay Consol. Sch. Dist. Bd. of Educ., 491 F. Supp. 2d 467, 477 (D. Del. 2007); Lucero v. Nettle Creek Sch.
Corp., 566 F.3d 720, 732 (7th Cir. 2009) (school acted reasonably by suspending students who harassed
teacher); Salvadori v. Franklin Sch. Dist., 293 F.3d 989, 997 (7th Cir. 2002) (school responded reasonably
to complaints of harassment in hallways by posting hall monitors to find and discipline responsible
students); see also Gardner v. CLC of Pascagoula, LLC, 915 F.3d 320 (5th Cir. 2019) (recognizing Title
VII claims against third parties and applying EEOC Guidance, 29 CFR 1604.11(e)).

        The EEOC’s regulations specifically task the Commission to “consider the extent of the
employer’s control and any other legal responsibility which the employer may have with respect to the
conduct of such non-employees” in reviewing harassing conduct of third parties. Id. Universities exert
control over their students, including through disciplinary procedures.

         Employers—like The University of Texas—may be held liable for the students’ harassing
conduct to the extent that it fails to reasonably to respond to the conduct or to the extent that it
ratified or acquiesced in it. Campbell v. State Dep't of Educ., 892 F.3d 1005, 1017-19 (9th Cir. 2018).
Here, the University ratified and acquiesced to the sexual harassment of its students by making public
statements in support of the protests. Further, the University failed to reasonably respond to the
harassment of the students against Dr. Hubbard, even failing to implement its own policies that
prohibit the harassing conduct. The University’s Institutional Rules on Student Services and
Activities, Chapter 11-404, #1, 3, 11, 18, as well as the general University Code of Conduct, prohibit
the conduct inflicted on Dr. Hubbard by its students, specifically when a student:

         1. Local, State, or Federal Law Violations - engages in conduct that may violate any
         provision of federal, state, or local laws, whether or not the violation occurs on
         University property or in connection with any University-oriented activity.


6Dr. Hubbard has never claimed the Dallas Morning News held an agency relationship with the University and Dr. Hubbard
does not refute the “obvious” claim that the Dallas Morning News is not an agent per se of the University.
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        3. Harmful Behavior - behaves in a manner that threatens or endangers the health or
        safety of any student or employee of the University, or of visitors to the campus.

        11. Other Harassment under Subsection 13-204 of the Institutional Rules
        (Speech, Expression, and Assembly) or HOP 3-3020 - engages in harassment

        18. Disruptive Conduct
                A. otherwise engages in the following acts of inappropriate conduct that have
        the potential to interfere or disrupt the student learning or teaching function of the
        University: pranks, repeated contact of a harassing nature through a personal or
        electronic medium, and berating or otherwise abusive behavior; or,
                B. attempts to commit any violation of University rules or regulations, or to
        assist another person or persons in committing any violation of University rules or
        regulations; or,
                C. behaves in a manner that impedes, interferes with, or disrupts any University
        teaching, research, administrative, disciplinary, public service, learning, or other
        authorized activity

See Exhibit I, Institutional Rules on Student Services and Activities, Chapter 11-404.

        The University refused to follow its own policies and “failed to take prompt corrective
measures that were reasonably calculated to end the harassment” and therefore must be held
accountable for the sexual harassment of its employees by its students. The harassment continues.
The University took no action against students known to have harassed and threatened Dr. Hubbard
and, instead of investigating the identities of the other students, investigated baseless claims against
Dr. Hubbard. The University’s public statements in support of students’ violent actions and
defamatory statements, critical of Dr. Hubbard and his research may establish that UT did not take
measures to end the harassment but, instead, incited and supported it. The University’s inaction has
caused extraordinary harm to Dr. Hubbard, a harm that reasonably could have been predicted under
the circumstances.


The University was negligent in preventing harassment by its students and student
employees.

        The University incorrectly states that unidentified students (and potentially even non-
students), not the University, harassed Dr. Hubbard. But, the University knew the identities of at
least three students involved and even employed these students. The University is responsible for
harassment by non-supervisory employees when it is “negligent in failing to prevent harassment from
taking place.” See Vance v. Ball State University, 133 S. Ct. 2434 (2013). Failing to respond to complaints
is evidence of negligence. Id. Moreover, because the University has failed to adequately investigate
the violence directed at Dr. Hubbard by masked assailants, it cannot say with any confidence that
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none of them were University employees. By sticking its head in the sand the University makes an
attempt at plausible deniability, but in doing so makes Dr. Hubbard’s case for him.

        Three of the four students responsible for the spread of false allegations about Dr. Hubbard
prior to the attacks on his home were in fact employed by the University at the time: Hollie Green
was employed by the Athletic Department, and Samuel Joseph Ross and Zoe Elise Thomas were
employed by Dr. Hubbard’s own department, the Department of Classics. Zoe Elise Thomas,
employed as a graduate Teaching Assistant, even made her statements specifically citing her
employment as an “educator” at UT as a reason why she felt compelled to speak out against Dr.
Hubbard. UT has failed, perhaps intentionally, at identifying the perpetrators of the violence and
harm directed at Dr. Hubbard. That failure is itself evidence of UT’s retaliatory intent.


The University actively contributed to the hostile-work environment at issue.

        Moreover, multiple high-level administrators, including President Fenves and his
communications staff, made a number of public statements on behalf of the University that reinforced
and lent credibility to the libelous disinformation being circulated by these student-employees and
others.

         In the December 4, 2019 article published by the Austin American Statesman
(https://www.statesman.com/news/20191204/austin-students-want-professor-fired-for-writings-
on-age-of-consent-ut-says-itrsquos-protected-speech), the University’s official Spokesperson, Shilpa
Bakre, issued a statement on behalf of the University linking Dr. Hubbard with “ideas or world views
that exploit or harm individuals.” Then she stated that the students seeking to have Dr. Hubbard fired
were exercising their first-amendment right “to strongly disagree with and draw attention to those
ideas.” Libel is, of course, not protected by the First Amendment, and the “ideas” these students were
attributing to Dr. Hubbard were not in fact his or even close to his published ideas.

         It was only four days after the publication of the University Spokesperson’s remarks that a
mob of masked students vandalized Dr. Hubbard’s house, threw a cinder block through the front
window, and surrounded it for over an hour chanting defamatory slogans, until the police escorted
Dr. Hubbard to safety. This attack was causally related to the University’s conscious and deliberate
refusal to respond appropriately to a concerted campaign of disinformation against one of their
faculty.

        President Fenves himself, advised by his communications director Gary Susswein, continued
to further the University’s endorsement of defamation against Dr. Hubbard with his December 19,
2019 letter to the editor of the Dallas Morning News, published in the newspaper the following day.
President Fenves praised a DMN editorial, which falsely accused Dr. Hubbard of advocating
pedophilia, for “shedding light” on a “heated debate” about Dr. Hubbard’s scholarship on the UT
campus. Fenves stated that he found Dr. Hubbard’s views “outrageous.” Fenves gave comfort and
encouragement to those who misrepresented his work, defamed him as a pedophile, and attacked his
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home. Fenves never criticized the attack on Dr. Hubbard’s home, and his letter, even expressed
“understanding for their concerns.” (Had male students attacked the home of a female professor in
protest over her writings about feminism would UT have fueled that fire or sat on its hands? Would
it at least enforce the student code of conduct?)

          Fenves further publicly announced an investigation into Dr. Hubbard based on non-existent
complaints against him. His letter announced an investigation into whether Dr. Hubbard “introduced
into . . . teaching controversial matter which has no relation to [the] subject.” He goes on to assert,
“But we are aware of the concerns and complaints about those classes this semester. We have been
and are reviewing them and will take appropriate action…” As his open records request (UT Austin
ORR #152385) revealed, Fenves’ office was in possession of no complaints about his “classes” that
semester, and the only letter it had from a student expressed concern over the rumors she had heard
about his scholarship and “associations,” not the class itself, much less any introduction of material
irrelevant to the subject. Subsequent open records requests revealed that neither the Provost’s nor
Dean’s office were in possession of such complaints. No finding of wrongdoing by Dr. Hubbard
resulted, despite Fenves’ suggestion to the contrary.

        Fenves’ announcement of this investigation, triggered by no solid evidence of anything, was
in every way irregular and unprecedented. The University of Texas cannot cite a single other case in
the entire history of the University where a President has announced an investigation of a faculty
member in the public press before informing the faculty member of the charges against him. Nor can
it document a case where a special committee was appointed to investigate a faculty member’s teaching
based on one or two student letters, which did not even mention the content of that faculty member’s
teaching, but only cited vague and inaccurate rumors about other matters. Ordering such an
investigation based on so little evidence appears to have been a fishing expedition in a pre-judged
attempt to dig up some dirt, somewhere. An open records request (PIR 000248-062220) revealed that
the only time previously in his presidency that Fenves had commented on any public controversy
involving a faculty member was in the case of Prof. Ari Pedahzur, for whom he published a strong
statement of support. Dr. Hubbard’s is the first and only case where he has made negative statements
about a faculty member to the public press.

        The investigation turned out to find Dr. Hubbard guilty of nothing. Contrary to Fenves’
statement that it was already underway on December 19, 2019 (when his letter was sent), Vice Provost
Dukerich told Dr. Hubbard on December 21 that it would begin in the Spring semester, as it indeed
did. Neither the committee nor the Dean of Liberal Arts were ever given actual copies of the alleged
“complaints and concerns” about his Fall classes; the committee merely reviewed his written course
evaluations and found no evidence of any complaints that Dr. Hubbard had introduced “controversial
matter that has no relation to the subject.” It was in May 2020 revealed to Dr. Hubbard by the Office
for Inclusion and Equity that their office was the only one in possession of the supposed complaints
about his classes, that the complaints were all anonymous, that many of them had been received after
Fenves’ December 19, 2019 letter, and that OIE did not, under its regular standards, regard them as
worthy of formal investigation. If OIE did not deem such anonymous complaints worthy of formal
investigation, why did President Fenves feel an urgency to announce an investigation to a newspaper?
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        Finally, on July 23, 2020, University Communications Director Gary Susswein commented to
the Austin American Statesman (https://www.statesman.com/news/20200723/ut-professor-accused-
of-promoting-pedophilia-sues-student-for-libel)             and          The          Daily         Texan
(https://thedailytexan.com/2020/07/23/classics-professor-accused-of-advocating-for-pedophilia-
sues-student-others-for-libel) concerning Dr. Hubbard’s filing of a federal suit for libel and defamation
against the daughter of a prominent right-wing political operative: “It is highly unusual for a professor
to sue a student. We support robust discussion and debate about the merits and results of academic
research, and believe those should happen on campus and not in the federal courts.” This statement
misrepresents the assertions this student made as being legitimate “debate about the merits and
results” of his research, when the whole purpose of his suit is to show that the statements are not
“debate” or opinion, but assertions of fact that are false and defamatory, based on no serious
examination of his published work. For the University’s chief communications officer to assert that
these statements were merely “debate” was to take a position on the lawsuit, which the University has
no business doing to the detriment of one of its long-serving employees. Moreover, Susswein’s
statement implies that the University had offered Dr. Hubbard a forum for serious debate of the issues
raised by this and other students’ false allegations; it never did, even though Dr. Hubbard had made
no fewer than three proposals to do so to the Provost’s Office, with no response.

        It is Dr. Hubbard’s position that these were all conscious actions of the University’s highest
executive officer and his communications staff, who were unquestionably acting as “agents of the
University.” Their hasty statements lent unjustified credibility to libelous assertions that left students
convinced of the truth of those accusations, such that they boycotted his classes and thereby changed
the material conditions of his employment, depriving Dr. Hubbard of a normal teaching schedule and
leading to further harassment from parties both within and outside the University. The violent attack
on his house and the violent threats against Dr. Hubbard spray-painted on a nearby business can easily
lead a reasonable person to conclude that they were caused by these libelous assertions that were
circulated and given unjustified credibility by agents of the University. The University has therefore
also changed the material conditions of his employment by encouraging a threatening and unsafe
environment for Dr. Hubbard in the City of Austin, such that Dr. Hubbard can no longer safely live
anywhere near Austin.


Dr. Hubbard was sexually harassed and subjected to a hostile-work environment because of
his homosexuality.

        The unusual actions of the university employees and students detailed above are certainly
“unwelcome harassment.” The conduct described arose from a misunderstanding of writings by a gay
professor about sex-based topics. This conduct is clearly a result of sex stereotypes and certain
individuals’ discomfort with any public discussion about sex between males. For years gay men have
been unfairly stereotyped as “child molesters” by large segments of society. This stereotype
weaponizes bigotry, and the twisting of the narrative about Dr. Hubbard’s writings gives certain people
cover to discriminate while disclaiming that motive. Dr. Hubbard has never “promoted pedophilia”
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and has never advocated for anyone to violate U.S. age of consent laws. Never. But what UT does
in its response is very similar to what others have done in the University’s hallways, back alleys around
campus, and the front porch of Dr. Hubbard: distort the facts to provide a “safer” way to discriminate
or retaliate against Dr. Hubbard.

        We are hopeful that the EEOC will review this information and find ample evidence to
support a finding of discrimination and retaliation. If the EEOC requires additional information,
please let us know.

        Thank you.

                                                Sincerely,



                                                Sherrard (Butch) Hayes


Enclosures
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Austin students want professor red for
writings on age of consent; UT says it’s
protected speech
By Lara Korte
Posted Dec 4, 2019 at 5:37 PM
For weeks, University of Texas students have been protesting against and asking
school leaders to fire professors with histories of sexual misconduct.

Now, a group of students is calling for the removal of another faculty member
they say is promoting harmful ideas about the age of consent and sexual relations
with minors.

Thomas K. Hubbard, a professor of classics in UT’s College of Liberal Arts, has
written extensively on relationships between adolescent boys and adult men,
often using classic literature’s depictions of homosexual relationships to suggest
changing age of consent laws and challenging modern norms about youth
sexuality.

But some students say he has used his position as a UT professor to further a
culture that hurts young boys.

In his academic writing, Hubbard describes physical relationships between men
and young boys in ancient times as “proper learning experiences.” In one 2010
article published in the peer-reviewed journal, Thymos: Boyhood Studies,
Hubbard examines sexual consent among adolescent males in antiquity, asking,
“What can we learn from the Greeks?”

“Contemporary American legislation premised on children’s incapacity to
‘consent’ to sexual relations stems from outmoded gender constructions and
ideological preoccupations of the late Victorian and Progressive Era,” Hubbard
writes. “We should consider a different ‘age of consent’ for boys and girls.”
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In the same publication, Hubbard called age of consent laws a “sad by-product” of
a “naive and self-righteous era” and compared them to prohibition.

Hubbard rebukes the idea he writes about pedophilia. Instead, he says, he
discusses the phenomenon of “pederasty,” which he described as the romantic
courtship of adolescent males, usually 14 years or older with older men.

“How teen sexuality should be regulated and how legal violations should be
punished are legitimate areas of research and debate among scholars and public
policy professionals. Historical and cross-cultural evidence have a place in such
discussions,” he said in an emailed statement.

READ: Hubbard’s Q&A on the issue.

Hubbard said the concerns are from a “small handful of students,” and “are not
based on any careful examination of the full spectrum of my writings on the
subject.”

Hubbard said he believes very strongly in informed consent.

“I have written many hundreds of pages on such topics, which you really need to
examine carefully if you want to do responsible reporting,” he said. “You should
not merely accept it on faith if some naive undergraduate student quotes
something to you from an article they may not have even read fully or have the
intellectual sophistication to understand.”

While the American-Statesman has not reviewed the entirety of Hubbard’s
academic writings, it has read the article in question, in which Hubbard explores
adolescent sexuality in ancient Greek and the origins of age of consent laws.

Some experts say many scholars who work on the history of sexuality in the
ancient world do not subscribe to, condone or promote the practices they write
about. Hubbard’s writings, while offensive to some students, do not violate any
campus policy, according to the university, and therefore do not warrant any
disciplinary action.

“The university condemns ideas or world views that exploit or harm
individuals,” UT spokeswoman Shilpa Bakre said. “However, the study of
controversial and even offensive ideas is protected by the First Amendment — as
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is the right of others to strongly disagree with and draw attention to those ideas.
If someone is alleged to violate university policy or takes actions that threaten
the safety of the campus community, the university will respond swiftly,
investigating allegations thoroughly and imposing sanctions as warranted.”

Hubbard’s work is promoted in online communities that support and promote
relationships between men and minor boys, such as the North American
Man/Boy Love Association, or NAMbLA, a pedophile advocacy group. The
organization published Hubbard’s book, “Greek Love Reconsidered,” in 2000
simultaneously with Wallace Hamilton Press.

Up until recently, Hubbard was listed as an associated individual on NAMbLA’s
Wikipedia page. As of Tuesday, his name had been removed.

Hubbard told the Statesman his works were not “influenced by or sympathetic to
NAMBLA’s radical position,” nor does he “endorse NAMBLA’s idiosyncratic
approach to legal reform and do not share the sexual orientation of its members.”

One post on the site BoyChat.org, a website that describes itself as a forum for
people who have “a particular affinity for pubescent and/or prepubescent boys,”
describes Hubbard as “a great man — fearless on speaking out against today’s
phobic persecution of boylove.”

Sarah Blakemore, one of the students calling for Hubbard’s removal, took his
classical mythology class this semester before learning about his writings on
pederasty and dropping the course.

“I understand everyone has their own academic license, but I don’t think it’s
appropriate for teachers at a public university to be promoting breaking the law,”
Blakemore said. “Personally, if the world’s largest pedophile advocacy group
endorsed my book, I would reconsider my life.”

Dr. Roy Lubit is a New York-based forensic child psychiatrist who has studied
and treated child sexual abuse cases across the country. Lubit said children and
adolescents are not able to consent.

“Serotonin levels drop during teen years and dopamine goes up, so now you have
someone whose desires are magnified and whose self-control is down,” Lubit
said. “And this is part of why teenagers tend to have tumultuous teenage years;
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they need adult guidance and adult protection from themselves, from their
decisions.”

Hubbard’s expertise in classical texts does not make him an expert in child
psychology, Lubit said: “I have evaluated and treated many, many people who
have suffered child sexual abuse and the fact that it occurred in Greece 2,000
years ago doesn’t mean that it’s not harmful.”

Universities often don’t have any jurisdiction over worldviews. Recently at
Indiana University, business professor Eric Rasmusen was found to have used his
social media accounts to disparage women, people of color and gay men.

An Indiana University leader called Rasmusen’s posts “vile and stupid” but said
the school was forbidden under the First Amendment from firing him.

Jodie Shipper, a California-based higher education consultant, said free speech
and academic freedom rules are critical at public universities.

“If we tightly control someone and what they can say in the classroom, we have
to be prepared to think about the ramifications of all the other speech we might
control and what that might look like,” Shipper said.

But just because a university can’t impose sanctions on a professor, doesn’t mean
students or the general public can’t, Shipper said.

“Maybe the university isn’t firing him. But at some point, if no one is taking his
classes, it may be that he is in a position where, due to attrition, there’s nothing
for him to do,” Shipper said.

The students calling for Hubbard’s dismissal say they have joined other students
protesting professors’ sexual misconduct and call themselves The Coalition
Against Sexual Misconduct. The group is holding its fourth rally of the semester
at 10 a.m. Friday at the UT Tower.
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  EXHIBIT D
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     Fire the Abusers - Protest for Student Safety No. 2 (11.8k viewers) – 12/09/2019 – Twitter
     Broadcast

 1   00:00:00               [Beginning of Recorded Material]

 2   Student 1:             Thomas Hubbard come outside.

 3   Crowd:                 Pedophile you can’t hide [Chanting]

 4   00:02:38

 5   Filming Student:       Fire the Abusers is at Thomas Hubbard’s house right now. He’s guilty of trying
 6                          to lower the age of consent, he’s a known supporter of NAMBLA, the North
 7                          American Man-Boy Love Association, he’s published work to argue that
 8                          statutory rape and age of consent laws are a burden. He teaches a class called
 9                          “Mythologies of Rape” and although UT got rid of that class because of a high
10                          volume of complaints, he’s still teaching there and he’s still forcing his class to
11                          regurgitate his vile views in their papers and works or he threatens to fail them.

12   00:02:40

13   Student 1:             Thomas Hubbard come outside [Chanting]

14   Student 1:             Thomas Hubbard is a creep

15   Crowd:                 Keep an eye out when you sleep [chanting]

16   00:03:58

17   Unknown student:       Come out!

18   00:04:11

19   Student:               We’re not done yet Thomas!

20   00:04:26

21   Student 3:             Thomas Hubbard. Every single one of your neighbors should know what kind of
22                          disgusting person you are. For supporting pedophilia. He supports lowering the
23                          age of consent. Thomas’s rhetoric actively harms children. He has supporters that
24                          [garbled] a hero for defending pedophilia

25   00:04:50

26   Police Officer:        Get off the property.

27   Student:               The pigs are here.

28   Student 3:             Thomas Hubbard come outside



                                                                                                                  1
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29   Crowd:                 Pedophile you can’t hide

30   00:05:28

31   Student:               Let’s get that fucking pedophile (slightly garbled)

32   00:06:11

33   Student 3:             Thomas Hubbard. He’s supports pedophilia. He’s a professor at UT who uses his
34                          rhetoric that harms children. The kind of culture he’s creating is harmful towards
35                          children and towards his students who have to take his classes. He’s tried using
36                          ancient pederasty to promote and justify pedophilia. I learned that Hubbard locks
37                          his classroom because he thought we would pay him a visit. Instead we decided
38                          to pay him a visit at his home. I’m glad to hear that you’re worried about us
39                          confronting you.

40   00:06:48

41   Background Student:    You’re not safe anywhere Hubbard!

42   Student 3:             You should be! I’m glad to hear that you’re worried about us confronting you.
43                          You should be by the way, which is why I think you decided to take the
44                          precaution. You knew you were next given how you are so public about
45                          defending pedophilia. Right after we came for Sarkar you knew you were next,
46                          you piece of shit

47   Background student:    The pigs can’t save you!
48

49   00:07:22               He sent cops which is not surprising because over 40% of cops are domestic
50                          abusers. Just a couple of weeks ago, Dustin Lee a lieutenant in downtown Austin
51                          was found guilty of raping his own daughter for 15 years and is in court. We
52                          know that the cops don’t protect us, they protect those in power, and that’s why
53                          Fire the Abusers is out here making Hubbard know that we’re taking matters into
54                          our own hands. He’s going to be afraid to teach, he’s going to be afraid to be in
55                          Austin, he’s going to be afraid to be a pedophile.

56   00:07:59

57   Student 3:             Who supports pedophiles?

58   Crowd (chanting):      Pigs do pigs do.

59   00:08:34

60   Student 4 (yelling):

61   (White/pink hat, green army jacket, yellow bandana)


                                                                                                             2
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62                      Thomas Hubbard. You cannot hide from the things that you’ve done and things
63                      that you’ve said. You have dedicated your life’s work to advocating for
64                      pedophilia. You are disgusting and irredeemable and we’re not going to let you
65                      get away with it. You’ve claimed that boys who are groomed by pedophiles
66                      actually have more power than the adults who are abusing them. You have been
67                      published by NAMBLA, which is the North American Man-Boys Love
68                      Association, which is an organization that advocates for the sexual abuse of
69                      young boys by grown men.

70                      You’ve opposed affirmative verbal consent laws in an effort to make it even
71                      harder for women who just unfortunately endured sexual violence, to prove their
72                      rape in criminal court.

73                      We’re here to let you know that if the University of Texas doesn’t do anything
74                      about you we shall fucking care. We know that all UT cares about is money. But
75                      unfortunately for you, we can take care of you ourselves. Pedophilia apologists
76                      like you deserve to be confronted and feel afraid. We will make you scared to
77                      teach, scared to exist in your home. Scared to even exist in the city of Austin.
78                      And you know what? Word on the street is is that we were making you afraid
79                      even before we got the chance to roll up on you.

80   Filing Student:    He’s been locking his classroom doors he knows , he knows we’re coming after
81                      him.

82

83   00:0009:51

84   Student 4          …The pigs are not going to stop us. Thomas! We’re going to make you face the
85                      wrath of the people, and will do this do this in service of every young child and
86                      woman who’s been sexually violated. To Thomas Hubbard’s neighbors, this man
87                      is dangerous. He believes that there’s nothing wrong with pedophiles… in fact he
88                      seems to think that people like him here… you do not want this pedophile near
89                      your children, and I can definitely tell you don’t want him living in your
90                      goddamn neighborhood. If you value the safety of young children and women,
91                      join us in running this pedophile out of Austin. .. The people like him can never
92                      feel safe or welcome in our community. When women and children are under
93                      attack

94   Crowd:             Stand up fight back (chanting, repeating)

95   Student 4:         When women and children are under attack what do we do?

96   Crowd:             Stand up fight back (etc.)

97   00:11:16



                                                                                                         3
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 98   Student 4:         We can tell you’re scared because you sent the pigs on us, but we need to know
 99                      that we have the facts(?)… but it won’t fucking matter. You need to know you
100                      are not safe here, you are not safe in Austin.

101   Filming Student:   Just a list of some of the things he’s done, tried to lower the age of consent.. 303
102                      Brentwood Street Austin, TX.

103   Student 4:         We will do whatever it takes to make you afraid to ever go back to UT, afraid to
104                      come back to this house, we will make sure that this follows you for the rest of
105                      your life, I’ll reckon that’s done once you leave.

106   00:11:54

107   Police Officer:    Hey guys can I have your attention for a minute?

108   Students:          No absolutely not!

109   Student 4:         Who protects pedophiles?

110   Crowd:             Pigs do, pigs do [repeating]

111   Police Officer:    Can I explain something?

112   Student 4:         Hubbard teaches rape of children

113   Crowd:             Time to isolate this villain [repeating]

114   Filming Student:   How many cop cars are there, there’s one right there? Two three? We’re out
115                      here…

116   00:14:29

117   Filming Student:   A fourth cop car just showed up. How much money is the City of Austin
118                      spending to protect a pedophile?

119   00:14:34

120   Student 4:         Vile, vile pedphile, we’re make sure he’s exiled!

121   Crowd:             (chanting, repeating)

122   00:15:16

123   Student 2;         Thomas Hubbard, you can’t hide from us! We’re going to continue confronting
124                      you every step of the way. You and your rhetoric of pedophilia, it will not stand
125                      and we’re going to continue confronting you every day if that’s what it takes.
126                      The cops cannot protect you. The UT administration cannot protect you. They
127                      won’t hold you accountable but we will because we’re sick and done with you
128                      not being held accountable for your rhetoric that actively harms children every


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129                      day. .. Intimate supporters who see you as a hero is unacceptable. You also and
130                      tell rhetoric that is harmful towards women, you sexist pig.

131   00:16:02

132   Student:           Fuck you Hubbard!

133   Student 4:         Come on out Thomas we just want to talk! (laughter) You didn’t expect us did
134                      you? … Classroom disruptions, but know if we keep doing the same thing you’re
135                      going to be able to expect us. We have the element of surprise on our side and I
136                      guarantee, next time we come up on you, won’t see it coming. You better be
137                      afraid. We are doing this for children, we are doing this for women, we are doing
138                      this for the working class we will not take this anymore. And you better know,
139                      that you will not be safe here. So you might as well leave now cause if I ever
140                      (hurt you?) [garbled] If you want to keep going with this shit, if you want to keep
141                      living in fear? Then, yeah, go ahead and stay in Austin. But at some point you’re
142                      going to get sick and tired of this and you’re going to have to leave. So I don’t
143                      know, maybe you can do it right now, but we’ll still keep coming until you get
144                      the fuck out of this city. When women and children are under attack, what do we
145                      do?.

146   Crowd:             Stand up fight back(repeating)

147   00:18:02

148   Student 5(?):      Attention Thomas Hubbard. You cannot hide any longer. Students will not stand
149                      for your (garbled) of men and underage boys. Your use of ___ to promote child
150                      abuse and rape is disgusting. How wants to get away with the age of consent
151                      laws? You want to lessen punishment for those who sexually assault women
152                      under the age of 6. You think that rape statistics are overblown but that rape…
153                      You’re a danger to Austin and to everyone in the community. You think that you
154                      have free rape to push your humble rhetoric unsuspecting? [garbled] promoting
155                      pedophilia and the culture of rape. We will make sure you can never will fight
156                      against you with everything we have. You should be afraid. No matter where you
157                      go, know that students everywhere are actively working on running you out. You
158                      are not safe from our anger anywhere. Not at work, not at home, not anywhere in
159                      Austin. How dare you force your students to write about their experiences of
160                      being sexually assaulted, and to deny that their experiences were actually rape?
161                      How dare you promote horrible things and abuse? Apparently being called a
162                      pedophile is not enough to keep get you removed from campus.. anger and
163                      disgust… know that UT has a history of supporting people like you… You are a
164                      chicken[garbled?] and a disgrace and deserve to be ostracized. To neighbors of
165                      Thomas Hubbard, we call on you to join us in our fight… you are living with
166                      someone who advocates for pedophilia and rape should not be allowed to work
167                      or live in our community any longer.



                                                                                                           5
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168   00:21:30

169   Student 5:         Pedophile you can’t run

170   Crowd:             We fight back you sexist scum (repeating)

171   00:23:50

172   Student:           Who protects pedophiles?

173   Crowd:             Pigs do, pigs do

174   00:24:20

175   Filming Student:   Women at UT are angry. They’re tired. We don’t want any more transparency it
176                      doesn’t matter. If UT won’t fire these professors, we’ll make them leave
177                      ourselves.

178   Student:           Fuck you Hubbard!

179   Student 5:         [Garbled] from shit like you.. They can’t protect you forever, you better believe
180                      that. You can’t hide from us. We see you in there Hubbard.

181   Filming Student:   We see you pedo. We’re out here for little kids like that in the neighborhood that
182                      didn’t now they’re living next to a pedophile.

183   00:26:30

184   Student 5:         Bet you feel we’re making you feel real small right now, but it’s the least you
185                      deserve. Because you advocate for the rape of children. It’s not over for you,
186                      we’re going to keep fighting until you’re out of this city. You are not safe here.
187                      You’re not safe in your home. You’re not safe at UT. No, we’ve already gonna
188                      figure out the places you frequent in the city but you are not safe.

189   Filming Student:   We’re going to find your local Starbucks you go to Hubbard.

190   00:26:58

191   Student 6(?):      Thomas K. Hubbard wrote in 2010 that boy’s sexuality is regulated with an…
192                      confusing legal regime than in any point in human history. He believes that
193                      children of any age should be able to participate in a sexual act with someone
194                      else of any age. What sick vile person would think this? … Hubbard promotes
195                      sexual violence against children. We as students of the University of Texas will
196                      not allow any man who advocates for pedophile to continue to live comfortably
197                      and without fear of the consequences of their actions. We will not stand by, we
198                      will not back down, and we will not be quiet. It is our responsibility to let
199                      Thomas Hubbard know that the victims of the crimes he views as acceptable
200                      [garbled]. The lies he tells children will not be tolerated…


                                                                                                              6
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201   00:28:33

202   Student:                The police won’t save you!

203   00:29:34

204   Filming Student:                         He’s getting a pig escort. Oh my gosh he’s finally out.

205   Student:                Who protects pedophiles?

206   Crowd:                  Pigs do, etc.

207   [Prof. Hubbard walks to vehicle and leaves Officers are shouted down.]

208   Filming Student:                         What a fucking coward

209   00:31:21

210   Student 2 (posted online):

211                           Hey y’all. So I want to start off by commending every single student who has
212                           participated in militant actions against abusive professors so far. The militant
213                           student struggle against the culture of abuse that thrives on UT’s campus is a
214                           powerful one, and it is intrinsically linked to the class struggle against sexist and
215                           racist cops! UT PD helped threaten students with arrest at the numerous sit-ins at
216                           the tower, and that’s because the pigs, whether they work for the university or the
217                           city, don’t exist to protect the people! They exist to protect private property and
218                           the culture of abuse and exploitation that kills women!

219                           APD police lieutenant Dustin Lee has been charged with three felonies of sexual
220                           assault of a minor, one of which involves his own daughter, and he is still getting
221                           paid by APD. We’re not surprised about this fact, given that APD protects and
222                           promotes abusers just like him to positions of power. Even though he has a
223                           history of documented sexual harassment, he’s still been able to rise to the ranks
224                           of lieutenant. Another APD police officer named Jason Dusterhoft was fired for
225                           strangling a woman he met on tinder and for assaulting strippers at a nightclub.
226                           Men like Thomas Hubbard want to amplify the very abuse that thrives in the
227                           ranks of APD. Under capitalism, children’s rights are far and few between, so it
228                           makes sense that this capitalist system would protect scum like Hubbard. (Crowd
229                           boos)

230                           Both of these pigs were hired by the former police chief Art Acevedo, who once
231                           slept with a lower ranking female officer and showed her nudes to their
232                           coworkers and has also been complicit in the systematic ignoring of rape kits of
233                           thousands of women. These cops are not just “bad apples” or representative of
234                           isolated instances of abuse. The cops are the enemies of the people who protect
235                           private property, which is the root of women’s oppression. Working class women
236                           everywhere are not surprised when one after another cop is charged with battery,

                                                                                                                 7
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237                      assault, or homicide of their partners or people they claim to serve and protect.
238                      We know that these abusive pigs do not protect us and they only serve the ruling
239                      class.

240                      We cannot achieve liberation under a capitalist system; voting for reforms or
241                      trying to hold “discourse” with these pigs is not the solution to our root issue.
242                      Non-profits act as a band-aid within the capitalist system, and they are oftentimes
243                      underfunded by the government, as we’ve seen happen recently in Austin with
244                      Planned Parenthood getting their funds pulled. The job of the police is to defend
245                      private property and maintain the capitalist order. Even when cops aren’t busy
246                      abusing women or molesting their own children, they ignore abused women’s
247                      pleas for help. We saw this play out in the tragic murder of Veneranda Martinez-
248                      Gutierrez, a woman who was killed by her abusive husband in front of her
249                      children at a gas station in Riverside. While her husband was stalking her before
250                      her murder, she filed several complaints and the Austin Police Department did
251                      nothing! The pigs have her blood on her hands!

252                      The only way to change the system and improve the conditions of working-class
253                      women is a proletarian revolution. The only way to achieve women’s liberation
254                      from abuse and exploitation under a capitalist system is by forcibly taking the
255                      power from the ruling class. Only then will the working class be liberated from
256                      the chains of oppression and defeat once and for all abusers like Dustin Lee and
257                      Justin Dusterhoft who have systematically been protected and reward by APD.
258                      Only then will student women be free from the tyranny of abuse and sexual
259                      violence that looms over them every single day. We say no more, we will not sit
260                      by idly and hope one day things will change under this exploitative capitalist
261                      system. We will organize the working class together and confront our abusers
262                      until we reach liberation through revolution!

263

264   00:36:30

265   Student 7:         Hey y’all, so we’re out here because Thomas Hubbard just got a police escort out
266                      of his house by these guys right here…

267   00:40:25

268   Student 2:         You know, isn’t it interesting that we as a group are more likely to get arrested
269                      for not leaving his private property than he was for advocating for the rape of
270                      kids. How do you live with yourself? How do you sleep at night?.. These people
271                      hate you so much. I hope it makes it hard for you to sleep at night. And even if it
272                      doesn’t, it doesn’t matter, because we won’t stop.

273   00:44:27



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274                           All the neighbors, if you don’t know what’s going on right now. The police
275                           escorted a pedophile out of the neighborhood. Professor Thomas Hubbard he
276                           cannot hide any longer. Students will not stand for his history of promoting
277                           relationships between men and underage boys. He uses classical texts to promote
278                           child abuse and rape. That’s disgusting. He wants to lessen age of consent laws,
279                           etc… He’s a danger to all students and to everyone in the community… we will
280                           make sure he never promotes pedophilia and the culture of rape. We will fight
281                           against you with everything we have. The pigs should be afraid. He is not safe
282                           from our anger anywhere, not at work, not at home, and not in Austin…

283

284   00:50:39 [Video Ends]




                                                                                                             9
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                                      Replying to @FireTheAbusers                                                   US news
                                      pitchforks                                                                    Documents appear to show
                                                                                     1                              former US ambassador to …

                                      Nathan @LabelsAreLazy · Dec 10, 2019
                                                                                                                  Trending in United States
                                      Replying to @FireTheAbusers
                                                                                                                  Aaron Hernandez
                                      "you can't hide!" shout the masked children.
                                                                                                                  13.3K Tweets
                                           1                  1                      56
                                                                                                                    Television
                                      Fire The Abusers @FireTheAbusers · Dec 10, 2019
                                                                                                                    Netflix docuseries on forme
                                      1. We are adult women.                                                        NFL player Aaron Hernande
                                      2. We wore masks because we are students, and UT has historically sided
                                      with this pedophile and other sexual predators on its faculty. It would
                                      jeopardize our academic lives and careers to show our faces in a publicly   Politics · Trending
                                      available video like this.
                                                                                                                  #NeverWarren
                                           11                 1                      10                           Trending with: #WarrenIsASn
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                                 miggs @ironmiggs · Dec 10, 2019                                              Trending in United States
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                                 Are these clowns from the left or the right? Can't tell anymore. ....        6,399 Tweets

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                                 Enduro Stepdad @pfastenberger · Dec 10, 2019
                                 Replying to @FireTheAbusers
                                 So what if he came outside? Then what? Did you have a plan?
                                                                                5

                                 Crawling Along @seacucumberesqu · Dec 10, 2019
                                 Replying to @FireTheAbusers
                                 Grounds for a lawsuit here?
                                     3                     1                    17

                                 1 more reply

                                 stephen @S___Elliott · Dec 10, 2019
                                 Replying to @FireTheAbusers


                                      stephen @S___Elliott · Dec 10, 2019
                                  Replying to @FireTheAbusers
                                  You said he was a known pedophile. None of this backs up that assertion.
                                  That's a big deal, to call someone a pedophile. It's a very serious
                                  accusation.


                                                           1                    23
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20+
      Notifications         and UT professor Thomas Hubbard at his own home.
                            Watch him run away, escorted by cops!
      Messages

                                 Fire The Abusers @FireTheAbusers · Dec 9, 2019
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                             twitter.com/i/broadcasts/1…

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                                                                                                                  Relevant people

                                                                                                                             Fire The Abusers
                                                                                                                             @FireTheAbusers
                              50:32   11.6K viewers
                                                                                                                             dedicated to the ter
                                                                                                                             professors guilty of
                                                                                                                             at The University of
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                                                                                                                  #MarieYovanovitch
                                                                                                                  20.4K Tweets
                                      Espen Bjerke @colher23 · Dec 10, 2019
                                      Replying to @FireTheAbusers                                                   US news
                                      pitchforks                                                                    Documents appear to show
                                                                                     1                              former US ambassador to …

                                      Nathan @LabelsAreLazy · Dec 10, 2019
                                                                                                                  Trending in United States
                                      Replying to @FireTheAbusers
                                                                                                                  Aaron Hernandez
                                      "you can't hide!" shout the masked children.
                                                                                                                  13.3K Tweets
                                           1                  1                      56
                                                                                                                    Television
                                      Fire The Abusers @FireTheAbusers · Dec 10, 2019
                                                                                                                    Netflix docuseries on forme
                                      1. We are adult women.                                                        NFL player Aaron Hernande
                                      2. We wore masks because we are students, and UT has historically sided
                                      with this pedophile and other sexual predators on its faculty. It would
                                      jeopardize our academic lives and careers to show our faces in a publicly   Politics · Trending
                                      available video like this.
                                                                                                                  #NeverWarren
                                           11                 1                      10                           Trending with: #WarrenIsASn
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  EXHIBIT E
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From: Dukerich, Janet M <janet.dukerich@austin.utexas.edu>
Date: Sat, Dec 7, 2019 at 4:57 PM
Subject: Re: plans for Spring
To: tkh@utexas.edu <tkh@utexas.edu>, Stevens, Ann H <Ann.Stevens@austin.utexas.edu>


Hi Tom – I was on a different part of campus for meetings for most of the day but when I did go to the Main building
around 3:00 I noticed that the group of students was fairly small and well behaved. I believe there were larger numbers
earlier but the tone wasn’t as militant as the second sit‐in outside of the Provost’s office.



I don’t think the university is trying to appease these students. I do think the administration is trying to engage with
students who are in leadership positions to understand their concerns (some of these concerns are also shared by
faculty, especially with regard to confusion and lack of transparency over the policies and procedures we have for Title
IX investigations).



I’m happy to bring your proposal up to the provost. It’s difficult to predict what will happen spring semester but I think it
is helpful to consider a number of different ideas.



Janet



JANET M. DUKERICH | Vice Provost for Advocacy & Dispute Resolution | Professor, Management | Harkins & Company Centennial
Chair | The University of Texas at Austin | Office of the Executive Vice President and Provost




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From: Thomas K Hubbard <tkh@utexas.edu>
Date: Saturday, December 7, 2019 at 1:51 PM
To: "Dukerich, Janet M" <janet.dukerich@austin.utexas.edu>, Ann Stevens <Ann.Stevens@austin.utexas.edu>
Subject: plans for Spring



Dear Janet and Ann:

Does the Dean of Students Office or UTPD have any estimate of how many students actually attended their big rally
yesterday? I looked at it twice from a safe distance (the front porch of Garrison) and it appeared to me as if virtually
nobody was paying any attention to them at all. Students were just walking past as if they weren't there. This is not a
substantial enough group that the University should be trying to appease them to the extent it has. We can all hope that
this movement dies down by next semester, but I fear that it is only going to mushroom and grow with even more COLA
faculty being targeted for "bad ideas" rather than actual misconduct. They may see the media coverage as a major
victory.

   Nevertheless, the reputational damage to the University from Thursday's article in the Statesman, which was also
taken up nationally by The Daily Beast, is substantial. As you know, I feel that the response of University
Communications could easily be read as acknowledging that I had ideas "that harm people" (first sentence) and that I
might be guilty of some misconduct or violation of rules (third sentence). Neither you nor anyone else has yet given me
a specific explanation that would support such inferences.

   Perhaps it would be in both my and the University's best interest that the Provost's Office or COLA should form a
small committee to examine at least the most relevant works in my lengthy scholarly record (a few articles where I do
talk about contemporary social constructions of sexuality), send me any questions they have, and then make a more
definitive determination whether there is any merit whatever to the inflammatory charges that have been made,
initially over social media and now in mainstream press. I would nominate Prof. Lisa Moore (of English), who is the head
of the LGBTQ section of the Center for Women's and Gender Studies, to be on such a committee. She has known my
work and me for close to 20 years. Experts in criminal justice and developmental or educational psychology might also
be knowledgeable. All of my publications have been listed on my annual reports and submitted in full to my department
each year, and although this department has seen much conflict in the past (causing former deans to reduce it from 25
tenure‐track positions to 15), the department has never used my scholarly interests as grounds for attacking me.

   Once that committee has finished and released its findings, I would be willing to participate in a public forum to
debate these issues with anyone, including any faculty who have expertise. If the disgruntled student who claims to
speak for "Students for Safety" (if it even is a group) wants to participate, let her. Honestly, I don't think she and her
cohort are interested in detailed scholarly debate, but if they refuse to come, that will prove something in itself. For
students who have serious concerns about these allegations, including those in my own department, who are now
confused and distressed, it could be a useful learning opportunity to see how and whether cross‐cultural evidence
impacts contemporary policy issues. If it doesn't, then why study history at all?

   I am trying to come up with constructive proposals here to help both the University and me get over this crisis. Rather
than just pandering to student militants, we need to do what we do best, which is to educate them in the techniques of
careful scholarship and civil debate. Responsible citizens need to know how to engage their opponents' work with an
open mind, rather than immediately demanding they be "cancelled" and removed. If we cannot train our students to do
this, the future of democracy itself is in peril.

  Thomas Hubbard

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From: Thomas K Hubbard <tkh@utexas.edu>
Date: Fri, Nov 22, 2019 at 6:57 PM
Subject: Re: Introduction
To: Dukerich, Janet M <janet.dukerich@austin.utexas.edu>
Cc: Ochsner, David A <dochsner@austin.utexas.edu>, Shockley, Carmen L <cshockley@austin.utexas.edu>


Dear Colleagues:
Many thanks for your support during this trying time. I know that careful scholarly nuance can rapidly become distorted
by agenda‐driven social media in the hands of naive students or malicious scholarly rivals, which is why I have always
stayed off social media. I will this weekend draft a short response and run it by David. I do think it is important at the
very least that my own undergraduate students not be distracted by this circus at a very stressful time for them, as they
finish their papers and prepare for finals. I must at least set the record straight with them by issuing some kind of
statement. I am less concerned about the impact on graduate students and colleagues in Classics, as they have known
about my work for a long time and have sufficient historical understanding to know that statements about the social
functionality of historical sexual practices and constructions do not imply any endorsement of modern law breaking, but
can enrich scholarly understanding of the complex dynamics of change in social constructions. This is the research for
which the Guggenheim Foundation funded me in 2017‐18 (as UT's only Guggenheim Fellow that year, and one of only
two in Texas), so they at least felt that these were questions worthy of serious research. For tenured faculty to be
harassed for confronting difficult questions in their research and teaching strikes at the very core of why our university
exists.
    David, will you be available via e‐mail this weekend? There are a number of things I will need your help with, including
attacking the false information in Wikipedia and other amateur venues (which I have no experience in editing or
challenging, as I spend my time entirely on true scholarly publication). A reporter from the Daily Texan, who is a Classics
minor and might be sympathetic, has asked me for comment. I am afraid that if I make none, they will simply run a story
airing the claims of the other side. But how we go about it will need some real strategizing with an experienced public
relations specialist. Our goal should be to nip this in the bud with an effective and sophisticated response before it gets
into the local TV media.
    I attach the flyer that was handed to my 100+ students on Thursday to give you a sense of how inflammatory the
claims are. The student who lists herself as contact person dropped my course after missing one of the quizzes and then
failing the midterm exam with a grade of 48. When confronting me with her companions (including four activists inside
the auditorium whom neither I nor the TAs recognized as legitimate students), she struck me as a highly unstable
individual. Is this kind of protest organizing going to become the new norm for students who are failing a course?
    Dean‐Jones (the department chair) has not yet said a word to me about any of this, although she apparently knew
about it two days ago. This reminds me of the time her predecessor as department chair concealed a death threat
against me from a schizophrenic student (which I only found out years later in response to an Open Records request to
see my own file). It would be best that she be told by COLA to say nothing to the department until such time as David
and I can develop an effective response. Her judgment has been erratic lately, as she is facing stresses and disputes from
many directions.
    Many thanks to all for working with me. Getting the truth out is my first priority.
       Thomas K. Hubbard
       James R. Dougherty, Jr. Centennial Professor of Classics (and affiliate of CWGS, CES, and Rapoport Center for
Human Rights)

On Fri, Nov 22, 2019 at 6:14 PM Dukerich, Janet M <janet.dukerich@austin.utexas.edu> wrote:
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Thanks David. I know that the chair of the Classics department is really interested in guidance, especially with regard to
how best to communicate with possible faculty recruits, and graduate students.



Janet



JANET M. DUKERICH | Vice Provost for Advocacy & Dispute Resolution | Professor, Management | Harkins & Company Centennial
Chair | The University of Texas at Austin | Office of the Executive Vice President and Provost




From: "Ochsner, David A" <dochsner@austin.utexas.edu>
Date: Friday, November 22, 2019 at 5:57 PM
To: Carmen Shockley <cshockley@austin.utexas.edu>, "tkh@utexas.edu" <tkh@utexas.edu>
Cc: "Dukerich, Janet M" <janet.dukerich@austin.utexas.edu>
Subject: Re: Introduction



Hello Carmen,



I plan to visit with Ann Stevens on Monday. I will be in touch with all of you after we meet.



Best,



David

‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐

David A. Ochsner

Director | Office of Public Affairs

College of Liberal Arts

The University of Texas at Austin | 512.475.9712

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From: "Shockley, Carmen L" <cshockley@austin.utexas.edu>
Date: Friday, November 22, 2019 at 5:21 PM
To: "tkh@utexas.edu" <tkh@utexas.edu>, "Ochsner, David A" <dochsner@austin.utexas.edu>
Cc: "Dukerich, Janet M" <janet.dukerich@austin.utexas.edu>
Subject: Introduction



Dear David and Professor Hubbard,



I’m writing to introduce the two of you. I spoke with Professor Hubbard a little while ago. Our call was focused on
classroom management in the event of a disruption. During the course of the call Professor Hubbard said he would like
to talk about a strategy for counteracting the false claims being made about him. I offered to introduce the two of you
since that type of discussion and strategizing is outside of my expertise.



Sincerely,



Carmen



‐‐‐‐




CARMEN SHOCKLEY (she/her/hers), Assistant Vice President for Faculty Affairs

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From: Ochsner, David A <dochsner@austin.utexas.edu>
Date: Thu, Dec 5, 2019 at 7:16 AM
Subject: Re: the University's public response
To: tkh@utexas.edu <tkh@utexas.edu>
Cc: Dukerich, Janet M <janet.dukerich@austin.utexas.edu>


Dear Thomas,

I thought you were informed in advance that the university would respond. That was an oversight on my part.

As for the response itself, it clearly states the university’s support for First Amendment rights. The university’s appropriate
role in this case (and I have been involved in dozens of similar cases over the past 30 years here and elsewhere) is not to
defend an individual faculty member or engage in an intellectual debate on his or her behalf, but rather to uphold freedom of
speech for all faculty and students as guaranteed by the First Amendment. The university also asks of its faculty (per AAUP
guidelines) that they make every effort to indicate that they speak for themselves, and not for their profession, unit, or
institution, when they express opinions on controversial topics.

I will share your concerns with the dean and my colleagues in University Communications regarding this matter.

David

David A. Ochsner
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From: Thomas K Hubbard <tkh@utexas.edu>
Date: Wednesday, December 4, 2019 at 9:20 PM
To: "Ochsner, David A" <dochsner@austin.utexas.edu>, "Dukerich, Janet M" <janet.dukerich@austin.utexas.edu>
Subject: the University's public response

Dear David and Janet:
I have been 100% transparent with both of you in telling you exactly what I know about this crisis as soon as I learn of it.
Unfortunately, that has not been reciprocated from the University's end. Apparently, the University Communications response
was sent to my department chair as early as Monday morning, along with information that the Austin American‐Statesman
was going to run a story on these charges, but I never learned about the University response until today or the reporter's
inquiry until late Tuesday, when the reporter contacted me directly.
   I repeat below the University's incredibly lame and un‐intellectual response:
The university condemns ideas or world views that exploit or harm individuals. However, the study of controversial and even
offensive ideas is protected by the first amendment — as is the right of others to strongly disagree with and draw attention
to those ideas. If someone is alleged to violate university policy or takes actions that threaten the safety of the
campus community, the university will respond swiftly, investigating allegations thoroughly and imposing sanctions as
warranted.
Not once is the term "academic freedom" mentioned. Is this concept no longer recognized by the people who communicate
on behalf of the University of Texas? The response is problematic from multiple points of view. Just what are the "ideas or
world views that exploit or harm individuals"? Since this is the University's response to inquiries about me specifically, the
implication seems to be that the University regards my ideas as being in this category. How much time did anyone in either
the Provost's office or the university communications bureaucracy spend actually reading my publications (you have a list of
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the most relevant ones) to determine whether they contain ideas "that exploit or harm individuals"? The third sentence
seems to give credence to the notion that I may have violated university policy (please name which one) or taken actions that
threaten safety (again, specify one).
    Had I known Monday that this mealy‐mouthed equivocation was all you were going to say about me, rather than releasing
the careful and nuanced statement (or even a portion of the statement) that I sent you, I would have immediately responded
to the Statesman reporter rather than telling her to talk to David, who merely gave a non‐response that encouraged more
suspicion.
    Kowtowing to disruptive extremist groups by statements that appear to give credence to their concerns will not appease
them, but merely embolden them (and more knock‐off imitators who bear a grudge against one of their professors) to keep
adding more and more names to their hit lists. In my case, the attacks have now moved beyond protesting actual personal
misconduct by some faculty to attacking faculty by mis‐characterizing their ideas with McCarthyite guilt‐by‐association tactics.
If the University continues to pander to these groups, dozens of faculty whose work may in one way or another be
controversial will be attacked and smeared by partisans of both the political left and right. In my own case, this was generated
by a well‐connected and highly privileged student from the extreme right. I was at Berkeley in the 1970s, so I know just how
badly weak administrative responses to such attacks on university faculty hurt that university's public support and faculty
recruiting. Gov. Reagan cut the university's budget to the bone after the chaos that weak administrative management
enabled.
    Since David mostly seems concerned that my statement to the Statesman should not in any way appear to speak for the
University, I have had to revise the last two sentences of my statement. It previously read, "UT stands behind the academic
freedom of its faculty, as President Homer Rainey famously did...." I have now changed it to the following:

"UT has in the past stood behind the academic freedom of its faculty to research controversial issues, as President Homer
Rainey famously did in the 1940s when members of the Board of Regents directed him to fire some left‐leaning Economics
faculty. Whether UT’s current leadership will do so remains to be seen."

Let's stop treating Homer Rainey as a proud hero of UT history if we are not going to honor his legacy by adopting the same
principled stand in today's deeply polarized political environment.
   If the Provost's office wants to empanel a special committee to "investigate" me and read the close to 1000 pages of
published scholarship I have written on these matters (not even counting the three books and scores of articles I have
published on other topics), it will be a complete waste of time. They won't be able to find anything that supports the
inflammatory charges made against me by students who have at most read one article and not competently understood it. I
have never said anything, either in writing or in speech, that is more radical than proposing that we should look at how
European countries handle age of consent and sex offenders. If that is enough to justify an inquisition, then academic freedom
truly is dead at this institution.
   Please inform me immediately of any further statements University Communications makes about me and any further
student social media chatter making allegations about me. There was social media chatter and great distress among the
students in our department over a week ago that I have only been informed about today; students in my course wrote to the
department chair demanding an explanation two weeks ago, after the disruption in my classroom, but I was never informed.
The department chair has justified not telling me anything she knew because she simply assumed that the two of you were
doing it. Sadly, that has not been the case. The flyer handed out to students in my class referred to past complaints about my
views to the administration. Why was I never informed of those?
   The reputational damage to both me and the department has been substantial, and the University's poor communications
strategy and failure to keep me properly informed in a timely way has exacerbated the problems to the point that it is going to
be covered in tomorrow's newspaper. I do have documentation of a death threat some years ago from a schizophrenic
student that I was never properly informed about, so this seems to be a systemic and long‐standing institutional failure.
Instead of spending who knows how much money to hire more OIE personnel to investigate and harass faculty and staff over
trivial claims of students who have been encouraged to feel "victimized" by exposure to ideas they don't like, why not develop
some binding rules on administrative obligations to inform faculty of threats, complaints, and inquiries? This would cost far
less and do more to make this an attractive place for cutting‐edge faculty to work at. Is it any wonder that so many senior
faculty in my department and other COLA departments are opting for early retirement? Feel free to send this e‐mail up the
chain of command if you think it appropriate.
   Thomas K. Hubbard
   James R. Dougherty, Jr. Centennial Professor of Classics
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From: Ochsner, David A <dochsner@austin.utexas.edu>
Date: Mon, Dec 2, 2019 at 4:51 AM
Subject: Re: draft response
To: tkh@utexas.edu <tkh@utexas.edu>
Cc: Dukerich, Janet M <janet.dukerich@austin.utexas.edu>, Bakre, Shilpa P <shilpa.bakre@utexas.edu>


Thomas,

Thank you for sharing this. I am also cc’ing Shilpa Bakre in the President’s Office for her advice regarding media
outreach.

David

Sent from my iPad



        On Dec 1, 2019, at 2:42 PM, Thomas K Hubbard <tkh@utexas.edu> wrote:


        David:
        Wikipedia took me out of their article immediately and completely after I presented them with some
        counter‐evidence showing that I have publicly stated my disagreement with that group's approach.
        Reflecting this development, I have come up with a revised version of my statement in response to the
        various charges. As you suggested, I have put everything into the first person, but I still find the Q&A
        format the best one for teaching uninformed people about such complex issues. I have consulted with
        some friends who have long careers in journalism and academia in phrasing my statement this way.
           If the protest continues and there are media inquiries, I authorize you or University Communications
        to release this as my statement. A third‐person version of it will also be available on a non‐university
        website. If the reporter from the Daily Texan, Lauren Grobe, contacts me again, would you prefer that I
        refer her to you or should I just go ahead and release this document to her? There may prove to be no
        story here at all, if the student's planned protest fails to mobilize more than a few people.
           I am cc'ing Vice Provost Janet Dukerich, who at this point is the person handling the matter for the
        Provost's Office. This way, she will be fully informed of the truth when and if students invade her office
        with demands concerning me. Unlike the other protests, which concern allegations of personal
        misconduct, this one is attacking academic freedom at its core. Thanks,
           Thomas Hubbard

        On Mon, Nov 25, 2019 at 2:24 PM Thomas K Hubbard <tkh@utexas.edu> wrote:
          David:
          There is, fortunately, no Wikipedia entry for me. It is what Sarah Blakemore cites on her flyer: the
          Wikipedia entry for the North American Man/Boy Love Association, which has a section on "known
          associates." Sort of like Joe McCarthy smearing people for associating with this or that organization
          that had been labeled a "communist front organization." By that criterion, they could label me a
          communist because I once published an article in an East German publication in the 1980s. I'm actually
          a Libertarian, which is about as far from being a communist as one could be. I'll contact Jeff Graves to
          see what advice he has.
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  Thomas

On Mon, Nov 25, 2019 at 12:50 PM Ochsner, David A <dochsner@austin.utexas.edu> wrote:
Thomas,

You can request edits by clicking on “View Source” at the top of a Wikipedia entry. Is there a particular
entry that contains erroneous information? I couldn’t find it.

As for bloggers, that is a bit more challenging. Jeff Graves in UT Legal could probably shed some light on
this for you.

David


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David A. Ochsner
Director | Office of Public Affairs
College of Liberal Arts
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liberalarts.utexas.edu


From: Thomas K Hubbard <tkh@utexas.edu>
Date: Monday, November 25, 2019 at 12:25 PM
To: "Ochsner, David A" <dochsner@austin.utexas.edu>
Subject: Re: draft response

David:
It may be best to wait until after Thanksgiving, unless there is another demonstration outside/inside my
class on Tuesday. My understanding is that her planned rally is for the week after Thanksgiving. If her rally
turns out to be a dud with fewer than 10 people showing up, it may be best to ignore it. If, on the other
hand, it really draws a crowd, then we will need a response. What I have seen of her flyer and associates
does not suggest a high level of sophistication such as one might expect if her father were directly advising
her. She struck me as very neurotic and unstable. He may not even know about it yet, but she may have
acquired from him homophobic attitudes and the notion that misrepresenting people's ideas is a legitimate
modus operandi.
    I do not have a personal webpage, but I can get someone to create one for this issue when and if it
becomes necessary. I am not sure whether you have had your meeting with Dean Stevens yet, but I do
want to know how much help the University is willing to provide me in challenging the false information
someone recently put up on Wikipedia and certain libelous blogs that have been brought to my attention.
The best way to nip in the bud any claims her influential father may eventually make is to take down all the
pseudo‐evidence they are citing to support their McCarthyite guilt‐by‐association argument, which is about
all they have to go on, since they have of course never read my actual publications. Would this be
something Legal Affairs could help me with or is it better handled by the Communications professionals like
you? Please let me know who to contact. I am sure Wikipedia and the other web hosts will take it a lot
more seriously if challenges come from the University apparatus.
    Thomas

On Mon, Nov 25, 2019 at 12:05 PM Ochsner, David A <dochsner@austin.utexas.edu> wrote:
 Thomas,

 One other thing, if you choose to respond, it would be best to post it on your faculty page or personal
 website rather than on Canvas, which might raise new issues regarding appropriate use of that site.
 Please let me know if you have any questions.
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David
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David A. Ochsner
Director | Office of Public Affairs
College of Liberal Arts
The University of Texas at Austin | 512.475.9712
liberalarts.utexas.edu


From: "Ochsner, David A" <dochsner@austin.utexas.edu>
Date: Monday, November 25, 2019 at 10:55 AM
To: "tkh@utexas.edu" <tkh@utexas.edu>
Subject: Re: draft response

Thomas,

I have had extensive conversations with my colleagues in University Communications. They are advising
that you hold off on issuing a response, for the time being, and perhaps revisit this after the Thanksgiving
break, if necessary. That noted, you are of course entirely free to respond if you so wish. If that is your
choice, I would consider revising your response, trimming it down to the essentials (using first person,
summarizing with bullet points) rather than using the longer Q & A format. Just be aware that anything
you write will quickly go viral and reignite an issue that is possibly on the wane.

I will keep you posted on any further developments.

David
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David A. Ochsner
Director | Office of Public Affairs
College of Liberal Arts
The University of Texas at Austin | 512.475.9712
liberalarts.utexas.edu


From: Thomas K Hubbard <tkh@utexas.edu>
Date: Sunday, November 24, 2019 at 10:21 PM
To: "Ochsner, David A" <dochsner@austin.utexas.edu>
Subject: Re: draft response

David:
Here is some research a friend of mine did on the student‐organizer's father, who was Dan Patrick's main
campaign strategist. Andrew Cockburn, in Harper's, called him the "Darth Vader of Texas Politics." These
are very, very dangerous people who may test the University's commitment to academic freedom in a
way that has not happened since Homer Rainey's day. Dean Stevens needs to know the full background of
who we are up against here, and perhaps even President Fenves.
   Thomas

from Harpers
https://harpers.org/archive/2017/03/texas‐is‐the‐future/5/

There's a ton of material here on the Blakemore père formenting anti‐gay agenda for the political glory of
TX Republicans. The most notorious instance is this:

https://www.washingtonblade.com/2016/06/12/texas‐lt‐gov‐patrick‐denounced‐for‐offensive‐twitter‐
post/

other titbits ...
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https://www.metroweekly.com/2018/06/texas‐lt‐governor‐claims‐victory‐failure‐anti‐trans‐bathroom‐
bill/
https://www.texasmonthly.com/politics/master‐of‐the‐senate/
https://texasscorecard.com/local/briscoe‐cain‐carries‐the‐day/
https://www.houstonpress.com/best‐of/2003/people‐and‐places/best‐republican‐6604634
https://texasscorecard.com/local/briscoe‐cain‐carries‐the‐day/
http://www.offthekuff.com/wp/?tag=allen‐blakemore
https://gophq.com/quorumreport‐com‐after‐20‐years‐working‐together‐blakemore‐and‐hotze‐split‐up/

On Sun, Nov 24, 2019 at 2:05 PM Thomas K Hubbard <tkh@utexas.edu> wrote:
 David:
 One of my graduate students did some research on the former student who is orchestrating this
 campaign. Her father is a prominent Republican political publicist and campaign strategist in Houston. So
 this attack may be coming from the social conservative right, trying to piggy‐back on the recent Social
 Justice warrior protests to pursue their own anti‐LGBTQ agenda. The people I spoke to in the Provost's
 office said her "group" (if it even is one) is not one of those they had previously heard about or tracked. I
 hope that administrators will be willing to stand up against this kind of politicized intimidation of faculty
 whose viewpoints they may not like.
    Thomas

 On Sat, Nov 23, 2019 at 2:43 PM Ochsner, David A <dochsner@austin.utexas.edu> wrote:
  Thomas,

  Thanks for this. I will share with the dean ahead of our meeting on Monday. I will also consult with my
  colleagues in University Communications.

  David

  Sent from my iPhone

  > On Nov 23, 2019, at 2:28 PM, Thomas K Hubbard <tkh@utexas.edu> wrote:
  >
  > David:
  > Please find attached what I have come up with as a response to the flyer I sent you yesterday evening.
  The issues are sufficiently complex that they cannot be reduced to simple sound bites. Unless you
  advise me otherwise, I will post this on Canvas Monday afternoon so that my class can better
  understand what the attacks are about, and then send it to the reporter from the Daily Texan.
  > If in fact Dean Stevens is meeting with you over this issue Monday, please make sure she has both
  this document and the original flyer, so she has a full understanding of what is happening and the
  background to it. I really fear that President Fenves' actions in capitulating to the demands of
  demonstrators (and previously, Chancellor McRaven's initiative to waste $1.7 million on a study with a
  deeply flawed sampling technique and incompetently worded questions that vastly overestimated the
  incidence of rape and sexual harassment on our campus) have fueled this crisis, and incentivized the
  demonstrators to move beyond attacking faculty guilty of personal misconduct to now attacking faculty
  for their research, which the activists have not even taken the time to read or understand.
  > As I said in my previous e‐mail, it is best to keep Dean‐Jones out of it for the time being. She has a
  very questionable record of romantic involvement (and eventual marriage) with a graduate student and
  bullying of faculty in the department to give him favored treatment. Although I have gone to great
  lengths to work with her constructively, her administrative judgment, like that of her predecessor, is
  very poor, which is why Dean Diehl allowed the department to decline from 25 faculty lines to 15. I do
  not trust her to handle this matter competently.
  > Many thanks,
  > Thomas Hubbard
  > <Response to Flyer.docx>
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  EXHIBIT F
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          MORE FROM HOMEPAGE

          Former Cowboys safety Cliff            GM Arlington to move some               Why has Dallas-Fort Worth     Fired
          Harris elected to Pro                  temporary workers to full-              been so foggy this week?      sword
          Football Hall of Fame; Drew            time                                                                  Bisho
          Pearson falls short                                                                                          police

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     NEWS     POLITICS



     UT students protest at
     professor’s house over his
     writings on sexual relations
     between men and boys
     Some students say his research on pederasty promotes
     harmful ideas about sexual contact with minors.




                                                                                 TELL US WHAT MATTERS

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                                                                                 PUZZLES AND GAMES

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     The main building of the University of Texas at Austin.
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                                                     AL DÍA - NOTICIAS EN ESPAÑOL

                                                     OBITUARIES

                                                     TODAY'S EPAPER


By María Méndez
8:00 AM on Dec 17, 2019



AUSTIN — Students have staged several
protests at the University of Texas at Austin
this fall in response to faculty with previous
sexual misconduct policy violations
remaining in the classroom.

But last week, a smaller group of students
took a more aggressive approach, protesting
at the home of Classics professor Thomas K.
Hubbard for his writings on the age of
consent.

Hubbard has not been found guilty of any
sexual misconduct violations or crimes,
according to UT, and the university has
provided security for the professor in the
wake of the protest.

But some students say his research on
pederasty -- sexual activity between a man
and boy -- promotes harmful ideas about
sexual relations with minors.

The group live-streamed its Dec. 9 protest
on the Twitter account Fire The Abusers. A
group of women are seen in the broadcast
banging on the door of a house while
shouting, “Thomas Hubbard, come outside.
Pedophile, you can’t hide.”
         Case 1:20-cv-00767-RP Document 37-1 Filed 08/20/21 Page 159 of 225
Later in the video, Austin police escort
Hubbard out of the house. The department
confirmed receiving a call Dec. 9 at 6:03 p.m.         Featured Articles
Protesters dispersed around 6:54 p.m.
without any arrests, according to a police
spokeswoman.

An Austin eye care store near Hubbard’s
residence was also found vandalized the
morning of Dec. 9 with the words “Pedo
Hubbard, watch your back.” Employees told        ‹ Previous                   Next ›
The Dallas Morning News they found the
vandalism on the side of the business at
around 9:30 a.m. It was covered by that          Former Cowboys safety
                                                 Cliff Harris elected to
afternoon.                                       Pro Football Hall of
                                                 Fame; Drew Pearson
Members of Fire The Abusers declined to          falls short
provide comment on the record.
                                                 GM Arlington to move
Hubbard, 63, told The News he is “not            some temporary
personally oriented to underage youth” and       workers to full-time

has not been found to have committed any
crime or sexual harassment during his 40         Why has Dallas-Fort
                                                 Worth been so foggy
years of teaching.
                                                 this week?

“It is no more valid to conclude that scholars
who work on sex offender policy and the          Fired employee
                                                 brandished sword at
relevance of cross-cultural evidence are
                                                 customers at Bishop
themselves sex offenders than to think that      Arts restaurant, police
advocates of drug decriminilization [sic] are    say

themselves drug abusers or that advocates of
                                                 Learn how The News’
criminal justice reform are criminals,”          journalists reported a
Hubbard said in an email. “Such simplistic       series on an alleged
                                                 North Texas serial killer
thinking chills serious debate and research
on vital public policy issues.”
         Case 1:20-cv-00767-RP Document 37-1 Filed 08/20/21 Page 160 of 225
Hubbard said last week that a uniformed
police officer was patrolling his house and
that University of Texas police had been
driving by his residence every hour.

UT spokeswoman Shilpa Bakre said the
university is providing Hubbard with
ongoing support, counsel and security. She
said the “recent incidents directed at
Professor Hubbard are unacceptable.”

“Students have the right to contest specific
ideas, but threatening anyone’s safety
violates the law and university standards of
conduct,” Bakre said in an email. “UTPD is
concerned by these threats and actions
against our faculty members and will work to
protect them from harm.”

UT told the Austin American-Statesman
on Dec. 4 that Hubbard’s speech is protected.

“The university condemns ideas or world
views that exploit or harm individuals,”
Bakre said in an email. “However, the study
of controversial and even offensive ideas is
protected by academic freedom and the First
Amendment — as is the right of others to
strongly disagree with and draw attention to
those ideas.”



Hubbard told The News that his work on
pederasty focuses on the “romantic courtship
of adolescent males” in antiquity and that he
strongly believes in informed consent. He
noted that most relationships between men
         Case 1:20-cv-00767-RP Document 37-1 Filed 08/20/21 Page 161 of 225
and teenage boys in Greek literature and art
“had to be negotiated and mutually
consensual."

“How teen sexuality should be regulated and
how legal violations should be punished are
legitimate areas of research and debate
among scholars and public policy
professionals,” he said. “Historical and cross-
cultural evidence have a place in such
discussions.”

In a 2010 essay for the peer-reviewed
journal, Thymos: Boyhood Studies, Hubbard
questions modern age-of-consent laws,
calling them a “sad by-product” of a “naive
and self-righteous era.”

“Contemporary American legislation
premised on children’s incapacity to ‘consent’
to sexual relations stems from outmoded
gender constructions and ideological
preoccupations of the late Victorian and
Progressive Era,” Hubbard writes in the
essay, which serves as an introduction to
other essays on the subject. “We should
consider a different ‘age of consent’ for boys
and girls.”

But in that same essay, Hubbard notes that
“the present set of essays do not represent
any consistent program of legal reform, much
less advocacy of any particular sexuality, but
an effort to further serious intellectual
dialogue among the various academic and
professional disciplines...”
          Case 1:20-cv-00767-RP Document 37-1 Filed 08/20/21 Page 162 of 225
Hubbard said that some of his work has been
distributed by the North American Man/Boy
Love Association, a pedophilia advocacy
group. The group simultaneously published
Hubbard’s book Greek Love
Reconsidered with Wallace Hamilton
Press in 2000, according to the Statesman.

But Hubbard said that he does not “endorse
NAMBLA’s idiosyncratic approach to legal
reform” and that the group did not influence
his work.

Sarah Blakemore, a sophomore from
Houston, enrolled in Hubbard’s Classical
Mythology class this fall but dropped the
course after she found out about his
pederasty research.

“We'd like him to not be able to use the name
of the university while publishing articles
that have to do with all of this stuff, at least,”
she said. “Using his position to further this
cause is not something I think should be
going on in a public institution.”

Hubbard is the latest UT professor to face
protests from Fire The Abusers. The group
also disrupted a lecture in November to
confront Sahotra Sarkar, a philosophy and
integrative biology professor who was
disciplined by UT in 2017 after students
complained he talked to them about
swimming nude at beaches or posing nude.
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Blakemore said she and other students who
are concerned about Hubbard and other
professors have joined the Coalition Against
Sexual Misconduct. The students are calling
for the university to provide a list of all
professors with sexual misconduct
violations and remove them from teaching
or fire them.

The university has hired the firm Husch
Blackwell and formed a misconduct
working group to review its policies on
sexual misconduct, including whether or not
to publish online the names of professors
with violations.

The working group, which includes
university leaders, faculty, staff and students,
officially met for the first time last week and
discussed the protest at Hubbard’s residence,
according to an update from UT’s
provost. A student-led forum has also been
scheduled for Jan. 27.

Blakemore said the coalition is focused on
working with the university to address
concerns about faculty who have violated
policies. She said she thinks Fire The
Abusers’ approach can be damaging for
students who have been abused.

“We’re not going to people’s houses. We are
not interrupting classrooms,” she said. “It
can be really triggering to students.”
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         María Méndez, Politics Reporting Fellow.
         María Méndez is a politics reporter in The
         Dallas Morning News' Austin bureau.
         Send her politics and policy questions,
         news tips, or food recommendations!

             maria.mendez@dallasnews.com
             @anxious_maria




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Former Cowboys safety Cliff Harris                                   Meat Loaf sues Dallas hotel,
elected to Pro Football Hall of Fame; Drew                           convention after fall from stage that
Pearson falls short                                                  he’s still recovering from
BY DAVID MOORE

                                                                     Former Cowboys safety Cliff Harris
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                                                    2
GM Arlington to move some temporary                       elected to Pro Football Hall of Fame;
workers to full-time                                      Drew Pearson falls short
BY DOM DIFURIO



                                                    3
                                                          Why has Dallas-Fort Worth been so
Why has Dallas-Fort Worth been so foggy                   foggy this week?
this week?



                                                    4
BY JESUS JIMENEZ
                                                          On a night where Luka Doncic wasn’t
                                                          wonderful, Steve Kerr details why the
Fired employee brandished sword at                        Mavs’ star is so important for the
customers at Bishop Arts restaurant,                      NBA
police say



                                                    5
BY LOYD BRUMFIELD
                                                          Massive Plano development
                                                          threatened with foreclosure
Learn how The News’ journalists reported
a series on an alleged North Texas serial


                                                    6
killer                                                    Houston Rep. Sylvia Garcia named as
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                                                          Speaker Nancy Pelosi




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UT President responds to DMN on professor’s pedophilia writings
                          Case 1:20-cv-00767-RP Document 37-1 Filed 08/20/21 Page 167 of 225
        OPINION



       UT President responds to
       DMN on professor’s
       pedophilia writings
       University reviewing complaints




      The Main Building at the University of Texas rises over the campus in Austin. (Ilana Panich-Linsman/The New York Times)

      By Letters to the Editor
      6:33 PM on Dec 20, 2019




      To the editors:

      This week’s editorial by the Dallas Morning News sheds light on a heated debate that has
      been taking place on our campus surrounding the controversial scholarship of UT
      Austin professor Thomas Hubbard.


https://www.dallasnews.com/opinion/letters-to-the-editor/2019/12/20/ut-president-responds-to-dmn-on-professors-pedophilia-writings/[3/19/2020 1:23:05 PM]
UT President responds to DMN on professor’s pedophilia writings
                          Case 1:20-cv-00767-RP Document 37-1 Filed 08/20/21 Page 168 of 225


      Students, UT Austin community members and others are disturbed by Hubbard’s writings
      about sexual relations between teenagers and adults. I understand their concerns about his
      ideas. I personally find them outrageous.




      All faculty at UT Austin have broad academic freedom. This principle has been rooted in
      American higher education for generations, including the American Association of
      University Professors (AAUP) 1940 Statement of Principles on Academic Freedom
      and Tenure. However, the AAUP statement makes clear that teachers enjoy freedom in the
      classroom “… but they should be careful not to introduce into their teaching controversial
      matter which has no relation to their subject.”

      For the last few years, the university has assigned Professor Hubbard to teach Classics
      courses that do not relate to the controversial topics in his writings. But we are aware of the
      concerns and complaints about those classes this semester. We have been and are reviewing
      them and will take appropriate action, within the bounds of academic freedom and the
      constitutionally protected right to free speech.

      President Gregory L. Fenves

      The University of Texas at Austin




https://www.dallasnews.com/opinion/letters-to-the-editor/2019/12/20/ut-president-responds-to-dmn-on-professors-pedophilia-writings/[3/19/2020 1:23:05 PM]
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From: Dukerich, Janet M <janet.dukerich@austin.utexas.edu>
Date: Sat, Dec 21, 2019 at 7:55 PM
Subject: Re: Vicious editorial in the Dallas Morning News
To: tkh@utexas.edu <tkh@utexas.edu>, Dean‐Jones, Lesley A <ldjones@austin.utexas.edu>

Hi Tom – I’m going to try to respond as best I can (please don’t take offense, but you write very long emails so I might
miss something). I apologize for not alerting you about the editorial response from President Fenves. I thought you were
monitoring the DMN, and I have been dealing with other faculty who have a number of serious concerns.

While I was consulted during the day‐long discussion that occurred while President Fenves considered his response, I
was just one voice of many. Yes, I did read your article, as did many of the others who took part of the discussion. I really
can’t comment on the content of the president’s response – it reflect his position, and it is one that he took after much
reflection.

I did not ask Lesley why you did scholarship in this area and am not sure who did.

As for the review, no one is suggesting that there should be a review of your scholarship. However, there have been
several complaints about the content of the course material this past semester. When we receive such complaints, we
routinely ask dean’s offices to look into them. In this situation, and as you have suggested yourself, we think forming a
faculty group, drawn from your department as well as other relevant departments in COLA, to do a review would be a
good idea. It likely will lead to a conclusion that nothing in the classroom has been problematic, which will help us deal
with critics. I’m sure this committee, which your dean will form, will work with you on this review. I believe your dean
with likely form this committee at the beginning of the spring semester. You might direct questions to her about the
process.

I hope this response helps a bit. Janet

JANET M. DUKERICH | Vice Provost for Advocacy & Dispute Resolution | Professor, Management | Harkins & Company Centennial
Chair | The University of Texas at Austin | Office of the Executive Vice President and Provost


From: Thomas K Hubbard <tkh@utexas.edu>
Date: Saturday, December 21, 2019 at 3:35 PM
To: "Dukerich, Janet M" <janet.dukerich@austin.utexas.edu>, "Dean‐Jones, Lesley A"
<ldjones@austin.utexas.edu>
Subject: Re: Vicious editorial in the Dallas Morning News

Dear Janet:

I had genuinely hoped to be able to leave both of you alone over this holiday week and have time to recuperate myself
with my family in California. Now that someone else found the link for me, I can understand why you were too ashamed
to tell me about the President's disgusting statement to the Dallas Morning News, as you had promised to do in your
9:23 e‐mail on Thursday. I take it that you yourself were not at the meeting of the "top administrators" Thursday
morning. What this means is that no one who has been in direct contact with me was there, and the information they
had was at best third‐hand.



                                                              1
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   Fenves claims to be "personally outraged" by my views. Has he (a structural engineer with no background in history,
gender studies, criminal justice, or sexology), or for that matter anyone among the group that met with him and
composed his statement, actually read this article or my many other publications on the subject (including an
encyclopedia article that I was invited to write because of my expertise)? Or does he merely accept as a given truth the
tendentious misrepresentation by a bunch of muckraking newspaper editors who lack any academic background
whatever? I sent them to you. Have you yourself read them? Does anyone in University Communications hold a Ph.D.
and operate on a high enough intellectual level where they can actually talk with a true scholar to determine what his
views actually are? It has been amazing to me that none of them have ever corresponded with me before releasing their
half‐assed statements. Everything has gone through you, and you were not even at their meeting.

   What exactly are the "outraged" Fenves' views on age of consent? His letter doesn't say. Has he ever seriously
thought about the issue or read scholarship on it before? Does he believe that Texas' current law (17, with some very
complicated exceptions for 14‐16 year olds to be with persons close to their own age, but only if it is heterosexual)
should be eternally immutable and never subject to change or questioning by academics? Does he believe it should be
raised to 18, as in California, Florida, and federal jurisdictions? Does he believe it should be raised to 21 to lower the
incidence of campus rape? Or 25, since the young person's brain is not fully developed until that age? Or lowered to 16,
as in the majority of US states and Canada? Apparently he thinks it is "outrageous" to talk about European standards of
14‐15, which is the most I have ever advocated. If Fenves and his Communications gurus had actually read my article
(which I seriously doubt), they would have seen that I do not advocate complete abolition of age of consent, but
propose a different age for male and female teens, based on the many psychological studies showing that most males
(especially gay and bi‐sexual males) later evaluate their teen experiences (even with adults) as not harmful, whereas
most females regret them. The US Supreme Court (in Michael M. v. Sonoma County) has explicitly ruled this to be
constitutionally permissible.

    Someone (was it you?) apparently asked Lesley why I did scholarship on this issue, as if it were merely an irrelevant
bee in my bonnet, and she did her best to answer by reminding them that the University is constantly prodding us to be
"interdisciplinary" and show the relevance of history to debating issues in the present day. Why didn't this person ask
me directly? I could have given the full answer, which is that I am personally committed to criminal justice reform. I do
volunteer work and contribute much of my income to a foundation that works on the disproportionate enforcement of
criminal laws, including but not limited to the statutory rape laws, on sexual minority defendants. I have also written
scholarship on the topic, and know a lot more of the hard social science on it than anyone else at this university. I hate
seeing the lost human potential (not to mention the fiscal burden on the state) of well‐educated individuals with virtual
life sentences, who are rotting in prison because they became involved with some gay teen (or undercover police posing
as a gay teen) who went onto an adult website pretending to be 18 when they weren't. The rates of recidivism for such
individuals is much lower than for most other categories of crime. This is in an altogether different category from men
and women who abuse small children with no idea what they are being asked to do. But current law treats them the
same.

   It would have been nice if Fenves' statement had mentioned that I myself am the one who first proposed a formal
investigation of my work and teaching by the University ‐‐ not once, but twice in e‐mails to you. My first proposal was a
small faculty committee that would include Lisa Moore to represent the perspectives of LGBT faculty. My second
proposal was that the matter be referred to CCAFR. I received no substantive answer to either of these proposals, but
now I all of a sudden learn (through a letter to the newspaper that I had to find on my own) that an investigation has
been launched, with no advanced notice to me. What kind of due process is that? Who is doing the investigation? I
demand to know the names and titles of these people. If the grand inquisitors are all hard‐core ideological
victimologists, it will not be a fair and unbiased process. Why is CCAFR, the appropriate faculty committee, being
bypassed?

   I take great umbrage at Fenves' defamatory implication that I have introduced "irrelevant" material and advocacy into
my curricula. Of all faculty at the University, I am probably the person who does this least. I have not allowed get‐out‐
the‐vote activists into my classes (since it is totally irrelevant), I have not allowed discussion of the controversial campus
carry law (as many faculty did), etc. One cannot discuss ancient Greece or Rome without commenting on the differing
                                                              2
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social constructions of sexuality in those cultures, as most ancient authors deal with sexuality in one way or another
(Lesley will confirm this). To call this irrelevant advocacy threatens academic freedom fundamentally and makes it
virtually impossible to teach my fields, which include Gender Studies, Human Rights, European Studies (I am an affiliate
of all three centers), as well as Classics.

   I honestly don't know what I said in my classes that some alleged "students" could have found controversial. My
accusers are very short on the details. In my large lecture class on Greek Mythology this semester, we did briefly discuss
some pederastic myths such as Ganymede, Hyacinthus, Cyparissus, and Chrysippus, and noted that Greek elite attitudes
did interpret as "pedagogical" things we now view as sex crimes. I noted that Ganymede and Chrysippus were clearly
cases of non‐consensual rape (although in Ganymede's case he was compensated with immortal youth on Olympus, and
Chrysippus' rapist was later punished with murder by his own son, Oedipus), whereas Hyacinthus and Cyparissus
(beloveds of Apollo) were ongoing and apparently consensual relationships that were terminated by the boy's
premature death, and thus constituted myths of failed initiation. In all, my discussion of these particular myths couldn't
have taken more than about 20 minutes during the whole course of the semester. I said nothing about changing
contemporary laws.

    A few years ago, I taught some interdisciplinary Honors or Undergraduate Studies classes that were more directly
related to sexuality. In both my small seminar "Mythologies of Rape" and my larger lecture class "Sexual Politics and
Human Rights" we spent two weeks on the topic of Statutory Rape; the balanced readings included both some victim‐
oriented scholarship (two chapters from David Finkelhor's Sexually Victimized Children) and some non‐victimological
perspectives (Judith Levine's chapter in Harmful to Minors, some pages from Susan Clancy's The Trauma Myth, and my
own article that is now under attack). Although the student course evaluations weren't great and had various complaints
(too much reading, too hard to get an A, not enough time for student discussion in the big class, resentment of having to
attend a conference I organized at the end of the semester), I do not recall any complaints about my own article or
about the content of the Statutory Rape segment in either course. I once asked Undergraduate Studies Dean Paul
Woodruff whether there had been any complaints about the content of my courses in this controversial area, and he
said there had been none.
   I am completely dumbfounded. This is an orchestrated smear campaign started by a single well‐connected right‐wing
student, picked up by some violent Marxist/feminist groups, and now joined by major state media and the University
President himself. None of us are safe from this kind of harassment. As we all know from course evaluations, students
who are upset over having to work hard or getting bad grades can allege that we said something that bears no
resemblance to what we actually said, and administrators give it instant credence. In their view, "victims never lie.”

   Contrast Fenves' cowardly statement with the bold defense of Camille Paglia's academic freedom by the President of
her institution. She has said even more provocative things on the subject of pederasty than I have (see attached). I don't
think Homer Rainey responded to the Regents' demand that he fire left‐leaning Economics faculty by issuing a public
statement calling their economic theories "outrageous" and promising to "investigate" them.

   The University's past pandering to student radicals and media demagogues has been the igniter fluid to the current
protests against multiple male faculty, which the University has handled very badly. Our university is really at the point
of becoming a "pervasive hostile environment" for both male students and faculty (who are equally protected under
Title VII and IX). As I mentioned to you recently in another e‐mail, the current protests against male faculty were set
ablaze by President Fenves' and Chancellor McRaven's ill‐judged enthusiasm in promoting the deeply flawed CLASE
project, which over‐estimated the incidence of sexual assault and sexual harassment on our campus by using an
inaccurate sampling methodology, vague and contradictory questions, and many other basic errors. See my attached
two letters to President Fenves and the Regents on that subject, neither of which he has ever had the common courtesy,
professionalism, or intellectual depth to respond to. I believe his current actions may constitute retaliation for my having
the intellectual integrity to send those letters, which do pertain to some fundamental Title IX and EEO issues, and are
thus legally protected from retaliation. As you will see if you read the letters, I know a lot more about basic sexological
survey work than most humanities professors and even the headline grabbing social‐work "scholar" who was the lead
author of the $1.7 million CLASE documents. I also have a track record of having prevailed in a retaliation complaint


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against the University once before, that was finally settled by Dean Diehl giving me a substantial raise and removing
Lesley's predecessor as department chair.

  Please pass this e‐mail along to the Provost, President Fenves, and everyone else who was present at the meeting that
drafted Thursday's statement. Also pass it along to whoever the unnamed Grand Inquisitors are who Fenves says are
now "investigating" me, and ask them to start communicating with me directly rather than through third parties. I will
provide them every piece of information they want. Once the dust settles and some serious publications come out
chronicling the media smears, mob violence, and the University's confused response, I am afraid that the leadership of
President Fenves and his advisors is going to look very bad to historians, in contrast to Homer Rainey's heroic defense of
academic freedom. Although I had previously told you I would be willing to accept an early retirement package on very
modest terms, it will now be much more expensive for the University, as President Fenves' letter to the Dallas
newspaper leaves me under a dark cloud of suspicion that will hinder my future work in the non‐profit sector.

  Thomas K. Hubbard

  James R. Dougherty, Jr. Centennial Professor of Classics

On Thu, Dec 19, 2019 at 9:40 AM Dukerich, Janet M <janet.dukerich@austin.utexas.edu> wrote:

 I’m also very sorry to see this editorial and I can only imagine the great stress and anguish that all this has caused you. I
 will confer with the provost and then schedule some time with your dean and Leslie to talk about plans for next
 semester. With regard to your thoughts about retirement, we in the provost’s office can facilitate what will work best
 for you and the department.

 Janet

 Sent from my iPad

         On Dec 19, 2019, at 6:03 AM, Dean‐Jones, Lesley A <ldjones@austin.utexas.edu> wrote:

         I’m very sorry to see this Tom. I can imagine how frustrating it must be. Would it be possible to get one
         of the scholars who wrote for you for the Guggenheim, or even better, the foundation itself, to counter
         this?

         Best,

         Lesley.

         Sent from my iPad

         On Dec 19, 2019, at 1:48 AM, Thomas K Hubbard <tkh@utexas.edu> wrote:

                   Janet and Lesley:

                   Note that they themselves call my article a "hard read." Doesn't that reveal something
                   about the intellectual level of these editors? I doubt either of you would find it
                   particularly hard to read, as it was written for an interdisciplinary audience.

                     Tom

                   On Wed, Dec 18, 2019 at 11:43 PM Thomas K Hubbard <tkh@utexas.edu> wrote:

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  Who are these editors, none of whom have ever written a scholarly article, to judge
  whether my scholarship is "slovenly" and "unlearned"? You can see for yourselves the
  level of annotation and interdisciplinary scope of the article. It is precisely for
  scholarship on this topic that the Guggenheim Foundation gave me a fellowship in
  2017‐18. Do they give their coveted awards to "slovenly" and "unlearned" scholars?
  This unprincipled editorial will truly make public institutions in Texas look like an
  uninviting environment for scholars. It confirms people's worst stereotypes of the
  state.

      If the University feels it would be in its political interest for me to retire earlier than
  I planned, I have already told Lesley that I would be willing to consider that under
  certain conditions. But I will only agree to do so if I can retire with honor and no
  concessions to journalistic lynch mobs that mischaracterize serious scholarship in this
  repugnant manner.

     Tom

  On Wed, Dec 18, 2019 at 11:27 PM Thomas K Hubbard <tkh@utexas.edu> wrote:

   https://www.dallasnews.com/opinion/editorials/2019/12/18/a‐ut‐professor‐advocates‐pedophilia‐why‐are‐we‐paying‐for‐it/


   Janet:

   This editorial is the worst thing yet. Whoever wrote it is so uninformed that they do
   not know the definition of "pedophilia" in the DSM (Psychiatry's handbook) and
   missed all of the nuances of my paper, which is about mutually consensual
   relationships with adolescent boys, as practiced by the Greeks with no evidence of
   psychological harm to the mainly elite adolescents, not pre‐adolescents. These are
   "criminal" only because the US defines them as "criminal," when Germany, Austria,
   Italy and most other European states don't. What circular logic!

      This almost certainly is driven by the politically powerful father of the right‐wing
   student who started all the trouble. This kind of misleading and ignorant editorial is
   even more threatening to academic freedom than anything the mob at my house
   did, and appears to call for less state funding of UT. As if taxpayer money is the
   primary source of the University's support, which as we all know, it isn't. Thanks for
   anything you can do. I am at my wit's end, already driven to serious PTSD that this
   politicized attack on scholarship only exacerbates. This demagogy is nothing short of
   an attack on the University itself, and may be the opening salvo in Lt. Gov. Patrick's
   next assault on sexual minorities and educated people everywhere.

      I attach the actual paper they are mischaracterizing. Read it for yourself and
   consider whether it is a fair representation of the full context of what I say. I
   nowhere argue for a complete abolition of age of consent laws, but merely some
   reforms that recognize that not all behavior simple‐minded people mislabel as
   "pedophilia" is as monstrous and harmful as zealots assume. The same point was
   made in the most thorough (and never refuted) meta‐analysis published in
   Psychological Bulletin 1998 (the top journal in academic psychology). At this point, I
   honestly don't feel I can respond to such anti‐intellectual drivel myself.

       Tom

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Rachel Mathisen

From:                Thomas K Hubbard <tkh@utexas.edu>
Sent:                Tuesday, August 18, 2020 3:49 PM
To:                  Sherrard (Butch) Hayes
Cc:                  Hillary Johnson; Rachel Mathisen
Subject:             Fwd: Cut it off!




‐‐‐‐‐‐‐‐‐‐ Forwarded message ‐‐‐‐‐‐‐‐‐
From: Scotty Savage <ss029020@gmail.com>
Date: Sat, Aug 15, 2020 at 4:05 PM
Subject: Cut it off!
To: <tkh@mail.utexas.edu>


You are one sick man! You need to go to the guillotine! Only I wouldn't want you head in there... the 1st time!




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Rachel Mathisen

From:              Thomas K Hubbard <tkh@utexas.edu>
Sent:              Tuesday, August 18, 2020 3:51 PM
To:                Sherrard (Butch) Hayes
Cc:                Hillary Johnson; Rachel Mathisen
Subject:           Fwd: Pederastic Intimacy




‐‐‐‐‐‐‐‐‐‐ Forwarded message ‐‐‐‐‐‐‐‐‐
From: Frank Tillman <frtillman@gmail.com>
Date: Wed, Jan 22, 2020 at 2:13 PM
Subject: Pederastic Intimacy
To: <tkh@mail.utexas.edu>


  Professor argues it should be legal for grown men to have sex with children. Let that sink in.

Is this you?
If it is you are a sick bastard and you deserve an severe ass whooping.
If you touch a child you should be put out of your misery.




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    EXHIBIT I
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Subchapter 10–400. Enforcement and Appeals
Sec. 10–401. Response to Violations
A student who violates a prohibition in this Chapter may be disciplined under the procedures in Chapter 11 of the Institutional Rules. A registered
student organization or a sponsored student organization that violates a prohibition in this Chapter may be disciplined under Chapter 6 of the
Institutional Rules. A member of the public who violates a prohibition in this chapter may be issued a criminal trespass warning (CTW) banning such
person from all or part of University property.

Sec. 10–402. Appeals
a. A University organization aggrieved by a decision under this chapter may appeal to the vice president by letter or by e-mail, also sending a copy to
   the decision maker, within fourteen days after the day the decision is announced. The appeal must contain the University organization’s name and
   mailing address, a concise description of the decision complained of, the University organization’s reasons for disagreeing with the decision, and
   the date the decision was announced.
b. When timely notice of appeal is received, the decision maker from the academic or administrative unit that controls the room or space will prepare
   and send to the vice president a copy of the written statement of the reason given for the decision. At the discretion of the vice president, both
   parties may present oral arguments to an appeal of the decision under this Chapter.
 c. The action of the vice president will be communicated by letter or by e-mail to the University organization and the decision maker within ﬁve days
    after the appeal and related documents have been received.

Sec. 10–403. Further Review by Petition
The issuer of a CTW or a decision maker, or the University person or organization may petition, by letter or by e-mail through the vice president, to
the president of the University to review the decision being appealed. The president may establish an ad hoc committee and refer the request to the
committee to review the request for appeal and afﬁrm or reverse the underlying determination. The committee reviews appeals solely at its discretion
as determined by a majority vote of the committee members. Petitioners do not have a right to this further review should the committee decide not to
provide it. Decisions by the committee to reverse or afﬁrm the underlying determination are made by a majority vote of the committee members.


Chapter 11. Student Discipline and Conduct
Subchapter 11–100. General Provisions
Sec. 11–101. Preamble
a. The University’s expectations for student conduct are grounded in the University Code of Conduct: “The core values of The University of Texas at
   Austin are learning, discovery, freedom, leadership, individual opportunity, and responsibility. Each member of the University is expected to uphold
   these values through integrity, honesty, trust, fairness, and respect toward peers and community.” University students are also expected to uphold
   the Student Honor Code: “As a student of The University of Texas at Austin, I shall abide by the core values of the University and uphold academic
   integrity.” University students are also expected to abide by all city, state, and federal laws and statutes and all regulations of the University and
   The University of Texas System. However, as a community of scholars, the University expects from its students a higher standard of conduct than
   that required simply to avoid discipline. The principles of the Student Honor Code together with the University Code of Conduct should govern
   and direct student conduct to promote a safe environment that is conducive to academic success and to ensure that each University student
   graduates ready to contribute to society as an ethical citizen.
b. This chapter contains regulations for dealing with alleged student violations of University standards of conduct in a manner consistent with
   the requirements of procedural due process and in accordance with The University of Texas System Rules and Regulations of the Board of
   Regents' Rule: 50101 and the Model Policy for Student Conduct and Discipline promulgated by the Ofﬁce of General Counsel of the University of
   Texas System. In addition to the general expectations for conduct set forth in subsection 11–101(a), subchapter 11–400 contains a description of
   prohibited conduct.

Sec. 11–102. Application and Jurisdiction
a. This chapter applies to individual students and states the function of students, faculty members and administrative staff members of the
   University in disciplinary proceedings.
b. A student is subject to discipline for prohibited conduct as outlined in subchapter 11-400 herein that occurs while the student is participating in
   off-campus activities sponsored by or afﬁliated with the University, including ﬁeld trips, internships, rotations, and clinical assignments.
 c. Students may be disciplined by the University for violating any standards of conduct on the campus or off of the campus when the incident occurs
    in connection with an institution-oriented activity, or when the incident has a substantial connection to the interests of the University, or when the
    behavior is prohibited by University policy regardless of where it occurs, even if they are or may be penalized by civil authorities for the same act.
d. University disciplinary action may be instituted against a student charged with conduct that potentially violates both the civil/criminal law and
   University policy without regard to the pendency of civil or criminal litigation in court or criminal arrest and prosecution. At the discretion of the
   dean of students, proceedings under this chapter may be carried out prior to, simultaneously with, or following criminal proceedings off campus.
   Determinations made and sanctions imposed under this chapter will not be subject to change because criminal charges arising out of the same
   facts that give rise to the violations of University rules were dismissed, reduced, or resolved in favor of or against the criminal law defendant.
 e. University disciplinary action instituted by the Ofﬁce of the Dean of Students will be based upon the “Preponderance of Evidence” standard.
 f. A student remains subject to discipline for prohibited conduct that occurs while suspended.
g. Adjudication of any alleged violation of institutional rules will advance procedurally under The Institutional Rules Catalog that is in effect on the day
   that the Ofﬁce of the Dean of Students receives notiﬁcation of the alleged violation and not the date on which the purported infraction is noted to
   have occurred.


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h. For allegations of conduct under Subsection 3-3031 of the Handbook of Operating Procedures that are assigned to Grievance Process Tracks
   A or B, the University Title IX Ofﬁce has primary authority and responsibility for administration of the allegation. In those instances, the dean of
   students will coordinate with the Title IX coordinator, as requested by the University Compliance Ofﬁce, to provide a discipline decision pursuant
   to that policy's processes. The provisions in this chapter do not apply to the administration of such allegations. This rule's provision does apply to
   allegations under 3-3031 that are assigned to Grievance Process Track C ("Track C").

Subchapter 11–200. Administration of Discipline
Sec. 11–201. Administration by Dean of Students
The dean of students has primary authority and responsibility for the administration of student discipline. The dean of students works cooperatively
with faculty members, hearing ofﬁcer(s) or the Student Conduct Board in the disposition of academic violations, with appropriate staff members in
the Division of Housing and Food Service in the disposition of residence hall violations, and with other appropriate staff members in the disposition of
other types of violations.

Sec. 11–202. Hearing Officer
The hearing ofﬁcer(s) will be appointed in accordance with procedures established by the president. The president may appoint an individual or an
ofﬁce to coordinate the work of the hearing ofﬁcer(s). To preclude any appearance of impropriety on the part of the dean of students, the selection and
training of hearing ofﬁcers is under the authority of the president’s ofﬁce and facilitated by the Vice President for Student Affairs.

Sec. 11-203. Student Conduct Board
The Student Conduct Board (SCB) will be appointed in accordance with procedures established by the Vice President for Student Affairs. The Vice
President for Student Affairs may appoint an individual or an ofﬁce to coordinate the work of the SCB. To preclude any appearance of impropriety
on the part of the dean of students, the selection and training of the SCB is under the authority of the president’s ofﬁce and facilitated by the Vice
President for Student Affairs.

 a. Composition. The SCB is composed of students, faculty and staff members.
     1. Student members must be currently enrolled in the University and cannot be an executive ofﬁcer of any legislative student organization.
     2. Student candidates for membership shall be recommended by a selection committee appointed by the Vice President of Student Affairs. The
        president will appoint the student members of the SCB upon the recommendation of the selection committee.
b. Chair. The chair of the SCB shall be appointed by the Vice President for Student Affairs.
 c. Panels. The SCB will act through panels appointed ad hoc for each hearing. Each panel shall be composed of ﬁve members or three members: four
    student members and one faculty/staff member, or two student members and one faculty/staff member. The panel foreperson will be selected by
    the SCB chair.
d. Quorum. A quorum of the SCB is a majority. A quorum of a panel of the SCB is a total of three SCB members. This panel quorum will be at least
   two students and one faculty/staff member.
 e. Jurisdiction. The SCB shall only hear matters concerning allegations of academic dishonesty, and general misconduct. The SCB shall not hear
    matters pertaining to Track C or violent conduct violations.

Subchapter 11–300. Definitions
In this chapter, unless the context requires a different meaning, the following deﬁnitions apply.

1. "Academic Sanction" means a sanction affecting a student's grade, including but not limited to the lowering of a grade on an assignment, test, or
   in the course.
2. “Advisor” means a single individual whom an accused student may elect to accompany him or her to a meeting with the dean of students or a
   hearing regarding an alleged violation of University policy. Because the accused student is solely responsible for presenting his or her case during
   the disciplinary process, an advisor may confer with and advise the accused student but may not advocate for the student in a meeting with the
   dean of students or in a hearing. A meeting with the dean of students or a hearing may be postponed no more than seven days after the original
   date to allow for an advisor to attend a meeting with the dean of students or a hearing. If an advisor is directly related to a disciplinary case or if
   the advisor’s presence poses a conflict of interest, the dean of students, the foreperson of the SCB panel, or the hearing ofﬁcer may dismiss the
   advisor from the meeting or hearing. Advisors may be dismissed from any disciplinary proceedings if they disrupt the process. If an advisor is an
   attorney, the dean of students may also be accompanied by an attorney.
3. “Complaint” means a written statement prepared by the dean of students before a Title IX related investigation or a hearing that outlines the
   alleged violation(s) of a Regents’ Rule, University regulation, or administrative rule to be investigated and resolved by the dean of students, the SCB
   or by the hearing ofﬁcer.
4. "Complainant” means a person who is reported to be the victim of prohibited content related to a Track C case.
5. “Day” means an 8:00 a.m. to 5:00 p.m. calendar day, and excludes weekends, University holidays, skeleton crew days, and days on which regularly
   scheduled classes are suspended due to emergent situations; “University holiday” and "skeleton crew days" means days identiﬁed in the holiday
   schedule published by the Ofﬁce of Human Resource Services. If a deadline deﬁned in this chapter falls on a Saturday, Sunday, University holiday,
   or skeleton crew day that deadline will be moved to the next day.
6. “Dean of students” means the dean of students of the University of Texas at Austin or the dean of students’ delegate or representative.
7. “Disciplinary decision” means a written decision determining that a student alleged to have violated the Regents’ Rules, University regulation, or
   administrative rule is, in fact, responsible for such alleged misconduct. The "disciplinary decision" includes the ﬁndings of fact in support of the
   decision along with the assessed sanction or sanctions, if any.



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 8. “Disciplinary record” or “student disciplinary record” means a student record as deﬁned in Sec. 9–202 of the Institutional Rules maintained by
    the dean of students in connection with a violation or an alleged violation of a Regents’ Rule, University regulation, or administrative rule. The
    disciplinary record may include complaints, notices, hearing records, disciplinary decisions, and other documents required under this chapter
    or deemed relevant by the dean of students. Disciplinary records may be disclosed to outside parties as dictated by subchapter 9–300 of
    the Institutional Rules.
 9. “Faculty member” means a person who is employed by the University for the purpose of teaching a class, and who has authority to assign grades
    for the class.
10. “Hearing ofﬁcer” means a person appointed by the president to conduct hearings of alleged violations of a Regents’ Rule, University regulation, or
    administrative rule.
11. "HOP 3-3031 Track C cases" or "Track C cases" refers to allegations of conduct that potentially constitutes Sex Discrimination, Sexual Exploitation,
    Unprofessional/Inappropriate Conduct, Retaliation, False Information or False Complaint, Interference with Grievance Process, as deﬁned in
    HOP 3-3031. These cases are investigated by the Investigations Unit in University Compliance Services and referred to the dean of students for
    discipline decision. Notwithstanding this Rule's provisions, for allegations covered under Handbook of Operating Procedures 3-031 Track A and
    Track B, initiation of the grievance process, investigation, hearing, any discipline determination, and appeal will be according to HOP 3-3031's
    provisions, which control for such allegations.
12. "Interim Disciplinary Action" means disciplinary action adverse to an Accused Student taken against the Accused Student before ﬁnding of
    responsibility for a policy violation. Interim Disciplinary Action may include suspension, suspension of a right or privilege, or a prohibition from
    entering campus or any part of campus.
13. "Appellate ofﬁcer" means a person designated by the president to issue ﬁnal decisions in a student disciplinary matter.
14. “President” means the president of the University of Texas at Austin.
15. “Respondent” means the person reported to be the alleged perpetrator of conduct related to a Track C case.
16. “Student” means a person who is currently enrolled at the University, or who is accepted for admission or readmission to the University, or who has
    been enrolled at the University in a prior semester or summer session and is eligible to continue enrollment in the semester or summer session
    that immediately follows, or who is attending an educational program sponsored by the University while that person is on campus, or who engaged
    in prohibited conduct at a time when he or she met the above criteria. For the purposes of this chapter, individuals who are not currently enrolled at
    the University remain subject to the disciplinary process for conduct that occurred while they were enrolled.
17. “Student Conduct Board” (SCB) means the entity or group of persons composed primarily of students, who along with faculty and/or staff, are
    appointed by the president, as provided in this chapter, to conduct hearings and issue decisions concerning academic dishonesty and general
    misconduct violations. The SCB shall not hear matters pertaining to Track C cases or violent conduct violations.
18. “Title IX” means Title IX of the Education Amendments of 1972, Pub. L. 92-318, as amended by section 3 of Pub. L. 93-568, 88 Stat. 1855, except
    sections 904 and 906 thereof; 20 U.S.C. 1681, 1682, 1683, 1685, 1686.
19. “Title IX Coordinator” means the employee of the University with major responsibility for Title IX compliance efforts and who is designated to
    handle complaints under Title IX.
20. “University” means the University of Texas at Austin. For the purposes of this chapter, "University" also includes all activities and programs
    sponsored by or afﬁliated with the University of Texas at Austin regardless of the actual location where such activities or programs occur,
    including but not limited to, ﬁeld trips, internships, rotations, and clinical assignments.
21. “Vice President for Student Affairs” means the Vice President for Student Affairs of the University of Texas at Austin and is the administrative
    ofﬁcer primarily responsible for the development and administration of policies relating to students, for the development and implementation of
    services to students, and for the initial preparation of institutional regulations that implement the Model Policy for Student Conduct and Discipline
    of The University of Texas System.
22. "Witness” means a person who may have information related to a complaint or referral.

Subchapter 11–400. Prohibited Conduct
Sec. 11–401. Conduct Expected of Students
As stated in subsection 11–101(a), the University’s expectations for conduct are grounded in the University Code of Conduct and the Student Honor
Code. While subchapter 11–400 outlines speciﬁc examples of prohibited conduct, the University expects from its students a higher standard of
conduct than the minimum needed to avoid discipline.

Sec. 11–402. Academic Dishonesty
 a. The dean of students or a faculty member may initiate disciplinary proceedings under subchapter 11–500 against a student accused of academic
    dishonesty.
 b. “Academic dishonesty” or “scholastic dishonesty” includes, but is not limited to, cheating, plagiarism, collusion, falsifying academic records,
    misrepresenting facts, and any act designed to give unfair academic advantage to the student or another individual (such as, but not limited to,
    submission of essentially the same written assignment for two classes or courses without the prior permission of the instructor), or the attempt to
    commit such an act.
 c. “Cheating” includes, but is not limited to, any actions or attempts to do the following:
     1. copying from another student’s test, paper, project, or other assignment;
      2. failing to comply with instructions given by the person administering a test, project, or other assignment, or given in conjunction with the
         completion of course requirements;




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    3. using or possessing materials that are not authorized by the person giving the test, project, or other assignment, including but not limited to
       class notes, calculators, electronic devices, and speciﬁcally designed “crib notes”; the presence of textbooks constitutes a violation only if they
       have been speciﬁcally prohibited by the person administering the test;
    4. providing aid or assistance to or receiving aid or assistance from another student, individual, or source, without authority, in conjunction with a
       test, project, or other assignment;
    5. discussing or providing information about the contents of a test with another student who will take the test;
    6. capturing or divulging the contents of a test or other assignment when the instructor has not given permission for students to keep or
       distribute such information;
    7. substituting for another person or permitting another person to substitute for oneself to take a class, a test, or any class-related assignment;
    8. using, buying, stealing, transporting, soliciting, or coercing another person to obtain answers to or information about an administered test,
       project, or other assignment;
    9. falsifying research data, laboratory reports, other academic work offered for credit, or work done in conjunction with the completion of course
       or degree requirements;
   10. taking, keeping, misplacing, or damaging the property of the University, or of another, if the student knows or reasonably should know that
       an unfair academic advantage would be gained by such conduct; or altering a test paper, project, or other assignment to gain an academic
       advantage.
d. “Plagiarism” includes, but is not limited to, the appropriation of, buying, receiving as a gift, or obtaining by any means material that is attributable
   in whole or in part to another source without any indication of the original source, including words, ideas, illustrations, structure, computer code,
   and other expression or media, and presenting that material as one’s own academic work being offered for credit or in conjunction with a program
   course or degree requirements.
 e. “Collusion” includes, but is not limited to, unauthorized collaboration with another person in preparing academic assignments offered for credit,
    and collaboration with another person to commit a violation of any section of the rules on academic dishonesty.
 f. “Misrepresenting facts for academic advantage” to the University or an agent of the University or The University of Texas System includes, but is
    not limited to, providing false grades or résumés; providing false or misleading information in an effort to receive a postponement or an extension
    on a test, quiz, or other assignment for the purpose of obtaining an academic or ﬁnancial beneﬁt for oneself or another individual; and providing
    false or misleading information in an effort to injure another student academically or ﬁnancially.

Sec. 11–403. Financial Transactions with the University
Students who owe debts to the University may be denied admission or readmission to the University and may have ofﬁcial transcripts, grades,
diplomas, and degrees to which they would otherwise be entitled withheld until the debt is paid. Students who write bad checks to the University
for tuition and fees will have their registration canceled. Bad checks written to the University for other purposes will subject the student to legal
and/or disciplinary action. Matters relating to student ﬁnancial transactions will be directed by the appropriate administrative ofﬁce to the Ofﬁce of
Accounting. See Regents’ Rules and Regulations, Rule 50303 for more information.

Sec. 11–404. General Misconduct
a. Notwithstanding any action taken on account of the violation by civil authorities or agencies charged with the enforcement of criminal laws, the
   dean of students may initiate disciplinary proceedings under subchapter 11–500, or make an incident report and determine discipline under HOP
   3-3031 when there is a ﬁnding of responsibility, against a student who
    1. Local, State, or Federal Law Violations - engages in conduct that may violate any provision of federal, state, or local laws, whether or not the
       violation occurs on University property or in connection with any University-oriented activity.
    2. Firearms, Dangerous Materials and Prohibited Items - possesses, uses, or displays ﬁrearms, facsimile ﬁrearms, ammunition, explosives, or
       other items that could be used as weapons, including but not limited to sticks, poles, clubs, swords, shields, body armor or make shift body-
       armor, masks, helmets and other garments, such as sporting protective gear, that alone or in combination could be reasonably construed
       as weapons or body-armor on property owned or controlled by the University, without written permission from the dean of students, unless
       authorized by federal, State or local laws; or, violates Policy 8-1060, Campus Carry, of the Handbook of Operating Procedures.
    3. Harmful Behavior - behaves in a manner that threatens or endangers the health or safety of any student or employee of the University, or of
       visitors to the campus.
    4. Sex or Gender Based Harassment violates the University's prohibition of sex discrimination, sexual harassment, sexual assault, interpersonal
       violence (including domestic violence and dating violence) and stalking as contained in HOP 3-3031.
    5. Theft and/or Property Damage - damages, defaces, destroys, tampers with, or takes without authorization property of the University, property
       belonging to any student or employee of the University, or property of a visitor on the campus.
    6. Hazing - violates the University’s prohibition of hazing as contained in Chapter 14 of the Institutional Rules
    7. Alcohol Misconduct - engages in unauthorized use or possession of alcoholic beverages in a University classroom building, laboratory,
       auditorium, library building, museum, faculty or administrative ofﬁce, intercollegiate or intramural athletic facility, residence hall, or any
       other campus area (see Regents’ Rules and Regulations, Rule 80102 for more information); or engages in the improper use, possession, or
       consumption of alcoholic beverages, including but not limited to underage possession of alcohol, underage consumption of alcohol, providing
       alcohol to a minor, public intoxication, minor driving under the influence of alcohol, driving while intoxicated.
    8. Illegal Drug Use and/or Possession - engages in the use, possession, or sale of an illegal drug or narcotic, or possession of drug paraphernalia.
    9. Individual and/or Unauthorized Group Disturbance - engages in speech, including but not limited to verbal, electronic, or written
       communication, that is directed to inciting or producing imminent lawless action and is likely to incite or produce such action.
   10. Unauthorized Access to Artiﬁcial Bodies of Water and/or Damage to Other Property - enters, walks, runs, lies, plays, remains, or is in the water
       of any fountain or other artiﬁcial body of water on the University campus that is not designed and maintained for recreational or therapeutic

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       purposes; dumps, throws, places, or causes to be placed any material, object, trash, person, animal, waste, or debris in the water of any
       fountain or other artiﬁcial body of water located on the University campus; or damages, defaces, or removes any portion of any fountain,
       monument, building, statue, structure, facility, tree, shrub, or memorial located on the University campus (see Regents’ Rules and Regulations,
       Rule 80110 for more information).
  11. Other Harassment under Subsection 13-204 of the Institutional Rules (Speech, Expression, and Assembly) or HOP 3-3020 - engages in
      harassment (p.     )
  12. Property - engages in unauthorized use of property, including keys, equipment, resources, supplies, buildings, or facilities owned or controlled
      by the University or The University of Texas System, including unauthorized entry into property, buildings, or facilities owned or controlled by
      the University or The University of Texas System.
  13. Unauthorized Use of Institutional Technology - engages in an inappropriate or disproportionate use of an information technology resource
      owned or controlled by the University or The University of Texas System or uses an information technology resource for an illegal, threatening,
      or intentionally destructive purpose; prohibited conduct includes, but is not limited to, circumventing system or network security, committing
      copyright infringement, transmitting unsolicited e- mail, sharing a University-issued password, falsifying an e-mail header, and using resources
      for personal ﬁnancial gain or proﬁt.
  14. Stalking - A course of conduct directed at a speciﬁc person that would cause a reasonable person to fear for the person's safety or the safety
      of others or would cause that person to suffer substantial emotional distress. A "course of conduct" means two or more acts in which a
      person directly, indirectly or through third parties, by any action, method, device or means, follows, monitors, observes, surveils, threatens
      or communicates to or about a person or interferes with a person's property. "Reasonable person" means a reasonable person under similar
      circumstances and with similar identities to the complainant. "Substantial emotional distress" means signiﬁcant mental suffering or anguish
      that may, but does not necessarily, require medical or other professional treatment or counseling. (Please note that Stalking here in 11-404(a)
      (14) is separate from the gender or sex-based stalking rule included in HOP 3-3031.)
  15. Gambling - engages in gambling, including in the residence halls.
  16. Providing False and Misleading Information
       A. Engages in the falsiﬁcation of academic records, including but not limited to altering or assisting in the alteration of any ofﬁcial record
          of the University or The University of Texas System and submitting false information or omitting requested information that is required
          for or related to any academic record of the University or The University of Texas System. Academic records include, but are not limited
          to, applications for admission, the awarding of a degree, registration materials, grade change forms, and reporting forms used by the
          Ofﬁce of the Registrar. A former student who engages in such conduct is subject to a bar against readmission, revocation of a degree, and
          withdrawal of a diploma; or,
       B. Furnishes false information to or withholds material information from any University ofﬁcial, faculty member, or staff member acting in the
          course of his or her duties; or,
       C. Alters or assists in the alteration of any ofﬁcial nonacademic record or document, including parking permits and athletic tickets, of any
          University ofﬁce or of The University of Texas System.
  17. Privacy Violation - engages in surveillance or recording of any type without the subject’s knowledge or consent in areas where there is a
      reasonable expectation of privacy and/or the broadcasting or distribution of such material including sexual exploitation as deﬁned under
      Handbook of Operating Procedures 3-3031(VII)(B).
  18. Disruptive Conduct
       A. otherwise engages in the following acts of inappropriate conduct that have the potential to interfere or disrupt the student learning or
          teaching function of the University: pranks, repeated contact of a harassing nature through a personal or electronic medium, and berating
          or otherwise abusive behavior; or,
       B. attempts to commit any violation of University rules or regulations, or to assist another person or persons in committing any violation of
          University rules or regulations; or,
       C. behaves in a manner that impedes, interferes with, or disrupts any University teaching, research, administrative, disciplinary, public service,
          learning, or other authorized activity
  19. Failure to Comply
       A. refuses to identify himself or herself to an institutional representative in response to a request when on any institutional property. A person
          identiﬁes himself or herself by giving his or her name and complete address, substantiated by a current driver’s license, voter registration
          card, or other ofﬁcial documentation, and by stating truthfully whether or not he or she is a student or employee of the University. An
          institutional representative includes any member of the Board of Regents; any executive ofﬁcer or administrative ofﬁcer of the system;
          any administrative ofﬁcer of the University; and any attorney, peace ofﬁcer, or security ofﬁcer of The University of Texas System or the
          University acting pursuant to the authority of Texas law. See Regents’ Rules and Regulations, Rule 80101, Number 2, Sections 3 and 4 for
          more information; or,
       B. engages in action that interferes with or obstructs the student disciplinary process. This includes, but is not limited to, failing to appear
          for a meeting when summoned by letter or e-mail to do so, failing to appear at or testify at a hearing, attempting to intimidate, harass, or
          unduly influence a potential witness or complainant, failing to timely complete educational outcomes assigned through the Restorative
          Practices Alternative under HOP 3-3031, and failing to complete disciplinary or administrative sanctions; or,
       C. refuses to identify one’s self to a University ofﬁcial, faculty member, or staff member acting in an ofﬁcial capacity; or,
       D. engages in any prohibited conduct while suspended for disciplinary reasons.
  20. Violent Conduct - engages in actual or threatened violent conduct against a person.
  21. Animal Cruelty - engages in conduct with an animal that may violate any provision of federal, state, or local laws, whether or not the violation
      occurs on University property or in connection with any University-oriented activity.



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   22. University System and Institutional Violations - violates any provision of the Regents’ Rules and Regulations of The University of Texas System,
       the rules and regulations of the University (including but not limited to administrative rules of campus ofﬁces), or speciﬁc instructions issued
       by an administrative ofﬁcial acting in the course of his or her authorized duties.
        A. In the case of disruptive activity on the campus of the University, neither the dean of students nor the president nor any representative of
           them will negotiate or attempt to negotiate with any person or persons so engaged. When such a situation arises, the dean of students
           or the president, or their representative, will take immediate action to utilize all lawful measures to halt and eliminate any and all such
           disruptive activities that come to their attention, and may initiate disciplinary proceedings under subchapter 11–500. See Regents’ Rules
           and Regulations, Rule 40502 for more information.

Sec. 11–405. Prohibition on Retaliation
Retaliation against a person who reports a potential violation under the Institutional Rules, assists someone with a report of a violation, or participates
in any manner in an investigation or in the resolution of a complaint made under the Institutional Rules is strictly prohibited and will not be tolerated.
Retaliation includes but is not limited to threats, intimidation, reprisals and/or adverse actions related to an individual’s employment or education. The
University will take appropriate steps to assure that a person who in good faith reports, complains about, or participates in an investigation pursuant
to this institutional rule will not be subjected to retaliation. Individuals who believe they are experiencing retaliation are strongly encouraged to ﬁle a
complaint with the University.

Subchapter 11–500. Disciplinary Procedures
Sec. 11–501. Investigation
a. When the dean of students receives information that a student has allegedly violated a Regents’ Rule, University regulation, administrative rule, city
   ordinance, or state or federal law, the alleged violation will be preliminarily investigated. Upon completing the preliminary investigation, the dean of
   students may:
    1. dismiss the allegation as unfounded; or
     2. summon the student for a conference and, after conferring with the student:
         A. dismiss the allegation; or
        B. proceed administratively under Sec. 11–504 in every case where the proposed sanction is not a suspension, including suspension of rights
           and privileges, academic sanction, or expulsion and in other cases where the student elects an administrative disposition; or
        C. prepare a complaint based on the allegation and proceed under subchapter 11–600 in cases where the proposed sanction is suspension,
           including suspension of rights and privileges, academic sanction or expulsion and the student does not waive his or her right to a hearing.
b. Any student who reports allegations of sex discrimination, sexual harassment, sexual assault, sexual misconduct, interpersonal violence (including
   domestic violence and dating violence), stalking, or Track C related allegations, either as a complainant or a third party witness, will not be subject
   to disciplinary action by the dean of students for using and/or consuming alcohol or drugs at or near the time of the alleged incident, provided that
   any such alcohol or drug use did not, and do not, place the health or safety of any person at risk.
 c. All proceedings will provide a prompt, fair and impartial investigation and resolution.
d. Track C allegations will be investigated in accordance with the procedure described in HOP 3-3031 and referred to the dean of students for
   disciplinary decision. Track C allegations may be resolved through the Restorative Practices Alternative in HOP 3-3031 rather than a formal
   investigation process.
 e. Scientiﬁc Misconduct or Misconduct in Other Scholarly Research
     1. If the information received by the dean of students makes allegations of possible misconduct in scientiﬁc or other scholarly research, the
        dean of students will refer the information to the Vice President for Research and/or the Research Integrity Ofﬁcer for further investigation
        in accordance with the Handbook of Operating Procedures, 7-1230. The purpose of the investigation is to: explore in detail the allegations;
        examine the evidence in depth; and, determine speciﬁcally whether misconduct has been committed, by whom, and to what extent. The
        investigation also will determine whether there are additional instances of possible misconduct that would justify broadening the scope
        beyond the initial allegations. The ﬁndings of the investigation will be set forth in an investigation report. The investigative report will then be
        provided by to the dean of students for adjudication of any academic integrity violations that may be outlined in the investigative report.
     2. Additional Information regarding the Scientiﬁc Misconduct or Misconduct in Other Scholarly Research can be found at http://
        www.policies.utexas.edu/policies/misconduct-science-and-other-scholarly-activities
 f. Investigations involving students enrolled in the Dell Medical School

     1. If the dean of students receives a referral involving a student enrolled in the Dell Medical School, the dean of students will notify the dean
        of the Dell Medical School or his/her designee. Prior to the ﬁnal resolution of an incident involving a student enrolled in the Dell Medical
        School, the dean of students shall consult the dean or designee to determine appropriate sanctions consistent with the professional standards
        outlined by the Dell Medical school and other applicable university rules.

     2. Additional information regarding the professional standards of the Dell Medical School can be found at https://dellmed.utexas.edu/student-
        policies.


Sec. 11–502. Interim Disciplinary Action
a. Pending a hearing or other disposition of the allegations against a student, if the continuing presence of the student is a potential danger to
   persons or property or a potential threat of disrupting the academic process or any activity authorized by the University, or in cases where actual or
   threatened violent conduct against a person is alleged, the dean of students may take such immediate interim disciplinary action as is appropriate
   to the circumstances. Appropriate actions include, but are not limited to, suspending the right of the student to be present on the campus
   (including to live in campus residence halls) and to attend classes, and otherwise altering the status of the student.


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b. A student who is suspended or whose status is altered under subsection 11–502(a) may meet with the dean of students to contest the interim
   disciplinary action taken by the University. A request for a meeting under this subsection must be made, in writing, within ﬁve days after the interim
   disciplinary action was taken. If requested by the student, such a meeting generally will be conducted within ten days after the request for a
   meeting is made, unless the student agrees in writing to a meeting at a later time. At the discretion of the dean of students, the ten-day period may
   be extended for a period not to exceed an additional ten days.
    1. During the meeting with the dean of students, the student may present documentation or other evidence for review by the dean of students in
       consideration of lifting or altering the interim disciplinary action. The dean of students shall issue a written decision within seven days of the
       meeting regarding whether the University’s decision to take interim disciplinary action should be reversed, altered, or otherwise left unchanged.
      2. The student may appeal the decision issued by dean of students under subsection 11-502(b)(1) by submitting a written appeal to the Appellate
         Ofﬁcer within three days from the date the dean of students issues his/her decision. The appeal will be reviewed solely on the basis of the
         written record of the case, any written materials submitted by the student, and the response to the appeal, if any, submitted by the dean of
         students. Oral argument will not be considered.
      3. The decision of the Appellate Ofﬁcer will be communicated in writing to the accused student and the dean of students within seven days
         after the appeal has been received by the Appellate Ofﬁcer. Appellate Ofﬁcer may approve, reject, or modify the interim disciplinary action in
         question or may require that the original decision be reconsidered for the presentation of additional evidence. The decision of the Appellate
         Ofﬁcer shall be ﬁnal.
 c. A student who is suspended or whose status is altered under subsection 11–502(a) is subject to further disciplinary action for prohibited conduct
    that takes place during the period of interim disciplinary action imposed under 11-502(a).

Sec. 11–503. Summoning a Student
a. The dean of students may summon a student to appear in connection with an alleged violation by sending a message to the student by letter or by
   e-mail at an address listed in the registrar’s records.
b. The message will direct the student to appear at a speciﬁc time and place at least three days after the date of the message if the message is sent
   by letter, or at least two days after the date of the message if the message is sent by e-mail. In cases involving allegations of actual or threatened
   violent conduct against a person, or Track C cases, the dean of students has the right to summon the student at least one day after the date of the
   message, by email, or phone number listed in the registrar’s records.
 c. The dean of students may bar or cancel the enrollment or otherwise alter the status of a student (or of a former student as described in subsection
    11–300(12) who fails without good cause to comply with a summons sent under subsection 11–503(a) until the student complies with the
    summons. A letter sent to an address listed in the registrar’s records, a letter hand-delivered to the student, or an e-mail message sent to the
    address listed in the registrar’s records will constitute full and adequate notice. The student’s failure to provide and to maintain current addresses,
    refusal to accept delivery of a letter, or failure to receive an e-mail message because the mailbox is full or the message is inappropriately forwarded
    will not constitute good cause for failure to comply with the summons. Policies on the use of e-mail for ofﬁcial correspondence are given in
    Appendix M (p. 200).
d. If an accused student fails to appear as directed in a summons the dean of students may proceed with a hearing before a hearing ofﬁcer based
   upon the information available.

Sec. 11–504. Administrative Disposition by the Dean of Students of Disciplinary Violations
Administrative disposition shall be used in cases where the proposed sanction is a sanction other than suspension, including suspension of rights and
privileges, academic sanction, or expulsion and may be used in cases where the proposed sanction is suspension, including suspension of rights and
privileges, academic sanction, or expulsion if the accused student agrees to waive his right to a hearing.

a. In cases where the accused student does not dispute the facts upon which the charges are based, the proposed sanction is not suspension,
   including suspension of rights and privileges, academic sanction or expulsion and the student agrees to the proposed sanction, the administrative
   disposition shall be ﬁnal and there shall be no appeal of the ﬁnding of misconduct or the sanction.
b. In cases where the accused student disputes the facts upon which the charges are based and the proposed sanction is not suspension, including
   suspension of rights and privileges, academic sanction, or expulsion the dean of students will inform the student of the charges, evidence,
   ﬁndings, and proposed sanction(s); give the student the opportunity to meet with the dean of students or his or her delegate to provide evidence.
   The dean of students will review all evidence, including the student’s response to the allegation, and determine whether the preponderance of
   evidence supports a ﬁnding that a violation occurred. If a violation is deemed to have occurred, the dean of students will assess sanction(s)
   pursuant to subchapter 11–700 that is appropriate given the allegation and the student’s disciplinary record, if any. The administrative disposition
   may be appealed to the appellate ofﬁcer. Both the ﬁnding of violation and/or the sanction may be appealed. If the accused student does not
   make a decision within ﬁve days of receiving notice of the administrative outcome, the matter shall be ﬁnal and the student must comply with the
   assessed sanctions issued by the dean of students or designee.
 c. An administrative disposition may be used in cases where the proposed sanction is suspension, including suspension of rights and privileges,
    academic sanction, or expulsion. A student who wishes to resolve his or her disciplinary case through an administrative disposition with the dean
    of students must waive his or her right to hearing reserving his or her right to appeal only the assessed sanction or sanctions to the appellate
    ofﬁcer in accordance with Sec. 11–803. A student who does not accept the administrative disposition developed as described in Sec. 11–504
    shall resolve the disciplinary case through a hearing before either a hearing ofﬁcer or, in academic dishonesty or general misconduct cases, a
    panel of the SCB in accordance with subchapter 11–600. The SCB shall not hear matters pertaining to Track C or violent conduct violations.
d. If the student fails to complete the assigned sanction or sanctions, the dean of students may pursue a separate rule violation under subsection
   11-404(a)(19b) and/or place a bar on the student’s registration until the sanction is completed.
 e. In Track C cases, the dean of students, subject to the Family Educational Rights and Privacy Act (FERPA) and other applicable law, shall:




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    1. proceed to resolve the matter before a hearing ofﬁcer unless both the accused student and the complainant agree to waiver the hearing
       procedures in accordance with subsections 11-504(b) or 11-504(c).
    2. inform the accused student and complainant as to any disposition of the case or if the accused student or complainant has chosen to proceed
       to a hearing.

Sec. 11–505. Disposition by Faculty Members of Academic Violations
a. When a faculty member has reason to suspect that a student has violated University regulations concerning academic dishonesty as deﬁned in
   Sec. 11–402, the faculty member may:
    1. refer the case to the dean of students, who will proceed under Sec. 11–501. The faculty member is not required to notify the accused student
       that the disciplinary referral has been made; or
    2. meet with the student(s) involved and discuss the alleged violation(s), the documentation and/or information that supports the charge, and the
       rights of the student(s) in the disciplinary process. After conferring with the student, the faculty member may dismiss the allegation or proceed
       under subsection 11–505(b) or subsection 11–505(c).
b. In any case where a student accused of academic dishonesty disputes the facts upon which the charges are based, chooses not to waive the right
   to a hearing, or chooses to have the case resolved by the dean of students, the faculty member will refer the matter to the dean of students, who
   will then proceed under Sec. 11–501.
 c. With the agreement of both the accused student and the faculty member, a case of academic dishonesty may be resolved through a faculty
    disposition. A resolution through a faculty disposition does not limit the possibility of additional sanctions being issued by the dean of students
    as dictated in subsection 11-505(d). Faculty dispositions are used in situations where the accused student does not dispute the facts upon which
    the charges are based, and the student signs a written waiver of the hearing. If, after hearing the accused student’s response to the allegation, the
    faculty member determines that the preponderance of evidence supports a ﬁnding that a violation has occurred, the faculty member will assess a
    sanction or sanctions pursuant to Sec. 11–702(a). After the student signs the faculty disposition, the faculty member shall send the signed form,
    the signed waiver of the hearing, and all relevant documentation (including copies of the academic assignment and course syllabus) to the dean of
    students. In extraordinary circumstances, if the sanction issued in a faculty disposition falls well outside the general scope of sanctions issued in
    similar cases, the dean of students may communicate with the faculty member to discuss a different sanction.
     1. A student who resolves his or her disciplinary case through a faculty disposition must sign a written waiver of his or her right to a hearing and
        may appeal only the assessed sanction or sanctions to the appellate ofﬁcer in accordance with Sec. 11–802.
    2. If the student fails to complete the assigned sanction or sanctions, the dean of students may pursue a separate rule violation under
       subsection 11-404(a)(19b) and/or place a bar on the student’s registration until the sanction is completed.
    3. A student who resolves his or her disciplinary case through a faculty disposition may be placed on up to one year of academic integrity
       probation, in addition to the sanction assessed by the faculty member.
d. In situations where the dean of students receives a faculty disposition signed by both parties, the dean of students may seek to impose a
   disciplinary sanction or sanctions in addition to the one assessed in the faculty disposition. Additional sanctions may be levied when the student
   has a prior disciplinary history or in other situations deemed appropriate by the dean of students. When assessing an additional disciplinary
   sanction, the dean of students may impose any general sanctions listed in Sec. 11-701 or Sec. 11-703 or any grade-related sanctions listed in
   subsection 11-702(a). A student who has been issued an additional sanction by the dean of students after signing a faculty disposition may elect
   to appeal both the grade-related sanction issued in the faculty disposition under Sec. 11-802 and appeal the additional sanction(s) issued by the
   dean of students as dictated by Sec. 11-803.

Sec. 11-506. Pending Academic Investigations and Q-Drops
a. A student may not drop a class if there are any pending investigations of Academic Dishonesty for the class in question.
b. Any drop assigned will not be considered ﬁnal until any investigations of Academic Dishonesty for the class in question are resolved.
 c. Any student who is found responsible for committing academic dishonesty and issued any sanction(s) will not be eligible to drop the class
    associated with the violation.
d. Any student who is found responsible for committing academic dishonesty and issued any grade-related sanction(s) will not be eligible to change
   the course grade to Pass/Fail or to Credit/No Credit.

Sec. 11-507. Alcohol and Drug Medical Amnesty Policy
Any student who seeks emergency medical assistance for him or herself or others for potential drug or alcohol emergencies may not be subject to
formal disciplinary action under this Chapter provided the student: (i) calls 911 when drug or alcohol poisoning is present or suspected; and (ii) stays
with the person until medical assistance arrives and cooperates with all emergency and law enforcement personnel. In the event a student calls
emergency medical services for another student experiencing a potential drug or alcohol-related medical emergency, the student who experienced the
medical emergency may not be subject to formal disciplinary action under this Chapter, as well.

Students eligible for amnesty will be required to participate in an educational program and may be referred for individual drug and/or alcohol
counseling, but may otherwise avoid formal disciplinary action under this Chapter. Students who receive amnesty who decline or fail to attend the
educational component or fail to comply with a counselor’s recommendations will become subject to formal disciplinary action under this Chapter.
Student Conduct and Academic Integrity will evaluate students’ eligibility for amnesty under this policy; amnesty is not automatic. Students may
receive amnesty under this policy on more than one occasion.

This amnesty policy applies only to university rules and policies; it does not preclude or prevent police or other legal actions except if the medical
assistance is related to a sexual assault as outlined in Texas Alcoholic Beverage Code, sections 106.04 and 106.05. This policy does not apply to other
prohibited behavior such as the sale of an illegal drug or narcotic.



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Sec. 11-508. Additional Amnesty Policy for Reporting of Certain Violations
Per Texas Education Code Section-51.9366, the University may not take any disciplinary action against a student for a violation of the Institutional
Rules under this chapter, who in good faith reports to the institution being the victim of, or witness to, an incident of sex discrimination, sexual
harassment, sexual assault, interpersonal violence (domestic violence and dating violence), stalking, or other Track C related allegations. This policy
applies to any violation of the Institutional Rules that occurred at or near the time of incident, regardless of the location at which the incident occurred
or the outcome of the disciplinary process. A determination that a student is entitled to amnesty is ﬁnal and may not be revoked. This policy does
not apply to a student who reports the student’s own commission or assistance in the commission of sex discrimination, sexual harassment, sexual
assault, interpersonal violence (domestic violence and dating violence) or stalking, or Track C related allegations.

Subchapter 11–600. Hearing
In cases where the proposed sanction is suspension, including suspension of rights and privileges, academic sanction or expulsion, the accused
student may elect to have the charges heard and determined by either a hearing ofﬁcer or, in cases of academic dishonesty or general misconduct,
by a panel of the SCB. The SCB shall not hear matters pertaining to Track C or violent conduct violations. If the accused student does not make a
decision within ﬁve days of receiving notice of the administrative outcome, the matter shall be heard by a hearing ofﬁcer. At the discretion of the dean
of students, the ﬁve-day period may be extended for a period not to exceed an additional ﬁve days.

In Track C cases, the complainant or the accused student may elect to have charges heard and determined by a hearing ofﬁcer. If the accused student
does not make a decision within ﬁve days of receiving notice of the administrative outcome, the matter shall be heard by a hearing ofﬁcer.

In cases involving allegations of actual or threatened violent conduct against a person, and within this rule's jurisdiction, the accused student may
elect to have charges heard and determined by a hearing ofﬁcer. If the accused student does not make a decision within ﬁve days of receiving notice
of the administrative outcome, the matter shall be heard by a hearing ofﬁcer.

Sec. 11–601. Duties of the Hearing Officer
 a. The hearing ofﬁcer will preside over the hearing and will
     1. determine whether the dean of students has satisfactorily performed the requirements of Sec. 11–603;
      2. except as otherwise provided in this chapter, determine whether observers may be present; observers will be limited to people attending the
         hearing for University training purposes;
      3. rule on the admissibility of evidence and on objections to the procedure;
      4. facilitate the hearing process, which includes removing from the hearing anyone who is disrupting the process;
      5. render a written decision, which will contain ﬁndings of fact and conclusions as to whether a violation has occurred;
      6. assess a sanction or sanctions;
      7. provide the student and the dean of students with a copy of the decision; and
      8. certify the hearing record.
b. The hearing ofﬁcer may question witnesses.
 c. The hearing ofﬁcer is entitled to have the advice and legal counsel from the Ofﬁce of General Counsel of the University of Texas System.

Sec. 11–602. Duties of the Student Conduct Board Panel
 a. The foreperson of the SCB panel will preside over the hearing and will
     1. determine whether the dean of students has satisfactorily performed the requirements of Sec. 11–603;
      2. conﬁrm the student’s election to a hearing before an SCB panel under subchapter 11-600;
      3. except as otherwise provided in this chapter, determine whether observers may be present; observers will be limited to people attending the
         hearing for University training purposes;
      4. rule on the admissibility of evidence and on objections to the procedure;
      5. facilitate the hearing process, which includes removing from the hearing anyone who is disrupting the process;
      6. by a majority vote of the panel, render a written decision, which will contain ﬁndings of fact and conclusions as to whether a violation has
         occurred; and assess a sanction or sanctions;
      7. provide the student and the dean of students with a copy of the decision; and
      8. certify the hearing record.
b. The members of the panel of the SCB may question witnesses.
 c. The SCB is entitled to have the advice and counsel from the Ofﬁce of General Counsel of The University of Texas System.

Sec. 11–603. Duties of the Dean of Students
The dean of students will

 a. set the date, time, and place for the hearing and notify the accused student of the date, time, and place;
b. arrange for recording the hearing as provided in subsection 11–608(f); and
 c. furnish a suitable room, necessary equipment, and clerical assistance for the hearing.

Sec. 11–604. Notice of Hearing
 a. The dean of students will notify the accused student by letter or by e-mail of the date, time, and place for the hearing. The notice will be delivered in
    person or sent by e-mail or postal mail to the student at an address listed in the registrar’s records.


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b. The notice will specify a hearing date at least ten days after the date of the letter or e-mail message, unless the hearing is being held under the
   conditions required in Sec. 11–502 or as speciﬁed in 11-604(c) and 11-604(d). A letter or an e-mail message sent to an address listed in the
   registrar’s records will constitute full and adequate notice. A letter will be considered to have been received on the third day after the day of
   mailing. An e-mail message will be considered to have been received on the second day after the day of sending the message. A student may
   request, in writing, that an earlier hearing date be set if feasible to arrange. The hearing ofﬁcer or the foreperson of the SCB panel for good cause
   may postpone the hearing and will notify the dean of students and the accused student of the new hearing date. The student’s failure to provide
   and to maintain current addresses, refusal to accept delivery of a letter, or failure to receive an e-mail message because the mailbox is full or the
   message is inappropriately forwarded will not constitute good cause for failure to comply with the notice. Policies on the use of e-mail for ofﬁcial
   correspondence are given in Appendix M (p. 200).
c. In Track C cases and cases involving allegations of actual or threatened violent conduct against a person, the notice will specify a hearing date of
   at least 5 days after the date of the letter or e-mail message.
d. In cases involving allegations of actual or threatened violent conduct against a person, the notice will specify a hearing date of at least 5 days after
   the date of the letter or e-mail message.
e. Notice sent under subsection 11–604(a) will:
    1. direct the accused student to appear on the date and at the time and place speciﬁed;
    2. advise the accused student of his or her rights:
        A. to a private hearing;
       B. to a live hearing, conducted with all parties physically present in the same geographic location or, at the dean of students' discretion, any or
          all parties, witnesses, and other participants may appear at the live hearing virtually;
       C. to have an advisor at the hearing
        D. to challenge the hearing ofﬁcer or the members of the SCB panel designated to hear the charges;
        E. to know the identity of each witness who will testify against him or her;
        F. to present testimony of witnesses, to present documentary and other evidence, and to argue in his or her own behalf;
       G. to cross-examine each witness who appears at the hearing and testiﬁes against him or her; and
       H. to appeal under Sec. 11–804;
    3. contain the name of the person appointed to act as hearing ofﬁcer or the names of the SCB panel appointed to hear the matter;
    4. contain the names of witnesses who may testify against the accused student, a brief summary of the testimony to be given by each, and a
       list of documentary and other evidence that will be offered against the accused student; the dean of students may supplement the list of
       witnesses and documents for good cause, as determined by the hearing ofﬁcer or the foreperson of the SCB panel;
    5. contain a copy of the complaint, which outlines the alleged violation(s); and
    6. notify the accused student that if he or she is advised by an attorney at the hearing, then the dean of students may be advised by an attorney
       at the hearing. An advisor may confer with and advise the dean of students or the accused student but may not question witnesses, introduce
       evidence, make objections, or present arguments to the hearing ofﬁcer.
f. In Track C cases, the dean of students shall provide, subject to the Family Education Rights and Privacy Act (FERPA) and other applicable law, if
   applicable, to the complainant the same notice given to the accused student. The complainant shall be advised in such cases that he or she has
   the right to:
    1. attend and participate in the hearing;
    2. have past sexual history with third parties excluded from evidence;
    3. provide testimony at the hearing in a manner that does not require the complainant to directly confront or to be directly questioned by the
       accused student while still preserving the accused student's right to challenge such testimony, including but not limited to the dean of
       students to providing testimony on the complainant's behalf;
    4. a live hearing, conducted with all parties physically present in the same geographic location, or at the dean of students' discretion, any or all
       parties, witnesses, and other participants may appear at the live hearing virtually;
    5. to have an advisor at the hearing;
    6. appear in person and have an advisor at the hearing;
    7. work with and provide input to the dean of students ofﬁce regarding witnesses and their testimony as well as other relevant evidence and
       argument in preparation for the hearing and any subsequent appeals;
    8. know the outcome of the hearing decision;
    9. appeal the hearing decision.
  10. submit a response to the accused student’s appeal.
g. In situations where a student fails to attend a scheduled hearing, the hearing ofﬁcer or, if applicable, the panel of the SCB will, at the time of the
   scheduled hearing, determine if the dean of students provided notice as dictated by subsection 11-604(b) and subsection 11-604(c). If the hearing
   ofﬁcer or a majority of the SCB panel determines that the dean of students provided notice as dictated by subsection 11-604(b) and subsection
   11-604(c), the dean of students may elect to hold the hearing without the student's participation or reschedule the hearing for a different date. If
   the hearing proceeds in the accused student's absence, the hearing will be conducted according to the provisions of subchapter 11-600 with a
   ﬁnal decision issued by the hearing ofﬁcer or a majority of the SCB panel as dictated by Sec. 11-609. Even in situations where the student does not
   attend the hearing, the hearing ofﬁcer’s or the SCB’s decision may be appealed to the appellate ofﬁcer under Sec. 11-804.




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Sec. 11–605. Preliminary Matters for a Hearing
a. Charges against more than one student that arise out of a single transaction or occurrence may, at the discretion of the dean of students, be heard
   together, but a student may request a separate hearing which the hearing ofﬁcer or, if applicable, the foreperson of the SCB panel may grant upon
   ﬁnding that a student has shown good cause for a separate hearing.
b. At least ﬁve days before the hearing date, the accused student will furnish the dean of students with a list of any witnesses who may testify on
   behalf of the student, together with a summary of each witness’s testimony and a copy of any documents and other evidence the witness may
   offer; the student may supplement the list of witnesses and documents for good cause, as determined by the hearing ofﬁcer or, if applicable, the
   foreperson of the SCB panel. In Track C cases and cases involving allegations of actual or threatened violent conduct against a person within at
   least three days before the hearing date, the complainant may furnish the dean of students with a list of any witnesses who may testify on behalf
   of the student, together with a summary of each witness’s testimony and a copy of any documents and other evidence the witness may offer; the
   student may supplement the list of witnesses and documents for good cause, as determined by the hearing ofﬁcer.
 c. At least ﬁve days before the hearing date, or three days in Track C cases or cases involving actual or threatened violent conduct against a
    person, the student will furnish the hearing ofﬁcer or, if applicable, the SCB panel with
     1. any objection that, if sustained, would postpone the hearing;
      2. the name of the advisor, if any, who will appear with the student, and the advisor’s relationship to the student; and
      3. a request for a separate hearing, if desired, and the grounds for such a hearing (if the dean of students has designated that the hearing will be
         held in accordance with subsection 11–605(a)).
d. At least ﬁve days before the hearing date, or three days in Track C cases and cases involving actual or threatened violent conduct against a
   person, the dean of students will provide to the accused student copies of documents that may be introduced at the hearing available to the
   accused student.
 e. In Track C cases, subject to the Family Education Rights and Privacy Act (FERPA) and other applicable law, copies of the information and/or
    documents submitted by the accused student and the dean of students as required by this section shall be promptly provided, if applicable, to the
    complainant. The complainant may submit a request to close the hearing to the hearing ofﬁcer prior to the hearing. The complainant will furnish
    the name of his/her advisor, if any, to the hearing ofﬁcer prior to the hearing.

Sec. 11–606. Challenges to the Hearing Officer or Members of the SCB Panel
The accused student may challenge the hearing ofﬁcer or any member of the SCB panel for an alleged lack of fairness or objectivity but is not entitled
to disqualify that person from serving. In Track C cases, the complainant may through the Ofﬁce of the Dean of Students, also challenge the hearing
ofﬁcer on the basis of a lack of fairness and objectivity. The challenge must be in writing, must state the reasons for the challenge, and must be
submitted to the hearing ofﬁcer or the foreperson of the SCB panel through the dean of students at least three days prior to the hearing. It will be up
to the hearing ofﬁcer or the challenged members(s) of the SCB panel, communicated in a written response, to determine whether they can serve with
fairness and objectivity. If the challenged person disqualiﬁes themselves, another hearing ofﬁcer or SCB panel member will be appointed.

Sec. 11–607. Hearing Procedure
a. The hearing is informal and closed, except that, with the consent of the accused student and the dean of students, the hearing may be open.
b. Although the hearing will proceed generally as follows, the hearing ofﬁcer or the foreperson of the SCB panel may adjust the sequence of the
   hearing as necessary to ensure fairness:
    1. the dean of students will submit a copy of the complaint/hearing letter into the hearing record.
      2. the hearing ofﬁcer or the foreperson of the SCB informs the accused student of his or her rights listed in subsection 11–604(e)(2).
      3. the dean of students and the accused student are each given the opportunity to make an opening statement; the accused student has the
         right to reserve his or her opening statement until after the dean of students has presented the University’s case.
      4. the dean of students is given the opportunity to present the University’s witnesses and evidence; during this time, the accused student may
         question any of the dean of students’ witnesses.
      5. the accused student is given the opportunity to present his or her witnesses and evidence; during this time, the dean of students may question
         any of the accused student’s witnesses.
      6. the dean of students and the accused student are each given the opportunity to present rebuttal evidence and argument.
      7. the dean of students is given the opportunity to present a recommendation on a sanction or sanctions.
      8. the accused student is given the opportunity to present a rebuttal and recommended outcome or sanctions.
      9. the dean of students is given the opportunity to present a closing statement.
   10. the accused student is given the opportunity to present a closing statement.
   11. the hearing ofﬁcer or a majority of the panel of the SCB decides whether a violation has occurred and assesses a sanction or sanctions in
       accordance with subchapter 11–700.
 c. In Track C cases, the following additional rights and procedures apply:
     1. the complainant may attend the hearing;
      2. the hearing ofﬁcer shall inform the complainant of his or her rights as listed in subsections 11-604(e)(2) and 11-608(b);
      3. the complainant may have an advisor present during the hearing;
      4. the complainant has the right to have past sexual history with third parties excluded from evidence;
      5. the complainant is given the opportunity to make an opening statement and has the right to reserve his or her opening statement until after
         the dean of students has presented the University’s case;
      6. the complainant has the right to question any of the dean of students’ witnesses and any of the accused student’s witnesses;



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    7. the complainant is given the opportunity to present his or her witnesses and evidence; during this time, the dean of students and the accused
       student may question any of the complainant’s witnesses;
    8. the complainant is given the opportunity to present rebuttal evidence and argument;
    9. the complainant is given the opportunity to present a rebuttal to the dean of students’ recommendation for sanction or sanctions;
   10. the complainant is given the opportunity to present a closing statement;
   11. the hearing will be closed at the complainant’s request.

Sec. 11–608. Evidence in Hearings
a. Legal rules of evidence do not apply to hearings under this subchapter; the hearing ofﬁcer or the foreperson of the SCB panel may admit and
   give effect to any evidence, including testimony and documentary evidence, that possesses probative value and is commonly accepted by
   reasonable people in the conduct of their affairs. The hearing ofﬁcer or the foreperson of the SCB panel will exclude irrelevant, immaterial, and
   unduly repetitious evidence. All evidence admitted during the hearing will be made a part of the record. The hearing ofﬁcer or the foreperson of the
   SCB panel will give effect to the rules of privilege recognized by law.
b. In Track C cases, the complainant shall be allowed to provide testimony at the hearing in a manner, as determined by the hearing ofﬁcer, that does
   not require the complainant to directly confront or be directly questioned by the accused student while still preserving the accused student's right
   to challenge such testimony. In addition, evidence of the complainant’s past sexual history with third parties will be excluded.
 c. Upon a hearing of the charges, the University has the burden of going forward with the evidence and the burden of proving the charges by the
    preponderance of evidence.
d. A witness will testify unless otherwise provided in these rules or if the testimony is privileged as recognized by law or is excluded by the hearing
   ofﬁcer. If a witness refuses to testify based on a privileged relationship recognized by Texas law, the hearing ofﬁcer or the foreperson of the SCB
   may require evidence of the relationship and/or seek legal counsel before making a decision on the assertion of privilege, even if such would
   require postponing the hearing.
 e. The hearing ofﬁcer or a majority of the SCB panel will decide whether a violation has occurred and assess an appropriate sanction or sanctions
    solely on the basis of admitted evidence. The accused student’s disciplinary record is deemed admitted into evidence during a hearing to help
    the hearing ofﬁcer or the SCB panel assess an appropriate sanction or sanctions. The decision as to the accused student’s responsibility for the
    violation at issue will be based solely on the evidence that pertains to that particular violation.
 f. A recording will be made of the hearing, under supervision of the dean of students. At the discretion of the dean of students, a court reporter may
    also be present to prepare a written transcript of the hearing.

Sec. 11–609. Disciplinary Decision
Before issuing the decision, the hearing ofﬁcer or the foreperson of the SCB panel will certify the hearing record as deﬁned in Sec. 11–610. If the
hearing is recorded and no transcript is requested, then the hearing ofﬁcer or the foreperson of the SCB shall certify the recording itself as a true and
correct record of the hearing. If a transcript is prepared, the transcript is considered part of the hearing record, and the hearing ofﬁcer may wait to
receive it before certifying the hearing record. The hearing ofﬁcer or the majority of the SCB panel will render a written decision as to whether the
accused student has committed a violation and will set forth ﬁndings of fact in support of the decision. The sanction or sanctions will also be stated
in the decision. The accused student and the dean of students will each be given a copy of the decision. The written decision is the ofﬁcial decision
on the matter from which any appeal is taken. The hearing ofﬁcer or the majority of the SCB panel should make every effort to complete the written
decision within ten days of receiving the transcript of the hearing. If the hearing ofﬁcer or the majority of the SCB panel is unable to issue the written
decision within ten days of receiving the transcript, he or she (or in case of a SCB panel, the foreperson) should contact both the accused student and
the dean of students to provide a date for completion of the written decision.

In Track C cases, subject to the Family Education Rights and Privacy Act (FERPA) and other applicable law, the dean of students shall, upon receipt of
the hearing ofﬁcer’s decision, forward copies of the decision to the complainant, if applicable.

In cases involving allegations of crimes of violence, as deﬁned in the Family Education Rights and Privacy Act (FERPA) and other applicable law, the
dean of students shall notify the alleged victim(s) of the ﬁnal outcome.

Sec. 11–610. Hearing Record
The hearing record consists of

1. a copy of the notice required under Sec. 11–604;
2. the recording of the hearing certiﬁed by the hearing ofﬁcer or the foreperson of the SCB panel and/or the transcript, if any, certiﬁed by the hearing
   ofﬁcer, the foreperson of the SCB panel, and the court reporter, together with all evidence admitted under Sec. 11–608;
3. a copy of the complaint/hearing letter, written motions and pleas; and
4. the disciplinary decision of the hearing ofﬁcer or the majority of the SCB panel.

Subchapter 11–700. Sanctions
Sec. 11–701. Authorized Disciplinary Sanctions
a. The dean of students, under subchapter 11–500, or the hearing ofﬁcer or the majority of an SCB panel, after a hearing under subchapter 11–600,
   may impose one or more of the following sanctions for violation of the University’s expectations of conduct
    1. written warning;
    2. disciplinary probation;
    3. academic integrity probation;


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      4. withholding of grades, ofﬁcial transcript, and/or degree;
      5. bar against readmission, bar against enrollment, withdrawal from the University or from a period of enrollment, and/or drop from one or more
         classes;
      6. restitution or reimbursement for damage to or misappropriation of University or University of Texas System property;
      7. suspension of rights and privileges, including, but not limited to, participation in athletic or extracurricular activities and residing in or entering
         University housing;
      8. an Academic Sanction including, but not limited to, a failing grade for a test, an assignment, or a class, cancellation of all or part of previously
         earned course credit;
      9. denial of degree;
  10. deferred suspension;
  11. suspension from the University for a speciﬁed period of time;
  12. expulsion (permanent separation from the University);
  13. revocation of degree or withdrawal of diploma;
  14. other sanction or sanctions as deemed appropriate under the circumstances.
b. If a violation of the University’s Institutional Rules, other than subsection 11–404(a)(11) of this chapter or Sec. 13–204 of the Institutional Rules, is
   committed because of the race, color, religion, national origin, age, disability, citizenship, veteran status, of a student or students directly harmed
   by the violation, such a discriminatory purpose will be treated as an aggravating factor for the purpose of determining the appropriate sanction
   or sanctions under subsection 11–701(a). For a complete set of cross-references to all regulation of harassment on the campus, see subsection
   13–204 (covering verbal harassment) of the Institutional Rules and 3-3031(V)(D) (covering harassment based on gender, sexual orientation, gender
   identity, or gender expression) of the Handbook of Operating Procedures.

Sec. 11–702. Authorized Academic Sanctions
a. When a student signs a faculty disposition under Sec. 11–505 for conduct constituting academic dishonesty as deﬁned in Sec. 11–402, the
   faculty member or the academic dean responsible for the class may impose one or more of the following grade-related sanctions:
    1. no credit or reduced credit for the paper, assignment, or test in question;
      2. retaking of examination or resubmission of assignment;
      3. failing grade or reduced ﬁnal grade for the class.
b. When a student signs an administrative disposition with the dean of students under Sec. 11–504 or is found by a hearing under subchapter 11–
   600 to have committed academic dishonesty as deﬁned in Sec. 11–402, the dean of students, the hearing ofﬁcer or a majority of the SCB panel, as
   the case may be, may impose any of the grade-related sanctions listed in subsection 11–702(a) and impose any of the general sanctions listed in
   Sec. 11–701 or 11-703.
c. If a student resolves his or her disciplinary case through a faculty disposition under Sec. 11–505, or an administrative disposition with the dean of
   students under Sec. 11–504, or is found by a hearing ofﬁcer or an SCB panel under subchapter 11–600 to have committed academic dishonesty
   as deﬁned in Sec. 11–402, the student may be placed on up to one year of academic integrity probation, in addition to any other sanction assessed
   by the faculty member, the dean of students, or the hearing ofﬁcer or the SCB panel. If the student has been found responsible for two or more
   academic dishonesty violations, suspension or expulsion as a potential sanction will be considered.
d. If a student is found responsible for a violation under Sec. 11-702 and is also enrolled in an academic program requiring a supplemental
   application in conjunction with application to UT Austin, a minimum grade point average to matriculate through the program as deﬁned in the
   Undergraduate Catalog, and a signed commitment to adhere to a program-speciﬁc honor code and/or code of conduct, removal from the program
   as a potential sanction will be considered by the dean of students.

Sec. 11–703. Pending Actions and Definition of Authorized Sanctions
a. The dean of students, the hearing ofﬁcer or a majority of the SCB panel may withhold an ofﬁcial transcript, grade, diploma, or degree of a student
   alleged to have committed a violation of a rule or regulation of The University of Texas System or the University that would reasonably allow
   the imposition of such sanction. The dean of students may take such action pending a hearing, resolution by administrative disposition, and/or
   exhaustion of appellate rights when, in the opinion of the dean of students, the best interests of The University of Texas System or the University
   would be served by this action.
b. As appropriate under the circumstances, the dean of students, the hearing ofﬁcer or a majority of the SCB panel may impose a bar against the
   student’s readmission or enrollment, may drop the student from one or more classes, or may withdraw the student from the University or from a
   period of enrollment. This bar may be temporary or permanent in nature. One or more of these sanctions may also be imposed on a student who
   fails to respond to a summons by the dean of students to discuss an alleged violation of the Regent's Rules and Regulations, University regulation,
   administrative rules, or the University's expectations of conduct. If imposed for failure to respond to a summons, the sanction or sanctions may be
   reversed when the student responds to the summons as requested.
c. “Written warning” means that the student has been notiﬁed that he or she has engaged in behavior that violated a rule or regulation of The
   University of Texas System or the University and that a further violation or violations of the regulations may result in more severe disciplinary
   action. The dean of students, the hearing ofﬁcer or a majority of the SCB panel may impose conditions related to the offense, such as counseling,
   educational seminars, or unpaid work assignments. Failure to meet the condition(s) will be considered an additional violation.
d. “Disciplinary probation” is a speciﬁed period of time during which the student is required to comply with speciﬁed terms and conditions that
   include not engaging in further conduct that would violate a rule or regulation of The University Texas System or the University. A further violation
   or violations will result in consideration of suspension. The dean of students, the hearing ofﬁcer or a majority of the SCB panel may impose




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   conditions related to the offense, such as reporting to the dean of students on a regular basis, counseling, educational seminars, or unpaid work
   assignments. Failure to meet the condition(s) will be considered an additional violation.
e. “Academic integrity probation” is a speciﬁed period of time during which the student is required to comply with speciﬁed terms and conditions that
   include not engaging in further academic conduct that would violate a rule or regulation of The University Texas System or the University. A further
   academic violation or violations during this time could result in the student’s suspension or expulsion. The dean of students, the hearing ofﬁcer or
   a majority of the SCB panel may impose conditions related to the offense, such as reporting to the dean of students on a regular basis, counseling,
   or educational seminars. Failure to meet the condition(s) will be considered an additional violation.
 f. “Restitution” is reimbursement for damage to or misappropriation of University property. Reimbursement may take the form of appropriate service
    to repair or otherwise compensate for damages. Other than in extraordinary circumstances deemed necessary by the dean of students, the
    University will not facilitate restitution between individuals for conduct-related occurrences.
g. Suspension of rights and privileges is an elastic sanction. The dean of students or the hearing ofﬁcer may impose limitations to ﬁt the particular
   case, as in the suspension of rights and privileges to enter or reside in University housing facilities. Suspension of eligibility for ofﬁcial
   athletic and nonathletic extracurricular activities prohibits the student on whom it is imposed, during the period of suspension, from joining a
   registered student organization; from taking part in a registered student organization’s activities or attending its meetings or functions; and from
   participating in an ofﬁcial athletic or nonathletic extracurricular activity.
h. A failing grade or other academic sanction may be assigned to a student for a class in which he or she is found to have violated the University’s
   regulations regarding academic dishonesty.
 i. A student found to have violated the University’s regulations regarding academic dishonesty may be denied his or her degree. If the disciplinary
    process under this chapter is initiated while the accused student is completing required work for a degree but will not be resolved until after the
    completion of all required work for a degree, the accused student may be denied his or her degree until the completion of the disciplinary process.
 j. Deferred suspension permits the sanction of suspension to be deferred for a student for who there are mitigating circumstances as determined
    by the dean of students, the hearing ofﬁcer or a majority of the SCB panel. If a student is found to have violated any rule of the University or The
    University of Texas System while the sanction of deferred suspension is in effect, the sanction for such a violation may be immediate suspension
    except in extraordinary circumstances as deemed appropriate by the dean of students. The dean of students, the hearing ofﬁcer, or a majority of
    the SCB panel may impose conditions related to the offense, and failure to meet such conditions will be considered an additional violation.
k. Suspension from the University prohibits the student on whom it is imposed, during the period of suspension, from entering the University campus
   without prior written approval of the vice president for student affairs, from being initiated into an honorary or service organization, and from
   receiving credit for academic work done during the period of the suspension. Suspension is noted on the ofﬁcial transcript during the term of
   suspension and shall remain until all conditions of the suspension are met. The notation can be removed upon the request of the student but only
   after the student’s successful completion of the terms of the suspension. The request for the removal of the transcript notation of suspension
   should be directed to the Ofﬁce of the Dean of Students. Suspension may also prohibit the student from being admitted to, enrolling at, or entering
   the campus of another component institution of The University of Texas System without prior written approval of the chief student affairs ofﬁcer
   of the institution at which the student wishes to be present. The dean of students, the student’s home department or school and/or the Ofﬁce
   of the Registrar may, however, permit the student to receive credit for academic work completed at another institution during the period of
   suspension, except in cases where suspension is imposed for academic dishonesty. The dean of students, the hearing ofﬁcer or a majority of
   the SCB panel may impose additional conditions or sanctions related to the alleged offense, and failure to meet such conditions or terms of the
   sanction will be considered an additional violation.
 l. Expulsion is a permanent separation from the University and prohibits the student on whom it is imposed from entering the University campus
    without prior written approval of the vice president for student affairs. Expulsion may prohibit the student from being admitted to, enrolling at, or
    entering the campus of another component institution of The University of Texas System without prior written approval of the chief student affairs
    ofﬁcer of the institution at which the student wishes to be present. A permanent notation of expulsion will also be placed on the student's ofﬁcial
    transcript.
m. The academic transcript of a student suspended or expelled for disciplinary reasons shall be marked with “Disciplinary Suspension” or “Expulsion”
   as appropriate. The University shall maintain a permanent written disciplinary record for every student assessed a sanction of suspension,
   expulsion, denial or revocation of degree, and/or withdrawal of diploma. A record of scholastic dishonesty shall be maintained for at least ﬁve
   years, and disciplinary records required by law to be maintained for a certain period of time, i.e. Clery violations, shall be maintained for at least the
   time speciﬁed in the applicable law, unless the record is permanent in conjunction with the above stated sanctions.
n. Other sanctions may be imposed when, in the opinion of the dean of students, the hearing ofﬁcer or a majority of the SCB panel, the best interests
   of The University of Texas System or the University would be served.

Subchapter 11–800. Appeal
Sec. 11–801. Request for Appeal
a. The accused student may request to appeal a sanction assessed by a faculty member under subsection 11–505(c) to the appellate ofﬁcer.
b. The accused student may request to appeal an administrative disposition by the dean of students under subsection 11-504(b) to the appellate
   ofﬁcer.
c. The accused student may request to appeal a sanction assessed by the dean of students under subsection 11–504(c), 11–505(b), 11-505(c)(1) or
   11-505(d) to the appellate ofﬁcer.
d. Either the dean of students or the accused student may request to appeal a disciplinary decision issued by a hearing ofﬁcer or a panel of the SCB
   under Sec. 11–609 to the appellate ofﬁcer.
e. In Track C cases, the complainant has the same independent right to appeal the hearing ofﬁcer's decision as does the accused student.
 f. The accused student, complainant, or dean of students may only appeal an administrative disposition or disciplinary decision based only on one or
    more of the following grounds:


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      1. Signiﬁcant procedural error inconsistent with the processes as outlined in subchapters 11-500 and 11-600.
      2. Discovery of any new information unknown or not reasonably foreseeable to the accused student or the dean of students at the time of the
         hearing that was material to and could have reasonably impacted the disciplinary decision.
      3. The sanction(s) determined by the dean of students, hearing ofﬁcer, or SCB are signiﬁcantly disproportionate to the violation.
g. The appellate ofﬁcer shall determine if sufﬁcient grounds for appeal exist under section 11-801(f). If not, the appellate ofﬁcer will deny the request
   for appeal thereby sustaining the original decision. If sufﬁcient grounds for appeal exist, the appellate ofﬁcer will review the appeal in full and issue
   a ﬁnal decision.

Sec. 11–802. Appeal of Academic Sanctions Assessed by a Faculty Member
a. The accused student may appeal the sanction or sanctions assessed by a faculty member under subsection 11–505(c)(1) by submitting a written
   appeal to the appellate ofﬁcer within ten days from the date on which the student signed the disciplinary decision. Appeals submitted after 5:00
   pm will be received the next day. The written appeal must state the speciﬁc reasons for the appeal and must include any related argument as
   outlined in subsection 11-801(f).
b. The appeal is restricted to the assessed sanction or sanctions.
c. The student must provide a copy of the written appeal to the dean of students on the same date the appeal is submitted to the appellate ofﬁcer.
d. The dean of students may submit to the appellate ofﬁcer a written response to the appeal and a copy of the disciplinary decision. These
   documents, if submitted, must be submitted no later than ten days after the appellate ofﬁcer received the appeal. Appeals submitted after 5:00
   pm will be received the next day. The dean of students must provide a copy of the documents to the accused student. The dean of students’
   submission of a response to the appeal will not extend the thirty-day period within which the action of the appellate ofﬁcer will be communicated
   as outlined in subsection 11–802(f).
e. If the accused student does not submit a written appeal to the Appellate Ofﬁcer by the deadline, the sanction(s) will become ﬁnal, and the student
   waives his or her rights to appeal.
 f. The appeal of the sanction or sanctions assessed by the faculty member will be reviewed solely on the basis of the disciplinary decision, the
    written argument of the student, and the response to the appeal submitted by the dean of students. Oral argument will not be considered.
g. The action of the appellate ofﬁcer will be communicated in writing to the accused student and the dean of students within thirty days after the
   appeal has been received by the appellate ofﬁcer. If the appellate ofﬁcer is unable to issue the written decision within thirty days, the appellate
   ofﬁcer should contact both the accused student and the dean of students to provide a date for completion of the written decision. The decision of
   the appellate ofﬁcer will be ﬁnal.

Sec. 11–803. Appeal of Administrative Disposition by the Dean of Students
a. An administrative disposition by the dean of students under subsection 11-504(a) is ﬁnal and is not appealable.
b. The accused student may appeal an administrative disposition by the dean of students under subsection 11–504(b) by submitting a written
   appeal to the appellate ofﬁcer within ten days from the date on which the student signed the disciplinary decision issued by the dean of students.
   Appeals submitted after 5:00 pm will be received the next day. The written appeal must state the speciﬁc reasons for the appeal and must include
   any related argument in accordance with subsection 11-801(f).
c. The accused student may appeal only the sanction or sanctions assessed under subsection 11–504(c) or 11-505(d) by submitting a written appeal
   to the appellate ofﬁcer within ten days from the date on which the student signed the disciplinary decision issued by the dean of students or
   received notice of an additional sanction. Appeals submitted after 5:00 pm will be received the next day. The written appeal must state the speciﬁc
   reasons for the appeal and must include any related argument in accordance with subsection 11-801(f). The appeal is restricted to the assessed
   sanction or sanctions.
d. In Track C cases, the complainant may also appeal the sanctions assessed under subsection 11-504(c) by submitting a written appeal to the
   appellate ofﬁcer within ten days from the date on which the accused student signed the disciplinary decision issued by the dean of students or
   received notice of an additional sanction. Appeals submitted after 5:00 pm will be received the next day. The written appeal must state the speciﬁc
   reasons for the appeal and must include any related argument in accordance with subsection 11-801(f). The appeal is restricted to the assessed
   sanction or sanctions.
e. If the original appealing party does not submit a written appeal to the Appellate Ofﬁcer by the deadline, the sanction(s) will become ﬁnal, and the
   student waives his or her right to appeal.
 f. The accused student must provide a copy of the written appeal to the dean of students on the same date the appeal is submitted to the appellate
    ofﬁcer. In Track C cases, subject to the Family Education Rights and Privacy Act (FERPA) and other applicable law, upon receipt of the accused
    student's written appeal, the dean of students ofﬁce shall provide a copy of the written appeal, if applicable, to the complainant
g. In Track C cases, the complainant may submit a written response to the appeal to the appellate ofﬁcer. The response, if any, must be submitted no
   later than ten days after the appellate ofﬁcer received the appeal. The appellate ofﬁcer will provide a copy of the response to the accused student.
h. The dean of students may also submit a written response to the appeal to the appellate ofﬁcer. The response, if any, must be submitted no later
   than ten days after the appellate ofﬁcer received the appeal. The dean of students must provide a copy of the response to the accused student. In
   Track C cases, subject to the Family Education Rights and Privacy Act (FERPA) and other applicable law, the dean of students shall provide a copy
   to the complainant, if applicable, of the written response to the appeal that is submitted to the appellate ofﬁcer. The dean of students’ submission
   of a response to the appeal will not extend the thirty-day period within which the action of the appellate ofﬁcer will be communicated as outlined in
   subsection 11–803(i).
 i. The appeal of the sanction or sanctions assessed by the dean of students will be reviewed solely on the basis of the disciplinary decision, the
    written argument of the student, and the response to the appeal submitted by the dean of students. Oral argument will not be considered.
 j. The action of the appellate ofﬁcer will be communicated in writing to the accused student and the dean of students within thirty days after the
    appeal has been received by the appellate ofﬁcer. If the appellate ofﬁcer is unable to issue the written decision within thirty days, the appellate


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    ofﬁcer should contact both the accused student and the dean of students to provide a date for completion of the written decision. The decision
    of the appellate ofﬁcer will be ﬁnal. In Track C cases, subject to the Family Education Rights and Privacy Act (FERPA) and other applicable law,
    upon receipt of the appellate ofﬁcer's written decision, the dean of students shall promptly provide a copy of the decision, if applicable, to the
    complainant.

Sec. 11–804. Appeal of the Decision of the Hearing Officer or the Student Conduct Board
a. Either the accused student or the dean of students may appeal the disciplinary decision of the hearing ofﬁcer or a majority of the SCB panel
   issued under Sec. 11–609 by submitting a written appeal to the appellate ofﬁcer within ten days from the date the appealing party was notiﬁed
   of the disciplinary decision. Appeals submitted after 5:00 pm will be received the next day. If notice of the disciplinary decision is sent by mail,
   the date the disciplinary decision is mailed initiates the ten-day period. The written appeal must state the speciﬁc reasons for the appeal and
   must include any related argument. If either party appeals the disciplinary decision, the appellate ofﬁcer may request that the hearing recording
   be transcribed; the transcript will be made available to both parties. If a court reporter was present during the hearing and prepares a written
   transcript immediately thereafter, the transcript is considered part of the hearing record and is made available to both parties.
b. In Track C cases, the complainant may also appeal the disciplinary decision of the hearing ofﬁcer issued under Sec. 11–609 by submitting
   a written appeal to the appellate ofﬁcer within ten days from the date the appealing party was notiﬁed of the disciplinary decision. Appeals
   submitted after 5:00 pm will be received the next day. If notice of the disciplinary decision is sent by mail, the date the disciplinary decision is
   mailed initiates the ten-day period. The written appeal must state the speciﬁc reasons for the appeal and must include any related argument. If
   either party appeals the disciplinary decision, the appellate ofﬁcer may request that the hearing recording be transcribed; the transcript will be
   made available to both parties. If a court reporter was present during the hearing and prepares a written transcript immediately thereafter, the
   transcript is considered part of the hearing record and is made available to both parties.
 c. If the accused student is the appellant, the student must provide the dean of students with a copy of the appeal submitted to the appellate ofﬁcer
    on the same date the appeal is submitted to the appellate ofﬁcer. If the dean of students is the appellant, the dean of students will give, e-mail, or
    mail a copy of the appeal to the accused student on the same day that the dean of students submits the appeal to the appellate ofﬁcer. If the copy
    of the appeal is mailed or e-mailed, the dean of students will send it to an address listed in the registrar’s records. In Track C cases, subject to the
    Family Education Rights and Privacy Act (FERPA) and other applicable law, the dean of students shall provide a copy of an appeal submitted by
    either the accused student, the complainant or the dean of students, if applicable, to the accused student and the complainant.
d. Following submission of the appeal to the appellate ofﬁcer, the non-appealing party may submit a written response to the appellate ofﬁcer. The
   response, if any, must be submitted no later than ten days after the appellate ofﬁcer received the appeal. The non-appealing party must provide
   a copy of the response to the other party. The response must be limited to and speciﬁcally related to the arguments originally submitted by the
   appealing party. New or additional information not speciﬁcally related to the original arguments submitted will not be considered on appeal.
   Submission of a response to the appeal will not extend the thirty-day period within which the action of the appellate ofﬁcer will be communicated
   as outlined in subsection 11–804(h).
 e. In Track C cases, subject to the Family Education Rights and Privacy Act (FERPA) and other applicable law, the dean of students shall provide a
    copy of a written response to an appeal submitted by either the accused student, the complainant or the dean of students, if applicable, to the
    accused student and the complainant.
 f. The appeal of the disciplinary decision of the hearing ofﬁcer or a majority of the SCB panel will be reviewed solely on the basis of the hearing
    record; the materials presented by the individual appealing that meet the grounds for appeal as outlined in subsection 11-801(f); and any
    documents submitted by the non-appealing party in response to the appeal. The dean of students will submit the record from the hearing to the
    appellate ofﬁcer as soon as it is available to the dean of students.
g. The action of the appellate ofﬁcer will be communicated in writing to the accused student and the dean of students within thirty days after the
   appeal has been received by the appellate ofﬁcer. If the appellate ofﬁcer is unable to issue the written decision within 30 days, the appellate ofﬁcer
   should contact both the accused student and the dean of students to provide a date for completion of the written decision. The decision of the
   appellate ofﬁcer will be ﬁnal. In Track C cases, subject to the Family Education Rights and Privacy Act (FERPA) and other applicable law, upon
   receipt of the appellate ofﬁcer's written decision, the dean of students shall provide a copy of the decision, if applicable, to the complainant.

Sec. 11–805. Authority of the Appellate Officer
The appellate ofﬁcer may approve, reject, or modify the disciplinary decision or sanction(s) in question or may require that the original hearing be
reopened for the presentation of additional evidence and reconsideration of the disciplinary decision.

Sec. 11–806. Effect of Appeal Upon Disciplinary Action
A timely appeal suspends the imposition of the sanction or sanctions until the appeal is ﬁnal, but any interim action issued in accordance with 11-502
will remain in effect while the appeal is being considered. Ofﬁcial transcripts, diplomas, grades, or degrees may also be withheld pending conclusion of
the appeal as permitted by subsection 11–703(a).

Subchapter 11–900. Disciplinary Records
Sec. 11–901. Details of Disciplinary Records
a. The deﬁnition of a disciplinary record is listed in subchapter 9-300 and Sec. 11-300(7). Disciplinary records are conﬁdential and may not be
   disclosed in whole or part except as provided in subchapter 9–300 of the Institutional Rules.
b. The disciplinary record will be separate from the student’s academic record, will be conﬁdential, and will not be revealed except on request of the
   student or in accordance with applicable state and federal law, or as otherwise provided in subchapter 9-300.




                                                                                                      General Information 2020-2021       Appendices      157
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Sec. 11–902. Notice to Administrative Offices
 a. The dean of students will notify the Ofﬁce of the Registrar and other appropriate administrative ofﬁces if a disciplinary sanction restricts a student
    from being enrolled at the University during the period of the sanction. A bar may be imposed by the dean of students if one of the following
    sanctions has been assessed because of violation of a Regents’ Rule or University rule or regulation:
     1. bar against readmission;
      2. suspension from the University; or
      3. expulsion from the University.
b. The dean of students will notify the Ofﬁce of the Registrar and other appropriate administrative ofﬁces if any of the sanctions of withholding
   grades, withholding ofﬁcial transcript or degree, denial of degree, or revocation of degree and withdrawal of diploma are imposed.


            Relates to Handbook of Operating Procedures, 3-3031.
            Updated September 9, 2020. Edits include changes related to HOP 3-3031 Prohibition of Sexual Assault, Interpersonal Violence, Stalking,
            Sexual Harassment, and Sex Discrimination, implementing new federal Title IX regulations that were issued in May 2020 and went into
            effect on August 14, 2020.


Chapter 12. Counseling and Mental Health Center
Subchapter 12–100. General Provisions
Sec. 12–101. Purpose
The purpose of the Counseling and Mental Health Center (CMHC or center) is to assess the needs of students with mental health concerns and
connect them to the most appropriate CMHC or community resource. The CMHC provides crisis intervention, individual counseling, group counseling
and psychiatric services and medication, if indicated. Prevention and mental health promotion initiatives help students maintain or improve their
mental health, so they can maximize their academic and college experience.

Sec. 12–102. Definitions
In this chapter, unless the context requires a different meaning, the following deﬁnitions apply.

1. “Director” means the director of the Counseling and Mental Health Center.
2. “Services” means services provided by the Counseling and Mental Health Center.
3. “University” means The University of Texas at Austin.
4. “Student” means a person enrolled at the University or a person accepted for admission or readmission to the University while that person is on
   the campus and is eligible for services.

Subchapter 12–200. Administration
Sec. 12–201. Duties of the Director
 a. The director will:
     1. maintain and administer programs and services so they relate meaningfully to the mental health needs of the student body and the
        consultation or training needs of faculty and staff;
      2. appoint assistants and coordinators for various phases of program planning, administration and development; and,
      3. designate speciﬁc staff members to perform assigned duties in the absence of the director.
b. The director is responsible for the mission and services of the CMHC and is administratively responsible to and reports regularly to the vice
   president for student affairs.

Sec. 12–202. Duties of the Associate and Assistant Directors
 a. The associate and assistant directors are responsible for the duties assigned by the director.
b. During the director’s absence, the associate or assistant directors, as designated, will assume the duties of the director.

Subchapter 12–300. Services Provided
Sec. 12–301. Services Provided to Students
The services provide general and speciﬁc functions which include:

 a. brief assessment and referral to determine which CMHC or community resources are most appropriate for the needs of the student;
b. individual counseling;
 c. group counseling, classes, programs and workshops;
d. psychiatric evaluation and medication services;
 e. crisis intervention, triage and 24/7 CMHC crisis line;
 f. integrated health in collaboration with University Health Services;
g. counselors in academic residence (CARE);
h. diversity counseling and outreach specialist (DCOS) program


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                    EXHIBIT

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Camara & Sibley Mail - Hubbard v Blakemore                                                                                   8/20/21, 11:44 AM




                                                                                           Joe Sibley <sibley@camarasibley.com>



 Hubbard v Blakemore
 Ross Pringle <rpringle@w-g.com>                                                                         Tue, Jun 15, 2021 at 8:51 AM
 To: "sibley@camarasibley.com" <sibley@camarasibley.com>
 Cc: Susan Balagia <sbalagia@w-g.com>, Sarah Blakemore <sarahblakemore@me.com>

    To be clear, the client doesn't want to continue litigating, she just wants to recoup substantial out of pocket expenses
    for this suit. One resolution is to go ahead with the proposed UT settlement. Again, I can't oppose Hubbard's request
    for dismissal with prejudice and my client can ask the court to decide whether to award any fees or expenses to
    Defendant as the prevailing party if the Court concludes this suit is frivolous, unreasonable, or groundless.

    Perhaps Hubbard can get UT to reimburse her fees by paying him an additional amount he can pay her. It would seem
    to be in his best interest to do so if it facilitates his exit and his ride off into the sunset.

    Fortunately, as long as the Plaintiff continues with his claims against SAB, the defense obligation is triggered such that
    she does not have to fund her entire defense going forward, although her personal counsel remains involved.

    Let’s discuss—rather than email—when you get a chance. I have a Zoom hearing at 2.

    Thx!

    B. Ross Pringle
    Wright & Greenhill, P.C | 900 Congress Avenue, Suite 500 | Austin, Texas 78701
    direct: 512-708-5265 | main: 512-476-4600 | fax: 512-476-5382
    rpringle@w-g.com | wrightgreenhill.com | Bio




    This message is privileged and confidential. If you are not the intended recipient, please delete the communication.


            On Jun 14, 2021, at 6:47 PM, sibley@camarasibley.com wrote:

            Ross —

            That’s an unfortunate development. I’ll have the client let UT know that the Blakemores would like to
            continue litigating this. I would expect, however, that this will terminate the insurance coverage since
            Sarah had a chance to get out of the case but wants to stay in to recover fees paid out of pocket to
            personal counsel. Will you be staying in the case ?

            Also, what is the theory of recovery of her attorneys’ fees? I’m assuming some kind of sanctions, which
            seems absurd. But if that’s the route they choose to go, it’s their choice. They should just be aware that
            this is going to change the complexion of the case and we will have to proceed differently given this
            aggressive and and hostile position your client is choosing to take.



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Camara & Sibley Mail - Hubbard v Blakemore                                                                                   8/20/21, 11:44 AM



            Thanks,

            Joe

            Sent from my iPhone


                     On Jun 14, 2021, at 6:30 PM, Ross Pringle <rpringle@w-g.com> wrote:


                      Joe

                     Following up on on our last conversation

                     What can you share with me regarding the financial aspect of TKH’s settlement with UT?
                      Given his status as a public employee, I would assume that the details and terms of this
                     settlement eventually will be public.

                     There is a substantial amount of attorneys fees, including amounts paid to Hoover
                     Slovacek early on, that the client is not eager to abandon. For that reason, although I
                     won’t oppose Plaintiffs' motion to dismiss, I anticipate we won’t be able to enter into a joint
                     stipulation whereby the parties agree each side bears his/her own expenses unless there
                     is an agreed or judicial resolution of this issue.

                     B. Ross Pringle
                     Wright & Greenhill, P.C | 900 Congress Avenue, Suite 500 | Austin, Texas 78701
                     direct: 512-708-5265 | main: 512-476-4600 | fax: 512-476-5382
                     rpringle@w-g.com | wrightgreenhill.com | Bio


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                     delete the communication.




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                    EXHIBIT

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Camara & Sibley Mail - Hubbard v Blakemore, No. 1:20-cv-767                                                                   8/20/21, 11:47 AM




                                                                                         Joe Sibley <sibley@camarasibley.com>



 Hubbard v Blakemore, No. 1:20-cv-767
 Ross Pringle <rpringle@w-g.com>                                                   Mon, Jan 25, 2021 at 4:25 PM
 To: Joe Sibley <sibley@camarasibley.com>
 Cc: Susan Balagia <sbalagia@w-g.com>, Sasha Yamatina <ayamatina@w-g.com>, Sarah Blakemore
 <sarahblakemore@me.com>, "Leonard J. Meyer" <meyer@hooverslovacek.com>, "Colin L. Guy"
 <guy@hooverslovacek.com>

    Mr. Sibley

    We make the following settlement offer to Plaintiff Thos. K. Hubbard:

    Payment of $25,000 by or on behalf of Defendant Sarah Blakemore;
    Release of all claims and causes of action against Ms. Blakemore, her insurer Nationwide, parties in
    privity with them, and all affiliated or related persons or entities;
    Dismissal of the lawsuit with prejudice, each party to bear his/her own costs, fees and expenses; and
    Parties to execute comprehensive mutual releases with standard indemnity provision for claims
    asserted by, through or under each releasing party.

    If you have any questions or concerns, please let me know.

    B. Ross Pringle
    Wright & Greenhill, P.C | 900 Congress Avenue, Suite 500 | Austin, Texas 78701
    direct: 512-708-5265 | main: 512-476-4600 | fax: 512-476-5382
    rpringle@w-g.com | wrightgreenhill.com | Bio




    This message is privileged and confidential. If you are not the intended recipient, please delete the communication.




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                          UNITED STATES DISTRICT COURT FOR THE
                               WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

DR. THOMAS HUBBARD, PhD.                            §
  Plaintiff,                                        §
                                                    §
                                                    §
v.                                                  §               CA NO. 1:20-cv-00767-RP
                                                    §
SARAH ALLEN BLAKEMORE; and                          §               JURY DEMANDED
JOHN DOES 1 – 10,                                   §
  Defendants.                                       §

              Defendant Sarah Allen Blakemore’s Motion for Sanctions
        Sarah Allen Blakemore (“Defendant” or “Blakemore”) files this Motion for Sanctions. In

support, Blakemore would respectfully show the court as follows:

                                  I.      Background and Summary

     1. Plaintiff Thomas Hubbard (“Hubbard”) has revealed through the lucrative settlement

agreement with the University of Texas (the “University”) attached to his Motion to Dismiss that

the lawsuits brought against Blakemore and two other students were motivated by the improper

purpose of pressuring the University to pay him to go away. Exhibit 1. Hubbard’s $700,000

settlement includes a provision requiring that he dismiss the claims he filed against Blakemore and

other students:




     Exhibit 1 at p. 5.
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    2. Hubbard has been trying to coerce the University into buying him out since at least August

16, 2009, when he offered to “drop all legal or grievance claims against the University or its

employees” and “write no further letters of complaint to university administrators” in exchange

for an extortionate payout. Exhibit 2 at p. 4.1 After the University rejected Hubbard’s proposal in

2009, he filed a spurious complaint alleging age discrimination that was ineffective. A decade

later, Hubbard again filed an EEOC complaint and used the lawsuit against Blakemore and two

other students as a bargaining chip to great effect in finally needling the University into paying

him an amount very close to what he had first demanded in 2009. Hubbard has effectively used

the legal system to procure ransom for three young women so that he could feather his retirement

nest. The Court has inherent power to sanction this deplorable conduct, as well as statutory

authority, and should repair the harm that Hubbard’s loathsome negotiation tactics have caused by

ordering him to compensate Blakemore for the attorneys’ fees she has incurred in defending her

constitutionally protected right to express her opinions about the quality and character of

Hubbard’s inutile scholarship.

    3. Hubbard should be sanctioned not only for bringing this lawsuit for an improper purpose,

but also for bringing and maintaining claims that he knew lack evidentiary support. Hubbard’s

lawsuit against Blakemore included 10 unidentified “John Does” he alleged Blakemore was acting

in concert with. Hubbard alleged that the Defendants (inclusive of Blakemore) “were the

instigators and initiators of” an act of “mob violence”, referring to an incident in which he alleges

his “house was attacked and vandalized on December 9, 2019 by militants associated with an

explicitly revolutionary organization (the Popular Women’s Movement/Movimiento Femenino


1
 Hubbard’s salary at that time was $79,500 and he attempted to negotiate an early retirement package that would
provide him $250,000 a year for three years. He would have received a windfall of over 3x what he had been earning
had his scheme succeeded.


                                                                                                          Page | 2
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Popular) who spray-painted red graffiti on Dr. Hubbard’s house in the form of bold letters spelling

‘CHILD RAPIST’ and a hammer and sickle.” Hubbard’s Complaint at ¶s 6 and 20. Asked about

Blakemore’s involvement in the attack on his house, Hubbard confessed in his deposition that “my

initial assumption was she had nothing to do with it.” Exhibit 3 at p. 201. There has been no

evidence developed through the course of this lawsuit to suggest that Hubbard’s initial assumptions

were wrong and his inclusion of Blakemore as an “instigator and initiator” of an act of “mob

violence” is completely baseless.

   4. Despite having initially brought suit against Blakemore and these 10 unidentified

individuals in the same proceeding, Hubbard proceeded to file two additional lawsuits involving

the same facts against two named individuals: Hollie Green (1:20-cv-1140-RP) and Zoe Elise

Thomas (1:20-cv-1193-RP). The Court should question why Hubbard initially brought a single

lawsuit against Blakemore and 10 co-defendants, but then elected to proceed with two separate

lawsuits based on the same facts and circumstances against Green and Thomas. The Court may

logically conclude that Hubbard’s decision to proceed with a multiplicity of suits was intended for

the improper purpose of driving up defense costs for the named defendants, while still maintaining

the claims against the “John Does” for a more sinister purpose.

   5. During the course of this lawsuit, Hubbard discovered that a professor at Brooklyn College,

Liv Yarrow, had written a blog post expressing her criticism of scholars who had been convicted

of possession of child pornography and other crimes of a sexual nature involving minors. This

blog post also made reference to Hubbard’s lawsuit against Blakemore. Hubbard responded to the

blog post with a letter to Yarrow in which he defended the criminal subjects of her blog post,




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downplayed the harmful nature of child pornography 2 and, significantly, threatened to implicate

her as one of the “John Does” without any credible basis. Exhibit 4. Specifically, Hubbard wrote

that “My lawsuit also lists ten John / Jane Does” and that it “might be to my advantage to name a

foolish senior classicist as one of them,” concluding “[a]re you confident enough in your assertions

that you want to volunteer for that role?” 3

    6. Hubbard’s $700,000 settlement with the University has revealed that the lawsuit against

Blakemore was part of a broader campaign of asymmetric warfare aimed at coercing the University

into paying a hefty ransom to dispose of a nettlesome tenured professor. Hubbard’s abuse of the

federal court system to gain leverage in his negotiations with the University is reason enough for

sanctions. Sanctions are further warranted by his baseless conflation of Blakemore with the

unnamed “John Does”, unjustifiable multiplicity of suits, and his demonstrated willingness to use

this lawsuit to harass others by threatening to drag them into it because, as he has stated, that

“might be to my advantage.” The Court may award sanctions under both its inherent authority and

under Rule 11, as discussed below.

                                         II.      Arguments and Authorities

    7. Hubbard should be sanctioned for bringing a lawsuit against Blakemore for the improper

purpose of extracting an overly generous retirement package from the University and for



2
  “The percentage of men who are found to access these images online and are later found to have molested children
is very small. Indeed, during the decade or so that such images were fully legal in some European countries like
Denmark and Czechoslovakia, and the longer period when they were legal in Japan, rates of actual child molestation
went down, and then rose again after the images were banned. I in no way defend people who create or share certain
images, but civil libertarians are concerned about the misuses of child pornography laws to seize legitimate art work,
such as the photography of Will McBride, Jock Sturges, or Sally Mann, or anthropological records, such as those of
Walter Williams. Therapists who work with CP offenders know that most of them are men with active fantasy lives,
generalized antinomian tendencies, and often serious substance abuse problems, but they do not have histories of child
abuse or even primarily pedophilic orientations.”
3
 Hubbard has also threatened numerous other individuals and entities with litigation, but upon information and belief
has only commenced suit against Blakemore, Green and Thomas. Hubbard appears to take delight in raising the specter
of litigation as a tool for silencing any opinions he finds objectionable, a gross misuse of the federal court system.

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maintaining claims that Blakemore acted in concert to instigate an attack on his home, which he

has admitted he never believed. The Court’s inherent power to issue sanctions “parallels the

provisions of Federal Rule of Civil Procedure 11 and 28 U.S.C. § 1927” and “those provisions do

not repeal or modify the court’s inherent power to address litigation abuse.” Thabico Co. v. Kiewit

Offshore Servs., Ltd., No. 2:16-CV-427, 2017 U.S. Dist. LEXIS 124440, at *12 (S.D. Tex. 2017),

citing Chambers v. NASCO, Inc. 501 U.S. 32, 45-46 (1991). Under both the Court’s inherent power

and under Rule 11, Hubbard’s conduct is sanctionable because he engaged in bad faith in pursuing

frivolous claims with an improper purpose, maintained claims he knew had no factual basis, and

vexatiously multiplied the proceedings by filing multiple lawsuits involving the same underlying

circumstances.

   8. The path from Hubbard’s attempt to extort an early retirement package from the University

in 2009 to the $700,000 settlement just reached with the University is not difficult to follow. And

the unwitting role that Blakemore and other students played in Hubbard’s shakedown is clear.

   9. Hubbard has long expressed dissatisfaction with the uninspiring trajectory of his career,

noting in his 2009 demand that he had been considered for positions at prestigious universities

(“Yale twice, NYU [and] Illinois”) and that he blamed the University for his failure to obtain a

more rewarding position at another school. Exhibit 2 at p. 5. In turn, the University’s response to

Hubbard’s age discrimination complaint included comments characterizing Hubbard as “a major

obstacle to effective operations”, noted that “his increasingly disruptive and damaging conduct

threatens the continuing excellence of our programs” and further observed that “certainly most and

possibly all other faculty members would welcome his departure; and while that departure would

inevitably cause short-term strain on our graduate program in Greek, it would greatly improve




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faculty morale, performance, and recruitment, graduate recruitment and training, administrative

efficiency, and undergraduate instruction.” Exhibit 4 at p. 5.

   10. Hubbard wanted to leave the University, but not without a payout far in excess of his salary.

The University wanted him gone, but could not easily dispose of a tenured professor. Blakemore

and other students were caught in the crossfire. With the context of this fractious and dysfunctional

relationship between Hubbard and the University, Hubbard’s decision to file suit in federal court

against three University students who could not be expected to pay any judgment begins to make

more sense. Hubbard was adamant he wanted to retire and a highly publicized lawsuit against

Blakemore concerning a controversial topic provided powerful leverage that was lacking in his

previous attempt to coerce the University into paying him to leave.

   11. Courts have recognized similarly sleezy tactics as belying an improper purpose worthy of

sanctions. In Blakeman v. Philip R. Bishop & Bishop, Payne, Harvard & Kaitcer, LLP, the court

recognized that a lawsuit had been brought by the plaintiff “to advance his goal of coercing a

settlement” in other litigation. Blakeman v. Philip R. Bishop & Bishop, Payne, Harvard & Kaitcer,

LLP (In re W. Fid. Mktg.), Nos. 497-45416-BJH-11, 99-4173, 2001 Bankr. LEXIS 2244, at *61

(Bankr. N.D. Tex. 2001). With the benefit of the settlement agreement with the University and

Hubbard’s personnel files, his illicit motive in pursuing three separate lawsuits against Blakemore

and two other students has become transparent.

   12. In evaluating whether a suit was brought for an improper purpose, courts are to consider

whether the suit at the outset would have been pursued without an improper purpose and whether

the methods and manner of prosecuting the claim after the initial filing was to impose unnecessary

costs of defense. FDIC v. MAXXAM, Inc., 523 F.3d 566, 584 (5th Cir. 2008). Even where a

claimant initiates a lawsuit that reasonably appeared to have merit, pursuing such claim in a



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“manner calculated to increase the cost of defense” is grounds for sanctions. Id. Hubbard’s claims

against Blakemore and other students lack merit, his decision to pursue these claims cannot be

logically explained absent an improper purpose, and he pursued these claims through a multiplicity

of suits intended to unnecessarily increase defense costs.

   a.) Hubbard’s claims against Blakemore were baseless and improperly motivated by a scheme
       to pressure the University into a lucrative settlement.

   13. Hubbard’s claims against Blakemore lack merit, as the flyer that is the subject of his lawsuit

is an expression of Blakemore’s opinions and/or contains truthful statements, some of which

Hubbard has since acknowledged without correcting his pleadings.

   14. In his complaint, Hubbard alleged he had been defamed by a statement that he is associated

with the North American Man-Boy Love Association (NAMBLA), but has since admitted that he

a) published a book through a company operated as a front for NAMBLA (Exhibit 3 at p. 74 / p.

66 of the deposition); has known Peter Herman a/k/a Peter Melzer, a prominent NAMBLA

member, for 20 years and engaged in “a lot of e-mail exchanges with him over the last couple of

years” (Exhibit 3 at p. 70 /p. 52 of the deposition); and has attended two NAMBLA meetings “as

part of my research”) (Exhibit 3 at p. 70 /p. 52 of the deposition).

   15. Hubbard has also alleged he was defamed by Blakemore’s characterization of him as an

advocate for pederasty. During his deposition, Hubbard was asked about his publication

“Introduction to Special Issue on Boys’ Sexuality and Age of Consent.” Exhibit 3 at p. 96 / p.

157 of the deposition. In that work, Hubbard discusses the proposition that a test originally

developed for the cognitively impaired could be applied to children to assess whether they can

give effective consent to sexual relations with an adult. Id. Hubbard was asked if that is a “good

idea” and responded “it’s worth considering it.” Id. at p. 158. In this article, Hubbard also

comments that “any hope for positive change in the way our society treats its boys and their

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capacity for sexual self-realization (and self-control) must be embedded in a wider agenda of social

reform, in conversation with a range of discourses on gender, sexual citizenship, and childhood in

all its aspects.” Following a question about this comment, Hubbard was expressly asked about his

role as an advocate:




   Exhibit 3 at p. 158.

   16. Hubbard admits that he is an advocate for changing age of consent laws (perhaps

substituting the safeguard they are intended to provide with some sort of test for the cognitively

impaired to assess whether a child really wants to have sex with an adult), yet charges Blakemore

with defamation for expressing her opinion that he is an advocate for pederasty. Hubbard is entitled

to argue that there is some nuance that has been missed when he poses rhetorical questions like

“[t]o what extent can the evidence of the Greek model [of pederasty] be applicable to modern

Western societies?” But this is a difference of opinion, opinions are protected from the scope of

defamation law, and Hubbard’s claim against Blakemore is ultimately without merit.

   17. Objectively, it does not make any sense that a university professor who associates with

members of NAMBLA, has published work through a NAMBLA affiliated publisher, and waxes

poetically about the hypothetical benefits of allowing young boys to engage in sex with adults

would bring a lawsuit against a university student who almost certainly does not even have the

financial resources to pay him the unlikely event of an adverse judgment. Hubbard’s decision to

pursue this highly publicized lawsuit only becomes understandable when the link to his EEOC


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complaint against the University is exposed and the benefits he hoped would inure to him by

bartering with the lawsuits brought against three university students.

   b.) Hubbard pursued his claims in a manner that warrants imposition of sanctions.

   18. If Hubbard’s motivation in filing the lawsuit against Blakemore was truly motivated by a

proper purpose, such as trying to repair his broken reputation, then he would not have agreed as a

material term of the settlement with the University to drop the claims against Blakemore, Green

and Thomas. These lawsuits were used as a bargaining chip and it is shameful for Hubbard to have

exploited the federal court system to enhance his negotiations with the University. For that, he

should be sanctioned.

   19. Hubbard could have chosen to include Green and Thomas in the same lawsuit as

Blakemore and the “10 John Does.” Instead, he filed two nearly identical lawsuits for no

discernable purpose other than to contribute to the cost that these three women would collectively

incur. Three separate cases, three separate trials. Potentially three separate depositions of Hubbard

following three separate series of written discovery exchanges. Three separate poker chips to toss

in the pot when it came time to settle with the University.

   20. The Court may take note of Hubbard’s craven threat against Prof. Liv Yarrow when

evaluating his credibility. Hubbard threatened to drag her from New York into a federal court in

Texas as one of the “John Does” because it “might be to my advantage to name a foolish senior

classicist as one of them.” If Hubbard had a legitimate basis to suspect that Prof. Yarrow was one

of the “John Does”, he was under an obligation to name her as a person likely to have discoverable

information in his disclosures; he did not. Exhibit 5. This threat against Prof. Yarrow was intended

solely to harass her, and just as baseless as the allegation that Blakemore acted in concert with

these “John Does” and initiated and instigated the attack on Hubbard’s house.



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   c.) Hubbard had no basis to assert that Blakemore instigated and initiated the attack on his
       house but maintained this claim without any evidentiary basis.

   21. Hubbard never had any reason to believe that Blakemore played any role in the attack on

his house, but included this allegation without regard to the absence of any evidentiary support or

reason to expect such evidence would be developed. Even after ample opportunity to develop this

allegation, Hubbard never withdrew the claim that Blakemore was involved in the attack on his

house. He admitted in his deposition he never suspected that she was involved: “my initial

assumption was she had nothing to do with it.”

   22. Hubbard attempts to defend his careless conflation of Blakemore and the assailants who

vandalized his house by speculating that her flyer may have motivated them. Following this same

train of logic, it is not unreasonable that someone might conclude a predator may be emboldened

to act by statements from Hubbard such as: “where age-discrepant relationships are commonplace

and positively reinforced, they cause little or no long-term harm to the younger partner and often

confer great benefit.” Exhibit 6 at p. 4. Presumably, one of Hubbard’s colleagues in NAMBLA

may read the words of an esteemed scholar on the subject and feel justified in relenting to unnatural

urges previously supressed, confident by virtue of Hubbard’s romanticization of these illicit

relationships that no harm would ultimately result and that the minor would instead obtain some

“great benefit”.

   23. While Blakemore has a valid basis for expressing her opinions about Hubbard in the flyer

she distributed, Hubbard has no excuse for accusing Blakemore of engaging in a criminal

conspiracy in his complaint. Hubbard may have assumed he could cower under the cloak of the

litigation privilege, but while that privilege may shield him from liability, his wilful decision to

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assert this claim in spite of his assumption “she had nothing to do with it” justifies sanctions under

the Court’s inherent power and/or pursuant to Rule 11.

                                III.    Conclusion and Prayer for Relief

    24. The requirement in Hubbard’s settlement with the University that he dismiss his claims

against Blakemore, Green and Thomas in exchange for a $700,000 payout is objective evidence

from which the Court may conclude that Hubbard had an improper purpose in pursuing three

separate lawsuits concerning the same underlying circumstances. Such a determination is

supported by objective evidence of Hubbard’s contentious relationship with the University and

prior attempts to pressure it into paying him an exorbitant sum to take an “early retirement.”

Hubbard has maintained claims against Blakemore that he has admitted have no evidentiary basis

by lumping her in with the unidentified assailants who vandalized his home. Hubbard’s testimony

has also revealed that his claims against Blakemore lack merit. Hubbard complains that he has

been unfairly characterized as an advocate for pederasty, but extols its benefits and describes

himself as an advocate for the gay youth he expects would be well served by reforming age of

consent laws. Hubbard has demonstrated he lacks credibility or a conscience by threatening to

include another professor in this lawsuit solely for the purposes of harassing her. The Court has

inherent power and statutory authority under Rule 11 to impose sanctions against Hubbard and

should. Blakemore therefore respectfully requests this Court order Hubbard to reimburse

Blakemore the attorneys’ fees she has incurred in defending against this lawsuit and for such

additional relief as the Court may consider appropriate, up to and including a fine in the amount

of the settlement he obtained from the University by agreeing to drop his baseless claims against

three of its students.




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                                         Respectfully Submitted,

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                                CERTIFICATE OF SERVICE

        I hereby certify that on this day of July 2020, a true and correct copy has been served by
electronic service on the following attorneys, pursuant to the Texas Rules of Civil Procedure.

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                                                            Colin L. Guy
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                    EXHIBIT

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                    EXHIBIT

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Camara & Sibley Mail - Hubbard v. Blakemore Issues                                                                         8/20/21, 2:45 PM




                                                                                         Joe Sibley <sibley@camarasibley.com>



 Hubbard v. Blakemore Issues
 Joe Sibley <sibley@camarasibley.com>                                                                   Thu, Feb 4, 2021 at 5:59 PM
 To: Ross Pringle <RPRINGLE@w-g.com>

    Ross,

    1. We are not going to add anyone else to the suit.

    2. We can present Dr. Hubbard the week after spring break (week of March 22nd) via Zoom. Let me know if that
    week works.

    3. Please provide dates for Ms. Blakemore.

    Thanks,

    Joe




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